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                                  Exhibit A
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


     KIMBERLEE WILLIAMS, et al.
                                                   No. 2:11-cv-01754 (ES) (JAD)
     Plaintiffs,
                       vs.
                                                         CIVIL ACTION
     BASF CATALYSTS LLC, et al.

     Defendants.




                      Class Action Settlement Agreement
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                                SETTLEMENT AGREEMENT

           THIS SETTLEMENT AGREEMENT (the “Agreement” or “Settlement Agreement”) is

    entered into as of this  day of                   2020, by and between the Class

    Representatives, on behalf of themselves and as proposed class representatives in the above

    action, by and through Class Counsel, and the Defendants.

                                                 RECITALS

           WHEREAS, on March 28, 2011, the Class Representatives filed a Complaint in the

    Williams Action; and

           WHEREAS, the Class Representatives allege on behalf of themselves and Class Members

    that Engelhard Corporation (a predecessor to BASF Catalysts LLC) and thereafter BASF Catalysts

    LLC, together and in concert with Cahill Gordon & Reindel, their former law firm, made

    misstatements or concealed evidence in connection with the Underlying Lawsuits; and

           WHEREAS, Defendants have denied, and continue to deny, each and every claim filed in

    the Williams Action and all claims of wrongdoing or liability asserted against them arising out of

    any conduct, statements, acts or omissions alleged, or that could have been alleged, in the Williams

    Action, and believe that the claims asserted against them are without merit; and

           WHEREAS, since the filing of the Williams Action, Plaintiffs and Defendants have

    thoroughly investigated, advanced, and defended their respective positions and assessed the

    various risks of continued litigation; and

           WHEREAS, on June 26, 2018, the Court entered a stay order and directed the Parties to

    attend a settlement conference before the Hon. Joseph Dickson, U.S.M.J.; and

           WHEREAS, the Parties since then through their respective counsel have engaged in

    protracted, extensive, and, at times contentious, arms-length settlement negotiations under the
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    auspices and guidance of Judge Dickson and the Hon. Layn Phillips (retired United States District

    Judge); and

           WHEREAS, Class Counsel have concluded, after extensive factual examination and

    investigation and after careful consideration of the circumstances, including the claims asserted in

    the Williams Action, and the possible legal and factual defenses thereto, that it would be in the

    Class Members’ best interests to enter into this Agreement to avoid the uncertainties, burdens,

    risks, and delays inherent in litigation and subsequent appeals and to assure that the substantial

    benefits reflected in this Agreement are obtained for Class Members in an expeditious manner;

    and, further, that this Agreement is fair, reasonable, adequate, and in the best interests of the Class

    Representatives and the Class Members; and

           WHEREAS, Defendants, despite their belief that they have strong defenses to the claims

    described in this Agreement, have agreed to enter into this Agreement to reduce and avoid the

    further expense, burden, risks, and inconvenience of protracted litigation and subsequent appeals

    and to resolve finally and completely Class Representatives’ and other Class Members’ claims;

           NOW, THEREFORE, subject to the Court’s approval as required herein and under

    Federal Rule of Civil Procedure 23, and in consideration of the mutual promises set forth below,

    the Parties agree as follows:

    1. DEFINITIONS

       1.1. Application and Construction.

       1.1.1. As used in this Settlement Agreement and the documents related to it and its

    implementation and enforcement, the following capitalized terms shall have the meanings set forth

    below. Whenever the context so requires, the masculine gender includes the feminine and neuter

    gender, and the singular includes the plural and vice-versa.



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       1.2. Definitions of the Class, Class Member and Settlement Class Member.

       1.2.1. “Class” means, refers to, and includes all Persons within the United States and its

    territories who after March 7, 1984 and before March 30, 2011 filed and Served a lawsuit against

    Engelhard/BASF seeking asbestos-related bodily injury compensation or other relief arising from

    exposure to Emtal Talc products, and who before March 30, 2011 either: (A) had voluntarily

    dismissed or terminated the lawsuit as to Engelhard/BASF after the suit was filed, including any

    voluntary dismissal or release of claims due to settlement; or (B) had their lawsuit as to

    Engelhard/BASF involuntarily dismissed. The date on which a voluntary dismissal or termination

    occurred for purposes of determining class membership is deemed to be the earlier of either (i) the

    date on which the agreement or consent by the plaintiff or his/her counsel to dismiss or terminate

    the lawsuit occurred; or (ii) the date on which the dismissal or termination of the lawsuit was

    entered by or in the court in which it was pending.

       1.2.2. “Class Member” means any Person who meets the criteria of the Class definition.

       1.2.3. “Settlement Class Member” means any Class Member who has not submitted a valid,

    timely, and final Opt-Out.

       1.3. General Definitions.

       1.3.1. “BASF” or “Engelhard/BASF” shall each mean and include BASF Catalysts LLC,

    Engelhard Corporation, Engelhard Industries, Engelhard Minerals & Chemicals Corporation,

    Minerals & Chemicals Phillipp Corporation, Eastern Magnesia Talc Company, Porocel

    Corporation, and Pita Realty Limited, along with each of their successors, affiliates, direct and

    indirect parent(s) (including BASF Corporation and BASF SE), and any predecessor(s) who

    owned and/or operated the Emtal Talc mine in Johnson, Vermont at any point on or after October

    1, 1967.


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        1.3.2. “Bilateral Asbestos-Related Nonmalignant Disease” means a disease evidenced by

    either (a) a chest X-ray read by a qualified B reader of 1/0 or higher on the ILO scale, or (b) (i) a

    chest X-ray read by a qualified B reader or other Qualified Physician, (ii) a CT scan read by a

    Qualified Physician, or (iii) pathology, in each case showing either bilateral interstitial fibrosis,

    bilateral pleural plaques, bilateral pleural thickening, or bilateral pleural calcification.

        1.3.3. “Cahill” means Cahill Gordon & Reindel LLP and its predecessors, including the

    partnership Cahill Gordon & Reindel, together with its partners, associates, members, managers,

    agents and employees.

        1.3.4. “Claimant” means a Settlement Class Member who timely submits a Claim Submission

    either in paper form delivered to the Settlement Administrator or electronically through the

    Settlement Website.

        1.3.5. “Claim Form” means the paper or electronic form to be filed, along with other elements

    of the Claim Submission, to initiate a claim.

        1.3.6. “Claim Submission” means the paper or electronic Claims Form, required

    certifications, required elections, required documents, required verifications and other supporting

    evidential documents by which Settlement Class Members apply under the Settlement

    Agreement’s Plan of Distribution.

        1.3.7. “Claims Filing Deadline” means the final date to submit a Claim Submission to initiate

    a claim, which is 120 days after the Notice is first published to the Class pursuant to the Notice

    Plan, unless otherwise modified by the Court.

        1.3.8. “Claims Determination Deadline” means the date by which the Settlement

    Administrator is expected to issue a determination on the validity all Claim Submissions, which is

    expected to be 10 days after the Document Submission Deadline.



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    1.3.9. “Class Counsel” means the following attorneys:

           Christopher M. Placitella               Stewart L. Cohen
           Michael Coren                           Harry M. Roth
           Jared M. Placitella                     Robert L. Pratter
           Eric S. Pasternack                      Cohen Placitella & Roth, P.C.
           Cohen Placitella & Roth, P.C.           2001 Market Street
           127 Maple Ave                           Philadelphia, PA 19103
           Red Bank, New Jersey 07701              scohen@cprlaw.com
           cplacitella@cprlaw.com                  hroth@cprlaw.com
           mcoren@cprlaw.com                       rpratter@cprlaw.com
           jmplacitella@cprlaw.com
           epasternack@cprlaw.com

    1.3.10. “Class Period” means March 8, 1984 through March 29, 2011, inclusive.

    1.3.11. “Class Representatives” means Kimberlee Williams, Gayle Williams, Marilyn L.

 Holley, Sheila Ware, Donnette Wengerd, and Rosanne Chernick, each a named plaintiff in the

 Williams Action.

    1.3.12. “CMS” means the Centers for Medicare & Medicaid Services, the agency within the

 United States Department of Health and Human Services responsible for administration of the

 Medicare Program.

    1.3.13. “Complaint” means the Second Amended Class Action Complaint, as well as the

 preceding complaint and amended complaint filed by the Class Representatives in the Williams

 Action.

    1.3.14. “Confidential Information” shall have the meaning defined in § 17.1 of this

 Agreement.

    1.3.15. “Cost Fund” and “Cost Fund Amount” shall have the meanings defined in § 2.3.1 of

 this Agreement.

    1.3.16. “Cost Fund Financial Institution” shall mean PNC Bank, National Association.




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    1.3.17. “Cost Reimbursement Amount” shall have the meaning set forth in § 2.6.2.4 of this

 Agreement.

    1.3.18. “Court” means the United States District Court for the District of New Jersey.

    1.3.19. “Defendants” shall mean BASF and Cahill.

    1.3.20. “Defendants’ Counsel” shall mean the following attorneys:

         Peter A. Farrell, P.C.                      Nina M. Gussack
         Kirkland & Ellis LLP                        Barry H. Boise
         1301 Pennsylvania Avenue, N.W.              Anthony Vale
         Washington, D.C. 20004                      Pepper Hamilton LLP
                                                     3000 Two Logan Square
         peter.farrell@kirkland.com                  18th & Arch Streets Philadelphia,
                                                     Pennsylvania 19103
         Eugene F. Assaf, P.C.                            
         Kirkland & Ellis LLP                        boiseb@pepperlaw.com
         601 Lexington Avenue                        valea@pepperlaw.com
         New York, New York 10022
         eugene.assaf@kirkland.com                   Angelo A. Stio, III
                                                     Pepper Hamilton LLP
         Justin T. Quinn                             301 Carnegie Center, Suite 400
         Robinson Miller LLC                         Princeton, New Jersey 08543
         One Newark Center, 19th Floor               stioa@pepperlaw.com
         Newark, New Jersey 07102
         jquinn@rwmlegal.com                         Attorneys for Cahill

         Attorneys for BASF


    1.3.21. “Derivative Claimant” means a Settlement Class Member (or personal representative

 if deceased) who was a spouse, parent, or child of an Injured Person, or any other person who

 under applicable state law, by reason of their relationship to the Injured Person claimed damages

 in an Underlying Lawsuit against Engelhard/BASF such as, for illustration purposes, a loss of

 consortium or a wrongful death claim.

    1.3.22. “DHA” shall mean Defense Health Agency (formally known as TRICARE), the federal

 program managed and administered by the United States Department of Defense under which

 certain medical items and/or services are furnished to eligible members of the military services,

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 military retirees, and military dependents under 10 U.S.C. § 1071, et seq., as amended from time

 to time.

    1.3.23. “Document Submission Deadline” means the final date to submit any documents to

 cure any deficiency in the Claims Submission, which is 155 days after the Notice is first published

 to the Class pursuant to the Notice Plan, unless otherwise modified by the Court.

    1.3.24. “Dollars” or “$” means U.S. dollars.

    1.3.25. “Effective Date” means the first date by which all of the following events shall have

 occurred: (a) the Court has entered the Preliminary Approval Order; (b) the Court has entered the

 Final Approval Order; and (c) the Final Approval Order has become Final.

    1.3.26. “Emtal Talc Claim” means a tort claim based upon an asbestos bodily injury alleged

 to be caused by exposure to Emtal Talc.

    1.3.27. “Emtal Talc” means both the talc ore and resulting industrial talc products mined from

 the Johnson, Vermont talc mine operated by Engelhard/BASF.

    1.3.28. “Entity” shall mean any corporation, limited liability entity, partnership, association,

 trust and any other entity (including any estate, guardian or beneficiary thereof), or organization,

 including, without limitation, any federal, state or local government, or quasi-governmental body

 or political subdivision, department, agency or instrumentality thereof, or any Person.

    1.3.29. “Extraordinary Injury Fund” or “EIF” means the discretionary supplemental

 compensation program component of the Plan of Distribution described in § 3.3 of this Agreement.

    1.3.30. “Fairness Hearing” means the hearing scheduled by the Court to take place after the

 entry of the Preliminary Approval Order at which the Court shall be asked to: (a) consider the

 fairness, reasonableness, and adequacy of this Settlement Agreement under Federal Rule of Civil

 Procedure 23(e); (b) consider any timely objections to this Settlement Agreement and all responses


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 thereto; (c) rule on the fee and cost application filed by Class Counsel; (d) rule on the Class

 Representatives’ service award application; and (e) certify the Class for settlement purposes only.

    1.3.31. “Fee Amount” shall have the meaning set forth in § 13.1 of this Agreement.

    1.3.32. “Final” means that the Final Approval Order has been entered on the docket in the

 Williams Action, and all of the following shall have occurred: (i) the expiration of the time to file

 a motion to alter or amend the Final Approval Order under Federal Rule of Civil Procedure 59(e)

 without any such motion having been filed or, if such a motion is filed, the entry of an order

 denying such motion; and (ii) the time in which to appeal the Final Approval Order has passed

 without any appeal having been taken or, if an appeal is taken, immediately after (a) the date of

 the final dismissal of any appeal or the final dismissal of any proceeding on certiorari, or (b) the

 date of affirmance of the Final Approval Order on appeal and the expiration of time for any further

 judicial review whether by appeal, reconsideration, or petition for a writ of certiorari and, if

 certiorari is granted, the date of final affirmance of the Final Approval Order following review

 pursuant to the grant.

    1.3.33. “Final Approval Order” means the order described in § 12 in which the Court, among

 other things, grants final approval of this Settlement Agreement, certifies the Class for settlement

 purposes, authorizes the entry of a final judgment and dismissal of the Action with prejudice, enters

 a bar order, and rules on Class Counsel’s fee and cost application and on the Class Representatives’

 service award application.

    1.3.34. “Fraud Prevention Provisions” has the meaning set forth in § 4.1.

    1.3.35. “Governmental Payer” shall mean the Medicare Program and Medicaid Program.

    1.3.36. “HIPAA” shall mean the administrative simplification provisions of the Health

 Insurance Portability and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (1996)



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 and the implementing regulations issued thereunder, 45 C.F.R. Parts 106, 162, and 164, and shall

 incorporate by reference the provisions of the Health Information Technology for Economic and

 Clinical Health Act (Title XIII of Division A and Title IV of Division B of the American Recovery

 and Reinvestment Act of 2009, Pub. L. No. 111-5 (2009)) pertaining to Protected Health

 Information.

    1.3.37. “Injured Person” means the person identified in an Underlying Lawsuit who was

 alleged to have suffered physical injury, illness or death as a result of exposure to Emtal Talc.

    1.3.38. “Interim Claims Period” means the time period commencing upon the Court’s entry

 of the Preliminary Approval Order and ending on the Effective Date.

    1.3.39. “Level 1 Injury” means a non-malignant asbestos disease injury, which requires

 a diagnosis of Bilateral Asbestos-Related Nonmalignant Disease.

    1.3.40. “Level 2 Injury” means an asbestos disease injury diagnosis of Malignant Asbestos

 Disease Other Than Mesothelioma and Level 3 Claim Lung Cancer.

    1.3.41. “Level 3 Injury” means an asbestos disease injury diagnosis of either: (a) Primary lung

 cancer with evidence of underlying Bilateral Asbestos-Related Nonmalignant Disease; or (b) Severe

 Asbestosis.

    1.3.42. “Level 4 Injury” means an asbestos disease injury diagnosis of Mesothelioma.

    1.3.43. “Lien” shall mean any legally enforceable claim, lien, and/or reimbursement right

 arising by statute, contract or otherwise.

    1.3.44. “Lien Administrator” means a third party engaged by the Settlement Trustee to

 perform the duties and responsibilities assigned to the Lien Administrator in the Settlement

 Agreement and the Plan of Distribution.

    1.3.45. “Malignant Asbestos Diseases Other than Mesothelioma and Level 3 Claim Lung

 Cancer” means the following:

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        (a)     A diagnosis of a primary lung cancer without evidence of underlying Bilateral
                Asbestos-Related Nonmalignant Disease and supporting medical documentation;
                or;
        (b)     A diagnosis of a primary colo-rectal, laryngeal, esophageal, pharyngeal, or stomach
                cancer, plus (a) evidence of underlying Bilateral Asbestos-Related Nonmalignant
                Disease; and (b) supporting medical documentation.

    1.3.46. “Medicaid Program” means the federal program administered by the states under

 which certain medical items, services, and/or prescription drugs are furnished to Medicaid

 beneficiaries under Title XIX of the Social Security Act, 42 U.S.C. § 1396–1, et seq., as amended

 from time to time.

    1.3.47. “Medicare Program” means the Medicare Parts A and B federal program

 administered by CMS under which certain medical items, services, and/or prescription drugs are

 furnished to Medicare beneficiaries under Title XVIII of the Social Security Act, 42 U.S.C. § 1395,

 et seq., as amended from time to time.

    1.3.48. “Medicare Part C or Part D Program” means the program(s) under which Medicare

 Advantage, Medicare cost, and Medicare health care prepayment plan benefits and Medicare Part

 D prescription drug plan benefits are administered by private entities that contract with CMS.

    1.3.49. “Motion for Preliminary Approval” shall have the meaning set forth in § 8.1 of this

 Agreement.

    1.3.50. “MSP” means the Medicare Secondary Payer Act set forth at 42 U.S.C. § 1395y(b), as

 amended from time to time, and implementing regulations, and other applicable written CMS

 guidance.

    1.3.51. “Notice” means the long-form notice to Class Members of this Agreement to be

 submitted to the Court for approval and, once approved by the Court, to be disseminated to Class

 Members pursuant to the Notice Plan. The Notice shall be in substantially the form of the proposed

 long-form notice attached as Exhibit A.

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    1.3.52. “Notice Agent” means the individual or company engaged to design the Notice Plan

 and thereafter, in conjunction with the Settlement Administrator, to execute the Notice Plan.

    1.3.53. “Notice Plan” means the plan to be approved by the Court for providing Notice to

 Class Members in accordance with Federal Rule of Civil Procedure 23(e).

    1.3.54. “Opt-Out” means any Class Member that timely and properly submits a request for

 exclusion from the Class in accordance with the procedures set forth in this Agreement and

 approved by the Court, and therefore, after the Final Approval Date, is not a Settlement Class

 Member

    1.3.55. “Opt-Out Deadline” means 90 days after the date the dissemination of Notice begins

 pursuant to the Notice Plan.

    1.3.56. “Opt-Out Revocation Deadline” means 14 days after the Opt-Out Deadline.

    1.3.57. “Other Governmental Payer” shall mean certain other governmental health care

 programs with statutory reimbursement or subrogation rights, limited to DHA, Department of

 Veterans Affairs, and Indian Health Services benefits.

    1.3.58. “Other Party” means every Person, Entity, or Party other than the Released Parties.

    1.3.59. “Parties” means the Class Representatives and the Defendants collectively.

    1.3.60. “Person” means and includes any individual or Entity (excluding Released Parties)

 who has or had the right to claim damages relating to Emtal Talc exposure either in their own right

 because of an asbestos bodily injury he or she sustained as result of claimed exposure to Emtal

 Talc in any form or manner, or as an individual or entity who may have had a right to damages

 derivatively during the Class Period based on an Injured Person’s injury or death such as, without

 limitation, spouses, heirs, legatees, personal representatives, and wrongful death beneficiaries and

 assignees.



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    1.3.61. “Plan of Distribution” or “Plan” means the plan for distributing the Settlement Fund

 assets that Class Counsel intends to present to the Court in the Motion for Preliminary Approval.

 The proposed Plan of Distribution is attached to this Agreement as Exhibit C.

    1.3.62. “Preliminary Approval Order” means the order described in § 8 of this Agreement

 in which the Court, among other things, grants preliminary approval of this Settlement Agreement,

 authorizes dissemination of Notice to Class Members, and schedules the Fairness Hearing, and

 establishes the Claims Period commencement date to enable the Settlement Administrator to

 perform the Interim Claims Period administration tasks.

    1.3.63. “Primary Claimant” means a Settlement Class Member who is an Injured Person, or

 his or her personal representative if deceased, who submits, or is eligible to submit, a claim for

 compensation to the Settlement Fund.

    1.3.64. “Presumed Class Member List” means a confidential list, available only to the Court,

 the Settlement Administrator, the Settlement Trustee, Defendants, and Class Counsel, of those

 individuals who filed lawsuits against Engelhard/BASF alleging bodily injuries resulting from

 exposure to Emtal Talc that was compiled based upon discovery undertaken by Plaintiffs in the

 Williams Action.

    1.3.65. “Private Third Party Payer/Provider” shall mean any healthcare provider, employer,

 workers’ compensation carrier (including a state workers' compensation fund), group health plan,

 non-group health plan, insurer, Federal Employees Health Benefit plan (such as Blue Cross Federal

 or Blue 365), or other entity (other than a Governmental Payer, Other Governmental Payer, or

 Medicare Part C or Part D Program sponsor) that administers, funds, pays, contracts for, or

 provides medical items, services, and/or prescription drugs to a Settlement Class Member

 receiving compensation from the Settlement Fund under the Plan of Distribution.



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    1.3.66. “Qualified Asbestos Trust” means any one of the following asbestos claims trusts and

 related claims resolution facilities from which the Settlement Administrator may request and

 accept information concerning one or more claimants in support of their Claims for a distribution:

        (a) AcandS Asbestos Settlement Trust;

        (b) ASARCO Asbestos Personal Injury Settlement Trust;

        (c) Combustion Engineering Trust;

        (d) G-I Holdings Inc. Asbestos Personal Injury Settlement Trust;

        (e) KACC Asbestos PI Trust;

        (f) TH Agriculture and Nutrition, L.L.C. Asbestos Personal Injury Trust;

        (g) The Manville Personal Injury Settlement Trust dated as of November 28, 1988; and

        (h) The Travelers Common Law Direct Action Settlement Fund (Donald Ward,
            Administrator).

 The identified trusts above that are listed as items (a), (b), (c), (d), (e) and (f) are “Preferred

 Qualified Asbestos Trusts” and those listed as items (g) and (h) are “Alternative Qualified

 Asbestos Trusts”.

    1.3.67. “Qualified Settlement Fund” shall mean a trust, escrow, or similar account as defined

 under Treasury Regulation § 1.468-B-1, et seq., as amended from time to time.

    1.3.68. “Released Claims” means all claims (including without limitation, claims for personal

 injuries, fraudulent concealment, fraud, spoliation, and attorneys’ fees and costs), causes of action,

 actions, damages, costs, or suits, by or on behalf of any Releasing Party, whether liquidated or

 unliquidated, known or unknown, whether or not concealed or hidden, whether arising by statute,

 law, or in equity, whether direct, derivative (e.g., loss of support, services, consortium,

 companionship, society, or affection, or damage to familial relations), representative, class, or

 individual in nature, under the law of any jurisdiction, which were asserted, could have been

 asserted, or could in the future be asserted against the Released Parties, that in any way relate to,
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 in whole or in part, or arise out of: (a) any of the allegations, defenses, claims, motions and/or

 theories raised in or that could have been raised in the Williams Action, (b) Underlying Lawsuits,

 or (c) prior exposure to Emtal Talc.

     1.3.69. “Released Parties” means BASF, Cahill, Arthur A. Dornbusch II, Thomas D. Halket,

 Howard G. Sloane, Ira J. Dembrow, and each of their past, present, or future officers, directors,

 shareholders, owners, affiliates, parents, employees, representatives, agents, principals, insurers,

 attorneys, partners, subsidiaries, members, administrators, legatees, executors, heirs, estates,

 successors, and/or assigns.

     1.3.70. “Releasing Parties” means all Class Representatives, all Settlement Class Members,

 and each of their past, present, or future administrators, legatees, trustees, executors, heirs, estates,

 personal representatives, successors, and assigns.

     1.3.71. “Related Lawsuits” means all past, present, and future actions brought by one or more

 Settlement Class Members against one or more Released Parties pending in the Court, other than

 the Action, or in any other federal court, state court, arbitration, regulatory agency, or other tribunal

 or forum that in any way relate to, in whole or in part, or arise out of: (a) any of the allegations,

 defenses, claims, motions and/or theories raised in or that could have been raised in the Williams

 Action, (b) Underlying Lawsuits, or (c) prior exposure to Emtal Talc.

     1.3.72. “Settlement Administrator” or “Administrator” means a third party employed to

 handle and oversee (a) receipt and tallying of opt-outs; (b) receipt and response to class member

 inquiries and requests for assistance; (c) receipt and processing of claims submissions; and (d)

 ministerial administration of the settlement.

     1.3.73. “Settlement Amount” means the settlement consideration defined in § 2.2 of this

 Agreement.



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    1.3.74. “Settlement Fund” means the non-reversionary Qualified Settlement Fund created

 pursuant to § 5.2.1 of this Agreement, for the use and benefit of the Settlement Class.

    1.3.75. “Settlement Fund Financial Institution” shall mean PNC Bank, National

 Association.

    1.3.76. “Settlement Trustee” means the person appointed by the Court to (a) serve as the

 individual trustee of the Settlement Fund who is empowered and charged with the responsibility

 to administer and distribute the Settlement Fund according to the Plan of Distribution approved by

 the Court; and (b) serve as Special Master appointed under Federal Rule of Civil Procedure 53

 with respect to issues relating to the Plan of Distribution.

    1.3.77. “Settlement Website” means the secured internet website established and maintained

 by the Settlement Administrator with the URL “www.EmtalTalcSettlement.com”.

    1.3.78. “Served” with respect to an Underlying Lawsuit’s complaint or similar initial pleading

 shall include, in addition to the means of process service provided by the suit’s forum’s applicable

 court rules, the acceptance of service by Engelhard/BASF attorneys or inclusion of the plaintiff in

 the Presumed Plaintiff List prepared and maintained by the Settlement Trustee.

    1.3.79. “Severe Asbestosis” means a disease evidenced by (a) a diagnosis of asbestosis with

 ILO of 2/1 or greater, or asbestosis determined by pathological evidence of asbestos, plus (i) TLC

 less than 65%, or (ii) FVC less than 65% and FEV1/FVC ratio greater than 65%; and (b) supporting

 medical documentation.

    1.3.80. “Supplemental Agreement” shall have the meaning set forth in § 11.1 of this

 Agreement.




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      1.3.81. “Underlying Lawsuit” means a lawsuit filed by or on behalf of a Class Member after

 March 7, 1984 and prior to March 30, 2011 against Engelhard/BASF based upon an alleged

 asbestos-related injury arising from exposure to Emtal Talc.

      1.3.82. “Williams Action” or “Action” means the class action lawsuit filed in the Court under

 Civil Action No. 2:11-cv-01754.

 2.      Class Benefits and Relief
   2.1. Consideration for the Settlement’s Benefits and Relief.

      2.1.1. The Class Representatives, by and through Class Counsel, and Defendants, agree that,

 in consideration for the release of the Released Claims set forth in § 6 of this Agreement, the

 dismissal with prejudice of the Complaint, and the entry of a bar order by the Court against further

 suits, the Defendants will, subject to the terms and conditions of this Settlement Agreement,

 provide the benefits contained in this Section for the use and benefit of Settlement Class Members

 as well as discharge other obligations imposed on Defendants in this Settlement Agreement.

   2.2. The Settlement Amount and the Settlement Fund

      2.2.1. At the time specified by § 5.2.3 of this Agreement, Defendants shall severally, and not

 jointly, pay an aggregate sum of Seventy-Two Million Five-Hundred Thousand Dollars

 ($72,500,000) (the “Settlement Amount”) in payment for the Releasing Parties’ release of the

 Released Claims, as such are defined in this Settlement Agreement and as ordered in the Final

 Approval Order, with BASF to pay 60% of the Settlement Amount ($43,500,000) and Cahill to

 pay 40% of the Settlement Amount. ($29,000,000). The Settlement Amount shall be deposited in

 the Settlement Fund pursuant to the provisions of § 5.2 herein, to be used for the payment of claims

 pursuant to, and in accordance with, the Plan of Distribution approved by the Court in the Final

 Approval Order. BASF shall not, under any circumstances, be responsible for, or liable for,

 payment of any amount to the Settlement Fund, or to any Settlement Class Members, in excess of

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 Forty-Three Million Five-Hundred Thousand Dollars ($43,500,000), and Cahill shall not, under

 any circumstances, be responsible for, or liable for, payment of any amount to the Settlement Fund,

 or to any Settlement Class Members, in excess of Twenty-Nine Million Dollars ($29,000,000).

 2.3. The Cost Fund

    2.3.1. In addition to the Settlement Amount, and at the times specified in § 5.1.1 of this

 Agreement, Defendants shall severally, and not jointly, pay Three Million, Five-Hundred

 Thousand Dollars ($3,500,000) (the “Cost Fund Amount”) for reasonable and necessary costs

 incurred in designing, establishing, and carrying out the Notice Plan and the Plan of Distribution

 pursuant to § 3 of this Agreement. BASF and Cahill shall each pay 50% of the Cost Fund Amount.

 This fund (the “Cost Fund”) is reversionary, and any unused portion of the Cost Fund, including

 any interest earned on the unused portion of the Cost Fund, will revert to the Defendants in the

 proportion of their original funding payment. BASF shall not, under any circumstances, be

 responsible for, or liable for, payment of any amount to the Cost Fund or any amount related to

 the designing, establishing, and carrying out the Notice Plan and the Plan of Distribution, in excess

 of One Million Seven-Hundred-Fifty Thousand Dollars ($1,750,000). Cahill shall not, under any

 circumstances, be responsible for, or liable for, payment of any amount to the Cost Fund or any

 amount related to the designing, establishing, and carrying out the Notice Plan and the Plan of

 Distribution, in excess of One Million Seven-Hundred-Fifty Thousand Dollars ($1,750,000).

   2.4. Class Counsel Fees and Litigation Cost Reimbursement

    2.4.1. In addition to paying the Settlement Amount and Cost Fund Amount, Defendants have

 agreed to pay for the benefit of the Class as detailed in § 13.1 below, the Class Counsel’s attorneys’

 fees as approved by the Court.




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   2.5. Information regarding Emtal Talc Litigation

    2.5.1. The Parties agree that the following documents are and will remain in the public domain,

 subject to any restrictions imposed by any operative protective orders and/or sealing orders: (a)

 the Williams Action’s pleadings; (b) the Williams Action’s non-privileged depositions (including

 non-privileged exhibits); (c) non-privileged documents produced or subpoenaed during discovery

 in the Williams Action, and (d) copies of the public non-privileged depositions (including non-

 privileged exhibits) taken in the New Jersey Superior Court Sampson, Comandini, Fuschino,

 Paduano and Volk actions. Such documents may be made available to anyone requesting same at

 no expense to Defendants, provided however that all parties are bound by, and shall act in

 compliance with, all operative protective orders and/or sealing orders in making these materials

 available.

    2.5.2. Access to Underlying Lawsuit Documents. Subject to § 2.5.3, at no expense to

 Defendants, access to non-confidential documents produced in discovery comprising Underlying

 Lawsuit pleadings and documents shall be restricted to verified Class Members and their

 attorneys, the Settlement Trustee and its employees, the Administrator, Lien Administrator,

 Class Counsel, the Court and Court personnel and such other persons that the Settlement Trustee,

 Class Counsel or the Court in their respective discretion permit.

    2.5.3. Qualification Searches. During the Claims Period where a member of the public has a

 credible good faith belief that he may be a Class Member but is reasonably unable to secure

 necessary information to determine if he is a Class Member, on request to the Administrator

 certifying such fact along with stating the basis for the good faith belief he is a class member and

 providing appropriate identification information, including social security numbers, the

 Administrator will make a reasonable computer word search of the Underlying Lawsuit


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 Documents to see if there is match and if so, allow limited time access and download capability to

 the archival record to search for documents supporting the person’s claim to class membership.

 For avoidance of doubt, the costs of Qualification Searches shall be permitted payments from the

 Cost Fund under § 5.1.2.

   2.6. No Additional Payments by Defendants.

     2.6.1. Notwithstanding anything to the contrary in this Settlement Agreement, the Notice Plan,

 the Plan of Distribution, or any other associated documents or agreements, the Defendants will

 have no additional payment obligations in connection with this Settlement Agreement other than

 those set forth in § 2.6.2.

     2.6.2. For avoidance of doubt, the Defendants shall be required to make only the following

 payments under this Settlement Agreement:

         2.6.2.1. the Settlement Amount ($72,500,000), at the time specified by § 5.2.3;

         2.6.2.2. the Cost Fund Amount ($3,500,000), in three payments as specified in § 5.1.1;

         2.6.2.3. An amount equal to the attorneys’ fee award granted by the Court pursuant to

 § 13.1, not to exceed the Fee Amount ($22,500,000), at the time specified in § 13.1;

         2.6.2.4. An amount equal to the cost reimbursement award granted by the Court pursuant

 to § 13.1, not to exceed the Cost Reimbursement Amount ($1,200,000), at the time specified in §

 13.1.

   2.7. No Reversion of Settlement Fund Amount.

         Defendants shall not assert any claim to, or be entitled to, any refund, remittitur, reversion,

 return or diminution of the Settlement Fund, or any interest earned thereon, once the Settlement

 Fund Amount is deposited into the Settlement Fund, except as otherwise expressly provided in this

 Settlement Agreement in § 11.4.4.

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 3. Plan of Distribution

   3.1. Establishment of the Settlement Fund in Full Satisfaction

    3.1.1. The Class Representatives and Settlement Class Members shall look solely to the

 Settlement Fund being established by this Settlement Agreement for settlement and satisfaction

 from the Defendants and other Released Parties for any and all Released Claims, provided

 however, no payments from the Settlement Fund will be paid to any Class Representative or

 Settlement Class Member prior to the Effective Date.

    3.1.2. On and after the Effective Date, the Settlement Fund will be responsible for fully

 satisfying any and all Released Claims in accordance with the Plan of Distribution approved by

 the Court. This Settlement Agreement and the Plan of Distribution will be the exclusive remedy

 for any and all Released Claims by or on behalf of any and all Settlement Class Members against

 any and all Released Parties, and no Settlement Class Member will recover, directly or indirectly,

 any sums from any Released Parties for Released Claims other than those received for the Released

 Claims under the terms of this Settlement Agreement, if any.

    3.1.3. Except as may be provided by order of the Court, no Class Representative or Settlement

 Class Member shall have any individual ownership interest in the Settlement Fund or any portion

 thereof.

    3.1.4. Apart from the payments agreed to and provided in this Settlement Agreement,

 Defendants shall not be responsible or otherwise liable for any additional payments to the Class

 Representatives, to Settlement Class Members, to Class Counsel, or to any person or entity who

 provides administrative, notice, consulting, or other services described in this Settlement

 Agreement.




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   3.2. The Plan of Distribution

    3.2.1. The proposed Plan of Distribution that Class Counsel intends to present to the Court in

 the Motion for Preliminary Approval is attached to this Agreement as Exhibit C.

    3.2.2. Multiple payments to Derivative Claimants shall not be permitted in any Plan of

 Distribution. The Plan of Distribution shall contain a “One Derivative Share Rule” provision,

 meaning no matter how many Derivative Claimants may exist, a family will be entitled to a single

 derivative payment for Part A compensation.

    3.2.3. Subject to provisions of § 11.3, in the event that the Court does not preliminarily approve

 the proposed Plan of Distribution presented in the Motion for Preliminary Approval, or a proposed

 Plan that the Court preliminarily approves does not obtain final approval, Class Counsel shall

 promptly propose a revised or amended Plan, and diligently continue to develop revised and

 proposed Plans pursuant to the procedures outlined until a Plan is approved and adopted by the

 Court that becomes final and in effect. Following consultation in good faith with the Defendants

 for their suggestions and input on appropriate allocations and claims processes for the Plan of

 Distribution, Class Counsel shall have the right, responsibility and discretion to design, propose,

 defend and, if necessary revise or amend, the Plan of Distribution for the allocation and distribution

 of the Settlement Fund among Class Members, including, but not limited to, devising the Plan’s

 distribution scheme, its eligibility criteria, its claims processes, its lien clearance processes, its

 dispute resolution mechanisms, and its EIF program elements in order to achieve a fair, reasonable,

 practicable allocation and distribution of the Settlement Fund to eligible Settlement Class

 Members that will obtain Court approval. Plaintiffs will consult with Defendants for their

 suggestions and input on any proposed revisions, although the parties acknowledge that Plaintiffs,

 in the exercise of good faith, are not bound to accept them.



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    3.2.4. Should the Court direct any modification of the Plan of Distribution that requires funding

 from the Defendants, or either of them, beyond the amounts referenced in § 2.6.2 of this

 Agreement, then the Defendants shall each have the absolute and unconditional option and right,

 in their sole discretion, to unilaterally terminate and render null and void this Settlement

 Agreement.

    3.2.5. Defendants agree they will take no adverse position before the Court to any proposed

 Plan of Distribution by Class Counsel or instigate and/or support any objection to the Plan of

 Distribution by anyone. Defendants further shall obtain the agreement of co-defendants in the

 Williams Action who are Released Parties to be bound by this term.

   3.3. Extraordinary Injury Fund Requirement on Plan of Distribution’s Design

    3.3.1. The Plan of Distribution proposed by Class Counsel to the Court shall allocate Six

 Million, Five Hundred Thousand Dollars ($6.5 million) of the Settlement Fund into a sub-fund

 from which the Settlement Trustee may in exceptional and extraordinary cases of mesothelioma

 injury suffering or economic loss make bounded, discretionary supplemental compensation awards

 to claimants who timely request consideration for a supplemental award and support their Claims

 as provided in the Plan of Distribution. Any plan must also provide for the EIF sub-fund to be

 augmented by any amount of the Settlement Fund Part A sub-fund that is not distributed under the

 Plan (which reallocation of Settlement Fund assets is referred to as a “spillover”).

    3.3.2. No individual EIF compensation award by the Settlement Trustee may exceed One

 Hundred Seventy-five Thousand Dollars ($175,000).

    3.3.3. In furtherance of the equitable purpose of the EIF, where, for good cause, the Settlement

 Trustee recognizes extraordinary circumstances exist for doing so, she may waive any EIF




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 Eligibility Criteria established in the Plan where good cause and equitable reason are found to

 exist.

     3.3.4. The Settlement Trustee’s discretion to make or not make an EIF award is full, unfettered

 and absolute, and there will be no appeal or challenge of her discretionary decision allowed. For

 avoidance of doubt, the Settlement Trustee shall not be required to make any EIF awards or make

 awards sufficient to exhaust the EIF sub-fund.

     3.3.5. If the EIF (including any “spillover”) is not exhausted, the amounts remaining in the EIF

 sub-fund will then be reallocated to Part B, and used for the payment of Class Representative

 service awards approved by the Court and approved Part B claims.

   3.4. Lien Administration

     3.4.1. The Motion for Preliminary Approval of the Settlement Agreement will request that the

 Court appoint a Lien Administrator who shall be responsible to implement and administer

 processes and procedures as provided in the Plan of Distribution in order to protect the Settlement

 Fund, the Parties, counsel for the Parties, the Settlement Trustee, the Settlement Administrator and

 the Lien Administrator against liabilities relating to notice requirements and satisfaction of any

 Liens on payments being made to class members from the Settlement Fund.

     3.4.2. The Plan of Distribution will establish processes and procedures which the Lien

 Administrator will carry out to (1) identify Liens that may be held or asserted by Governmental

 Payers, Other Governmental Payers, Medicare Part C or Part D Program sponsors, and Private

 Third Party Payers/Providers; and (2) satisfy the Lien obligations of BASF, Cahill, Settlement

 Class Members, and the Settlement Fund, including any relevant reporting obligations under a

 global lien resolution approach, or facilitating the relevant reporting by providing all necessary

 reporting information for submission under Defendants’ standard operating procedures (whether

 pursuant to MSP or otherwise), provided however, that each Settlement Class Member receiving
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 an award from the Settlement Fund (and his or her respective counsel, if applicable) will be solely

 responsible for the payment, satisfaction and discharge of any all Liens.

    3.4.3. Notwithstanding any other provision of this Settlement Agreement relating to timely

 payment, the Settlement Administrator will not pay any monetary award to a Settlement Class

 Member who is or was entitled to benefits under a Governmental Payer program, Other

 Governmental Payer program, or Medicare Part C or D Program prior to either (i) the Lien

 Administrator’s determination of the final amount needed to satisfy the reimbursement obligation

 that any Government Payer or Medicare Part C or Part D Program sponsor states is due and owing

 (as reflected in a final demand letter or other formal written communication), and satisfaction and

 discharge of that reimbursement obligation as evidenced by the Lien Administrator’s receipt of a

 written satisfaction and discharge from the applicable Governmental Payer, Other Governmental

 Payer, or Medicare Part C and Part D program sponsor or other written proof of satisfaction

 reasonably acceptable to the Defendants (such as correspondence from each lienholder with the

 Settlement Class Member’s final lien amount and proof of payment); or (ii) the Lien

 Administrator’s determination of the “holdback” amount to be deducted from the monetary award

 under which such reimbursement obligation will be resolved.

    3.4.4. All compensation and payments to the Lien Administrator shall be paid solely from the

 Cost Fund as permitted payments under § 5.1.2 of this Agreement. The Lien Administrator may

 be paid from the Cost Fund: (i) reasonable compensation for its services as agreed to by Defendants

 and Class Counsel; and (ii) reasonable out-of-pocket costs and expenses directly incurred as a

 result of the Lien Administrator’s responsibilities under the Plan of Distribution. The Lien

 Administrator shall submit periodic budgets pursuant to § 5.1.3.4. The Lien Administrator’s

 compensation agreement will be embodied in a signed proposal for services from the Lien



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 Administrator, which will be submitted to the Court in connection with the Lien Administrator’s

 appointment.

     3.4.5. Within seven (7) days after the Effective Date, the Settlement Trustee will retain the

 Lien Administrator appointed by the Court. Class Counsel shall be responsible for negotiating the

 engagement contract consistent with the charges contained in the Lien Administrator’s proposal

 for services. The Lien Administrator’s retention agreement shall further require that it maintain at

 all times appropriate and sufficient bonding insurance in connection with its performance of its

 responsibilities under the Settlement Agreement and the Plan of Distribution.

     3.4.6. The Settlement Trustee will oversee the Lien Administrator and may request reports or

 information from the Lien Administrator from time to time.

     3.4.7. Each Settlement Class Member, on his or her own behalf, and on behalf of his or her

 estate, predecessors, successors, assigns, representatives, heirs, beneficiaries, executors, and

 administrators, in return for the benefits and consideration provided in this Settlement Agreement,

 will indemnify and forever hold harmless, and pay all final judgments, damages, costs, expenses,

 fines, penalties, interest, multipliers, or liabilities of, the Released Parties against any and all claims

 by Other Parties arising from, relating to, or resulting from any Lien relating to, or resulting from,

 compensation or benefits received by a Settlement Class Member pursuant to this Settlement

 Agreement or the Plan of Distribution. The amount of indemnification will not exceed the total

 compensation awarded to the Settlement Class Member under this Agreement for the Settlement

 Class Member’s claim.         CLASS REPRESENTATIVES AND SETTLEMENT CLASS

 MEMBERS ACKNOWLEDGE THAT THIS SECTION COMPLIES WITH ANY

 REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS




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 INDEMNIFIED AND THAT THIS SECTION IS CONSPICUOUS AND AFFORDS FAIR

 AND ADEQUATE NOTICE.

 3.5. Proposed Plan’s Implementation and Operations During the Interim Claims Period

    3.5.1. During the Interim Claims Period, in order for the Settlement Trustee and Settlement

 Administrator to perform certain required tasks and functions assigned to them, the proposed Plan

 preliminarily approved by the Court in its Preliminary Approval Order shall be considered

 operational and in effect unless amended or superseded by a subsequent Plan or Court order during

 the Interim Claims Period; provided however that during the Interim Claims Period (a) the

 Settlement Trustee or Settlement Administrator shall not make any distribution or payment to

 anyone from the Settlement Fund; (b) the Lien Administrator shall not commence active lien

 resolution activities beyond those necessary to establish necessary lien administration information

 systems and processes within the Plan’s claims administration or assist the Settlement

 Administrator or Settlement Trustee in responding to questions or issues relating to lien

 administration they may be called upon to respond or address.

 3.6. Defendants’ relationship and position relating to the Plan’s operations

    3.6.1. Defendants shall in good faith cooperate with Class Counsel, the Settlement Trustee, the

 Administrator and the Lien Administrator in their carrying out the approved Plan of Distribution,

 provided however that Defendants shall have no obligation to provide information or documents

 pursuant to this § 3.6.1. Defendants and any other Released Parties shall have no right to object to

 the payment of any claim to a Settlement Class Member under the approved Plan of Distribution,

 provided however that Defendants shall be permitted to exercise their rights described in § 3.10.3

 of this Agreement.




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   3.7. Consultants

    3.7.1. Class Counsel may employ consultants and professionals to assist them in the design,

 testing, and implementation of the Plan of Distribution and claims processes. The reasonable and

 necessary costs incurred by Class Counsel any time prior to the Final Approval Order in connection

 with the design, testing and implementation of the Plan of Distribution for Court approval shall be

 deemed allowable costs for which Class Counsel may request reimbursement as part of its expense

 reimbursement award if paid out of pocket, or if deferred by the consultant until the Cost Fund is

 established, shall be recognized and paid as an settlement administration cost from the Cost Fund.

 3.8. Class Members’ Responsibility Relating to Any Allocations and Claims on Plan
      Distributions to Them

    3.8.1. The Parties agree the proposed Plan of Distribution shall provide that Class Members

 receiving payments under the Plan of Distribution shall be solely responsible for any legal or

 contractual duty to which they may be subject to share a distribution received under the Plan of

 Distribution, including any payments required to extinguish Liens, to pay attorneys’ fees and costs,

 if any, to their lawyers in the Underlying Lawsuits, or to their personal attorneys representing them

 in the presentation of their claims under the Plan of Distribution, or for allocation and payment of

 any distribution shares relating to derivative claims, such as for consortium or wrongful death

 beneficiaries.

    3.8.2. The Parties agree the proposed Plan of Distribution shall provide that neither the Parties,

 the Released Parties, Class Counsel, Defendants’ Counsel, the Settlement Trustee, the

 Administrator, nor the Lien Administrator shall have any responsibility or liability to any other

 Person regarding the allocation or distribution payments paid to and received by a Settlement Class

 Member pursuant to this Agreement or the Plan of Distribution, or any claim to share in such

 payment as described above or otherwise.

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 3.9. Appointment of the Settlement Trustee, Settlement Administrator, Lien Administrator,
      Notice Agent, Cost and Settlement Funds Financial Institutions and Other Personnel
      Necessary to Implement the Settlement Agreement and Plan of Distribution

    3.9.1. The Settlement Trustee, Settlement Administrator, Notice Agent, Lien Administrator,

 Cost Fund and Settlement Fund Financial Institution and other professionals necessary to

 implement and carry out the Settlement Agreement and Plan of Distribution shall each look to the

 Cost Fund as their sole source of compensation and payment, and shall not be entitled to any

 additional compensation or payment whatsoever from the Defendants.

    3.9.2. The Settlement Trustee, Settlement Administrator, Notice Agent, Lien Administrator,

 and Cost Fund and Settlement Fund Financial Institution and other professionals necessary to

 implement and carry out the Settlement Agreement and Plan of Distribution shall be subject to

 Court approval, and all shall serve at the Court’s pleasure. Subject to approval of the candidates

 by the Defendants, which shall not be unreasonably withheld, Class Counsel shall identify, vet,

 and nominate candidates for these positions to the Court for appointment who are free from

 conflicts of interest and shall negotiate the contracts relating to their engagement and

 compensation.

    3.9.3. Without prejudice, Class Counsel intends to nominate to Court the following persons or

 companies: the Hon. Marina Corodemus, J.S.C. (retired) as the Settlement Trustee; PNC Bank,

 National Association as the Settlement Fund Financial Institution; Verus LLC as the Settlement

 Administrator; BrownGreer, PLC as the Notice Agent, Edgar Gentile, III, Esquire as the Lien

 Administrator and PNC Bank as the Cost Fund and Settlement Fund Financial Institution..

    3.9.4. Class Counsel, Defendants’ Counsel, the Settlement Trustee, and the Settlement

 Administrator will establish and implement procedures to promptly detect and resolve possible

 conflicts of interest between the Settlement Administrator, including, without limitation, its

 executive leadership team and all employees working on the Plan of Distribution, on the one hand,
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 and Settlement Class Members and their counsel (if any), Defendants, Defendants’ Counsel, or the

 Settlement Trustee, on the other hand. Class Counsel, Defendants’ Counsel, and the Settlement

 Administrator may modify such procedures in the future, if appropriate.

 3.10. Settlement Statistics and Reporting

    3.10.1. The Settlement Administrator shall compile and make available to Class Counsel,

 Defendants, Defendants’ Counsel, and the Settlement Trustee, at their request, reports containing

 summary statistics detailing the implementation of the Plan of Distribution. Such reports shall

 include information regarding the status of the Plan of Distribution including, without limitation,

 the Settlement Administrator’s fees and expenses, the number of proper and timely Opt-Outs and

 the identities of such Opt-Outs, the number and type of Claim Submissions received, the number

 and type of Claim Submissions fully processed and the number and type of Claim Submissions in

 process. Class Counsel or Defendants may request an independent certified public accountant, to

 be appointed by the Court and compensated from the Cost Fund, to audit the fees and expenses

 charged by the Settlement Administrator.

    3.10.2. In addition to the reporting described in Section 3.10.1, the Settlement Administrator

 shall provide to the Defendants and Class Counsel a monthly report of Claim Submissions

 adjudicated for eligibility pursuant to the Plan of Distribution as well as the material relied upon

 by Verus to determine eligibility of the claim, including the claim form. Defendants and Class

 Counsel will receive for each Claim Submission adjudicated: (i) the date the Claim Submission

 was received; (ii) the name and address of the Claimant; (iii) the name and address of counsel for

 the Claimant, if any; (iv) the name and date of birth of the Injured Person associated with the Claim

 Submission; (v) the disease or diagnosis of the Injured Person on which the Claim Submission is

 based; (vi) the name and address of all physicians or medical professionals whose reports or



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 documentation were included in the Claim Submission; and (vii) the dates of the Injured Person’s

 alleged exposure to Emtal Talc.

     3.10.3. Either Defendant may ask the Settlement Administrator to review a specific approved

 claim or claims other than EIF claims based upon assertions of fraud in the claim submission or

 mistake in the adjudication of the claim. Such requests must be in writing, with a copy to Class

 Counsel and the Other Defendant and provide a good faith basis stating with particularity the

 circumstances constituting fraud or mistake.

             3.10.3.1. The total number of review requests from both Defendants is limited to no

   more than ten percent (10%) of the total number approved claims by the Settlement

   Administrator during the Plan’s entire administration. Fraudulent claims found in audits

   conducted under this section shall not count towards the ten percent (10%) limit established in

   this paragraph. A Defendant’s or its insurer’s disagreement with a claim’s qualifying injury level

   diagnosis that is correctly based upon a source allowed by the Plan shall not be grounds for

   requesting that a specific claim be reviewed.

             3.10.3.2. Alleged Mistake Reviews. The Settlement Administrator shall review claims

   of mistake in the adjudication including, if in its discretion such is necessary, requesting

   additional information about or auditing the claim to make a determination of claim eligibility.

   The Settlement Administrator will report its finding to the Settlement Trustee, Defendants, and

   Class Counsel. The determination of the Settlement Administrator is final and non-appealable.

             3.10.3.3. Alleged Fraud Reviews. The Settlement Administrator shall review claims

   of fraud in the claims submission, including, if in its discretion such is necessary, requesting

   additional information about, or auditing the claim, and report its finding to the Settlement

   Trustee who, upon review of the claim material and report of the Settlement Administrator, will



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   make a determination of eligibility of the claim. The Settlement Trustee will report her finding

   to the Defendants and Class Counsel. This determination by the Settlement Trustee is final and

   non-appealable. If either the Settlement Administrator or the Settlement Trustee determines that

   a claim submission is fraudulent, the Settlement Administrator or Settlement Trustee, as the case

   may be, shall report the finding to the District Judge and/or Magistrate Judge presiding over the

   Williams Action.

              3.10.3.4. The results of all audits under this section shall be reported to all Parties.

              3.10.3.5. All requests by a Defendant for a review under this section shall be submitted

   to the Settlement Administrator no later than 60 days after the Claims Determination Deadline.

              3.10.3.6. The Settlement Trustee and Administrator will maintain time records for

   time spent on Defendants’ audits under this section. If Defendants jointly request an audit under

   this section, the costs shall be paid from the Cost Fund, to the extent possible, with the Defendants

   each severally responsible for half of the remaining amount. If only one Defendant requests an

   audit under this section, that Defendant shall be solely responsible for paying those costs.

     3.10.4. Following the Effective Date and completion of claims processing and prior to the

 submission of any application to the Court under the Plan for approval of proposed claim

 distributions, the Settlement Trustee in consultation with the Settlement Administrator shall

 provide to the Class Counsel and Defendants a report of payments to be made from the Settlement

 Fund and claims for payment from the Settlement Fund that were denied. The report shall include,

 for each claim to be paid or denied upon Court Approval of the schedule of distributions: (i) the

 date the Claim Submission was received; (ii) the name and address of the Claimant; (iii) the name

 and address of counsel for the Claimant on the Claim, if any; (iv) the name and date of birth of the

 Injured Person associated with the Claim Submission; (v) the disease or diagnosis of the Injured



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 Person on which the Claim Submission is based; (vi) the name and address of all physicians or

 medical professionals whose reports or documentation were included in the Claim Submission;

 and; (vii) the dates of the Injured Person’s alleged exposure to Emtal Talc; and (viii) the amount

 of the payment to be made to the Claimant or, if payment was denied, the reason for the denial.

    3.10.5. Defendants and/or their counsel, as well as any of Defendants’ insurers or the insurers’

 counsel, shall maintain the confidentiality and shall not reveal or divulge in any way or means the

 contents of all material and reports provided as described in this Section to anyone except (i) as

 may be required to enforce its release rights under this Settlement Agreement, (ii) to resolve

 Defendants’ and their respective insurance carrier’s insurance coverage issues related to the

 specific claims of the Class Members against the Defendants, provided the Defendants and their

 insurers agree to maintain such material as confidential and its use strictly limited to resolving

 Defendants’ claims for insurance coverage. Without limiting the generality of the foregoing, and

 to avoid any doubt, the information obtained under this section shall not be divulged or used by

 Defendants or their insurers in any matter or for any use or purpose other than in connection with

 insurance dispute coverage actions between Defendants and their respective insurance carriers

 relating to coverage of the claims asserted by Class Members against Defendants. Defendants shall

 prior to providing this information to any of their insurers or counsel for insurers, obtain their

 written agreement(s) to abide by this confidentiality covenant and the Court’s jurisdiction over

 them to enforce it, and deliver a copy of such agreement(s) to Class Counsel, the Settlement

 Administrator and the Settlement Trustee. The Defendants further acknowledge and agree that

 Class Members may or will be irreparably injured upon a breach of the covenants of this section,

 and that in the event of an actual or threatened breach, any one or more Class Members shall be

 jointly and severally entitled to seek and obtain an injunction in addition to any other available



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 remedy and regardless of whether or not there is an adequate remedy at law available. Defendants

 shall, within 30 days of the Effective Date, certify that all copies of any material provided pursuant

 to this Agreement have been destroyed and electronic versions permanently deleted. The

 Settlement Administrator shall maintain all claims data for 180 days after the Effective Date.

    3.10.6. For avoidance of doubt, and notwithstanding anything to the contrary in this Settlement

 Agreement, no provision of this Settlement Agreement shall be read to limit any person or entity’s

 ability in good faith to report suspected fraud to the Court, subject to the Rules of Professional

 Conduct.

 4. Audit Rights and Detection and Prevention of Fraud

    4.1. The Settlement Fund’s Plan of Distribution will contain anti-fraud and audit procedures

 (“Fraud Prevention Provisions”), at least meeting the standards described in Section 4.3 below, to

 be followed by the Administrator and the Settlement Trustee in order to prevent fraudulent

 submissions to, and payment of fraudulent claims from the Settlement Fund. The Plan’s Fraud

 Prevention Provisions may not be deviated from or changed by the Settlement Trustee or

 Administrator without first obtaining leave from the Court to do so, with notice of such request to,

 and right to be heard on, by Class Counsel before changes are implemented. Where the Settlement

 Trustee, in her discretion, deems it reasonable and necessary, she may request the Court to permit

 modification of or additional Fraud Prevention Provisions to protect the Settlement Fund and the

 Claims Process. Class Counsel where good cause exists may also suggest to the Settlement Trustee

 modification of or additional provisions be added to the Fraud Prevention Provisions to protect the

 Settlement Fund and the Claims Process. If the Settlement Trustee rejects such requests, Class

 Counsel may request that the Court consider and order the suggested change(s). Defendants shall

 have no role in nor any responsibility for the administration of the Plan’s Fraud Prevention

 Provisions.
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    4.2. All statements made in Claim Submissions submitted to the Settlement Administrator and

 to the Court shall be and are deemed sworn statements under penalty of perjury that the information

 provided is true and correct to the best of the Claimants’ knowledge, information, and belief. All

 statements and documentary proof in a Claim Submission are subject to verification, investigation,

 review, and/or audit by the Settlement Administrator.

   4.3. The Proposed Plan of Distribution will include the following initial Fraud Prevention

 Provisions to be established and implemented by the Settlement Trustee and Administrator to

 prevent fraudulent submissions to, and payment of fraudulent claims from the Settlement Fund:

        4.3.1. A statement of purpose, general description and timing of the Audit Program.

 The purpose of the Plan’s Fraud Prevention Provisions is to ensure (A) that the Settlement Fund

 accepts and pays only legitimate claims presented by or on behalf of legitimate claimants that are

 eligible to share in the Settlement Fund under the Plan; and (B) that each claimant or law firm

 representing a claimant shall maintain during and through the claims administration process any

 documentation they possess that supports the claim submitted electronically or via hard copy claim

 form. The Settlement Administrator’s audit of claims will be performed prior to distribution to

 claimants.

    4.3.2. Claim Audit Sample Selection.

        4.3.2.1. The Settlement Administrator will randomly select from the population of

 reviewed and qualified claims filed with the Settlement Fund a sample of claims for audit. The

 sample size will be based upon achieving a confidence level of 95% and a maximum margin of

 error (ME) of 5%.

        4.3.2.2. Each Claimant and Claimant’s law firm, if any, of each claim selected for inclusion

 in the audit sample will be informed that their claim has been selected for audit under the Plan of


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 Distribution as part of the Settlement’s Fund’s claim integrity program. Claimants and/or Claimant

 law firms will be afforded a twenty (20) day opportunity from the date of notice to satisfactorily

 provide any requested claim documentation for each claimant selected. If a Claimant or law firm

 fails to comply with the audit request, the Settlement Trustee may at her discretion direct the

 Administrator to reject the claim, or if a law firm is involved and represents more than one

 Claimant before the Settlement Fund, suspend payment of all claims filed by such non-responsive

 law firm, or take such other action as the Settlement Trustee deems appropriate, including, but not

 limited to, recommending imposition of any sanctions available under Rule 11 of the Federal Rules

 of Civil Procedure. The Administrator will complete the audit of a selected claim within thirty (30)

 days following submission by the Claimant or his or her law firm of all requested claim information

 to it.

     4.3.3. Audit Documentation Requirements.

          4.3.3.1. For each claim sampled, the claimant or law firm as the case may be, will be

 required to provide any or all non-privileged documents of the types listed below, as may be

 specified by the Settlement Administrator, that the claimant or law firm possesses and relied upon

 in submitting the subject claim to the Settlement Fund:

               Complaint or Amended Complaint showing an Underlying Lawsuit filed and
          erved against Engelhard/BASF (b) which lawsuit credibly asserted in good faith an
          asbestos injury caused by alleged exposure to Emtal Talc and (c) which lawsuit was
          dismissed as to Engelhard/BASF voluntarily or involuntarily

               Answers to interrogatories

               Transcripts of depositions of the claimant and/or co-workers

               Verified work histories

               Social Security records



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        F.      All exposure affidavits executed by the claimant, co-workers, or family members
        related to the claim.

        G.      All B-reading interpretations and ILO forms (except for mesothelioma claims).

        H.      All chest x-ray/chest CT scan reports (except for mesothelioma claims).

        I.     All pulmonary function tests (including tracings and flow volume loops) for
        Severe Asbestosis and Asbestosis/Pleural Disease with reduced pulmonary function
        claims only.

        J.      All pathology or autopsy reports documenting asbestosis, asbestos-related pleural
        disease, malignant mesothelioma or a primary carcinoma of the lung, colon, esophagus,
        larynx, pharynx or stomach.

        K.      Admission, history and physical and discharge summaries of any hospitalizations
        for asbestos-related disease and/or any malignant disease which is recognized as
        compensable under the Plan.

        L.      All physical examination or pulmonary consultation reports.

        M.      All non-privileged interpretive reports provided by experts retained by counsel or
        the claimant to review tests, x-rays, or diagnostic reports in order to render an opinion.

        4.3.3.2. The Settlement Administrator will not require the production of original x-ray

 films and will not be re-reading such films or retesting claimants in the normal course of the claims

 audit. However, the Settlement Administrator will reserve the right to request such original

 evidence and to expand the scope of the audit for targeted populations of claims in the event a

 pattern of submitting misleading or potentially fraudulent information is found. The standard of

 analysis for such a pattern shall not be based on the existence of questions of fact among the various

 testimonial sources, but rather on evidence of an actual intent to deceive or defraud the Settlement

 Fund. Both the Settlement Administrator and any individual claimant/attorney shall be afforded

 all due process by the Settlement Trustee in resolving any merits issues on existence of such

 evidence.

    4.3.4. Review. The Administrator will review all documentation provided by the claimant or

 law firms in a timely manner in order to answer the following questions relative to each claim:
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        4.3.4.1. Is there documentation in the Claimant’s, Claimant’s law firm’s or Settlement

 Fund’s database, including the archive documents referred to in the Williams Action Settlement

 Agreement, to support the legitimacy of the claim submitted to the Settlement Fund, including

 proof that the Claimant is either the Injured Person in the Underlying Lawsuit on which class

 membership is based or the personal representative or heir of such Injured Person?

        4.3.4.2. Where applicable, is the medical documentation submitted consistent with

 established medical guidelines for establishing a diagnosis of an asbestos-related disease and

 supportive of the disease level submitted to the Settlement Fund?

    4.3.5. Claimant Counsel’s Management Representation Requirement. Each lawyer, or

 his or her law firm, representing claimants before the Settlement Fund in connection with claims

 submitted to the Settlement Fund will be required to sign a law firm management representation

 letter in a form developed and adopted by the Settlement Trustee in which the law firm

 represents to the Settlement Fund at least the following:

    A. An acknowledgment by the lawyer or its law firm of its responsibility, as the filing law
       firm, to comply with the requirements of Rule 11(b) of the Federal Rules of Civil Procedure
       in presenting information to the Settlement Fund and to provide all non‐privileged
       documentation required by the Settlement Fund’s claims audit programs; and

    B. That all of the claimants to the Settlement Fund the lawyer or law firm are representing
       before the Settlement Fund, including any claimants selected for audit the lawyer or law
       firm represents, are either the Injured Person in the Underlying Lawsuit on which class
       membership is based or the personal representative or heir of such Injured Person. That in
       making this representation the lawyer or law firm has either first-hand knowledge of the
       Claimant’s identity and relationship to the Injured Person in the Underlying Lawsuit or has
       taken sufficient and appropriate investigatory measures to verify their identity and
       relationship of the Claimant to the Injured Person in the Underlying Lawsuit; and

    C. To the best of the lawyer or law firm’s knowledge and belief, as of the date of the
       representation letter that lawyer or law firm has provided the Settlement Fund with
       complete and accurate copies of all of the non‐privileged documents requested and required
       by the audit of the audited claimant(s) pursuant to the terms of the claims audit program.



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    4.4. If the Settlement Administrator at any time has reason to believe that a Class Member has

 made an intentional misrepresentation, omission, or concealment of a material fact in a Claim

 Submission, or has provided fraudulent proof in support of a Claim Submission, the Settlement

 Administrator shall discontinue processing the Claim Submission and report the alleged intentional

 misrepresentation, omission, or concealment of material fact and/or alleged fraudulent proof to the

 Settlement Trustee and Class Counsel.

 5. Establishment of the Cost Fund and Settlement Fund

   5.1. Cost Fund Provisions

    5.1.1. Creation and Funding of the Cost Fund

        5.1.1.1. Within fourteen (14) days of the Court’s entry of the Preliminary Approval Order,

 Class Counsel will obtain a taxpayer identification number for the Cost Fund and thereafter open

 an interest-bearing escrow account under New Jersey law at the Cost Fund Financial Institution,

 titled “Emtal Talc Settlement Cost Fund.”

        5.1.1.2. Upon notification of the account’s existence, Defendants shall within thirty (30)

 days each deposit 30% of their respective shares of the Cost Fund Amount, for a total of One-

 Million Fifty Thousand Dollars ($1,050,000), by wire transfer into the Cost Fund account at the

 Cost Fund Bank as the Cost Fund’s initial funding. Should the Settlement Administrator and/or

 the Settlement Trustee report the amount of the Cost Fund is insufficient to cover current expenses,

 the next payment may be accelerated upon receipt by Defendants of at least 30 days’ notice, with

 such notice to include explanation from the Settlement Administrator and/or Settlement Trustee of

 the need for the accelerated payment.

        5.1.1.3. Upon entry of the Final Approval Order, Defendants shall within thirty (30) days

 each deposit an additional 30% of their respective shares of the Cost Fund Amount, for a total of


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 One-Million Fifty Thousand Dollars ($1,050,000), by wire transfer into the Cost Fund account at

 the Cost Fund Financial Institution as the second Cost Fund Payment.

        5.1.1.4. Within thirty (30) days of this Final Approval Order becoming Final, Defendants

 shall each deposit the remaining 40% of their respective shares of the Cost Fund Amount, for a

 total of One-Million Four-Hundred Thousand Dollars ($1,400,000), by wire transfer into the Cost

 Fund account at the Cost Fund Financial Institution, as the Final Cost Fund Payment.

        5.1.1.5. Notwithstanding anything in this Agreement to the contrary, until the Final

 Approval Order becomes Final and while the Settlement Agreement is in effect, Defendants will

 be continuously obligated to fund their shares of the entire Cost Fund up to its entire limit so that

 the Cost Fund and Settlement Trustee may and can timely pay when due all necessary and required

 Cost Fund expenses incurred for Settlement Notices, Claims Administration, Lien Administration,

 Settlement Trustee compensation and expenses and other costs permitted from the Cost Fund. The

 Defendants will make such additional payments needed to fund such expenses within thirty (30)

 days of notice of the amount required from the Settlement Trustee, with such notice to include

 explanation from the Settlement Administrator and/or Settlement Trustee of the need for the

 accelerated payment. Where such advanced payments are required, the remaining Second and

 Third Cost Fund payments shall be ratably adjusted to reflect the advanced payments.

        5.1.1.6. Defendants’ Cooperation Covenant. Defendants agree to cooperate with Class

 Counsel and the Settlement Trustee in establishing the Cost Fund and in executing the Class

 Notice, including by providing non-privileged information in their possession reasonably required

 to carry out notice to the Class Members in accordance with the Preliminary Approval Order, the

 Notice Plan and the Plan of Distribution. The Cost Fund account shall be treated as a Qualified



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 Settlement Fund, and any taxes due as a result of income earned by the Cost Fund will be paid

 from the Cost Fund.

        5.1.1.7. The Cost Fund account shall be deemed and considered to be in custodia legis of

 the Court and remain subject to the Court’s jurisdiction until such time as the funds therein have

 been fully expended or unused funds remitted back to the Defendants according to their interests

 pursuant to the terms of the Settlement Agreement.

        5.1.1.8. The Settlement Trustee shall be authorized to order transfers or withdrawals from

 the Cost Fund to make permitted payments from the Cost Fund authorized under § 5.1.2.

    5.1.2. Permitted Payments from the Cost Fund

        5.1.2.1. The Cost Fund, together with any income earned thereon, shall be used to pay the

 reasonable and necessary costs, expenses, and fees of or incurred by:

           (a) the Settlement Trustee, Settlement Administrator and Notice Agent pursuant to the
               terms of the Notice Plan to be submitted and approved by the Court in the
               Preliminary Approval Order as set forth in § 5.1.3.3 hereof;

           (b) the Settlement Trustee, Settlement Administrator and Lien Administrator in
               connection with their duties and functions during the Interim Claims Period pursuant
               to the Preliminary Approval Order and under and pursuant to the proposed Plan of
               Distribution under consideration by the Court or the Plan approved by the Court
               following entry of the Final Approval Order prior to the Effective Date; and

           (c) the Settlement Trustee, Settlement Administrator and Lien Administrator in
               connection with their carrying out the terms of the Plan of Distribution and the
               administration of the Settlement Fund as set forth in § 3 hereof.

        5.1.2.2. The Settlement Trustee shall have the authority to draw funds on demand from the

 Cost Fund to pay such costs, expenses and fees.

        5.1.2.3. Any fees or costs levied by the Cost Fund Financial Institution in connection with

 the creation or maintenance of the Cost Fund account will be paid from the Cost Fund as a

 permitted payment.

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        5.1.2.4. If, following the Effective Date, permitted payments from the Cost Fund exceed

 the available balance in the Cost Fund, Class Counsel may petition the Court to authorize the

 transfer of any necessary amounts from the Settlement Fund to the Cost Fund. In no event shall

 the Defendants, or either of them, be required to deposit any funds into the Cost Fund in excess of

 the Cost Fund Amount.

    5.1.3. Cost Fund Budget and Accounting

        5.1.3.1. The Settlement Trustee shall be responsible for all accounting and internal controls

 relating to the Cost Fund and for preparing tax returns and paying any taxes on income earned by

 the Cost Fund. The Settlement Trustee may delegate the ministerial aspects of these duties to the

 Settlement Administrator and may engage professionals to prepare tax returns relating to the Cost

 Fund. The costs and fees for these functions shall be permitted payments from the Cost Fund

 authorized under § 5.1.2.1 and paid or reimbursed from the Cost Fund.

        5.1.3.2. The Settlement Trustee, with the assistance of the Settlement Administrator who

 shall be responsible for its preparation, shall provide a monthly accounting to Class Counsel and

 Defendants’ Counsel of amounts paid from the Cost Fund and a final accounting to the Court,

 Class Counsel, and Defendants’ Counsel after final completion of the Notice Plan and the Plan of

 Distribution.

        5.1.3.3. Prior to seeking the Preliminary Approval Order, Class Counsel and Defendants’

 Counsel shall jointly develop and agree upon an initial Cost Fund budget addressing the expenses

 of the Notice Plan and the operation of the Settlement Fund administration during the Interim

 Claims Period. Items on the budget shall be permitted payments from the Cost Fund authorized

 under § 5.1.2 and the Settlement Trustee shall be authorized to direct withdrawals and transfers

 from the Cost Fund Account to the Administrator’s disbursement account.

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        5.1.3.4. Following the entry of the Final Approval Order, the Settlement Trustee and

 Settlement Administrator shall prepare and submit a Cost Fund budget for the next quarter to Class

 Counsel and Defendants’ Counsel. Thereafter, proposed budgets will be due 30 days prior to the

 beginning of each quarter. Class Counsel and Defendants’ Counsel shall review each proposed

 budget and, within 14 days of submission, either approve the budget as submitted or notify the

 Settlement Trustee, Settlement Administrator, and opposing counsel of any issues with or

 objections to the proposed budget. The Settlement Trustee, Settlement Administrator, and counsel

 will then work promptly and in good faith to resolve them, and, if unable to do so, then promptly

 apply to the Court for a summary ruling.

        5.1.3.5. Once a budget is approved by Class Counsel and Defendants’ Counsel, or if a

 dispute exists and is resolved by the Court, the Settlement Trustee is authorized to transfer funds

 from the Cost Fund to the Settlement Administrator’s disbursement account to pay permitted

 payments from the Cost Fund authorized under § 5.1.2 in accordance with the budget.

        5.1.3.6. After the Settlement Trustee has filed the final accounting with the Court, the

 Defendants may file a motion with the Court for the return of any unused balance to be shared

 between them in proportion to the percentage each funded the Cost Fund.

   5.2. Settlement Fund Provisions

    5.2.1. Creation of the Settlement Fund

        5.2.1.1. Within fourteen (14) days of the entry of the Preliminary Approval Order, Class

 Counsel and Defendants will take the steps necessary to create the Settlement Fund.

        5.2.1.2. The Settlement Trustee, Class Counsel, the Settlement Fund Financial Institution

 and the Defendants will execute an escrow agreement for the Settlement Fund as approved by the

 Court, substantially in the form attached as Exhibit E to this Agreement.

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        5.2.1.3. The Settlement Fund will be treated as a Qualified Settlement Fund, and any taxes

 due as a result of income earned by the Settlement Fund will be paid from the Settlement Fund.

    5.2.2. Settlement Fund Operations During Interim Claims Period

        5.2.2.1. The Settlement Trustee and Settlement Administrator, once appointed by the Court

 in the Preliminary Order, shall be empowered to act and serve during the Interim Claims Period as

 provided in the Preliminary Order and this Settlement Agreement.

    5.2.3. Payment of the Settlement Amount into the Settlement Fund

        5.2.3.1. Within thirty (30) days of the Final Approval Order becoming Final, the

 Defendants shall fully fund the Settlement Fund by wire transfer of the Settlement Amount

 ($72,500,000). BASF shall pay 60% of the Settlement Amount ($43,500,000) and Cahill shall pay

 40% of the Settlement Amount ($29,000,000).

        5.2.3.2. Defendants’ payment of the Settlement Amount to the Settlement Fund shall

 relieve Defendants of any liability with respect to the authentication of claims to payment from

 the Settlement Fund, the allocation of the Settlement Fund among the Settlement Class Members,

 and the timing and method of Settlement Fund distributions.

    5.2.4. Settlement Fund Assets

        5.2.4.1. The Settlement Fund will be held in escrow by the Settlement Fund Financial

 Institution and used by the Settlement Trustee for the use and benefit of Settlement Class Members

 in accordance with the Plan of Distribution approved by the Court.

        5.2.4.2. Interest earned on the Settlement Fund in the escrow account will be added to the

 balance of the Settlement Fund and distributed in accordance with the Settlement Agreement or

 the Plan of Distribution approved by the Court, whichever is controlling distributions at the time.


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    5.2.5. Settlement Fund’s Distribution to Settlement Class Members

        5.2.5.1. Monies from the Settlement Fund shall be distributed to Settlement Class Members

 in accordance with the Plan of Distribution as approved by the Court only after the Final Approval

 Order becomes Final and the Effective Date occurs.

        5.2.5.2. Settlement Class Members must look solely to the Settlement Fund for settlement

 and satisfaction of all Released Claims, and only to the extent and as provided in the Settlement

 Agreement and the approved Plan of Distribution.

 6. Releases

   6.1. Release of Released Claims

     6.1.1. On the Effective Date, the Releasing Parties shall, by operation of this Settlement

 Agreement and the terms of the Final Approval Order, fully, finally, and forever release,

 relinquish, and discharge the Released Parties from any and all of the Released Claims, including

 without limitation Released Claims based on any injuries or diseases that the Releasing Parties

 may at any time in the future claim were caused in whole or in part by Emtal Talc. For clarification

 purposes and without limiting the foregoing, on the Effective Date, the Releasing Parties

 specifically release any and all Released Claims that could in the future be asserted against the

 Released Parties for any injuries, diseases, or damages that have not yet developed, been

 diagnosed, or been incurred at the time of this Agreement or the Effective Date, including but not

 limited to asbestosis, lung cancer, mesothelioma, and any other cancer or bodily injury, or any

 damages therefrom. To the extent that any law, statute, ordinance, rule, regulation, case, or other

 legal provision or authority may at any time purport to preserve any Releasing Party’s right to

 hereinafter assert any such unknown and/or unanticipated claims, the Releasing Parties specifically




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 and expressly waive, to the fullest extent permitted by applicable law, each Releasing Party’s rights

 under such law. The Parties acknowledge that New Jersey law governs the scope of this release.

      6.1.2. The Parties agree that upon the Effective Date, all Released Claims shall be dismissed

 with prejudice in accordance with the Final Approval Order entered by the Court.

   6.2. Covenant Not to Sue

      6.2.1. From and after the Effective Date, for the consideration provided for herein and by

 operation of the Final Approval Order, the Settlement Class and Class Representatives, and each

 Settlement Class Member, on behalf of the Releasing Parties, and each of them, covenant, promise,

 and agree that they will not, at any time, continue to prosecute, commence, file, initiate, institute,

 cause to be instituted, assist in instituting, or permit to be instituted on their, his, her, or its behalf,

 or on behalf of any other individual or entity, any proceeding: (a) alleging or asserting any of the

 Released Claims against the Released Parties in any federal court, state court, arbitration,

 regulatory agency, or other tribunal or forum; or (b) challenging the validity of the releases

 contained in this Agreement. To the extent any such proceeding exists in any court, tribunal, or

 other forum on the Effective Date, the Releasing Parties covenant, promise, and agree to withdraw,

 and seek a dismissal with prejudice of, such proceeding forthwith.

   6.3. Effect and Scope of Release; Waiver of Protective Statutes and Rules; and
        Assumption of Risk

     6.3.1. Any release herein or bar order in favor of the Released Parties shall be, and shall be

 construed as, a joint tortfeasor release under and pursuant to the laws of New Jersey, including the

 Comparative Negligence Act, N J. Stat. Ann. § 2A; § 15-5.2, and the Joint Tortfeasors Contribution

 Law, N.J. Stat. Ann. § 2A:53A-2.

     6.3.2. Without limitation of the generality of the foregoing, and for purposes of avoiding any

 doubt, any Settlement Class Member subject to a verdict or judgment reduction of any claim in


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 any way related to the Released Claims is not, unless otherwise released in and by this Settlement

 Agreement or Final Approval Order, releasing any claim or demand that he/she/it has or may have

 against any individual and/or Entity other than the Released Parties. Unless otherwise provided in

 this Settlement Agreement and the Final Approval Order, the rights of the Releasing Parties are

 specifically reserved and preserved to make claims against any and every other individual and/or

 Entity other than the Released Parties, with such rights reserved to the fullest extent possible and

 which reserved claims include, without limitation, any and all rights, claims and remedies against

 Other Parties, and to make claims that said Other Parties are not released and are solely liable to

 Releasing Parties for injuries, losses and damages. This reservation shall take precedence and be

 controlling over any provision or term to the contrary.

    6.3.3. On the Effective Date, the Releasing Parties shall be deemed to have, and by operation

 of this Settlement Agreement and the Final Approval Order, in which this provision is incorporated

 into, shall have, with respect to the subject matter of the Released Claims, expressly waived the

 benefits of any statutory provisions or common law rules that provide, in sum or substance, that a

 general release does not extend to claims which the party does not know or suspect to exist in its

 favor at the time of executing the release, which if known by it, would have materially affected its

 settlement with any other party. In particular, but without limitation, the Releasing Parties waive

 the provisions of California Civil Code § 1542 (or any like or similar statute or common law

 doctrine) and do so understanding the significance of that waiver. Section 1542 provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
        TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR OR RELEASED PARTY.




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    Neither this paragraph nor any other provision of this Settlement Agreement shall be construed

 to effectuate a general release of claims. The releases provided for in this Settlement Agreement

 are limited to the Released Claims, as defined above. The Class Representatives acknowledge, and

 the Releasing Parties shall be deemed by operation of the Final Approval Order to have

 acknowledged, that the foregoing waiver was separately bargained for and a key element of the

 Settlement Agreement of which this release is a part.

    6.3.4. Each Releasing Party may hereafter discover facts other than or different from those

 which he, she, or it knows or believes to be true with respect to the Released Claims which are the

 subject matter of this § 6, but each Releasing Party hereby, expressly waives and fully, finally, and

 forever settles and releases, upon the Effective Date, any known or unknown, suspected or

 unsuspected, contingent or non-contingent Released Claims whether or not concealed or hidden,

 without regard to the subsequent discovery or existence of such different or additional facts.

   6.4. Additional Releases

    6.4.1. On the Effective Date, in consideration of the benefits described and the agreements and

 covenants contained in this Settlement Agreement, the Releasing Parties shall be deemed to, and

 by operation of this Settlement Agreement and the Final Approval Order, release, forever

 discharge, and hold harmless the Released Parties from any and all claims, including unknown

 claims, arising from, relating to, or resulting from the reporting, transmittal of information, or

 communications between or among the Defendants, Defendants’ Counsel, the Settlement Trustee,

 the Settlement Administrator, the Lien Administrator, and any Governmental Payer and/or

 Medicare Part C or Part D Program sponsor regarding any claim for benefits under this Settlement

 Agreement, including any consequences in the event that this Settlement Agreement impacts,




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 limits, or precludes ant Settlement Class Member’s right to benefits under Social Security or from

 any Governmental Payer or Medicare Part C or Part D Program sponsor.

    6.4.2. On the Effective Date, in consideration of the benefits described and the agreements and

 covenants contained in this Settlement Agreement, the Releasing Parties shall be deemed to, and

 by operation of this Settlement Agreement and the Final Approval Order in which this provision

 is incorporated into, shall, release, forever discharge, and hold harmless the Released Parties from

 any and all claims, including unknown claims, pursuant to the MSP, or other similar causes of

 action, arising from, relating to, or resulting from the failure or alleged failure of any of the

 Released Parties to provide for a primary payment or appropriate reimbursement to a

 Governmental Payer or Medicare Part C or Part D Program sponsor with a Lien in connection with

 claims for medical items, services, and/or prescription drugs provided in connection with

 compensation or benefits claimed or received by a Settlement Class Member pursuant to this

 Settlement Agreement.

   6.5. Stay of Proceedings

    6.5.1. The Parties agree to request that the Court, in the Preliminary Approval Order, stay this

 Action and all Related Lawsuits, and enjoin all Settlement Class Members, unless and until they

 have been excluded from the Class by action of the Court, or until the Court denies approval of

 this settlement, or until the Settlement Agreement is otherwise terminated, from filing,

 commencing, prosecuting, intervening in, participating in, and/or maintaining, as plaintiffs,

 claimants, or class members, any Related Lawsuit.




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 7. Deadlines

     7.1. Unless otherwise ordered by the Court, the following deadlines shall apply. In the case of

 a discrepancy between the table below and the text of this Agreement, the dates in the following

 table shall control:


                    ACTION                                            TIMING
                                                              10 days after Motion for
             CAFA Notice Deadline
                                                            Preliminary Approval is filed
                                                            14 days after issuance of the
    Cost Fund and Settlement Fund Created
                                                            Preliminary Approval Order
                                                            14 days after issuance of the
              Notice First Published
                                                            Preliminary Approval Order
           Defendants’ First Payment
                                                         30 days after the Cost Fund created
               to the Cost Fund
    Fee and Expense Applications Deadline              30 days after Notice is first published

                Opt-Out Deadline                      90 days after the Notice is first published

            Objection Filing Deadline              90 days after the Notice of first published

          Opt-Out Revocation Deadline                    14 days after the Opt-Out Deadline

          Final Opt-Out List Generated           6 days after the Opt-Out Revocation Deadline

             Claims Filing Deadline                120 days after the Notice is first published

             Notice Completion Date                   90 days after the Notice is first published

        Document Submission Deadline               155 days after the Notice is first published

         Claims Determination Deadline           10 days after Document Submission Deadline
                                                                 30 days after the
    Defendants’ Walk-Away Right Expires
                                                          Claims Determination Deadline
            Class Representatives’                               30 days after the
           Walk-Away Right Expires                        Claims Determination Deadline
                                                                 60 days after the
          Objection Response Deadline
                                                          Claims Determination Deadline
   Defendants’ Deadline for Audit Requests                       60 days after the
         to Settlement Administrator                      Claims Determination Deadline

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                    ACTION                                           TIMING
                                                                 90 days after the
           Motion for Final Approval
                                                          Claims Determination Deadline
                Fairness Hearing                            As determined by the Court
        Defendants’ Second Payment                           30 days after issuance of
              to the Cost Fund                               the Final Approval Order
         Defendants’ Third Payment                     30 days after the Final Approval Order
              to the Cost Fund                                     becomes Final
    Defendants’ Payment of the Settlement              30 days after the Final Approval Order
       Amount to the Settlement Fund                               becomes Final
          Defendants’ Payment of                       30 days after the Final Approval Order
           Fee and Cost Awards                                     becomes Final
                                                       45 days after the Final Approval Order
               Distributions Begin
                                                                   becomes Final
 8. Preliminary Approval and Class Certification
   8.1. Motion for Preliminary Approval and Class Certification

     8.1.1. Promptly after execution of this Agreement, Class Counsel shall file with the Court a

 motion for preliminary approval of this Agreement and for certification of the Class for settlement

 purposes (the “Motion for Preliminary Approval”). Class Counsel shall include this Settlement

 Agreement, the Notice Plan proposed by the Parties, and the proposed Plan of Distribution as

 exhibits. The motion shall request that the Court preliminarily approve the Settlement Agreement

 and enter a Preliminary Approval Order in the form of Exhibit F attached hereto.

     8.1.2. The Motion for Preliminary Approval will request the Court appoint the Settlement

 Trustee, Settlement Administrator, Notice Agent, Lien Administrator and the Cost fund and

 Settlement Fund Financial Institution required by the Settlement Agreement, and Class Counsel

 shall present in the motion the qualifications and cost proposals of its nominees for these positions.

   8.2. Parties’ Positions With Respect to the Motion

     8.2.1. Defendants will not oppose preliminary or final approval of the Settlement and may file

 papers to support an Order seeking approval of the Settlement and to respond to arguments that

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 the settlement is not fair or reasonable. Nothing in this section waives or affects the Defendants’

 rights provided in this Settlement Agreement.

   8.3. Reservation of Rights with Respect to Class Certification.

    8.3.1. The Parties agree that any certification of the Class will be for settlement purposes only

 pursuant to Federal Rule of Civil Procedure 23(e). The Parties do not waive or concede any

 position or arguments they have for or against certification of any class for any other purpose in

 any action or proceeding.

    8.3.2. Any class certification order entered in connection with this Settlement Agreement will

 not constitute an admission by the Defendants, or finding, or evidence, that the Class claims, or

 the claims of any other Settlement Class Member, are appropriate for class treatment if the claims

 were contested in this or any other federal, state, arbitral, or foreign forum.

    8.3.3. If the Court enters the proposed form of Preliminary Approval Order, the Final Approval

 Order will provide for vacatur of the Final Approval Order and the Preliminary Approval Order in

 the event that this Settlement Agreement does not become effective.

 9. Class Action Notices

   9.1. Preparation and Submission of a Notice Plan

    9.1.1. In connection with the Motion for Preliminary Approval, Class Counsel will submit the

 Notice Plan to the Court that satisfies the requirements of Fed R. Civ. P. 23 and the Federal Judicial

 Center (“FJC”) guidelines for adequate notice to provide Class Members with notice of the (a)

 class certification for settlement purposes; (b) proposed settlement; (c) proposed Plan of

 Distribution; (d) Class Counsel’s applications for fees and cost reimbursement awards; (e) Class

 Members’ rights to Opt-Out and/or appear in the matter; (f) Class Members’ rights to object to the

 settlement, to the Plan of Distribution, or to the fee/cost applications; and (g) pertinent hearing and

 deadline dates.

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    9.1.2. All Parties agree to cooperate with each other, the Settlement Administrator, and the

 Notice Agent, in the design and execution of the Notice Plan to satisfy applicable due process

 requirements.

    9.1.3. The Notice Agent shall be responsible for researching and preparing the Notice Plan.

 The Notice Plan and all associated creative and media content is subject to Class Counsel’s and

 Defendants’ concurrence, which will be designed and executed to satisfy applicable due process.

 If Class Counsel, Defendants, and/or the Notice Agent cannot reach agreement on the content of

 the Notice Plan or the associated creative and media content, the Parties will present the dispute to

 the Court in connection with the Motion for Preliminary Approval. For avoidance of doubt, in no

 event shall Defendants be required to pay any amounts related to the Notice Plan in excess of

 Defendants’ aggregate contribution of $3,500,000 to the Cost Fund as provided by Section 2.3 of

 this Agreement.

   9.2. Designation of Vendor Responsibility for Notice Plan Elements

    9.2.1. All media and publication elements’ creative content, design, production, placements

 and buys for the Class Notice shall be performed by the Notice Agent. All other elements of the

 Notice Plan will be performed by the Administrator.

   9.3. Notice Plan Budget and Payment of Notice Plan Costs

    9.3.1. All compensation and payments to the Notice Agent shall be paid solely from the Cost

 Fund as permitted payments under § 5.1.2 of this Agreement. The Notice Agent, in conjunction

 with the Settlement Administrator, shall prepare a budget and proposed schedule for executing the

 Notice Plan for Class Counsel and Defendants’ approval, which shall not be unreasonably

 withheld. Compensation and payments to the Notice Agent or the Settlement Administrator that




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 are within the approved budget shall be deemed permitted payments from the Cost Fund under §

 5.1.2.

   9.4. Proposed Notice Agent

     9.4.1. Without prejudice, Class Counsel intends to nominate BrownGreer PLC as the Notice

 Agent. BrownGreer will obtain Class Counsel’s consent as to all notice subcontractors or

 consultants prior to their retention,

   9.5. Best Notice Practicable

     9.5.1. The Parties agree, and the proposed Preliminary Approval Order shall state, that

 compliance with the procedures described in this section and embodied in the Notice Plan is the

 best notice practicable under the circumstances of the Action and the factual circumstances

 surrounding the Class Members and their counsel, and shall constitute due and sufficient notice to

 the Class of the pendency of the Action, certification of the Class, the terms of the Settlement

 Agreement, and the Fairness Hearing, and shall satisfy the requirements of the Federal Rules of

 Civil Procedure, the United States Constitution, and any other applicable law.

   9.6. CAFA Public Official Notification

     9.6.1. Not later than 10 days after this Settlement Agreement is filed with the Court,

 Defendants at their expense shall send or cause to be sent to the Attorney General of the United

 States and the attorneys general of each State notice of the Settlement Agreement pursuant to 28

 U.S.C. § 1715(b).

   9.7. Declaration of Compliance

     9.7.1. The Notice Agent, with the assistance of the Settlement Administrator, shall prepare a

 declaration attesting to compliance with the mailing, address-updating, and publication

 requirements set forth above. Such declaration shall be provided to Class Counsel and Defendants’

 Counsel and filed with the Court no later than 14 days prior to the Fairness Hearing.

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 10. Class Members’ Opt-Out and Objection Rights and Procedures

   10.1. Class Members’ Exclusion (Opt-Out) Rights and Procedures to Opt Out; Effect of
       Not- Opting Out

     10.1.1. The Notice will provide instructions regarding the procedures that must be followed to

 Opt-Out of the Class pursuant to Federal Rule of Civil Procedure 23(c)(2)(B)(v).

     10.1.2. The Parties agree that to Opt-Out from the Class, a Class Member must submit a written

 request to Opt-Out stating to the effect that: “I wish to exclude myself from the Class in Williams

 et al. v. BASF Catalysts, LLC.”—or substantially similar clear and unambiguous expression of

 intention to exclude oneself from the class action—to the Settlement Administrator postmarked or

 actually delivered on or before the Opt-Out Deadline. Written requests for exclusion should also

 contain (a) the Class Member’s printed name; (b) the Class Member’s address, telephone number;

 (c) the Class Member’s claim identifier number (which will be printed on mailed notices); —or if

 there is not a claim identifier number or it is not known, then additionally the following—(d) the

 court, caption and docket number of the Underlying Lawsuit on which class membership is based;

 (e) the relationship of class member to the Underlying Lawsuit (e.g., Class Member is the Injured

 Person named in the lawsuit; or is the personal representative of a deceased Injured Person named

 in the lawsuit; or is the spouse of an Injured Person named in the lawsuit (who may also be class

 member in his or her own right)); (f) the date of birth and last four digits of the Injured Person’s

 social security number, if known; and (g) the nature of the Injured Person’s claimed asbestos-

 related bodily injury or disease.

     10.1.3. For recordkeeping and claims administration purposes, the Settlement Administrator

 may contact a Class Member directly or through its attorney to obtain missing information items

 identified in § 10.1.2.




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    10.1.4. A written request to Opt-Out may not be signed using any form of electronic signature.

 It must contain the dated personal signature of the Class Member (or personal representative of

 the Class Member) seeking to exclude himself or herself from the Class. Attorneys for Class

 Members may submit a written request to Opt-Out on behalf of a Class Member, but such request

 must also contain the personal signature of the Class Member (or personal representative of the

 Class Member). Opt-Outs signed only by attorneys are not permitted.

    10.1.5. No person or entity or other Class Member may Opt-Out the interest of, or on behalf

 of, any other Class Member. No class-wide, mass, batch, or cohort Opt-Outs are permitted under

 this Agreement.

    10.1.6. All requests to Opt-Out that fail to satisfy the requirements of this § 10.1, as well as

 any additional requirements that the Court may impose, shall be void.

    10.1.7. The Settlement Administrator will create a schedule of Opt-Outs for administrative

 purposes and provide a copy of all requests to Opt-Out to Class Counsel and Defendants’ Counsel

 within one business day of receipt of each such request.

    10.1.8. Valid requests to Opt-Out from the Class will become effective on the date the Final

 Approval Order is entered. No later than the Opt-Out Revocation Deadline, any Class Member

 may seek to revoke his or her Opt-Out from the Class and thereby receive the benefits of this

 Settlement Agreement by submitting a written request to the Settlement Administrator stating “I

 wish to revoke my request to be excluded from the Class” (or substantially similar clear and

 unambiguous language), and also containing the Class Member’s printed name, address, phone

 number and date of birth. The written request to revoke an Opt-Out must contain the personal

 signature of the Class Member seeking to revoke his or her Opt-Out.




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    10.1.9. No later than seven days after the Opt-Out Revocation Deadline, the Settlement

 Administrator shall prepare and deliver to Class Counsel and Defendants’ Counsel a report stating

 the total number of individuals who have submitted timely, valid, and final Opt-Outs. Such

 individuals will not be entitled to receive any relief under this Settlement Agreement, or to object

 to the Settlement Agreement unless they irrevocably revoke their opt-out as provided in § 10.1.8.

    10.1.10. Class Counsel shall promptly file with the Court the report provided for in § 10.1.9 of

 this Agreement.

    10.1.11. Any Class Member that does not properly and timely submit a request to Opt-Out as

 required in this Agreement shall be deemed to have waived all rights to Opt-Out, shall be deemed

 a Settlement Class Member for all purposes under this Agreement, will in all respects be bound by

 all terms of this Settlement Agreement and the Final Approval Order upon the Effective Date, will

 be entitled to all procedural opportunities and protections described in this Settlement Agreement

 and provided by the Court, and to all compensation and benefits for which they qualify under its

 terms, and will be barred permanently and forever from commencing, filing, initiating,

 prosecuting, asserting, and/or maintaining any and all Released Claims against any Released

 Parties in any court of law or equity, arbitration tribunal, or administrative or other forum.

   10.2. Objections

    10.2.1. Provided a Class Member has not submitted a written request to Opt-Out as set forth

 in § 10.1.2, the Settlement Class Member may present written objections, if any, explaining why

 he or she believes (a) the Settlement Agreement should not be approved by the Court as fair,

 reasonable, and adequate; or (b) that the proposed Plan of Distribution should not be approved and

 adopted; or (c) that Class Counsel’s applications for fees and cost reimbursement awards should

 not be granted; or (d) that the Class Representatives’ application for service awards should not be

 granted. No later than 90 days after the Notice is first published, a Settlement Class Member who
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 wishes to object must file with the Court, or as the Court otherwise may direct, a written statement

 of the objection(s). The written statement of objection(s) must include a detailed statement of the

 Settlement Class Member’s objection(s), as well as the specific reasons, if any, for each such

 objection, including any evidence and legal authority the Settlement Class Member wishes to bring

 to the Court’s attention. That written statement also must contain the Settlement Class Member’s

 printed name, address, telephone number, and date of birth, and provide evidence establishing that

 the objector is a Settlement Class Member (such as a claim identifier number, or reference to or a

 copy of Underlying Lawsuit paper and evidence of relationship or connection to the suit), and any

 other supporting papers, materials, or briefs the Settlement Class Member wishes the Court to

 consider when reviewing the objection. A written objection may not be signed using any form of

 electronic signature. It must contain the dated personal signature of the Settlement Class Member

 making the objection. The Court shall determine whether any Settlement Class Members who do

 not follow the procedures will have waived any objections they may have.

    10.2.2. A Settlement Class Member may object on his or her own behalf or through an attorney

 hired at that Settlement Class Member’s own expense, provided the Settlement Class Member has

 not submitted a written request to Opt-Out, as set forth in § 10.1.2. Attorneys asserting objections

 on behalf of Settlement Class Members must: (i) file a notice of appearance with the Court by the

 date set forth in the Preliminary Approval Order, or as the Court otherwise may direct; (ii) file a

 sworn declaration attesting to his or her representation of each Settlement Class Member on whose

 behalf the objection is being filed or a copy of the representation contract (to be filed in camera)

 between that attorney and each such Settlement Class Member; and (iii) comply with the procedure

 described in this Section and any other procedures established by the Court.




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    10.2.3. A Settlement Class Member (or counsel individually representing him or her, if any)

 seeking to make an appearance at the Fairness Hearing must file with the Court, by the date set

 forth in the Preliminary Approval Order, or as the Court otherwise may direct, a written notice of

 his or her intention to appear at the Fairness Hearing, in accordance with the requirements set forth

 in the Preliminary Approval Order.

    10.2.4. Any Settlement Class Member who fails to comply with the provisions of this Section

 will waive and forfeit any and all rights he or she may have to object.

    10.2.5. Class Counsel and/or Defendants, with leave of Court, may take discovery of an

 objector in connection with their objection.

 11. Termination

   11.1. Defendants’ Walk-Away Right

    11.1.1. Without limiting any other rights set forth in this Settlement Agreement, if the number

 of timely, valid, and final Opt-Out submitted to the Settlement Administrator in accordance with

 § 10.1 exceed the termination right option number specified in a separate, confidential

 supplemental agreement between the Class Representatives and Defendants of even date with this

 Agreement (the “Supplemental Agreement”), BASF and Cahill shall each have the absolute and

 unconditional option and right, in their sole good faith discretion, to unilaterally terminate and

 render null and void this Settlement Agreement by written notice of election to terminate to the

 Court and the Parties. The Supplemental Agreement will not be filed with the Court unless required

 by the Court or unless and until a dispute as between the Class Representatives and the Defendants

 concerning its interpretation or application arises. Should the Supplemental Agreement be filed

 with the Court, the Parties agree such filing shall be made under seal. The Fairness Hearing will

 be scheduled so as to permit the determination of this condition subsequent event and Defendants’


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 right to terminate. An election to terminate under this section must be exercised, if at all, no later

 than thirty (30) days after the Claims Determination Deadline.

   11.2. Class Representatives’ Walk-Away Right

    11.2.1. Without limiting any other rights set forth in this Settlement Agreement, the Class

 Representatives will have the absolute and unconditional right, in the Class Representatives’ sole

 good faith discretion, through Class Counsel, to unilaterally terminate and render null and void

 this Settlement Agreement if the Settlement Administrator determines the payment amount under

 the Plan of Distribution to each qualified mesothelioma claimant will be less than $100,000. The

 Fairness Hearing will be scheduled so as to permit the determination of this condition subsequent

 event and Class Representatives’ right to terminate, through Class Counsel. An election to

 terminate under this section must be exercised, if at all, no later than thirty (30) days after the

 Claims Determination Deadline.

   11.3. Parties’ Termination Rights

     11.3.1. Class Representatives collectively, through Class Counsel, and the Defendants

 individually have the absolute and unconditional right, in their respective sole discretion to

 terminate and render null and void this class action settlement and Settlement Agreement if (i) the

 Court, or any appellate court(s), rejects, modifies, or denies approval of any portion of this

 Settlement Agreement that the Class Representatives, through Class Counsel, or the Defendants

 determine is material, including, without limitation, the Releases, the definition of the Settlement

 Class, or the payment amounts set forth in § 2 of this Settlement Agreement, or (ii) the Court, or

 any appellate court(s), does not enter or completely affirm, or alters or expands, any portion of the

 proposed Preliminary Approval Order or the proposed Final Approval Order that the Class

 Representatives, through Class Counsel, or the Defendants, in their sole discretion, believe is



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 material. Such written election to terminate this Settlement Agreement must be made to the Court

 within thirty (30) days of such Court order.

     11.3.2. Class Representatives have the absolute and unconditional right to terminate and void

 this Settlement and Settlement Agreement if either BASF or Cahill fails to pay their respective

 share of the Settlement Fund or the Cost Fund on the due date specified in this Agreement.

     11.3.3. Notwithstanding anything to the contrary in Section 11.3.1, Class Representatives and

 Defendants may not terminate and render null and void this Class Action Settlement and

 Settlement Agreement on the basis of any Class Representative service award or any attorneys’

 fees and costs award that is ordered, or modified, by the Court or any appellate court(s), unless the

 Court awards a Class Representative service award or attorneys’ fees and costs award that exceeds

 the respective amounts set forth in Section 2 of this Agreement. Any order or proceeding relating

 to the Class Representative service award or any attorneys’ fees and costs award, or any appeal

 from any order relating thereto or reversal or modification thereof, shall not operate to terminate

 or cancel the Settlement, or affect or delay the finality of the Final Approval Order Judgment

 approving the Agreement and settlement of the Williams Action set forth herein.

   11.4. Post-Termination Actions

    11.4.1. In the event this Settlement Agreement is terminated or becomes null and void, this

 Settlement Agreement will not be offered into evidence or used in this or in any other action in the

 Court, or in any other federal court, state court, arbitration, regulatory agency, or other tribunal or

 forum for any purpose, including, but not limited to, the existence, certification, or maintenance

 of any purported class. In addition, in such event, this Agreement and all negotiations, proceedings,

 documents prepared and statements made in connection with this Agreement, including the

 Supplemental Agreement, will be without prejudice to all Parties and will not be admissible into


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 evidence and will not be deemed or construed to be an admission or concession by any of the

 Parties of any fact, matter, or proposition of law and will not be used in any manner for any

 purpose, and all Parties will stand in the same position as if this Settlement Agreement had not

 been negotiated, made, or filed with the Court.

     11.4.2. In the event this Settlement Agreement is terminated or becomes null and void, then no

 class shall be deemed certified by or as a result of this Agreement, and the Parties will jointly move

 the Court to vacate the Preliminary Approval Order and any other orders certifying the Class. It

 is the Parties’ intent that they shall then be returned to the status quo in the Action, as it existed at

 the time Court issued its stay order of June 26, 2018 in the Action. The Parties agree that all stayed

 proceedings shall resume in a reasonable manner. In such event, Defendants shall not be deemed

 to have consented to class certification, and shall retain all rights to oppose class certification,

 including, without limitation, to certification of the identical class provided for in this Agreement.

     11.4.3. If this Settlement Agreement is terminated or becomes null and void after notice has

 been given, the Parties will provide Court-approved notice of termination to the Settlement Class

 Members as directed by the Court, the costs of which shall be deemed permitted payments from

 the Cost Fund authorized under § 2.3 and paid or reimbursed from the Cost Fund. If there is

 insufficient money in the Cost Fund to pay the costs of such notice, the Court will determine and

 order which Parties should pay the costs of the required notice.

     11.4.4. In the event this Settlement Agreement is terminated or becomes null and void, any

 unspent and uncommitted monies in the Cost Fund and any or all of the Settlement Fund and the

 escrow account holding Class Counsel fees and litigation costs, including any interest or income

 earned, will revert to the Defendants in accordance with their respective allocations in creating the

 funds.



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 12. Final Approval Order and Dismissal with Prejudice

    12.1. The Class Representatives, through Class Counsel, will seek a Final Approval Order

 from the Court that:

        (a) Approves the class action settlement in its entirety pursuant to Federal Rule of Civil
            Procedure 23(e) as fair, reasonable, and adequate;

        (b) Finds that this Settlement Agreement is fair, reasonable, and adequate;

        (c) Confirms the certification of the Class for settlement purposes only;

        (d) Confirms the appointments of the Class Representatives;

        (e) Confirms the appointments of Class Counsel;

        (f) Finds that the Notice satisfied the requirements set forth in Federal Rule of Civil
            Procedure 23(c)(2)(B);

        (g) Approves and adopts the Plan of Distribution and directs and decrees the Settlement
            Trustee, Settlement Administrator and Lien Administrator to execute the Plan;

        (h) Directs the parties to establish the Settlement Fund’s escrow account to carry out the
            Plan of Distribution;

        (i) Appoints the Settlement Trustee as a Special Master under Federal Rule of Civil
            Procedure 53 with respect to her duties regarding the execution of the Plan of
            Distribution;

        (j) Permanently bars, enjoins and restrains the Settlement Class Members (and each of
            them) from commencing, filing, initiating, prosecuting, asserting, and/or maintaining
            any and all Released Claims against any Released Party;

        (k) Dismisses with prejudice the Complaint, without further costs, including claims for
            interest, penalties, costs and attorneys’ fees, except for any pending motion or
            application for an award of attorneys’ fees and reasonable costs and Class
            Representative service awards;

        (l) Permanently bars and enjoins the commencement, assertion, and/or prosecution of any
            claim for contribution and/or indemnity in the Court, in any other federal court, state

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            court, arbitration, regulatory agency, or other tribunal or forum between the Released
            Parties and all alleged joint tortfeasors, together with an appropriate judgment
            reduction provision;

        (m) Confirms the appointment of the Settlement Trustee and the Settlement Administrator,
            Lien Administrator, Notice Agent, and Cost Fund and Settlement Fund Financial
            Institution and confirms that the Court retains continuing jurisdiction over those
            appointed;

        (n) Confirms that the Court retains continuing jurisdiction over the Qualified Settlement
            Fund, created under the Settlement Agreement;

        (o) Expressly incorporates the terms of this Settlement Agreement and provides that the
            Court retains continuing and exclusive jurisdiction over the Parties, the Settlement
            Class Members and this Settlement Agreement, to interpret, implement, administer and
            enforce the Settlement Agreement in accordance with its terms; and

        (p) Adjudicates Class Counsel’s application for fees and costs and Class Representatives’
            application for service awards.

    12.2. The Parties agree that they will consent to adjudication of the motion seeking the

 Preliminary Approval Order and a Final Approval Order by the Hon. Joseph A. Dickson, U.S.M.J.

    12.3. The Parties agree that they will consent to the Hon. Joseph A. Dickson, U.S.M.J.

 presiding over the Fairness Hearing.

 13. Attorneys’ Fees and Costs; Class Representative Service Awards

   13.1. Class Counsel Attorney Fees and Litigation Cost Reimbursement

    13.1.1. As part of the settlement, the Parties agree that Class Counsel may make fee and

 expense applications to the Court for an award of attorneys’ fees, costs, and expenses to be paid

 separate and apart from the Settlement Fund and Cost Fund. The motion must be filed no later than

 30 days after Notice is first published. The request for an award of attorneys’ fees shall not exceed

 twenty-two million, five hundred thousand dollars ($22,500,000) and the request for an award of


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 costs shall not exceed one million, two hundred thousand dollars ($1,200,000). The Parties

 negotiated the amount of these fees, costs, and expenses with the assistance of a mediator and only

 after they had reached an agreement on the substantive terms of the Settlement on behalf of the

 Class Members. The Parties agree that these amounts are fair, reasonable and commensurate with

 the risks and efforts of Class Counsel in undertaking the litigation and the results they achieved

 for the Class in the settlement. Defendants further agree not to oppose Class Counsel’s application

 for attorneys’ fees and costs, or to undermine, or solicit others to do so as long as they do not

 exceed the foregoing amounts. BASF and Cahill shall each pay severally, and not jointly, 50% of

 the total of the Fee Amount and the Cost Reimbursement Amount awarded by the Court.

 Defendants shall not, under any circumstances, be responsible for, or liable for, payment of any

 fees in excess of Twenty-Two Million, Five-Hundred Thousand Dollars ($22,500,000) or costs in

 excess of One Million, Two-Hundred Thousand Dollars ($1,200,000). Each of BASF and Cahill

 shall not, under any circumstances, be responsible for, or liable for, payment of any fees in excess

 of Eleven Million, Two Hundred Fifty Thousand Dollars ($11,250,000) or costs in excess of Six

 Hundred Thousand Dollars ($600,000).

    13.1.2. Any fee and expense award in conjunction with this Settlement Agreement shall be

 issued by the Court in a written order. The Court’s fee and expense award, however, shall be

 separate from its determination of whether to approve the Settlement Agreement. In the event the

 Court approves the Settlement Agreement, but denies, in whole or in part, the fee and expense

 applications by Class Counsel, the Settlement Agreement shall nevertheless be binding on the

 Parties. If the Court declines to approve the Settlement Agreement, no fee and expense award

 shall be paid.




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     13.1.3. The Defendants shall pay the amount of attorneys’ fees and expenses approved by the

 Court no later than thirty (30) days after the Effective Date, by wire transfer of the full approved

 amount of such fees and costs into an interest-bearing escrow account as Cohen Placitella & Roth

 P.C. shall direct.

     13.1.4. Defendants shall have no responsibility for, interest in, or liability whatsoever with

 respect to any allocation among Class Counsel of attorneys’ fees and expenses awarded by the

 Court.

     13.1.5. The finality or effectiveness of the Settlement will not be dependent on the Court

 awarding Class Counsel any particular amount of attorneys’ fees and expenses. In the event the

 Court declines to approve, in whole or in part, the payment of the attorneys’ fees and expenses in

 the amounts requested, the remaining provisions of this Agreement shall remain in full force and

 effect. No decision by the Court, or modification or reversal or appeal of any decision by the Court,

 concerning the amount of attorneys’ fees and expenses shall constitute grounds for cancellation or

 termination of this Agreement provided it does not exceed the amounts set forth in §13.1.1. above

   13.2. Class Representative Service Awards

     13.2.1. The Parties agree that Class Representatives and Class Counsel may seek service

 awards to the Class Representatives not to exceed Fifty Thousand Dollars ($50,000) per Class

 Representative for a total amount of requested service awards of Three Hundred Thousand Dollars

 ($300,000), to be paid from the Settlement Fund as provided in the Plan of Distribution.

 14. Enforceability of Settlement Agreement and Dismissal and Barring of Claims

     14.1. It is a condition of this Settlement Agreement that the Court approve and enter the

 Preliminary Approval Order and a Final Approval Order substantially in accordance with §§ 8 and

 12 of this Agreement.

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    14.2. As a condition to this Settlement Agreement, the Class Representatives and Class

 Counsel agree to move the Court for, and the Court must grant and enter, a bar order (substantially

 in the form provided in § 14.3), as part of the Final Approval Order, as set forth in § 12 of this

 Agreement.

    14.3. The Parties agree that on and after the Effective Date, for the consideration provided for

 herein and by operation of the Final Approval Order, each and every Releasing Party will be

 permanently barred and enjoined from commencing, filing, initiating, instituting, prosecuting,

 and/or maintaining any judicial, arbitral, or regulatory action against any Released Party with

 respect to any and all Released Claims.

    14.4. The Parties agree that this Settlement Agreement is not final and enforceable until the

 Effective Date, except that—

    (a) Upon entry of the Preliminary Approval Order, the Defendants will be obligated to
        establish the Settlement Fund and the Cost Fund and make the payment to the Cost Fund
        as set forth in § 5.1.1.2 of this Agreement; and

    (b) Upon entry of the Preliminary Approval Order, the Stay of Proceedings provided for in
        § 6.5 shall be effective; and

    (c) Upon entry of the Final Approval Order, the Defendants will be obligated to make the
        second payment to the Cost Fund as required under § 5.1.1.3 .

 15. Denial of Wrongdoing; No Admission of Liability

    15.1. This Settlement Agreement, whether or not it becomes Final or effective, is for settlement

 purposes only and is to be construed solely as a reflection of the Parties’ desire to facilitate a

 resolution of the Complaint and of the Released Claims.

    15.2. The Defendants expressly deny that they have violated any duty to, breached any

 obligation to, committed any fraud on, or otherwise engaged in any wrongdoing with respect to,

 the Class Representatives, the Class, any Class or Settlement Class Member, and the courts and

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 attorneys involved in the Underlying Lawsuits, and expressly deny the allegations asserted in the

 Complaint, and deny any and all liability related thereto.

     15.3. Neither this Settlement Agreement nor any statement, transaction, or proceeding in

 connection with the negotiation, execution, or implementation of this Settlement Agreement is

 intended to be or may be construed as or deemed to be evidence of an admission or concession by

 the Released Parties of (i) the validity of any claim made by the Class Representatives, the

 Settlement Class, any Class or Settlement Class Member, or any Opt-Out, in this or any other

 action or proceeding; (ii) any liability or wrongdoing or the truth of any allegations in the

 Complaint against the Released Parties, or (iii) the infirmity of, or strength of any alleged defense

 against, the allegations in the Complaint; and neither this Settlement Agreement nor any statement,

 transaction, or proceeding in connection with the negotiation, execution, or implementation of this

 Settlement Agreement shall be admissible in evidence for any such purpose in any proceeding.

 16. Representations and Warranties

   16.1. Class Counsel and Class Representatives.

     16.1.1. Class Counsel represent and warrant that, as of the date of the Settlement Agreement,

 they have authority to enter into this Settlement Agreement on behalf of the Class Representatives.

     16.1.2. Each of Class Representatives, represents and warrants as of the date of the Settlement

 Agreement that she: (a) has agreed to serve as a representative of the Class proposed to be certified

 herein; (b) is willing, able, and ready to perform all of the duties and obligations as a representative

 of the Class; (c) is familiar with the pleadings in Williams; (d) has reviewed this Settlement

 Agreement, including the exhibits attached to it or has received a description of the Settlement

 Agreement, including the exhibits attached to this Settlement Agreement from Class Counsel, and

 is familiar with the terms of this Settlement Agreement, including the exhibits attached to this

 Settlement Agreement and has agreed to its terms; (e) has consulted with, and received legal advice

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 from, Class Counsel about the litigation, this Settlement Agreement (including the advisability of

 entering into this Settlement Agreement and its releases and the legal effects of this Settlement

 Agreements and its releases), and the obligations of a representative of the Class; (f) has authorized

 Class Counsel to execute this Settlement Agreement; and (g) will remain in and not request

 exclusion from the Class and will serve as a representative of the Settlement Class until the terms

 of this Settlement Agreement are effectuated, this Settlement Agreement is terminated in

 accordance with its terms, or the Court at any time determines that such Class Representative

 cannot represent the Class.

   16.2. Defendants.

    16.2.1. Each of the Defendants represents and warrants as of the date of the Settlement

 Agreement that: (a) he, it and they have all requisite individual, corporate or partnership, power

 and authority to execute, deliver, and perform this Settlement Agreement; (b) the execution,

 delivery, and performance by the Defendants of this Settlement Agreement has been duly

 authorized by all necessary action required by law and if applicable the bylaws of the entity; (c)

 this Settlement Agreement has been duly and validly authorized, executed and delivered by the

 Defendants; (d) no consent or approval of any person or entity is necessary for such Party to enter

 into this Agreement; (e) funding has been secured and is and will be available to Defendants to

 make the financial payments required under this Agreement; and (f) this Settlement Agreement

 constitutes each Defendants’ legal, valid, and binding obligation.

 17. Treatment of Confidential Information

    17.1. Confidentiality of Information Relating to the Settlement Agreement. The Parties will

 treat all confidential or proprietary information, including claims administration reports and

 schedules provided the Parties or their counsel by the Settlement Trustee or Settlement

 Administrator, shared hereunder, or in connection herewith, either prior to, on or after the Effective

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 Date, and any and all prior or subsequent drafts, representations, negotiations, conversations,

 correspondence, understandings, analyses, proposals, and letters, whether oral or written, of any

 kind or nature, with respect to the settlement hereof (“Confidential Information”) in conformity

 with strict confidence and will not disclose Confidential Information to any non-Party without the

 prior written consent of the Party or Settlement Trustee that shared the Confidential Information,

 except: (i) as required by applicable law, regulation, or by order or request of a court of competent

 jurisdiction, regulator, or self-regulatory organization (including subpoena or document request),

 provided that the Party or Settlement Trustee that shared the Confidential Information is given

 prompt written notice thereof and, to the extent practicable, an opportunity to seek a protective

 order or other confidential treatment thereof, provided further that the Party subject to such

 requirement or request cooperates fully with the Party or Settlement Trustee that shared the

 Confidential Information in connection therewith, and only such Confidential Information is

 disclosed as is legally required to be disclosed in the opinion of legal counsel for the disclosing

 Party; (ii) under legal (including contractual) or ethical obligations of confidentiality, on an as-

 needed and confidential basis to such Party’s present and future accountants, counsel, insurers, or

 reinsurers; or (iii) with regard to any information that is already publicly known through no fault

 of such Party or Settlement Trustee. This Settlement Agreement, all exhibits hereto, any other

 documents filed in connection with the class action settlement, and any information disclosed

 through a public court proceeding shall not be deemed Confidential Information.

 18. Communications to the Public

    18.1. Public Announcement. The form, content, and timing of any public statement

 announcing the filing of this Settlement Agreement will be subject to mutual agreement by Class

 Counsel and Counsel for Defendants. The Parties and their counsel agree not to make any public

 statements, including statements to the media, that are inconsistent with the Settlement Agreement.
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 Any communications to the public or the media made by or on behalf of the Parties and their

 respective counsel regarding the class action settlement will be made in good faith and will be

 consistent with the Parties’ agreement to take all actions reasonably necessary for preliminary and

 final approval of this class action settlement. Any information contained in such communications

 will be balanced, fair, accurate, and consistent with the content of the Notice. Neither the Parties

 nor their respective counsel shall make any false or misleading statements regarding this class

 action settlement.

    18.2. Nothing herein is intended or will be interpreted to inhibit or interfere with the ability of

 Class Counsel or Defendants’ Counsel to communicate with the Court, their clients, or Settlement

 Class Members and/or their counsel.

 19. Cooperation

    19.1. The Parties and their counsel will use their best efforts to undertake all reasonable

 actions to accomplish the steps contemplated by this Settlement Agreement and to implement

 the Class Action Settlement on the terms and conditions provided herein. Nothing in this section

 waives or affects the Plaintiffs’ and/or Defendants’ rights provided in this Settlement Agreement.




    19.2. The Defendants shall obtain and produce to Class Counsel signed agreements from

 Released Party co-defendants in the Williams Action agreeing to be bound to and abide by the

 terms of this Settlement Agreement.

    19.3. Class Counsel and Defendants’ Counsel, subject to ethical obligations owed their

 respective clients, agree to cooperate and use reasonable efforts to respond to reasonable inquiries

 relating to the approval of this Settlement Agreement from the United States Department of Justice

 or any state attorney general. Class Counsel and Defendants’ Counsel agree that they shall notify


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 each other if they receive any such inquiries and will provide a copy of the inquiry and their

 response to each other.

    19.4. Neither the Parties nor their counsel, directly or indirectly, will instigate or encourage

 any person to Opt-Out or to object to the class action settlement or assist them in doing so.

    19.5. Before filing any motion or petition in the Court raising a dispute arising out of or related

 to this Settlement Agreement, Class Counsel and Defendants’ Counsel will consult with each other

 in good faith and certify to the Court that they have conferred in good faith.

 20. Continuing Jurisdiction of the Court

    20.1. Following and pursuant to the Final Approval Order, the Court will retain continuing and

 exclusive jurisdiction, to the fullest extent allowed under the law, over the Settlement, the

 Settlement Fund, the Cost Fund, the Parties and their counsel, all Class and Settlement Members

 and any person making a claim against any part of the Settlement Fund or Cost Fund, the

 Settlement Trustee, the Administrator , the Notice Agent, and the Lien Resolution Administrator,

 with respect to the terms of the Settlement Agreement and the Plan of Distribution.

    20.2. Any disputes or controversies arising out of, or related to, the interpretation,

 implementation, administration, and enforcement of this Settlement Agreement will be made by

 motion to the Court.

    20.3. The Court will be requested to appoint the Settlement Trustee as a Special Master under

 Federal Rule of Civil Procedure 53 charged and empowered to oversee and handle the Plan of

 Distribution on the Court’s behalf.

    20.4. All Parties, Settlement Class Members, Class Counsel, any person making a claim

 against any part of the Settlement Fund or Cost Fund, the Settlement Trustee, the Administrator

 and Lien Administrator are hereby deemed to have submitted to the exclusive jurisdiction of this



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 Court for any suit, action, proceeding, or dispute arising out of, or relating to this Settlement

 Agreement or the Plan of Distribution.

    20.5. The terms of the Settlement Agreement will be incorporated into the Final Approval

 Order of the Court, which will allow that Final Approval Order to serve as an enforceable

 injunction by the Court for purposes of the Court’s continuing jurisdiction related to the Settlement

 Agreement.

 21. Choice of Law

    21.1. This Settlement Agreement, the Releases hereunder and the Plan of Distribution will be

 interpreted and enforced in accordance with the laws of the State of New Jersey, without regard to

 conflict of law principles and notwithstanding any contrary law applicable to the Underlying

 Lawsuits.

 22. Miscellaneous Provisions

    22.1. Incorporation of Recitals. The Recitals to this Agreement are incorporated into and shall

 constitute a part of this Agreement.

    22.2. No Assignment of Claims. Neither the Class nor any Class Representative or Settlement

 Class Member has assigned, will assign, or will attempt to assign, to any person or entity any rights

 or claims relating to the subject matter of the Complaint. Any such assignment, or attempt to

 assign, to any person or entity any rights or claims relating to the subject matter of the Complaint

 will be void, invalid, and of no force and effect and the Settlement Administrator shall not

 recognize any such action.

    22.3. Integration. This Settlement Agreement and its exhibits will constitute the entire

 agreement and understanding among the Parties and supersedes all prior proposals, negotiations,

 letters, conversations, agreements, term sheets, and understandings, whether written or oral,

 relating to the subject matter of this Settlement Agreement. The Parties acknowledge, stipulate,

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 and agree that no covenant, obligation, condition, representation, warranty, inducement,

 negotiation, agreement, arrangement, or understanding, whether written or oral, concerning any

 part or all of the subject matter of this Settlement Agreement has been made or relied on except as

 expressly set forth in this Settlement Agreement.

     22.4. Headings. The headings used in this Settlement Agreement are intended for the

 convenience of the reader only and will not affect the meaning or interpretation of this Settlement

 Agreement in any manner. Any inconsistency between the headings used in this Settlement

 Agreement and the text of the sections of this Settlement Agreement will be resolved in favor of

 the text.

     22.5. Incorporation of Exhibits. All of the exhibits attached hereto are hereby incorporated by

 reference as though fully set forth herein. Notwithstanding the foregoing, any inconsistency

 between this Settlement Agreement and any exhibits or attachments will be resolved in favor of

 this Settlement Agreement.

     22.6. Amendment. This Settlement Agreement will not be subject to any change, modification,

 amendment, or addition without the express written consent of Class Counsel and Defendants’

 Counsel, on behalf of all Parties to this Settlement Agreement, and upon Court approval.

     22.7. Mutual Preparation. The Parties have negotiated all of the terms and conditions of this

 Settlement Agreement at arm’s length. Neither the Class or Settlement Class Members nor the

 Defendants, nor any one of them, nor any of their counsel will be considered to be the sole drafter

 of this Settlement Agreement or any of its provisions for the purpose of any statute, case law, or

 rule of interpretation or construction that would or might cause any provision to be construed

 against the drafter of this Settlement Agreement. This Settlement Agreement will be deemed to




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 have been mutually prepared by the Parties and will not be construed against any of them by reason

 of authorship.

    22.8. Beneficiaries. This Settlement Agreement will be binding upon and inure to the benefit

 of the heirs, successors and assigns of the Parties and will inure to the benefit of the Settlement

 Class Members’ and the Released Parties’ their respective heirs, successors and assigns. All

 Released Parties who are not the Defendants are intended third party beneficiaries who are entitled

 to enforce the terms of the Releases set forth in § 6 of this Agreement. No provision in this

 Settlement Agreement is intended to create any third-party beneficiary to this Settlement

 Agreement other than the Released Parties. Nothing expressed or implied in this Settlement

 Agreement is intended to or will be construed to confer upon or give any person or entity other

 than Class Representatives, the Settlement Class Members, Class Counsel, the Defendants, the

 Released Parties, and Defendants’ Counsel, any right or remedy under or by reason of this

 Settlement Agreement.

    22.9. Extensions of Time. Class Counsel and Defendants’ Counsel may agree in writing,

 subject to approval of the Court where required, to reasonable extensions of time to implement the

 provisions of this Settlement Agreement.

    22.10. Computing Dates. For all deadlines under this Agreement, to compute deadlines (a)

 exclude the day of the event that triggers the period; (b) count every calendar day, including

 intermediate Saturdays, Sundays, and legal holidays; and (c) include the last day of the period, but

 if the last day is a Saturday, Sunday, or legal holiday, the period continues to run until the end of

 the next day that is not a Saturday, Sunday, or legal holiday.

    22.11. Execution in Counterparts and Facsimile and Electronic Mail. This Settlement

 Agreement may be executed in counterparts, and a facsimile signature will be deemed an original



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 signature for purposes of this Settlement Agreement. Transmission of a signed Agreement by

 facsimile or electronic mail shall constitute receipt of an original signed Agreement by mail.

    22.12. Force Majeure. The Parties will be excused from any failure to perform timely any

 obligation hereunder to the extent such failure is caused by war, acts of public enemies or terrorists,

 strikes or other labor disturbances, fires, floods, acts of God, or any causes of the like or different

 kind beyond the reasonable control of the Parties.

    22.13. Waiver. Any failure of any Party to comply with any obligation, covenant, agreement,

 or condition herein may be expressly waived only in writing, to the extent permitted under

 applicable law, by the Party or Parties entitled to the benefit of such obligation, covenant,

 agreement, or condition. The waiver by any Party of any breach of this Settlement Agreement by

 another Party will not be deemed or construed as a waiver of any other breach, whether prior,

 subsequent, or contemporaneous, of this Settlement Agreement.

    22.14. Tax Consequences. No opinion regarding tax consequences of this Settlement

 Agreement or of the compensation payments to Settlement Class Members pursuant to the Plan of

 Distribution to any individual Settlement Class Member is being given or will be given by the

 Defendants, Defendants’ Counsel, Class Representatives, Class Counsel, the Settlement Trustee,

 the Settlement Administrator, or Lien Administrator, nor is any representation or warranty in this

 regard made by virtue of this Settlement Agreement or the Plan of Distribution. Settlement Class

 Members must consult their own tax advisors regarding the tax consequences of the Settlement

 Agreement, including any payments provided hereunder and any tax reporting obligations they

 may have with respect thereto. Each Settlement Class Member’s tax obligations, and the

 determination thereof, are his or her sole responsibility, and it is understood that the tax

 consequences may vary depending on the particular circumstances of each individual Settlement



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 Class Member. The Defendants, Defendants’ Counsel, Class Representatives, and Class Counsel,

 will have no liability or responsibility whatsoever for any such tax consequences resulting from

 payments under this Settlement Agreement. To the extent required by law, the Settlement

 Administrator will report payments made under this Settlement Agreement to the appropriate

 authorities.

     22.15. Government or Private Benefits Consequences. No opinion regarding consequences of

 this Settlement Agreement or of the compensation payments to Settlement Class Members

 pursuant to the Plan of Distribution on government or private benefits (such as income or disability

 payments or health coverage) to any individual Class or Settlement Class Member is being given

 or will be given by the Defendants, Defendants’ Counsel, Class Representatives, Class Counsel,

 the Settlement Trustee, the Administrator or Lien Administrator, nor is any representation or

 warranty in this regard made by virtue of this Settlement Agreement or the Plan of Distribution.

 Settlement Class Members must consult their own advisors regarding any benefits consequences

 of the Settlement Agreement, including any reporting obligations they may have with respect

 thereto.




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   22.16. Notices.

         22.16.1. All notices to Class Counsel provided for in this Agreement shall be sent by

     email and First-Class mail to the following:

         Christopher M. Placitella                       With copy to:
         Cohen Placitella & Roth, P.C.                   Harry M. Roth
         127 Maple Ave                                   Michael Coren
         Red Bank, New Jersey 07701                      Robert L. Pratter
         cplacitella@cprlaw.com                          Cohen Placitella & Roth, P.C.
                                                          2001 Market St., Suite 2900
                                                         Philadelphia, PA 19103
                                                         hroth@cprlaw.com
                                                         mcoren@cprlaw.com
                                                         rpratter@cprlaw.com

  All notices to Defendants provided for in this Agreement shall be sent by email and First-Class

 mail to the following:

         Peter A. Farrell, P.C.                          Nina M. Gussack
         Kirkland & Ellis LLP                            Barry H. Boise
         1301 Pennsylvania Avenue, N.W.                  Anthony Vale
         Washington, D.C. 20004                          ! "#LLP
         pfarrell@kirkland.com                           3000 Two Logan Square
                                                         18th & Arch Streets Philadelphia,
         Eugene F. Assaf, P.C.                           Pennsylvania 19103
         Kirkland & Ellis LLP
         601 Lexington Avenue                                 
         New York, New York 10022                        boiseb@pepperlaw.com
         eassaf@kirkland.com                             valea@pepperlaw.com

         Justin T. Quinn                                 Angelo A. Stio, III
         Robinson Miller LLC                             Pepper Hamilton LLP
         One Newark Center, 19th Floor                   301 Carnegie Center, Suite 400
         Newark, New Jersey 07102                        Princeton, New Jersey 08543
         jquinn@rwmlegal.com                             stioa@pepperlaw.com Attorneys
                                                         for Cahill
         Attorneys for BASF


         22.16.2. All notices to the Settlement Administrator provided for in this Agreement shall

     be sent by email and First-Class mail to the following:

                Dan Myer
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                Verus LLC
                3967 Princeton Pike
                Princeton, NJ 08540
                DMyer@verusllc.com
         22.16.3. The notice recipients and addresses designated in this Section may be changed by

    written notice.


        IN WITNESS WHEREOF the parties hereof have caused this Agreement to be

 executed by their duly authorized representatives as March 13, 2020

         On behalf of the Class Representatives
         and the Class:




                _______________________
                 Christopher M. Placitella
                 Harry M. Roth
                Cohen, Placitella & Roth PC
                      BASF Catalysts LLC                    Cahill Gordon & Reindel LLP

         By:______________________________             By:______________________________

         Its:______________________________            Its:______________________________

                                    Schedule of Exhibits


    A. Notice

    B. Plan of Distribution

    C. Cost Fund Escrow Agreement

    D. Settlement Fund Escrow Agreement

    E. Preliminary Approval Order

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                                Exhibit A
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     UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY
                 Williams v. BASF Catalysts LLC, et al, C.A. No. 2:11-cv-01754.


    If you or a close relative were ever a plaintiff in a
    lawsuit against Eastern Magnesia Talc Company,
    Engelhard Corporation or BASF Catalysts, LLC
    based on an asbestos-related personal injury or
    wrongful death due to exposure to Emtal Talc, you
    could receive a payment from a proposed Class
    Action Settlement.
 A Federal Court has authorized this Notice. This is not a solicitation from a lawyer.

x   A proposed Class Action Settlement (“the Settlement”) will provide a Settlement Fund of
    $72.5 million to pay claims submitted by asbestos-related personal injury claimants or their
    surviving heirs, if deceased, who are Class Members. The fund will be established by the
    Court authorizing this Notice.

x   To qualify for monetary compensation, a person must:

       •   at any time between March 8, 1984 and March 29, 2011, have filed and served a
           lawsuit against Engelhard Corporation (“Engelhard”), or one of its subsidiaries (such
           as Eastern Magnesia Talc Company), or BASF Catalysts, LLC (“BASF”), which
           acquired Engelhard and its subsidiaries in June 2006, seeking asbestos bodily injury
           compensation or other relief arising from exposure to Emtal Talc, and

       •   before March 30, 2011, have either:

                   (A) voluntarily dismissed or terminated the lawsuit as to Engelhard/BASF after
                   the suit was filed, including any voluntary dismissal or release of claims due to
                   settlement; OR

                   (B) had their lawsuit as to Engelhard/BASF involuntarily dismissed by the
                   presiding Court.

       “Person” includes any individual or entity who has or had the right to claim damages
       relating to Emtal Talc exposure either in their own right because of an asbestos bodily
       injury allegedly sustained as result of claimed exposure to Emtal Talc in any form or
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       manner, or as an individual who may had have a right to damages based on an asbestos
       injured person’s injury or death such as, spouses, heirs, legatees, personal representatives,
       or wrongful death beneficiaries.

       Authorized representatives of deceased, legally incapacitated or incompetent person
       qualifying as a Class Member and family members of deceased persons qualifying as a
       Class Member who meet certain criteria may also file claims for monetary awards.
x   Engelhard mined, milled, and marketed Emtal talc in the United States from 1967 through
    1984, and sold and distributed it to companies for various industrial and commercial
    applications. Exposure to Emtal Talc may have happened in a variety of manners and occurred
    occupationally. This lawsuit, however, does not involve exposure to any personal cosmetic
    product such as baby, body, or talcum powder.

x   Your or your family member’s asbestos personal injury claim lawyer or law firm may have
    information to assist you in determining if you qualify as class member.

x   Your legal rights are affected whether you act or don’t act. Read this Notice carefully.

x   These rights and options—and the deadlines within which to exercise them—are explained in
    this Notice.

x   The Court in charge of this case still has to decide whether to approve the Settlement.
    Payments will be made only if the Court approves the Settlement and after any appeals are
    resolved. Please be patient.

              YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
STAY IN THE SETTLEMENT             The only way to get a payment.
CLASS AND SUBMIT A
                                   To receive monetary benefits, you will need to timely submit a
CLAIM BY ________
                                   claim to the Settlement Fund’s Administrator. However, if the
                                   Court approves the Settlement you will be bound by the terms
                                   and release contained in the Settlement even if you do not submit
                                   a claim, unless you exclude yourself as described below.
EXCLUDE YOURSELF                   Get no payment.
                                   This option allows you to pursue a lawsuit against defendant
                                   BASF, defendant Cahill Gordon & Reindel LLP and any of their
                                   co-defendants about the legal claims in this case. It also is the
                                   only option that allows you to ever be part of any other lawsuit
                                   against BASF or the other parties being released under the
                                   Settlement Agreement for any asbestos-related personal injury or
                                   wrongful death claim, whether the injury or claim is known or
                                   unknown, including any potential subsequent asbestos-related
                                   personal injury or wrongful death claim that may arise in the
                                   future.
OBJECT                             Write to the Court if you do not like the Settlement.



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GO TO A HEARING                               Ask to speak in Court about the fairness of the Settlement.
DO NOTHING                                    If you do nothing you will remain in the Class Action as a Class
                                              Member and will not, in the future, be able to pursue any other
                                              lawsuit against BASF, Cahill or the other parties being released
                                              under the Settlement Agreement for any asbestos injury or
                                              wrongful death claim, known, unknown or potential, including
                                              any possible secondary disease or second asbestos injury claim
                                              that may arise in the future. If you do not timely file a complete
                                              Claim Submission with the Administrator, you will not
                                              receive compensation.
                                              The deadline to file a Claim Submission is ______.


                                           Important dates and deadlines:

Class Membership Exclusion (opt-out) Deadline
                                                                                                (To be added)


Claim Submission Deadline                                                                       (To be added)




Objection and Intervention Submission Deadline                                                  (To be added)


Fairness Hearing                                                                                (To be added)



This Notice is only a summary of the Settlement Agreement, the Plan of Distribution and your
rights. You are encouraged to carefully review the complete Settlement Agreement and Plan of
Distribution at www.EmtalTalcSettlement.com. The Settlement Agreement and Plan of
Distribution are also on file in the office of the Clerk of the Court for the U.S. District Court for
the District of New Jersey in Newark, New Jersey (see Question __for the address). You can also
get this information by calling 1-8XX-000-0000 and requesting copies.

    Please do not write, email or call the Court or Clerk of Court for additional information.

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BASIC INFORMATION
   1.      Why did I get this Notice?

        You, someone in your family, or someone for whom you were a personal representative
may have been a party in an asbestos injury or wrongful death lawsuit filed between March 8,
1984 and March 29, 2011, that named as a defendant Engelhard Corporation (“Engelhard”) or
BASF Catalysts, LLC (“BASF”) or one of their subsidiary or affiliated companies (identified later
on in this document), which lawsuit was voluntarily or involuntarily dismissed. BASF acquired
Engelhard Corporation in June 2006 through a merger transaction. (Collectively Engelhard, BASF
and its subsidiary/affiliates are referred to as “Engelhard/BASF”). During this period of time,
numerous lawsuits were filed against Engelhard/BASF alleging that asbestos injuries were caused
through exposure to Emtal Talc, the brand name under which Engelhard’s subsidiaries marketed
the talc it produced. These now-dismissed lawsuits together involved thousands of individuals
and are referred to as the “Underlying Lawsuits.”

         After the Underlying Lawsuits were dismissed or resolved, a dispute developed about
whether information concerning the existence of asbestos in Emtal Talc was concealed or
misrepresented by Engelhard/BASF and its national defense coordination law firm, Cahill Gordon
& Reindel (“Cahill”), which in turn may have led to the unfair dismissal of asbestos lawsuits
against Engelhard/BASF. The dismissals of these Underlying Lawsuits as to
Engelhard/BASF are presently the subject of a proposed class action lawsuit pending in the United
States District Court for the District of New Jersey (the “Court”). The case is known as Williams,
et al v BASF Catalysts, LLC, et. al, C.A. No. 2:11-cv-01754.

        The people who sued are called the Plaintiffs. The people or companies they sued are
called the Defendants. They are more fully identified below.

        The Court sent you this Notice because you have a right to know about a proposed
settlement of a class action lawsuit and about your options before the Court decides whether to
give final approval of the Settlement. If the Court approves the Settlement and after any objections
and appeals are resolved, an Administrator appointed by the Court will make the payments that
the Settlement allows.

       This package explains the lawsuit, the Settlement, your legal rights, what benefits are
available, who is eligible for them, and how to get them, along with what claims and rights you
would surrender in exchange if the Settlement is approved by the Court and implemented.

   2.      What is this lawsuit?

        This is a federal court class action pending in the United States District Court for the
District of New Jersey since 2011. The Plaintiffs contend that the Defendants named in the lawsuit

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misled the attorneys representing them or their respective deceased family members in Underlying
Lawsuits against Engelhard/BASF about the existence of asbestos in Emtal Talc to support
Engelhard/BASF’s defense that Emtal Talc did not contain asbestos. Plaintiffs contend these
actions led to unfair settlements and/or dismissals of their or their deceased relatives’ Underlying
Lawsuits as to Engelhard/BASF, as well as to unfair settlements and dismissals of other asbestos
claimants’ lawsuits against Engelhard/BASF similar to theirs.

         “Emtal Talc,” was a brand of industrial talc sold by a subsidiary of Engelhard that was
used in the manufacturing of various industrial products, such as tires and other rubber goods,
paints, plaster, caulking, and auto-body repair compounds. This lawsuit does not involve exposure
to any personal cosmetic product such as baby, body or talcum powder.

       Engelhard was a chemical company that closed its talc mine in 1984. The Emtal Talc
business was a small business within Engelhard, itself a large mining and minerals trading
company. BASF bought Engelhard in June 2006.

        Plaintiffs claim that from 1984 until 2009, Engelhard (BASF acquired Engelhard in 2006),
its former national law firm Cahill, and employees of the two companies, made misstatements or
concealed evidence about the existence of alleged asbestos in Emtal Talc and failed to disclose
related information to plaintiffs, their lawyers, and courts in the Underlying Lawsuits. Plaintiffs
claim that due to these misstatements and omissions, the plaintiffs in the Underlying Lawsuits
either (1) voluntarily agreed to dismiss or settle their cases for less than they otherwise would
have accepted or (2) had their cases involuntarily dismissed by court order upon motions filed by
the Defendants. Defendants deny Plaintiffs’ allegations and dispute that any statements about
Emtal Talc affected the outcome of the Underlying Lawsuits because (1) the claims in the
Underlying Lawsuits were without merit, (2) the amount of asbestos in Emtal Talc, as reported in
historical documents, could not have caused harm to human health, and (3) many of the
Underlying Lawsuits were resolved for fixed amounts irrespective of the alleged asbestos content
of the talc or the number of talc defendants. Defendants further contend that many of the
complaints merely named Engelhard without any specific allegations regarding product
identification, exposure, or damages. Plaintiffs dispute these arguments.

   3.      What is a class action?

         In a class action, one or more persons, the named plaintiffs (who are also called proposed
“class representatives”) sue on behalf of themselves and other persons with similar claims. All of
these people together are the proposed “Class” or “Class Members.” When a class action is
settled, one Court resolves the issues for all Class Members (in the settlement context, “Settlement
Class Members”), except for those who exclude themselves (opt out) from the Settlement. U.S.
Magistrate Judge Joseph A. Dickson is in charge of this class action. In this case, the proposed
class representatives are Kimberlee Williams, Gayle Williams, Marilyn L. Holley, Sheila Ware,
Donnette Wengerd, and Rosanne Chernick, who are heirs to the persons who originally sued
Engelhard in the Underlying Lawsuits. Excluding yourself (opting out) means that you will not
receive any benefits from the Settlement. The process for excluding yourself (opting out) is
described in Question 19.



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   4.      What are the claims, issues and defenses in this class action?

       Plaintiffs claim that the Defendants caused harm to Class Members through misstatements
or concealing evidence in connection with the Underlying Lawsuits brought against
Engelhard/BASF after March 7, 1984 and before March 29, 2011. Plaintiffs allege that, in
defending these cases, Defendants claimed through communications to courts and plaintiffs’
lawyers, discovery responses, affidavits, and pleadings that:

   x    Emtal Talc did not contain asbestos;

   x    No evidence existed that Emtal Talc contained asbestos; and

   x    No Engelhard employee had ever testified about whether Emtal Talc contained asbestos.

        Through discovery in this lawsuit, Class Counsel obtained documents that purported to
identify asbestos in some samples of Emtal Talc as well as testimony from former Engelhard
scientists and reports from outside laboratories that purported to show asbestos in Emtal Talc.
Plaintiffs claim that this information and the documents identified were wrongly concealed from
plaintiffs in the Underlying Lawsuits in answers to discovery, in communications with
Engelhard’s lawyers, and in motions filed with courts seeking dismissal of the Underlying
Lawsuits. Plaintiffs further claim that Defendants supported these statements with affidavits they
drafted and disseminated to convince plaintiffs in the Underlying Lawsuits and courts that Emtal
Talc did not contain asbestos. Plaintiffs claim that, as a result of these misstatements and
Defendants’ failure to disclose this evidence, plaintiffs in the Underlying Lawsuits (1) agreed to
dismiss their personal injury claims against Engelhard (and later BASF); (2) settled them for less
than they otherwise would have accepted; or (3) had their cases dismissed by court order for lack
of proof that Emtal Talc contained asbestos.

        For their part, BASF and Cahill deny these contentions. They claim that the amount of
asbestos reported to be found in the documents identified by class counsel are insufficient to cause
harm to human health, dispute the merit of the Underlying Lawsuits, dispute the validity of some
tests that Plaintiffs claim identify asbestos in certain samples of Emtal Talc, and dispute that any
statements about Emtal Talc affected the outcome or settlement amounts of the Underlying
Lawsuits. BASF also claims that it was not aware of the facts alleged by the Plaintiffs in this case
when it bought Engelhard in 2006 and that BASF did not learn of the circumstances giving rise to
Plaintiffs’ allegations in this case until 2009. Upon discovery of certain documents and
information concerning Emtal Talc in 2009, BASF and its former counsel separated, and BASF
retained new counsel which has represented it since 2009. BASF also states that it no longer
defends Emtal Talc cases on the basis that there is no evidence that Emtal Talc contained asbestos.
Nevertheless, BASF believes and continues to defend these cases on various grounds, including
that there is no evidence that the reported levels of asbestos in Emtal Talc could cause harm to
human health.

       The Williams Plaintiffs acknowledge the challenges to succeeding in this litigation. For
instance, Class Members would need to prove that plaintiffs in the Underlying Lawsuits were
damaged by an evidential record in those cases that did not contain the evidence Defendants are
alleged to have concealed or made misstatements about. In addition, the District Court has ruled

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that plaintiffs would be required to waive their attorney-client privilege to allow for discovery of
otherwise confidential communications with their counsel in their Underlying Lawsuits as to what
effect, if any, the alleged misrepresentations had on the plaintiffs or their lawyers in deciding to
dismiss or settle with Engelhard in the Underlying Lawsuits. The District Court in Williams has
already ordered discovery and disclosure by the named Plaintiffs and certain other class members
of these types of attorney-client communications.

        Defendants also point to evidence developed during discovery in this case of modest
settlements amounts (including in the hundreds of dollars) that some plaintiffs accepted in
Underlying Lawsuits from other talc manufacturers despite evidence that their talc contained
asbestos. These modest settlement amounts accepted from defendants for whom there was proof
that their products contained asbestos were similar to what Engelhard paid some plaintiffs.
Defendants also claim that case files from the Underlying Lawsuits produced during discovery
give rise to other defenses that they could assert to support their contention that Defendants’
actions did not cause the settlement or dismissal of the Underlying Lawsuits, such as (1) the
absence of evidence of a plaintiff’s exposure to Emtal Talc; (2) that some claims were dismissed
as untimely filed; (3) that other claims were filed in the wrong jurisdiction; or (4) claims were
dismissed due to some other procedural or substantive reason not related to the asbestos content of
Emtal Talc.

         Earlier in this litigation, Plaintiffs also claimed that Engelhard and Cahill had destroyed
documents relating to Emtal Talc. This assertion was made on Plaintiffs’ good-faith belief at the
time that documents that should have existed no longer exist. However, Plaintiffs acknowledge
that, through BASF’s efforts to address Plaintiffs’ allegations, BASF has since located thousands
of documents relating to Emtal Talc, including testing documents that Plaintiffs believe show
there was asbestos in Emtal Talc, documents that Plaintiffs claim were not provided to the
plaintiffs in the Underlying Lawsuits. BASF has also located various other documents that
Plaintiffs had believed were destroyed. Plaintiffs acknowledge that if they were to continue to
allege document destruction, they would have to contend with the fact that BASF has located
many additional documents since this litigation began. Plaintiffs further acknowledge that the
essential key facts are now in the public domain from discovery in Williams and other litigation.
On the other hand, BASF would have to contend with Plaintiffs’ assertion that some number of
documents still have not been located and, therefore, were not produced in the Underlying
Lawsuits.

   5.      How many class members are there?

        A precise number of potential Class Members is not known due to the passage of time
since the Underlying Lawsuits were first filed and dismissed, the deaths of many plaintiffs and
their lawyers in the Underlying Lawsuits and the state or loss of records. Based on case census
information obtained in discovery in Williams, case information provided by some of the law
firms that represented claimants in the Underlying Lawsuits, and the review of other lawsuit
complaints in which hundreds or thousands of purported asbestos claimants were joined into one
lawsuit, Verus LLC, the asbestos claims administration firm that is advising Class Counsel, has
estimated that there are 19,128 potential class members. This estimated number includes both the
individuals who were the persons in the Underlying Lawsuits claiming to have suffered an
asbestos-related personal injury or death (“Injured Persons”) as well as persons who sued

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Engelhard/BASF derivatively based upon the Injured Person’s asbestos-related personal injury or
death, such as a spouse or the children or personal representative a deceased Injured Person (these
are defined as “Derivative Claimants”). Based on an analysis of information produced in
discovery, social security numbers and claim records of potential class members who have filed
asbestos bodily injury claims against defendants other than Engelhard/BASF, Verus estimates the
number of class members who are Injured Persons is in the range of 7,500 to 8,500 persons.

    6.      Why is there a settlement?

       After extensive litigation spanning more than eight years, which included an appeal to the
Third Circuit Court of Appeals, extensive discovery (including the production of hundreds of
thousands of pages of documents), many depositions, several protracted discovery disputes, and
previously failed settlement initiatives, the Plaintiffs and Defendants have agreed to this
Settlement.

       A settlement is an agreement between a plaintiff and a defendant to resolve a lawsuit.
Settlements conclude without the court or a jury ruling in favor of the plaintiff or the defendant. A
settlement allows the parties to avoid the cost and risk of a trial, as well as the delays of litigation.

        If the Court approves this Settlement, the litigation between the Settlement Class Members
and the Defendants is concluded. Only Settlement Class Members are eligible for the benefits
summarized in this Notice. The Defendants will no longer be legally responsible to defend against
the claims by Settlement Class Members made in this litigation.

       The Court has not and will not decide in favor of the Plaintiffs or the Defendants. By
reviewing this Settlement, the Court is not making and will not make any findings that any law
was broken or that the Defendants did anything wrong. By entering into the Settlement
Defendants are not admitting any of the claims made against them, which they continue to
completely deny. Conversely, the Plaintiffs are not conceding that any of their claims against
Defendants are invalid or without merit.

       Under the Settlement, BASF and Cahill will contribute a total of $72.5 million to a
Settlement Fund for the benefit of the class identified in Question 7. The monetary awards to
Settlement Class Members will vary based on the type of asbestos-related injury that the
individual claimant developed. Details on how this Settlement Fund will be allocated and
disbursed is described in a proposed Plan of Distribution that has been submitted to the Court in
connection with the Settlement. In addition to funding the Settlement Fund, BASF and Cahill will
pay the costs of providing notice to the class up to certain limits stated in Settlement Agreement,
administration of the claims process, incentive awards to the Class Representatives, and will pay
Class Counsel’s attorneys’ fees and cost reimbursement allowed by the Court.

       The Class Representatives and Class Counsel (see Question 22) believe that the proposed
Settlement is best for everyone involved. The factors that Class Counsel considered included the
uncertainty and delay associated with continued litigation, including trial and appeals, as well as
the uncertainty of particular legal issues that are yet to be determined by the Court. Class Counsel
balanced these and other substantial risks in determining that the Settlement is fair, reasonable and
adequate in light of all circumstances and in the best interests of the Settlement Class Members.

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WHO IS INCLUDED IN THE SETTLEMENT?

        To get money from the Settlement, you must first qualify as a Class Member.

   7.      How do I know I am a class member?

       For settlement purposes the Court has defined the Class in this case to consist of the
following:
         All Persons within the United States and its territories who after March 7, 1984
         and before March 30, 2011 filed and served a lawsuit against Engelhard/BASF
         seeking asbestos bodily injury or other relief arising from its Emtal Talc products,
         and who before March 30, 2011 either: (A) had voluntarily dismissed or
         terminated the lawsuit as to Engelhard/BASF either before or after the suit was
         filed, including any voluntary dismissal or release of claims due to settlement; or
         (B) had their lawsuit as to Engelhard/BASF involuntarily dismissed.

       The date on which a voluntary dismissal or termination occurred for purposes of
determining class membership is the earlier of either (i) the date on which the agreement or
consent by the plaintiff or his/her counsel to dismiss or terminate the lawsuit occurred; or (ii) the
date on which the dismissal or termination of the lawsuit was entered by or in the court in which it
was pending.

        A. Which Engelhard/BASF companies had to be named in the Underlying Lawsuits
           in order to qualify as a Class Member?

       In determining if a prior asbestos lawsuit qualifies a person as a Class Member,
“Engelhard/BASF” means and includes the following companies: BASF Catalysts LLC, BASF
Corporation, BASF CE, BASF SE, Engelhard Corporation, Engelhard Industries, Engelhard
Minerals & Chemicals Corporation, Minerals & Chemicals Philip Corporation, Eastern Magnesia
Talc Co., Porocel Corporation and Pita Realty Ltd.

        B. What if the injured claimant named in the Underlying Lawsuit is dead?

        The word “Person” in the definition includes any individual (or their estate if deceased)
who claimed damages relating to an asbestos bodily injury allegedly sustained from exposure to
Emtal Talc in any form or matter. This exposed, injured party (or his or her estate) is referred to in
the Settlement as the “Injured Party” and in the Plan of Distributions as the “Primary Claimant”.

      Where the Injured Party is deceased, his or her personal representative--e.g.- Executor(trix)
or Administrator(trix)--is a Class Member and is authorized to submit a claim submission for
monetary compensation to the Settlement Fund.

        C. Do parties who sued Engelhard/BASF in Underlying Lawsuits as spouses or
           wrongful death claim beneficiaries qualify as class members?

       Yes. The word “Person” in the class definition includes the spouse, personal representative
and wrongful death beneficiaries of the individual in the Underlying Lawsuits who is claimed to

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have developed an asbestos-related injury where the person was named in the Underlying Lawsuit
or the suit brought on his behalf in such capacity. Such parties are referred to as Derivative
Claimants in the Settlement and there is a compensation component provided in the proposed Plan
of Distribution for Derivative Claimants.

        For claims administration purposes all Derivative Claimants of an Injured Person who is
the subject of an Underlying Lawsuit are treated as a group under the proposed Plan of
Distribution.

        D. Are the attorneys who represented the claimants in the Underlying Lawsuits also
           class members?

       No. The word “Person” in the class definition does not include any attorney or law firm
represented plaintiffs in Underlying Lawsuits against Engelhard/BASF.

   8.      What if I am not sure whether I am included in the Settlement Class?

      If you are not sure whether you are included, you can obtain information or assistance in a
number of ways.

        You may contact the attorneys who represented you or your family member in the
Underlying Lawsuit and see if they can assist you. Where the Settlement’s Administrator, Verus
LLC, has information that a lawyer or law firm which filed Emtal Talc asbestos suits is still in
practice or has a known and confirmed successor, the Administrator has taken steps to notify the
lawyer and law firm (or known successors) of this class action lawsuit and proposed Settlement.
Verus has taken steps to provide these lawyers with details on the Settlement and, where known,
which of the lawyer’s or law firm’s clients may qualify as a class member.

        You can contact Verus LLC free of charge with questions or for more information by
calling *+++*<=*>Z>and asking for help regarding the Emtal Talc Settlement. You may also
write with questions to Emtal Talc Settlement c/o Verus LLC, 3967 Princeton Pike, Princeton, NJ
08540. During the time period that claims may be submitted to the Administrator, if a member of
the public has a credible and good faith reason and belief that he or she may be a class member but
is reasonably unable to secure necessary information to determine if he or she is, on written
request to the Administrator providing and certifying these facts, along with appropriate
identification information, including social security numbers, the Administrator, in turn, will make
a reasonable computer word search of a searchable set of Underlying Lawsuit documents provided
by the Defendants during discovery in the class action to determine if a possible match exists. If
there is a match, the Administrator will provide the person requesting assistance with access for a
limited amount of time to search and download documents supporting the person’s claim to class
membership. There is a form for making such requests available on the Settlement’s website or
that can be obtained by calling or writing the Administrator.

     For more information you can also visit the Settlement’s website,
www.EmtalTalcSettlement.com.

       You also may fill out and submit the Settlement claim submission form described at
Questions 14 and 15, to see if you qualify.
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         9.      Do I need to hire a lawyer to represent me in the Settlement?

       Class Counsel who are identified at Question 22 below are responsible for all of the
common interests of the Class Members. Class Counsel filed and prosecuted this lawsuit,
negotiated the Settlement and represent all of the common interests of the Class. However, Class
Counsel are not responsible for and will not represent you individually in the class action or in
making your individual claim to the Settlement Fund for the monetary payments that are described
below.

        You have the right but are not required to hire your own lawyer to represent you in this
class action or in making your individual claim to the Settlement Fund for monetary payments that
are described below. Should you hire a lawyer you will be responsible for paying the fee you
agree upon with that lawyer which may reduce the amount of any payment to which you may be
entitled from the Settlement Fund. For more information on compensation to be paid to lawyers
please refer to Question 23 below.

THE SETTLEMENT’S BENEFITS—WHAT YOU GET AND WHAT YOU GIVE UP

   10.        What does the Settlement provide?

        Defendants BASF and Cahill have agreed to create and fully fund a non-reversionary
Settlement Fund of $72.5 million for use and benefit of Settlement Class Members which will be
used for the payment of claims to Settlement Class Members pursuant to, and in accordance with a
Plan of Distribution approved by the Court. (See Question 11 for a summary of the Plan.) In
addition to the Settlement Amount, these two Defendants have agreed to pay up to $3.5 million to
cover the reasonable and necessary costs of designing, establishing and carrying out the Plan of
Notice and the Plan of Administration. BASF and Cahill have further agreed for the benefit of the
Settlement Class Members to pay Class Counsel’s attorneys’ fees as approved by Court up to
$22.5 million together with reimbursement of Class Counsel’s litigation costs approved by the
Court up to the sum of $1.2 million.

         Defendants BASF and Cahill have additionally agreed as part of the Settlement that
copies of the following Emtal Talc litigation materials are and will remain in the public domain:
(a) the Williams Action’s pleadings; (b) the Williams Action’s non-privileged depositions
(including non-privileged exhibits); (c) non-privileged documents produced or subpoenaed during
discovery in the Williams Action and (d) copies of the public non-privileged depositions
(including non-privileged exhibits) taken in the New Jersey Superior Court Asbestos Program’s
Sampson, Comandini, Fuschino, Paduano and Volk lawsuits. Such documents may be made
available by Class Counsel or their designee to any person, except as limited by any operative
sealing orders or confidentiality orders.

   11.        When and how will the Settlement Fund be distributed to Settlement Class
              Members?

        If the Settlement is approved and becomes final, the Settlement Fund will be distributed
according to a Plan of Distribution approved by the Court. As part of the class action settlement
approval proceedings, the Court is considering a proposed Plan of Distribution which is described
in this Notice. A copy of the Proposed Plan is available on the Settlement’s website or can be
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obtained from the Administrator by calling or writing it to request a copy. The Plan of Distribution
was designed by Class Counsel with the assistance of consultants on asbestos claims facility
design and operations, including Verus LLC. The Defendants are not responsible for the
Settlement Fund’s distribution design, allocations, adjudications or payments and will have no
role in the Settlement Fund’s distribution once the Settlement is approved.

       The Settlement Fund’s claims facility and allocation and distribution processes will be
managed by a Settlement Trustee appointed by the Court who will also be appointed to serve as a
Special Master with adjudicatory powers regarding the fund’s awards and payments as is
necessary to carry out the Plan. The Court has been asked to appoint the Honorable Marina
Corodemus, J.S.C (Retired) to fill this position. She is a former New Jersey Superior Court judge
who presided over New Jersey’s Mass Tort Program. A biography of Judge Corodemus is
available on the Settlement’s website. Currently Judge Corodemus is serving as the Court’s
Interim Settlement Trustee. In this capacity, she is setting up and conducting the interim claim
administration operations and performing the duties required to be performed under the parties
Settlement Agreement and the Court’s Preliminary Approval Order during the time the Court is
considering the pending request for final approval of the Settlement.

        The Settlement Trustee will be assisted in its execution of the Plan of Distribution by a
third-party claims administration company appointed by the Court. The Court has been asked to
appoint Verus LLC of Princeton, New Jersey, as the Administrator. Verus LLC has served as a
consultant to Class Counsel in designing the Plan of Distribution. The Settlement Fund’s
administrator is authorized to receive, process and make provisional determinations of claims to
the Fund (which are all subject to review, modification or approval by the Settlement Trustee),
establish and maintain the Settlement Fund’s claims processes, books, records and internal
controls, handle the Fund’s routine inquiries and communications, and make claim disbursements
once claim distribution schedules are approved by the Court. Verus is currently serving as the
Interim Administrator to perform certain administration operations and duties relating to the
proposed Settlement that are required to be performed under the parties’ Settlement Agreement
and the Court’s Preliminary Approval Order.

        The Settlement Trustee under the Plan and Settlement Agreement is authorized, subject to
Court approval, to retain a lien resolution company (“Lien Administrator”). The Lien
Administrator will, as a settlement benefit, assist each Settling Class Member claimant to
determine the existence of Government Liens and the amounts needed to clear and resolve such
liens. The terms of the Settlement Agreement require that a claimant to the Fund must clear these
Government Liens. The Court has been asked to appoint Edgar C. Gentle, III, Esq. and his law
firm, Gentle, Turner, Sexton & Harbison, LLC, to serve as Lien Administrator.

       The Settlement Trustee, Administrator and Lien Administrator are each required to at all
times administer the Plan and distribute the Settlement Fund according to its terms under the
auspices of the Court.

   12.      How much money will I receive in the Settlement?

        The following sections summarize the Plan of Distribution, but you should read and refer
to the Plan for details as that is the controlling document. A copy of the proposed plan is available

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 on the Settlement Fund’s website or a hard copy may be obtained from the Administrator on
 request by writing or calling.

            A. How will Settlement Fund payment award amounts be determined?

         The Plan establishes three compensation programs to which Settlement Class Members
 meeting defined eligibility criteria may apply for compensation award payments (each program
 being referred to as a “Part”). The Settlement Fund’s Part A program provides Base Compensation
 Payments to Settlement Class Members who can establish that the claimant or claimant’s decedent
 during the Class Period filed an Underlying Lawsuit against Engelhard/BASF which credibly
 asserted in good faith an asbestos injury caused by alleged exposure to Emtal Talc (“Base
 Payments”). The Plan’s Part B program provides compensation payments to Settlement Class
 Members who satisfy Part A and also present sufficient evidence of an asbestos bodily injury
 sustained by them (or if applicable, their decedent). The Plan’s Part C program establishes an
 Extraordinary Injury Fund or “EIF” from which the Settlement Trustee may, in exceptional cases,
 make a discretionary supplemental compensation payment to mesothelioma injury claimants
 subject to eligibility guidelines and limitations as set forth in this Plan.

         There are criteria and rules in the Plan as to who can make a claim and how. You should
 read the Plan for the details on these compensation programs and Settlement Class Members’
 rights under the Plan.

        B. How Much Money will I receive under the Plan?

        The Settlement’s Plan of Distribution has three parts for allocating the Settlement Fund
 which are described below. The amount of money a Settlement Class Member will receive
 depends upon which parts he or she qualifies for and the total number of claims that are approved
 under each part.

            1. Payments under the Plan’s Part A program.

         The Plan’s Part A program provides Base Payments from a $6.25 million sub-fund
 allocation of the Settlement Fund Amount to Settlement Class Members whose Underlying
 Lawsuits were dismissed and who are releasing all claims related to the Underlying Lawsuits,
 including the Williams Class Action Claims, against the Released Parties. Settlement Class
 Members who were Injured Persons (which includes the personal representatives of a deceased
 Injured Person) in the Underlying Lawsuits are referred to as “Primary Claimants”. Each Primary
 Claimant who timely submits a claim for Part A compensation and establishes that his or her
 subject Underlying Lawsuit presented a good faith credible claim for injuries allegedly caused by
 exposure to Emtal Talc will receive a payment of up to $500 from the Part A sub-fund. Generally
 speaking, claims on behalf of a deceased Injured Person must be filed by the deceased person’s
 estate representative (who is considered to be a “Primary Claimant” under the Plan). However,
 where the only claim to the Settlement Fund being applied for with respect to a deceased Injured
 Person are Part A compensation shares and no claims are made for compensation under Parts B or
 C, the claim may be submitted by the Injured Person’s surviving spouse if any, or if none, by an
 Injured Person’s surviving child with the written consent of all other surviving children, if any.


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          Where there are one or more Settlement Class Members associated with a Primary
 Claimant as a Derivative Claimant, that is, the Settlement Class Member’s claim in the
 Underlying Lawsuit was based upon the Primary Claimant’s asbestos injury and not theirs, then
 the Primary Claimant (or in the limited circumstances where a Derivative Claimant is making only
 the Part A Claim) will also be eligible to receive one additional Part A payment of up to $500, for
 a total Part A award of up to $1,000.

         Part A Base Payments are subject to proration downward if more than 12,500 Part A Base
 payments are awarded, counting each Primary and Derivative Claimant Base Payment award
 separately. Any funds in the Part A sub-fund remaining after payment of all eligible Part A share
 claims will be reallocated by the Settlement Trustee first to Part C to pay allowed EIF claims, if
 any, or otherwise to Part B . (Such reallocation being referred to as a “spillover”).

            2. Payments under the Plan’s Part B program.

         The Plan’s Part B program provides additional compensation to the Injured Persons in the
 Underlying Lawsuits (or their estates if deceased) out of an initial sub-fund allocation from the
 Settlement Fund of $59.75 million. The Part B sub-fund will be distributed in its entirety among
 the Part B Claimants adjudicated during the claims process to be eligible to share in Part B
 distributions. The amount of the Part B sub-fund may change during the course of the Settlement
 Fund’s administration based on the Settlement Trustee’s application of a spillover of unused
 allocations of the Part A or Part C programs’ sub-funds, accrued interest earned on the Settlement
 Fund’s assets, payment of Class Representative service awards, or the need to pay administration
 costs and expenses that cannot be paid or fully paid from the Settlement Cost Fund. The amount a
 Primary Claimant will receive depends upon the nature of the disease allegedly sustained from
 exposure to Emtal Talc and the number of other persons who make Part B claims and the nature of
 their diseases.

        Part B compensation claims may be submitted only by Primary Claimants, including the
 Injured Person in the Underlying Lawsuit or by the Injured Person’s estate if such person is
 deceased. Class Members who apply and meet the eligibility requirements for a Plan B program
 award will receive a proportionate share of the Part B sub-fund based upon a system of points
 awarded for the asbestos disease the Injured Person sustained and was diagnosed.

         Eligibility for Part B compensation requires a Primary Claimant establish (a) entitlement to
 Part A compensation; and (b) through credible, competent proof that the Injured Person sustained
 an asbestos-related injury falling into one of four defined categories of asbestos disease levels: (1)
 Non-malignant asbestos pulmonary disease (a “Part B Level 1 claim”); (2) Malignant Asbestos
 Disease Other Than Mesothelioma or Level 3 Claim Lung Cancer ( a “Part B Level 2 claim”);
 (3) either: (i) Primary Lung Cancer with evidence of underlying Bilateral Asbestos-Related
 Nonmalignant Disease; or (ii) Severe Asbestosis ( a “Part B Level 3 claim”); or (4)
 Mesothelioma (a “Part B Level 4 claim”). A Part B claim may be based on the highest degree of
 the Injured Person’s disease progression provable as of the time of the claim submission to the
 Plan. Claimants may establish proof of medical injury through a certification of a prior equivalent
 asbestos disease level adjudication by one of several designated Qualified Asbestos Trusts or
 through individual adjudication of satisfactory medical evidence provided by the Claimant to the


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 Administrator. Please review the Plan of Distribution for details as this Notice is only a summary
 of the Plan’s Distribution Procedures.

         The Part B sub-fund will be allocated among and paid to those Part B Claimants
 adjudicated to be eligible according to the disease level sustained using an assigned number of
 “Qualifying Claim Points” based on whether they have a Part B Level 1, 2, 3 or 4 disease. Part B
 sub-fund compensation will be the claimant’s pro rata share of the Part B sub-fund calculated
 according to the formula X/Y x Z, where X represents the number of the individual eligible
 Claimant’s adjudicated Qualifying Claim Points; Y represents the aggregate of all eligible
 Claimants' adjudicated Qualifying Claim Points, and Z represents the Part B sub-fund dollar
 amount (including any spillovers from Part A or Part C sub-funds). The number of Qualifying
 Claim Points for each Part B claim level is set forth in the following Table 1. The number of
 Qualifying Claim Points assigned to each asbestos disease category in Table 1 is based upon a
 survey and analysis conducted by Verus LLC of compensation programs employed by eighteen
 relatively comparable bankruptcy asbestos trust claims facilities to allocate their asbestos claim
 trust funds among claimants suffering from different levels of asbestos disease.

          Precise amounts of compensation for each Part B Claim Level cannot be determined
 presently because a number of key factors are not yet known, including the number and disease
 level distribution of Part B claims, whether there will be spillover from Parts A and C, and other
 variables in the Plan of Distribution. Table 1 below, however, provides a range of hypothetical
 Part B payment estimates based on (a) receipt and approval by the Settlement Fund of 7,500,
 8,000 and 8,500 Part B claims; and (b) an asbestos disease distribution rate equal to the historical
 asbestos disease rates experienced by the Johns Manville Asbestos Trust (which rates are stated
 for each disease level in the table).



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                                        Table 1
                  Hypothetical Part B Payment Share Estimates*
                                                         Qualifying                             Estimated Payments
                                                        Claim Points                       (Estimated number of claims)
                 Part B Claim Levels
                                                                                7,500                8,000                 8,500
                                                       (Assumed disease        approved             approved              approved
                                                           rate %)             claimants            claimants             claimants

                    Level 1 Claim
         Non-Malignant Asbestos disease
          other than Severe Asbestosis.                       1               $1,283               $1,203                 $1,132
       (Bilateral Asbestos-Related
                                                         (86.3 %)             (6,473)              (6,904)                (7,336)
       Nonmalignant Disease Injuries
       other than Severe Asbestosis)
       Level 2 Claim                                          9              $11,546              $10,824             $10,188
       Malignant Asbestos Disease Other
       Than Mesothelioma or Level 3
       Claim Lung Cancer.                                 (2.1 %)              (158)                (168)                 (179)
       Level 3 Claim
       Either: (a) Primary lung cancer with                  20              $25,658              $24,054             $22,639
       evidence of underlying Bilateral
       Asbestos-Related Nonmalignant                      (7.3 %)              (548)                (584)                 (621)
       Disease; or (b) Severe Asbestosis.


       Level 4 Claim                                         86             $110,327             $103,432             $97,348
       Mesothelioma
                                                          (4.3 %)              (323)                (344)                 (366)
       * Due to rounding, the numbers presented may not add up precisely to the totals indicated and payment estimates may not
       precisely reflect the absolute figures.


        Caveats:

        Table 1 is for illustration purposes only. The actual Part B payment amounts to
        Settlement Class Members will likely be different than any of the estimated
        hypothetical payments appearing in the table based upon the Settlement Fund’s
        actual claim experience.

        The hypothetical payment share estimates shown on Table 1 do not reflect
        deductions for any liens or fees charged by personal attorneys hired by class
        members described in Question 12(3)(C) (liens) and Question 23 (individually
        retained attorney’s fees) below. As described in those Questions, class members
        eligible for a settlement payment are responsible for paying from that settlement
        payment any liens or any fees charged by personal attorneys should they hire one.




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        3. Payments under the Plan’s Part C Discretionary EIF program.

         The Plan’s Part C EIF program allocates $6.5 million of the Settlement Fund for an
 Extraordinary Injury Fund under which the Settlement Trustee has discretionary authority to
 award bounded supplemental compensation payments to a Primary Claimant with mesothelioma
 who establishes to the Settlement Trustee’s satisfaction that the Primary Claimant sustained an
 extraordinary physical injury and/or economic loss allegedly as a result of exposure to Emtal Talc
 mined, milled, sold or distributed by Engelhard/BASF that is materially and substantially beyond
 that sustained by typical other Part B mesothelioma Primary Claimants.

         To qualify for an EIF award, a Primary Claimant, in addition to establishing Class
 Membership under Part A and Part B, must satisfy specific eligibility requirements that: (1) the
 subject Injured Person developed mesothelioma; (2) the Primary Claimant has not received
 appropriate and sufficient compensation for the subject mesothelioma injury; (3) the subject
 mesothelioma injury and resulting losses were allegedly a result of frequent, regular and
 proximate exposure to Emtal Talc; and (4) the Underlying Lawsuit’s plaintiff lawyer or firm
 received direct representations from an Engelhard/BASF attorney regarding the absence of
 asbestos in Emtal Talc. No Part C award made pursuant to the discretionary EIF program may
 exceed $175,000. The Part C EIF sub-fund may be increased by unallocated or unclaimed fund
 spillovers from the Part A fund. The Settlement Trustee is not required to make any EIF awards or
 to make awards sufficient to exhaust the EIF fund. The Settlement Trustee shall re-allocate the
 unused portion of the Part C sub-fund to the Part B sub-fund.

        C. Are there any individual filing fees, case fees, administration charges or liens that
           could reduce my specific individual claim awards?

            x   There is no filing fee or charge to submit a claim to the Settlement Fund for
                compensation.

            x   Any and all liens relating to a claimant’s settlement distribution are the sole
                responsibility of the claimant. The Plan of Distribution requires that certain liens
                imposed by a government entity, such as those relating to Social Security Medicare
                payments, be determined, resolved and, where existing, fully paid (or payment
                secured through deductions or withholdings from the claim proceeds by the
                Administrator) prior to the Administrator paying the claimant’s claim. The
                Settlement Trustee as part of its administration will retain a lien resolution
                company (Lien Administrator) who, as a settlement benefit, will assist each
                Settling Class Members claimant in determining the existence of a Government
                Lien and the amounts to clear and resolve the lien. Government Lien resolution
                services assigned to the Lien Administrator under the Settlement shall be at the
                expense of the Settlement administration.

            x   The Lien Administrator may also assist claimants as to other medical or other
                benefit lien resolution with the claimant to pay the reasonable cost of such
                additional services out of his monetary award. Payment of such lien amounts, are
                the claimant’s sole responsibility, will not be paid by the Settlement Fund, and may
                reduce the amount of the claimant’s monetary award.

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            x   Any attorneys’ fees due to claimant’s or claimant’s decedent’s attorneys in the
                Underlying Lawsuits with respect to monetary award distributions from the
                settlement are the sole responsibility of the claimant. While liens against a
                claimant’s monetary award may also include a claim for attorneys’ fees by the
                lawyers or law firms that had represented the claimant or the claimant’s decedent in
                the Underlying Lawsuit, the determination and resolution of this lien is the
                individual Settlement Class Member claimant’s sole responsibility. This will not be
                the responsibility of the Lien Administrator to negotiate or resolve and will not be
                paid or satisfied by the Settlement Fund.

    13.     What am I surrendering by staying in the Settlement Class?

         Unless you exclude yourself (opt out) from the Settlement (see Question 19), you cannot
 sue BASF, Cahill, any of the other named Defendants in the Williams Action, or any party that is a
 Released Party as defined in the Settlement Agreement, which includes related individuals and
 entities to BASF, Cahill and the other named defendants, or be part of any other lawsuit against
 these persons and companies, about the issues and factual matters alleged in this case. This means
 you give up your right to continue to litigate any claims related to this Settlement, or file new
 claims, in any court or in any proceeding at any time. If you stay in the Class and presently have a
 non-malignant asbestos-related injury (such as asbestosis or pleural disease), you cannot in the
 future sue any of these released persons and companies for compensation or damages should you
 later develop a malignant asbestos-related injury such as cancer or mesothelioma, even if the law
 of your jurisdiction permits such claims.

         The Settlement does not release or end any claims a Settlement Class Member may have
 now or in the future against Johnson and Johnson or any other talc company relating to talc or
 asbestos personal injuries. They are not parties to this Settlement nor are they Released Parties as
 that term is defined in the Settlement Agreement and claims against them are expressly not
 released by this Settlement.

         Section 12 of the Settlement Agreement contains the complete text and details of what
 Settlement Class Members give up unless they exclude themselves (opt out) from the Settlement,
 including who and what are included as Released Parties, so please read it carefully. The
 Settlement Agreement is available at www.emtaltalcsettlement.com. The Settlement Agreement is
 also on file with the Clerk of the Court for the District of New Jersey (see Question 28 for the
 address). You can also get this information by calling 1-8XX-000-0000. If you have any
 questions you can talk to the law firms listed in the chart at the end of this Notice for free or you
 can talk to your own lawyer if you have questions about what this means.

 HOW TO GET A PAYMENT—SUBMITTING A CLAIM FORM

    14.     What must be done to get a monetary payment from the Settlement Fund?

        To be eligible to receive a payment from the Settlement Fund, you must complete and
 submit a valid and timely Claim Submission to commence a claim. If you do not submit a valid
 Claim Submission Form by the deadline of ______, you will not receive a payment. All proofs
 and forms must be submitted by this deadline.

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    15.     How can I submit a claim to get a monetary payment?

         You can complete and submit your Claim Submission Form online at the Settlement
 Website, www.EmtalTalcSettlement.com. The Claim Submission Forms along with related
 certification and authorization forms, can be downloaded from the Settlement Website and
 submitted via mail, as well. You can request the Claim Submission certification form and
 authorization forms be sent to you by sending a written request to the Administrator by mail or by
 email or calling the Administrator to request these forms. A registered personal lawyer authorized
 by you to represent you and your family may complete and file the claim. There are, however,
 required verification forms and possible authorization forms that will be required to be signed by
 hand or electronically on the Settlement Website claims portal.

         Please read the claim instructions carefully, and fully fill out the Claim Form. If you are
 submitting the Claim Submission Form in paper format, please mail it postmarked no later than
 11:59 P.M. ________, 2020 to: Emtal Talc Settlement c/o Verus LLC, Administrator, 3967
 Princeton Pike, Princeton, NJ 08540. If you are submitting your Claim Submission Form online at
 the Settlement Website’s claim portal, ____, you must complete and submit the electronic claims
 by 11:59 P.M. (Eastern Standard Time), _________ 2020.

         All claimants must provide a copy of a pleading, an interrogatory answer, or a deposition
 testimony excerpt describing the Injured Person’s alleged exposure to Emtal Talc unless no
 supporting document exists or can be found after Claimant has conducted a reasonable search and
 inquiry, in which case a certification under oath of diligent search must be provided instead.
 Claimants wanting to receive compensation under the Plan’s Part B and/or Part C programs will
 also be required to submit documents or other acceptable forms of proof described in the Plan to
 establish (1) the existence and level of an eligible asbestos disease and, (2) the Injured Person’s
 Underlying Lawsuit (or that brought by an Injured Person’s estate where applicable) must have
 asserted a good faith, credible asbestos injury claim based on an injury believed to be caused by
 exposure to Emtal Talc. Please follow all the instructions on the claim form relating to that claim.
 You may be asked for additional documentation and certifications. Claims are subject to audits
 and you may be asked to provide additional documentation and certifications related to the audit.

    16.     Is there a time limit to file claims for monetary awards or to complete Claim
            Submissions?

        Yes. The Court has set a deadline date to file a claim of ___________ 2020. If you do not
 submit a valid Claim Submission (which includes a completed claim form and necessary
 supporting documents) by both this date and one of the times listed below, you will not receive a
 payment:

          (1) If submitted by mail, express mail or hand delivery, the Claims Submission
          must actually be received by the Administrator in its offices by no later than 5
          P.M., prevailing Eastern time in effect; or

          (2) If submitted electronically submitted through the Settlement Fund's website or
          other electronic portal established by the Administrator, the Claims Submission


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              must actually be received by the Administrator's system by no later than 11:59
              P.M., prevailing Eastern time in effect.

    17.         When would I get my payment if eligible?

         The Administrator intends to complete its adjudication of claims before the Court grants
 “final approval” of the Settlement. Payment, however, will not be made until after the Court
 grants “final approval” of the Settlement and after any appeals are resolved. All Claims must be
 adjudicated and any disputes or challenges regarding a claim determination resolved in accordance
 with the dispute and contest procedures in the Plan of Distribution. Required lien resolutions must
 also be completed before an individual claimant’s funds can be distributed. This may take a
 substantial amount of time to accomplish. Additionally, if the Court approves the Settlement after
 a hearing on _________, there may be appeals. This will delay payment awards. It is always
 uncertain whether these appeals can be resolved and resolving them can take time. Everyone who
 submits a Claim Submission Form will be kept informed of the progress of the Settlement through
 the Settlement website or other means as appropriate. Please be patient.

    18.         Can I challenge or dispute the Administrator’s determination of my monetary
                award claim?

        Yes. The Settlement’s Plan of Distribution procedures establishes a process for a
 Settlement Class Member to challenge or dispute the denial of a monetary award claim or the
 amount of the monetary award to the Settlement Trustee who will adjudicate the dispute.

    19.         How do I get out, or exclude myself (opt out) of the Settlement?

         If you don’t want a payment from the Settlement, but you want to keep the right to sue or
 continue to sue BASF, Cahill or any of the other defendants in the Williams Action on your own
 about the legal and factual issues and claims in this case, then you must take steps to get out. This
 is called excluding yourself—or is sometimes referred to as opting out of the Settlement Class.
 On or before ____, 2020, you must mail a letter or other written document to the Administrator
 (Verus LLC) requesting exclusion from the Settlement Class. Your request must include:

          •     Your name, address, telephone number, Social Security or Tax Identifier Number and
                date of birth;

          •     A copy of your driver’s license, other government issued identification and if
                applicable to a deceased or incompetent person, documentation establishing authority
                to act such estate letters or power of attorney;

          •     A statement that “I wish to exclude myself from the Settlement Class in Williams v
                BASF Catalysts LLC, C.A. No. 2:11-cv-01754” (or substantially similar clear and
                unambiguous language); and

          •     Your signature by hand, and the date on which you signed it (even if represented by an
                attorney at law).


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 You must mail your exclusion (opt out) request, postmarked on or before ________, addressed to:

                                        Emtal Talc Settlement
                                            c/o Verus LLC
                                         >\^! # !#
                                         Princeton, NJ 08`<=

 A husband and wife or entire family of heirs where applicable, can opt-out on one form provided
 all sign the form and provide the information and documents set out above.

 Your request to exclude yourself (opt out) is not effective unless and until the District Court
 grants Final Approval and the order approving the Settlement becomes Final.

 You can’t exclude yourself on the phone or by e-mail. If you ask to be excluded, you will not get
 any settlement payment, and you cannot object to the Settlement. You will not be legally bound
 by anything that happens in this lawsuit. You may be able to sue (or continue to sue) BASF,
 Cahill and the other defendants named in the Williams Action in the future.


    20.     If I do not exclude myself (opt out), can I sue BASF, Cahill and the other released
            Parties for the same thing later?

         No. Unless you exclude yourself, you give up any right to sue BASF, Cahill or any other
 Released Person as defined in the Settlement Agreement for the claims that this Settlement
 resolves. If you have a pending asbestos lawsuit, speak to your lawyer in that lawsuit immediately.
 You must exclude yourself from this Settlement Class to pursue or continue your own lawsuit
 against BASF, Cahill, the other Defendants in the Williams Action or any other Released Person
 concerning the labeling, marketing, composition, or advertising of Emtal Talc or the defense or
 resolution of asbestos injury claims relating to Emtal Talc. If you properly exclude yourself from
 the Settlement Class, you shall not be bound by any orders or judgments entered in the Williams
 Action relating to the Settlement. Remember, the exclusion (opt-out) deadline is _____, 2020.

    21.      If I exclude myself, can I still get a payment?

         No. You will not get any money from the Settlement if you exclude yourself. If you
 exclude yourself from the Settlement, do not complete on-line or send in a Claim Submission
 Form asking for benefits. You may, however, sue, continue to sue, or be part of a different lawsuit
 against BASF, Cahill or the other Released Parties in the Settlement.

 THE LAWYERS REPRESENTING YOU

    22.     Do I have a lawyer in this case?

        Yes. “Class Counsel” are listed below, represent all of the common interests of the Class
 Members. They are the lawyers who filed and prosecuted the lawsuit and negotiated the
 Settlement. You will not be charged any fee for the services provided by these lawyers. See
 Question 23 below.

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              Christopher M. Placitella                 Stewart L. Cohen
              Michael Coren                             Harry M. Roth
              Jared M. Placitella                       Robert L. Pratter
              Eric S. Pasternack                        Cohen Placitella & Roth, P.C.
              Cohen Placitella & Roth, P.C.             2001 Market Street
              127 Maple Ave                             Philadelphia, PA 19103
              Red Bank, NJ 07701                        scohen@cprlaw.com
              cplacitella@cprlaw.com                    hroth@cprlaw.com
              mcoren@cprlaw.com                         rpratter@cprlaw.com.
              jmplacitella@cprlaw.com
              epasternack@cprlaw.com.

        To be clear, however, Class Counsel listed above, are not responsible for and will not
 represent you in your individual claim to the Settlement Fund for monetary payments.

        You are not obligated to hire your own lawyer. However, if you want to be represented by
 your own lawyer, you may hire one at your own expense. See Question 23 below.

    23.      How will the lawyers be paid?

          There are three groups of lawyers who may seek compensation.

         The first is Class Counsel. Class counsel will ask the Court for an award of attorneys’ fees
 and reasonable costs. BASF and Cahill have agreed not to oppose or object to the request for
 attorneys’ fees and reasonable incurred costs if the requests does not exceed $22.5 million for
 attorneys’ fees and $1.2 million for cost reimbursement. These fees and incurred costs will be paid
 separately by the BASF and Cahill and not from the $72.5 million Settlement Fund. Settlement
 Class Members will have an opportunity to comment on and/or object to this request at an
 appropriate time. Ultimately, the award of attorneys’ fees and reasonable costs to be paid by
 BASF and Cahill is subject to the approval of the Court. BASF and Cahill will also separately pay
 the reasonable and necessary costs of administering the Settlement, including notice costs up to a
 limit of $3.5 million. Class Counsel’s fee, if approved, is 22.5% of the total amount paid by the
 Defendants to the Settlement Fund, Cost Fund and Attorneys’ Fee Fund, all of which benefit the
 Class.

         The second group (“Second Group”) of lawyers are those who may be retained by you to
 represent you individually in this class action orsubmit your claim o the ClaimsAdministrator.
 YOU DO NOT NEED TO HIRE A LAWYER. However, if you decide to do so, that lawyer will
 likely seek compensation for his or her services.

        The third group of lawyers (“Third Group”) are those who may claim an entitlement to a
 fee based upon agreements entered with Class Members or their decedents in the Underlying
 Lawsuits.



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         The fees, if any, for the Second and Third Group of lawyers are separate and district from
 the fees that will be paid to Class Counsel. The Second and Third Group of lawyers are also
 referred to as Non-Class Counsel. Typically, these fees are paid on a percentage of the recovery
 basis.

         A fee paid to the Second or Third Group of lawyers referenced above would be the sole
 responsibility of the Class Member. By way of example only, should an attorney charge a class
 member a 33.3% contingency fee, and the class member is eligible for a Part A payment of $500
 and a Level 2 Part B Claim payment of $10,824 as provided in Table 1 above (this example
 assumes there are 8,000 approved claims) for a total amount of $11,324, the net recovery to the
 class member after payment of personal attorneys’ fees would be $7,550 ($11,324 – $3,774). The
 net recovery for the Class member in this example would vary depending on the fee percentage
 the attorney would charge and whether the Class Member is obligated to pay any liens (See
 Question 12 (3)(C). This example is for illustrative purposes only; the Court has not made any
 determination regarding fees charged by non-Class Counsel. And, as noted below, the Court will
 decide any fee to be awarded to the Second and Third Group of lawyers.

        In recent years, courts in class action cases have considered the extent to which fees may
 be charged by non-Class Counsel. The Court in this case has retained jurisdiction to consider and
 will make a determination about the fees and the amounts which may be charged to Class
 Members by non-Class Counsel, individual counsel and former counsel.

    24.     Are the class representatives being paid any compensation for their services?

         Class Counsel will ask the Court to award each of the six named Plaintiffs $50,000 each
 for or their class representative service in view of their efforts in bringing the Williams Action and
 helping the lawyers on behalf of the whole Class over the eight years of hard-fought litigation
 leading to the Settlement. The awards will be paid from the Settlement Fund as provided in the
 Plan of Distribution. The award of class representative service awards is subject to the approval of
 the Court. Settlement Class Members will have an opportunity to comment on and/or object to this
 request at an appropriate time.

 OBJECTING TO THE SETTLEMENT

        If you’re a Class Member, you can object to the Settlement if you don’t like any part of it.
 You can give reasons why you think the Court should not approve it. The Court will consider your
 views. To object, you must send a letter saying that you object to Williams v. BASF Catalysts
 LLC. Be sure to include your name, address, telephone number, your signature, and the reasons
 you object to the Settlement. Mail the objection to the addresses listed below. Objections must be
 postmarked no later than ____ ___, 2020:

                                          Office of the Clerk
                              U.S. District Court, District of New Jersey
                                 MLK Building & U.S. Courthouse
                                    50 Walnut Street, Room 4015
                                          Newark, NJ 07102

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                                        Michael Coren, Esq.
                                   Cohen, Placitella & Roth, P.C.
                                   2001 Market Street, Suite 2900
                                      Philadelphia, PA 19103

                                        Peter Farrell, Esq.
                                      Kirkland & Ellis LLP
                                   1301 Pennsylvania Ave. N.W.
                                      Washington, DC 20004


                                        Nina Gussack, Esq.
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                                           | LLP
                                      3000 Two Logan Square
                                       18th and Arch Streets
                                      Philadelphia, PA 19103
    25.     What’s the difference been objecting to the Settlement and excluding yourself
            from the Settlement?

        Objecting is simply telling the Court that you don’t like something about the Settlement.
 You can object only if you stay in the Class. Excluding yourself is telling the Court that you don’t
 want to be part of the Class. If you exclude yourself, you have no basis to object because the case
 no longer affects you.

 THE COURT’S FAIRNESS HEARING

         The Court will hold a hearing to decide whether to approve the Settlement. You may
 attend and you may ask to speak, but you don’t have to.

    26.     When and where will the Court decide whether to approve the Settlement?

        The Court will hold a Fairness Hearing at ____ A.M. on _____, ____ ___, 2020, at the
 United States District Court for the District of New Jersey, 50 Walnut Street, Newark, N.J., in
 Courtroom MLK 2D. At this hearing the Court will consider whether the settlement is fair,
 reasonable, and adequate. If there are objections, the Court will consider them. Magistrate Judge
 Dickson will listen to people who have asked to speak at the hearing. The Court may also decide
 how much to pay Class Counsel and determine the Class Representatives application for Service
 Fee awards. After the hearing, the Court will decide whether to approve the settlement. We do not
 know how long these decisions will take.

    27.     Do I need to come to the hearing?

        No. Class Counsel will answer questions Judge Dickson may have. But you are welcome
 to come at your own expense. If you send an objection, you don’t have to come to Court to talk

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 about it. As long as you mailed your written objection on time, the Court will consider it. You
 may also pay your own lawyer to attend, but it’s not necessary.

    28.     May I speak at the hearing?

         You may ask the Court for permission to speak at the Fairness Hearing. To do so, you
 must send a letter saying that it is your “Notice of Intention to Appear in Williams v. BASF
 Catalysts LLC.” Be sure to include your name, address, telephone number, and your signature.
 Your Notice of Intention to Appear must be postmarked no later than Month __, 2020, and be
 sent to the Clerk of the Court, Class Counsel, and Defense Counsel, at the addresses listed below.
 You cannot speak at the hearing if you excluded yourself.

                                         Office of the Clerk
                             U.S. District Court, District of New Jersey
                                MLK Building & U.S. Courthouse
                                   50 Walnut Street, Room 4015
                                         Newark, NJ 07102

                                        Michael Coren, Esq.
                                   Cohen, Placitella & Roth, P.C.
                                   2001 Market Street, Suite 2900
                                      Philadelphia, PA 19103

                                        Peter Farrell, Esq.
                                      Kirkland & Ellis LLP
                                   1301 Pennsylvania Ave. N.W.
                                      Washington, DC 20004

                                      Nina Gussack, Esq.
                             {  ! "#| LLP
                                    3000 Two Logan Square
                                      18th and Arch Streets
                                     Philadelphia, PA 19103


 IF YOU DO NOTHING

         If you do nothing and do not file a claim, you will be deemed a Settlement Class Member,
 but you’ll get no money from this Settlement. If you are a Settlement Class Member and do not
 exclude yourself, then you won’t be able to start a lawsuit against the Defendants (BASF and
 Cahill) for asbestos injuries ever again.




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 GETTING MORE INFORMATION

    29.    Are there more details about this Settlement?

        This Notice summarizes the proposed Settlement. More details are in the Settlement
 Agreement. You can get a copy of the Settlement Agreement by writing to Michael Coren, Esq.,
 Cohen, Placitella & Roth, P.C., Philadelphia, PA 19103, or by visiting
 www.EmtalTalcSettlement.com.

    30.    How do I get more information?

         You can call *+++*<=*>Z>toll free; write to Emtal Talc Settlement, c/o Verus LLC,
 3967 Princeton Pike, Princeton, NJ 08540; or visit the website at www.EmtalTalcSettlement.com.
 where you will find answers to common questions about the settlement, a claim form, plus other
 information to help you determine whether you are a Class Member and whether you are eligible
 for a payment.

                 IMPORTANT DATES & CONTACT INFORMATION
 EXCLUSION (OPT OUT          TBD
 DEADLINE)
 OBJECTION DEADLINE          TBD
 DEADLINE TO REQUEST TO      TBD
 SPEAK AT THE FAIRNESS
 HEARING
 START OF THE CLAIMS PERIOD  TBD
 DEADLINE TO SUBMIT A CLAIM  TBD
 CLAIMS ADMINISTRATOR                             Emtal Talc Settlement
                                                      c/o Verus LLC
                                                   3967 Princeton Pike
                                                   Princeton, NJ 08540
 COURT                                          Clerk of the District Court
                                    U.S. District Court for the District of New Jersey
                                           MLK Building & U.S. Courthouse
                                                     50 Walnut Street
                                                    Newark, NJ 07102
 CLASS COUNSEL               Christopher M. Placitella         Harry M. Roth
                             Michael Coren                     Robert L. Pratter
                             Jared M. Placitella               Cohen Placitella & Roth,
                             Eric S. Pasternack                P.C.
                             Cohen Placitella & Roth,          2001 Market Street
                             P.C.                              Suite 2900
                             127 Maple Ave                     Philadelphia, PA 19103
                             Red Bank, NJ 07701


 QUESTIONS? CALL  TOLL FREE, OR
 VISIT EMTALTALCSETTLEMENT.COM


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                                Exhibit B
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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   KIMBERLEE WILLIAMS, et al.
                                                                No. 2:11-cv-01754 (ES) (JAD)
   Plaintiffs,
                           vs.
                                                                        CIVIL ACTION
   BASF CATALYSTS LLC, et al.

   Defendants.


                    DECLARATION OF ORRAN L. BROWN, SR.
                        IN SUPPORT OF NOTICE PLAN

           I, ORRAN L. BROWN, SR., hereby declare and state as follows:

                                   I.     INTRODUCTION

           1.    Personal Information. My name is Orran L. Brown, Sr. I am the Chairman and

  a founding partner of BrownGreer PLC, located at 250 Rocketts Way, Richmond, Virginia

  23231.

           2.    The Capacity and Basis of this Declaration. I am over the age of 21. Unless

  otherwise noted, the matters set forth in this Declaration are based upon my personal knowledge,

  information received from the parties in this proceeding (the “Parties”), and information

  provided by my colleagues at BrownGreer. The opinions presented and recommendations made

  in this Declaration rest on my training and experience.

           3.    The Purpose of this Declaration. I submit this Declaration to describe my

  experience, the notice plan being developed for the proposed class action settlement of this

  litigation (the “Notice Plan”), and why my professional opinion is that the Notice Plan will be

  effective and will constitute the best notice that is practicable under the circumstances to the

  members of the class involved in this settlement, pursuant to Fed. R. Civ. P. 23(c)(2)(B).

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                              II.    BACKGROUND AND EXPERIENCE

         4.      Summary of My Personal Experience. I have worked in the mass claims area,

  including class actions, for over 30 years. I have extensive experience as a lawyer handling class

  action proceedings, settlements and notices; as a claims administrator designing and

  implementing class action settlements, notice plans and notices to claimants and counsel; as a

  notice administrator; as a trustee or special master involved in multiple claim proceedings; and as

  an educator on class actions and other complex litigation. My personal biography is attached to

  this Declaration as Exhibit 1.

         5.      General Description of BrownGreer. BrownGreer has specialized in notice

  administration and settlement administration since my partner, Lynn Greer, and I founded the

  firm in 2002. We are experts in the legal and administrative aspects of the design, approval, and

  implementation of notice plans, settlement programs and the design, staffing and operation of

  claims facilities to provide damages payments, medical monitoring, or other benefits for the

  resolution of multiple claims through class action settlement, bankruptcy reorganization,

  voluntary agreement, or other aggregation vehicles. We have played major roles in many of the

  largest and most complex multiple claim proceedings and multiple claim settlement programs in

  history, serving as administrators, special masters, trustees, or settlement counsel. The

  BrownGreer summary attached as Exhibit 2 to this Declaration provides detail on our firm.

         6.      Summary of Experience with Notices and Notice Programs. BrownGreer has

  performed crucial administration or review roles in more than 75 major programs involving the

  disposition of over $33 billion in payments to qualifying claimants. In the course of the

  implementation of claims programs, BrownGreer has designed, written and issued over 14

  million notices to claimants and counsel on the outcome of the review of their claims. My work



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  as a lawyer and claims administrator regularly involves drafting the text of notices to known and

  unknown claimants or members of a class or settlement group, designing the appearance of such

  notices to make them concise, clear and understandable, and designing and implementing the

  method of distributing such notices in the best practicable manner to the persons or entities

  affected by them. In its capacity as a notice administrator, BrownGreer has sent more than 41

  million direct notices by mail and email and has designed and implemented print and internet

  publication notice campaigns achieving hundreds of millions of exposures. We have extensive

  experience in all aspects of notice and settlement design and implementation, including:

     (a)        On countless occasions, I have drafted and overseen the implementation of specific
                campaigns to certain groups of claimants before an existing claims facility to accelerate
                the disposition of stalled claims, to alert claimants to information and materials needed
                to complete their claims to be reviewed for eligibility determinations, and to advise
                claimants of the results of processing steps on their claims.

     (b)        I have designed, and we have programmed, tested, hosted and maintained, many
                settlement websites to provide information on programs and containing complex
                functionality permitting claimants and their counsel to submit claims materials, receive
                notices on claim outcomes, take action on claims, and request materials.

     (c)        We have designed, staffed, trained and operated call center systems and automated call
                systems for claimants and counsel to hear information on settlement programs, request
                information on notices and programs, or speak with specialists in the programs.

     (d)        I have advised and participated in the implementation of notice programs to known and
                unknown potential claimants or class members, assessed the reasonableness and
                sufficiency of such notice programs, from both practical and legal perspectives, and
                worked with marketing consultants to place public notice in written and broadcast
                media.

     (e)        I regularly advise companies and claims administrators and draft individual group
                notices to conform to applicable legal requirements and to make the text and
                instructions provided in such notices comprehensible and as simple as possible.

           7.        Highlights of Major Notice Plan Projects. Here are some of our more extensive

  projects regarding notice programs:




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     (a)   Notice of Final Dalkon Shield Claim Filing Deadline: I drafted the notices and
           designed the entire notice campaign issued by the Dalkon Shield Claimants Trust to
           provide public notice of the final deadline for the submission of any claim relating to
           the Dalkon Shield device to the claims facility. This campaign included a publication
           in mid-April 1994, in sixty-eight newspapers in the United States and internationally,
           of a quarter-page notice explaining the final claims deadline and the steps necessary to
           submit a claim before the deadline. The supervisory court found this notice to be
           sufficient to advise potential claimants, whose identities could not be determined
           through due diligence, of the deadline and the opportunity to receive compensation
           through the claims resolution process. See In re A.H. Robins Co. (Smith v. Dalkon
           Shield Claimants Trust), 197 B.R 495 (E.D. Va.1995); In re A.H. Robins Co. (Allen v.
           Dalkon Shield Claimants Trust), 197 B.R 501 (E.D. Va. 1995); In re A.H. Robins Co.
           (Warren v. Dalkon Shield Claimants Trust), 197 B.R 503 (E.D. Va. 1995); In re A.H.
           Robins Co. (Rothbard v. Dalkon Shield Claimants Trust), 197 B.R 509 (E.D. Va.
           1996); In re A.H. Robins Co. (Bennett v. Dalkon Shield Claimants Trust), 204 B.R 194
           (E.D. Va. 1996).

     (b)   Initial Notice of Diet Drug Settlement: I participated in the implementation of the
           notice campaign to provide notice of the preliminary approval of the national class
           action settlement of the diet drug litigation in 2000. This campaign included a
           television commercial broadcast 106 times over a period of five weeks on network
           television and 781 times, for six consecutive weeks, on various cable networks. It also
           included a summary notice that appeared repeatedly in several magazines between
           January and March 2000, and as a one-third page black and white advertisement in four
           national newspapers, 77 local newspapers, three newspapers distributed throughout the
           United States territories and four newspapers targeted to the Hispanic market. This
           summary notice was also published in a variety of publications targeted to health care
           providers and pharmacists. The notice was mailed to all pharmacists in the United
           States, physicians who were likely to have prescribed the diet drug to patients, and to a
           mailing list of known diet drug users. The actual notice was an extensive packet of
           materials that included an Official Court Notice, a simpler Guide to Class Members,
           and claim forms that were all mailed to over 1,175,750 known class members. This
           notice campaign was approved by the supervisory court as sufficient in Brown v.
           American Home Products Corporation, (In re Diet Drugs Products Liability
           Litigation), MDL No.1203, 2000 WL 1222042 (E.D. Pa. 2000).

     (c)   Notice of Final Judicial Approval of the Diet Drug Settlement: As required by the
           Settlement Agreement in the diet drug litigation, I, along with Class Counsel and other
           parties, drafted the Official Court Notice mailed in February 2002 to over 830,500
           persons on the official notice list, of the final judicial approval of the settlement, the
           claims filing and medical diagnosis deadline dates affected by the date of final
           approval, the terms of the Settlement Agreement and benefits available, the steps
           required to seek benefits or opt out of the settlement, and the consequences of failing to
           act by the deadlines.




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     (d)   Notice of Nextel Communications Settlement: In January of 2004, I served as an
           expert witness in the class action field and advisor to the court on the adequacy of
           notification procedures in a large consumer class action involving alleged improper
           monthly billing by Nextel Communications. The notice campaign included a
           combination of print publication and direct mail notice and reached nearly five million
           class members.

     (e)   Notice of Seventh Amendment to the Diet Drug Settlement: In June 2004 through
           September 2004, I, Class Counsel, and other counsel drafted and designed the Official
           Court Notice of the Seventh Amendment to the Settlement Agreement, which required
           new notice to all known Diet Drug class members. This notice described the terms of
           the Seventh Amendment, explained what benefits were available to class members
           under the agreement and provided direction to class members intending to object to or
           opt out of the new agreement, and consisted of both a detailed notice and a concise
           summary notice. I testified regarding the Seventh Amendment and the notice plan
           during the fairness hearing on the Seventh Amendment before the United States
           District Court for the Eastern District of Pennsylvania on January 19, 2005. The
           United States District Court for the Eastern District of Pennsylvania approved this
           notice plan as compliant with due process and Rule 23 in PTO 3880 - Preliminarily
           Approving the Seventh Amendment to the Nationwide Class Action Settlement
           Agreement with American Home Products Corporation, Approving the Form of
           Notice, and Scheduling a Hearing Regarding the Amendment (Document No. 104343),
           (August 26, 2004). BrownGreer mailed these notices from September – November
           2004 to over 525,000 class members in the Trust’s claims database and handled all
           aspects of returned and re-issued mail. The United States District Court for the Eastern
           District of Pennsylvania approved the Seventh Amendment in PTO 4567 (Document
           No. 105062) (March 15, 2005).

     (f)   Notice of NFL Concussion Settlement. In June 2014, my firm produced the notice
           mailing list of the NFL Concussion Settlement Program. The goals of this effort were
           to identify and include on the list: (1) as many living NFL Football Players as possible,
           whether currently playing or not playing at that time; (2) as many deceased NFL
           Football Players as possible; (3) the family members of deceased NFL Football
           Players; and (4) the best known mailing address of living NFL Football Players and the
           family members of deceased NFL Football Players. As part of this analysis, we
           identified 7,126 deceased NFL Football Players. To obtain the most current list of
           family relations of deceased players, BrownGreer coordinated with a commercial data
           curator to identify known first degree relatives based upon their association with the
           player in national address lists, credit applications, and other data sources, and to
           obtain best known addresses for those relatives. Through this effort, we identified
           10,987 family members with available mailing addresses, which we used in compiling
           the final mailing list for the program. The supervisory court approved the notice
           campaign as sufficient on April 22, 2015 in In re: National Football League Players’
           Concussion Injury Litigation, MDL No. 2323, No. 14-cv-00029 (E.D. Pa. 2015).




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     (g)   Notice of Telephone Consumer Protection Act Class Action Settlement. In July
           2014, my firm and I were appointed by the United States District Court for the
           Northern District of Illinois to serve as the Notice and Claims Administrator for the
           $75,455,098.74 nationwide settlement program for alleged violations of the Telephone
           Consumer Protection Act, 47 U.S.C. § 227 et seq. We advised the parties on the notice
           plan for that action, and I submitted a Declaration in support of the Motion for
           Preliminary Approval regarding the settlement. BrownGreer implemented the notice
           campaign to provide notice of the class action settlement to users of approximately
           21,200,000 unique cell phone numbers. This campaign primarily occurred in August
           2014 through September 2014 and included individual emails, direct mailing of
           postcards, internet banner notice, and paid search terms. To inform the internet notice
           campaign, BrownGreer developed a comprehensive target audience profile for the class
           and designed a program tailored to that profile. BrownGreer sent over 16,500,000
           notices, and the banner notice campaign enjoyed over 19,000,000 impressions
           throughout the display period. BrownGreer successfully reached over 96% of the
           known Settlement Class and nearly 92% of the estimated total Settlement Class. The
           supervisory court approved the notice campaign as sufficient on February 12, 2015 in
           In re Capital One Telephone Consumer Protection Act Litigation, MDL No.2416, 12 C
           10064 (N.D. Ill. 2015).

     (h)   Notice of Court Ordered Victim Compensation Program. On August 19, 2016, my
           firm and I were appointed by the United States District Court for the District of
           Arizona in the Court’s Order Re Victim Compensation (Melendres v. Arpaio, Case No
           2:06-cv-02513-GMS (D. Ariz)) to serve as the Third-Party Administrator managing a
           mass Notice and Claims Processing Plan. The Maricopa County Board of Supervisors
           created a fund of $500,000 to compensate individuals who claimed that their
           constitutional rights were violated as a result of detention by the Maricopa County
           Sheriff’s Office. For that matter, we designed a multi-faceted notice plan in Spanish
           and English that includes (1) letters mailed directly to known potential class members;
           (2) outreach to local and international community organizations and government
           consulate offices; (3) print publication notice in relevant periodicals; (4) radio
           advertisements on regional stations; (5) a dedicated settlement website; (6) internet
           banner ads; (7) paid search terms; (8) Facebook ads; and (9) a national press release.
     (i)   Notice of Nationwide Consumer Product Settlement. In September 2017, my firm
           and I were appointed by the United States District Court for the Eastern District of
           Washington to serve as the Notice and Claims Administrator for a $3,800,000
           nationwide class settlement related to allegedly defective instant hot water filters sold
           and installed throughout the United States. For that matter, we designed a multi-
           faceted notice plan that included (1) letters mailed directly to known potential class
           members; (2) postcards mailed to businesses that may have sold, installed, or serviced
           the subject product; (3) print publication notice in a national consumer magazine, a
           national newspaper, a national newspaper supplement, and a national trade magazine;
           (4) a dedicated settlement website; (5) internet banner ads; (6) paid search terms; (7)
           Facebook ads; and (8) a national press release. On September 8, 2017, the supervisory
           court approved the notice campaign in Desio v. Emerson Electric Co. d/b/a
           InSinkErator, No. 2:15-cv-00346-SJM (E.D. Wash. 2017).

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     (j)        Notice of Nationwide Corn Seed Settlement. In April 2018, my firm and I were
                appointed by the United States District Court of Kansas to serve as the Notice and
                Claims Administrator for a $1.51 billion nationwide class settlement related to the sale
                and marketing of Syngenta’s genetically modified corn seeds and the alleged harm that
                Syngenta’s conduct caused corn producers, grain handling facilities, and ethanol
                production facilities. We designed, executed, and managed a comprehensive notice
                plan that included (1) letters mailed directly to known potential class members; (2) two
                reminder postcard notices mailed to known potential class members who had not yet
                filed a claim; (3) print publication notice in several national and regional trade
                magazines; (4) a dedicated settlement website; (5) initial and reminder radio
                advertisements on regional and nationally syndicated radio programs; (6) Facebook
                ads; (7) fliers sent to state and national organizations relevant to corn production; and
                (8) three national press releases. BrownGreer successfully reached over 99% of the
                known Settlement Class and over 94% of the estimated total Settlement Class. The
                supervisory court approved the notice campaign on April 10, 2018 in In re Syngenta
                AG MIR 162 Corn Litigation, MDL No.2491, 2:14-MD-02591 (D. Kan. 2018).
           8.        Other Relevant Experience. In addition to the notice plan projects highlighted in

  Paragraph 7, BrownGreer has administered, served as experts, and/or otherwise consulted with

  settled parties on many other notice programs approved as sufficient by the overseeing court,

  such as the programs implemented in these cases:

           (1) Acosta v. Tyson Foods, Inc., No. 8:08-cv-86 (D. Neb.) (direct mail notice);
           (2) Bartell, et al. v. LTF Club Operations Company, Inc., Case No. 2:14-cv-00401 (S.D.
               Ohio) (direct mail notice);
           (3) Bessey v. Packerland Plainwell, Inc., No. 4:06-cv-0095 (W.D. Mich.) (direct mail
               notice);
           (4) Beecroft v. Altisource Business Solutions Pvt. Ltd., No. 0:15-cv-02184 (D. Minn.)
               (direct mail notice; social media ads);
           (5) Betts v. National Cash Advance/Advance America, Nos. 502001CA000320OCAI-MB
               and 502004CA008164XXXXI-MB (Palm Beach County Cir. Ct.) (direct mail notice)
           (6) Brown & Szaller, Co., L.P.A., et al., v. Waste Management of Ohio, Inc., Case No.
               CV-16-859588.
           (7) Churchill v. Farmland Foods, Inc., No. 4:06-cv-4023 (C.D. Ill.) (direct mail notice);
           (8) Clark v. Grp. Hosp. & Med. Servs., Inc., No. 3:10-CIV-00333-BEN-BLM (S.D. Cal.)
               (direct mail notice);
           (9) Cohen v. Foothill/E. Transp. Corridor Agency, et al., No. SACV 15-01698 (C.D.
               Cal.) (direct mail and email notice);

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        (10) Cohen v. Warner Chilcott Pub. Ltd. Co., No. 1:06-cv-00401-CKK (D.D.C)
           (national print publications, internet banner ads, and paid internet search);
        (11) Collins v. Sanderson Farms, Inc., No. 2:06-cv-02946 (E.D. La.) (direct mail
           notice);
        (12) Conerly v. Marshall Durbin Food Corp., No. 2:06-cv-205 (N.D. Ala.) (direct mail
           notice);
        (13) Contreras v. PM Beef Holdings, LLC, No. 07-CV-3087 (D. Minn.) (direct mail
           notice);
        (14) Cook v. Columbia Freightliner, LLC, No. 10-CP-02-1987 (Aiken County S.C.
           Jud. Dist.) (direct mail notice);
        (15) Flores v. Zorbalas, No. 27-CB-16-14225 (Hennepin County District Court,
           Fourth Judicial District of Minnesota) (direct mail notice);
        (16) Ene v. Maxim Healthcare Servs., Inc., No. 4:09-cv-02453 (S.D. Tex.) (direct mail
           notice);
        (17) Ferguson v. Food Lion, LLC, No. 12-C-861 (Cir. Ct., Berkeley Cnty., W. Va.)
           (regional print publications and direct mail notice);
        (18)   Gales v. Capital One, N.A., No. 8:13-cv-01624 (D. Md.) (direct mail notice);
        (19) Gregorio v. Premier Nutrition Corp., No. 17-cv-05987-AT (S.D.N.Y.) (direct
           mail and email notice and internet banner ads);
        (20)   Gomez v. Tyson Foods, Inc., No. 08-021 (D. Neb.) (direct mail notice);
        (21) Graham v. Capital One Bank (USA), N.A., 8:13-cv-00743 (C.D. Cal.) (direct mail
           notice);
        (22) Gray, Ritter & Graham P.C. v. Goldmann Phipps PLLC, No. 4:13-cv-00206-CDP
           (E.D. Mo.) (direct mail notice);
        (23) Hall v. Capital One Auto Fin., Inc., No. 1:08-cv-01181 (N.D. Ohio) (direct mail
           notice);
        (24) Hankins v. Carmax Inc., No. 03-C-07-005893 CN (Baltimore County Md. Cir.
           Ct.) (direct mail notice);
        (25) Hanna v. Agape Senior, LLC, No. 12-CP-40-5950 (S.C. St. Ct., Richland Cnty.,
           S.C.) (direct mail notice and print publications);
        (26) Herron v. Carmax Auto Superstores, Inc., No. 2006-CP-02-1230 (Aiken County
           S.C. Jud. Dist.) (direct mail notice);
        (27) In re Bhatia v. 3M Co., No. 0:16-cv-01304 (D. Minn.) (direct mail notice and
           calling campaign);

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        (28) In Re Children’s Ibuprofen Oral Suspension Antitrust Litig.-Indirect Purchaser
           Action, No. 1:04-mc-0535-ESH (D.D.C.) (national print publications, internet banner
           ads, and paid internet search);
        (29) In Re De Bernardi v. City and County of San Francisco., No. 4:2018-cv-04597
           (N.D. Ca) (direct mail notice and email notice);
        (30) In Re Moyer Packing Co., P. & S. Docket No. D-07-0053 (U.S. Dep’t Agric.)
           (direct mail notice);
        (31) In Re Oxycontin Litig., No. 02-CP-18-1756 (S.C. Eq., Dorchester Cnty., S.C.)
           (regional print publications and direct mail notice);
        (32) In Re Wazwaz v. City and County of San Francisco., No. 3:2018-cv-05580 (N.D.
           Ca) (direct mail notice and email);
        (33) Lycan, et. al., v. City of Cleveland, No. CV 09686044 (Ct. of C.P., Cuyahoga
           County, OH) (direct mail notice, print publication)
        (34) McCoy v. North State Aviation, LLC, Case No. 1:17-cv-00346-CCE-LPA
           (M.D.N.C). (direct mail notice);
        (35) Morales v. Greater Omaha Packing Co. Inc., No. 8:08-cv-0161 (D. Neb.) (direct
           mail notice);
        (36) Morgan v. Richmond Sch. of Health & Tech., No. 3:12-cv-00373-JAG (E.D. Va.)
           (regional print publications and direct mail notice);
        (37) Nader v. Capital One Bank (U.S.A.), N.A., No. 2:12-cv-01265-DSF-RZ (C.D.
           Cal.) (national print publication and direct mail and email notice);
        (38) Orrin S. Anderson v. Capital One Bank, No. 7:19-cv-03981 (S.D. NY) (direct
           mail notice);
        (39) Polanco v. Moyer Packing Co., No. C.P., 1852 (Philadelphia County Pa.) (direct
           mail notice);
        (40) Rubenstein v. The Neiman Marcus Group LLC, No. 2:14-cv-07155-SJO-JPR
           (C.D. Ca.). (direct mail notice, digital notice, print publication notice);
        (41) Runton et al. v. Brookdale Senior Living, Inc., No. 0:17-cv-60664-CMA (S.D.
           Fla.) (direct mail notice)
        (42)   Samuel v. EquiCredit Corp., No. 00-cs-6196 (E.D. Pa.) (direct mail notice);
        (43)   Santiago v. GMAC Mortg. Grp., Inc., No. 784574 (E.D. Pa.) (direct mail notice);
        (44) Spinelli v. Capital One Bank (USA), No. 8:08-cv-132 (M.D. Fla.) (direct mail
           notice);



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          (45) Stout v. JELD-WEN, Inc., No. 1:08-cv-0652 (N.D. Ohio) (national and regional
             print publications, internet banner ads, paid internet search, and direct mail notice);
          (46) Travel Insurance Refund Program in the matter of Jefferson Insurance Company
             NAIC #11630 and in the matter of BCS Insurance Company NAIC #38245 (direct
             mail notice);
          (47) United States v. Capital One, N.A., No. 1:12-cv-828 (E.D. Va.) (direct mail
             notice);
          (48) United States v. Chevy Chase Bank, F.S.B., No. 1:13-cv-1214 (E.D. Va.) (direct
             mail notice);
          (49) United States v. National Treasury Employees Union, No. 93-1170 (D.C. App.)
             (direct mail notice)
          (50) Watts v. Capital One Auto Finance, Inc., No. CCB-07-03477 (D. Md.) (direct
             mail notice); and
          (51)    Wilder v. Triad Fin. Corp., No. 3:03-cv-863 (E.D. Va.) (direct mail notice).
                  III.    THE GOALS OF A SUCCESSFUL NOTICE PLAN

          9.      Required Notice to the Class. As advised in the Manual for Complex Litigation,

  “[n]otice is a critical part of class action practice,” for it “provides the structural assurance of

  fairness that permits representative parties to bind absent class members.” See Manual for

  Complex Litigation, § 21.31 (4th ed. 2010). The proposed settlement in this proceeding involves

  a common issues class under Fed. R. Civ. P 23(b)(3). For any matter certified as a Rule 23(b)(3)

  class, Rule 23(c)(2)(B) requires “the best notice that is practicable under the circumstances,

  including individual notice to all members who can be identified through reasonable effort.” For

  the settlement of such a class, Rule 23(e)(1) requires the court to examine at the notice stage

  whether it would be likely to approve the proposed settlement after considering many of the

  same procedural and substantive factors that it will consider at the final approval stage. If after

  “frontloading” its examination the court determines it would be likely to (1) approve the

  proposed settlement and (2) certify the class, it must then “direct notice in a reasonable manner

  to all class members who would be bound by the proposal.” The Advisory Committee notes that


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  it is standard practice to send one combined notice to the class under both Rule 23(e)(1) and Rule

  23(c)(2)(B). Fed. R. Civ. P. 23 advisory committee’s note. This combined notice should adhere

  to the “best notice practicable” standard of Rule 23(c)(2)(B), thereby satisfying both these

  provisions.

         10.     How the Notice is to be Delivered to the Class. The delivery methods selected

  for the notice must fulfill the essential requisites of due process by alerting affected parties to the

  pendency of the resolution and affording them the opportunity to be heard. “An elementary and

  fundamental requirement of due process in any proceeding which is to be accorded finality is

  notice reasonably calculated, under all the circumstances, to apprise interested parties of the

  pendency of the action and afford them an opportunity to present their objections.” See Mullane

  v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). Indeed, as the Advisory

  Committee acknowledges, “[t]he ultimate goal of giving notice is to enable class members to

  make informed decisions about whether to opt out or, in instances where a proposed settlement is

  involved, to object or to make claims.” Fed. R. Civ. P. 23 advisory committee’s note. Rule 23

  and due process mandate individual notice to known and reasonably knowable class members.

  “[E]ach class member who can be identified through reasonable effort must be notified that he

  may request exclusion from the action and thereby preserve his opportunity to press his claim

  separately or that he may remain in the class and perhaps participate in the management of the

  action.” See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 176-77 (1974). There is, however, no

  one preferred means of delivering notice when considering what is the “best notice practicable.”

  In 2018, Rule 23(c)(2)(B) was amended to permit notice to be made by one or a combination of

  means, including “United States mail, electronic means, or other appropriate means.” As

  explained in the Advisory Committee Notes, while the rule continues to call for “the best notice



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  that is practicable,” the court should consider whether a certain method of giving notice is

  “appropriate” in light of the nature of the case and characteristics of the class. “Instead of

  preferring any one means of notice, [] the amended rule relies on courts and counsel to focus on

  the means or combination of means most likely to be effective in the case before the court. The

  court should exercise its discretion to select appropriate means of giving notice.” Fed. R. Civ. P.

  23 advisory committee’s note. In making those selections, courts should be conscious of the

  Supreme Court’s reminder in Mullane that “process which is a mere gesture is not due process.

  The means employed must be such as one desirous of actually informing the absentee might

  reasonably adopt to accomplish it.” Id. at 315.

         11.         The Content and Format of the Notice. The Advisory Committee Notes instruct

  that, “[i]n determining whether the proposed means of giving notice is appropriate, the court

  should also give careful attention to the content and format of the notice[.]” Fed. R. Civ. P. 23

  advisory committee’s note. Rule 23(c)(2)(B) requires that the notice of a Rule 23(b)(3) class

  action “must clearly and concisely state in plain, easily understood language” these seven

  messages:

               (1) the nature of the action;
               (2) the definition of the class certified;
               (3) the class claims, issues, or defenses;
               (4) that a class member may enter an appearance through an attorney if the member
                   so desires;
               (5) that the court will exclude from the class any member who requests exclusion;
               (6) the time and manner for requesting exclusion; and
               (7) the binding effect of a class judgment on members under Rule 23(c)(3).

  According to the Court in Mullane:

         The notice must be of such nature as reasonably to convey the required
         information . . . and it must afford a reasonable time for those interested to make
         their appearance . . . . But if, with due regard for the practicalities and
         peculiarities of the case, these conditions are reasonably met, the constitutional
         requirements are satisfied.


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  339 U.S. at 314-15. “The notice should describe the action and the plaintiffs’ rights in it.” See

  Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985). Two of the four Major Checkpoints

  in the Federal Judicial Center’s Judges’ Class Action Notice and Claims Process Checklist and

  Plain Language Guide (the “FJC Checklist”) address the need to make the notices themselves

  both noticeable and understandable:

         Will the notices come to the attention of the class? Notices should be designed
         using page-layout techniques (e.g., headlines) to command class members’
         attention when the notices arrive in the mail or appear on the Internet or in printed
         media.

         Are the notices informative and easy to understand? Notices should carry all of
         the information required by Rule 23 and should be written in clear, concise, easily
         understood language.

  A notice plan must ensure that each notice sent to a class member individually or by publication

  conveys in clear, non-legalistic words and a reader-friendly format the information that the class

  member needs to make an informed decision about whether to accept, opt out, or object to the

  proposed settlement, how to effect any such decision, the deadlines by which to act, and the

  consequences of taking or not taking action. The Advisory Committee notes that it is “important

  to include details about the proposed method of giving notice and to provide the court with a

  copy of each notice the parties propose to use.” Fed. R. Civ. P. 23 advisory committee’s note.

         12.     Timing of the Notice. The notice must be transmitted on dates that allow

  potential class members sufficient time to receive the notice, realize a need to react to it, and take

  the actions necessary to, if they so choose, participate in the settlement, be excluded from it, or

  object to it. The assessment and significance of these criteria vary depending upon the nature of

  the claims involved in the settlement, the sophistication of potential class members, the

  information available on known class members, and the complexity of the actions required to

  seek benefits under the settlement.


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                               IV.     THE SETTLEMENT CLASS

         13.     The Proposed Settlement Class. The Parties’ March 13, 2020 Settlement

  Agreement defines the proposed Settlement Class as the following:

          [A]ll Persons within the United States and its territories who after March 7, 1984 and
         before March 30, 2011 filed and Served a lawsuit against Engelhard/BASF seeking
         asbestos-related bodily injury compensation or other relief arising from exposure to
         Emtal Talc products, and who before March 30, 2011 either: (A) had voluntarily
         dismissed or terminated the lawsuit as to Engelhard/BASF after the suit was filed,
         including any voluntary dismissal or release of claims due to settlement; or (B) had their
         lawsuit as to Engelhard/BASF involuntarily dismissed.

  (Agreement § 1.2.1.) The “Persons” are comprised of two groups of people: (1) the Class

  Members with a right to claim damages related to their own Emtal Talc exposure (the “Injured

  Persons”); and (2) the Derivative Claimants with a right to damages based on an Injured Person’s

  injury or death, including such groups as spouses, heirs, legatees, personal representatives, and

  wrongful death beneficiaries and assignees (the “Derivative Claimants”). (Agreement § 1.3.60.)

         14.     The Class Data. The Parties gave the Settlement Administrator in this matter,

  Verus LLC (“Verus”), access to a number of data sources, including databases and spreadsheets

  of plaintiff data from several plaintiff law firms, copies of complaints containing plaintiff names

  as well as addresses and/or Social Security Numbers (“SSNs”) for some of these plaintiffs,

  copies of pleadings, interrogatories, depositions and other documents from the underlying

  lawsuits, and other non-privileged material discovered in the Williams v. BASF Catalysts, LLC,

  No. 2:11-cv-01754, litigation (the Williams matter) (collectively, the “Class Data”). Verus

  provided BrownGreer with an aggregated list of unique series of different Class Member lists

  extracted from the Class Data, and where such information was available, also provided details

  about whether the Class Members were deceased, relatives of those deceased Class Members,

  recent contact information for these relatives and Class Members who are presumed to be living,



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  through TransUnion proprietary database searches, and the names and addresses of certain Class

  Members’ attorneys from the underlying lawsuits. We consulted with Verus and the Parties to

  develop a final Class Member list and updated information for a number of Class Members in

  collaboration with LexisNexis, a global provider of information and analytics. We ran the names

  and additional data points available for the Class Members through LexisNexis’ proprietary

  database of over 83 billion public records to further identify deceased Class Members, their first-

  degree relatives, and a last known address for these relatives and the Class Members presumed to

  be living. After we incorporated the results from LexisNexis, we created two distinct lists: (1)

  the Class Member List containing 18,721 Class Members, 7,055 of whom LexisNexis and/or

  Verus’ data source(s) identified as deceased (the “Deceased”) and 11,666 of whom are presumed

  to living (the “Presumed Living”); and (2) the Relative List containing 30,350 known first-

  degree relatives 1, grandparents, and grandchildren of deceased Class Members (the “Relatives”).

  We further culled the Relative List to include only those 27,803 Relatives for whom there was no

  indication of being deceased, belonging to 5,525 of the Deceased Class Members, forming the

  “Presumed Living Relative List.”

             Having identified the Class Members and the above identified cohorts of Deceased,

  Presumed Living, and Relatives, our next task was to compile addresses or other contact

  information to be able to provide direct notice to Class Members. Through the material provided

  regarding the underlying lawsuits, we were initially able to identify addresses for all but 5,371 of

  the potential Class Members.

             15.      Additional Efforts to Obtain Class Data from Asbestos Trusts. We understood

  from discussions with Verus and the Parties that there is a high likelihood that the Class



  1
      First-Degree Relatives includes spouses, siblings, children, and parents.

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  Members in this case may have filed claims with one or more asbestos bankruptcy trusts

  established under 11 U.S.C. § 524(g) (the “Trusts”). After numerous discussions with the Parties

  on possible steps to find contact information for known Class Members, on February 14, 2020,

  BrownGreer emailed 10 Trust Counsel and Trustees who collectively represent and serve 38 of

  the largest Trusts, 20 of which are administered by Verus, and invited a phone conversation to

  discuss conceptually how the Trusts might be able to assist in effecting direct notice to potential

  class members who match to a name in their claimant databases.

         Between February 17 and March 3, 2020, we had calls with the eight Trusts Counsel and

  Trustees, representing and serving 34 Trusts, who had responded to our initial email and agreed

  to speak with us over the phone. We explained on those calls that there are approximately 5,000

  potential Class Members for whom we have no information from which we can ascertain a

  mailing address for the Class Member or contact information for a relative, making us hopeful

  that the Trusts would be willing to help us and the Parties here by disclosing such data to us, or

  disseminating the class notice themselves to such persons.

         The Trusts tended to take the same position in response to our entreaties, though the level

  of support they were willing to provide varied. No Trust was willing to disclose claimant data

  voluntarily, citing to Trust claimant rights of confidentiality. All Trust Counsel and Trustees

  with whom we spoke also indicated that the addresses they maintained were of claimants’

  counsel and not the Trust claimants. Many expressed concerns about the unreliability of matches

  based on only a full name. However, while several Trust Counsel and Trustees were less

  amenable to supporting the notice process in any way because of concerns with confidentiality,

  Trust resources, and false name matches, a number of them indicated an initial potential

  willingness to send the notice to matching claimants’ attorneys on behalf of this settlement.



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          Between March 13, 2020 and March 31, 2020, we engaged the Trusts in several follow-

  up discussions over phone and email, during which we shared more information about the

  potential settlement, and in a few instances, a copy of the complaint and the draft class notice.

  Ultimately, Trust Counsel and Trustees with whom we spoke declined to assist in the notice

  process. It was around this time that we learned that Class Counsel and Verus had discovered an

  alternative approach to identifying Class Member contact information and reaching those

  potential Class Members. Accordingly, we terminated our pursuit of potential Class Member

  data from the Trust databases or any additional support in providing notice to these 5,371

  persons for whom we had no address and instead relied on the Class Data provided by the Parties

  and Verus and the efforts they undertook to supplement the Class Data to develop the Notice

  Plan.

          16.    Additional Efforts to Obtain Class Data from Discovery Documents. While

  communication with the Trusts was on-going, Class Counsel’s data management vendor

  forwarded to Verus the document images produced by defendants in the Williams matter and

  third parties in response to subpoenas relating to the underlying cases in anticipation of preparing

  them for use as outlined in the Plan of Distribution. Verus and Class Counsel reviewed these

  documents using data science name matching techniques and other technology assisted

  document search and review techniques to further identify class members identities and location

  information, and by doing so, identified mailing addresses for 2,871 of the 5,371 persons for

  whom we previously had no address. The documents also revealed that 241 persons on the

  original Class List were lay or expert witnesses, and accordingly, we removed them from the

  Class List. As a result, we have narrowed it down to 2,500 Class Members whom we are unable




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  to attempt to notice directly or through a relative because of a lack of address or other identifying

  information.


                                        V.       THE NOTICE PLAN


           17.      Direct Notice. The first goal of this Notice Plan is to provide direct notice to all

  Settlement Class Members who can be identified through reasonable effort. Indeed, the Parties,

  Verus, and BrownGreer have undertaken considerable effort to identify as many known

  Settlement Class Members as reasonably possible. We will mail the long-form Notice

  substantially in the form of Exhibit K to the plaintiff’s motion for preliminary approval in the

  following manner:

           (1) Presumed Living Class Members. We will mail the long-form Notice to every
               Presumed Living Class Member for whom we have a name and address. We will
               attempt to verify and update all addresses against the United States Postal Service’s
               (“USPS”) National Change of Address (“NCOA”) 2 database prior to mailing. If a
               Notice is returned by the USPS as undeliverable but with a forwarding address, we
               will re-mail the Notice to the updated address provided by the USPS. If the returned
               Notice does not identify any updated address from the USPS, we will submit the
               Class Member’s mailing information to the LexisNexis compendium of domestic
               addresses for updated address information, if available. In addition, we will update
               addresses based on requests received from Class Members. We estimate that we will
               target through direct notice approximately 9,356 (80%) of the Presumed Living Class
               Members directly, representing 50.0% of the total Settlement Class.
           (2) Presumed Living Relatives of Deceased Class Members. We have names and
               addresses for 27,803 Relatives in the Presumed Living Relative List associated with
               5,525 distinct Deceased Class Members. The Settlement Agreement permits a
               personal representative to submit a claim on behalf of a deceased Class Member and
               such personal representatives release their claims against the defendants regardless of
               whether they file a claim. (Agreement § 1.3.63, § 1.3.70). We will mail notice to
               these known Presumed Living Relatives who may be or may know deceased Class
               Members’ personal representatives. We estimate that we will target directly



  2
    The NCOA database contains records of all permanent change of address submissions received by the USPS from
  individuals and businesses. The Settlement Potential Claimant list is submitted against the database, and a Potential
  Claimant’s address is automatically updated with the new address from USPS data based on a comparison with the
  Potential Claimant’s name and last known address.

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               approximately 27,803 known Presumed Living Relatives belonging to 5,525 (78.3%
               of) total deceased Class Members, or 25% of the total Settlement Class.
         (3) Deceased Class Members. Of the 7,055 Class Members who are deceased, we have a
             name and mailing address for 6,825 (96.7%). While notices mailed to these persons’
             last known addresses, of course, will not reach the actual Class Members, they may,
             at minimal cost, reach family members or other persons who are or may know
             personal representatives of the Deceased.
         (4) Attorneys and Law Firms in Underlying Lawsuits. As described above, Verus
             provided to us the names and mailing addresses of 50 attorneys and law firms who
             collectively represented 4,929 Class Members in their underlying lawsuits, 2,212 for
             whom search efforts did not yield direct contact or other identifying information. We
             understand from Verus and the Parties that the majority of these attorneys or their
             successors are still active and, we believe it is reasonable to conclude that many are in
             active communication with the living Class Members who they represented during
             the class period or may be a reliable source from whom we can update contact
             information for these clients. Therefore, we will mail a long-form Notice to every
             attorney and law firm for whom we have an address in the same manner described
             above for Presumed Living Class Members and Relatives. We will provide the
             lawyers with a list of potential Class Members for whom our research suggests they
             filed underlying lawsuits, and we will enclose a letter prepared by Class Counsel
             substantially in the form of Exhibit 3 to this Declaration that will provide background
             about the matter, request that the recipient mail the Notice to his or her clients who
             were plaintiffs in the underlying lawsuits, and ask the attorneys to respond to
             BrownGreer with confirmation that they mailed the Notice to their clients.
         18.      Estimated Direct Notice Reach. Through direct notice alone, we feel we can

  target through mailed notice nearly 80% of the Settlement Class either directly or through at least

  one relative of the Deceased, and just over 90% after including notice through plaintiffs’ firms.

  Because of anticipated undeliverable notices, which we estimate will be no more than 15% of

  notices sent, we project that we can reach at least 77.5% of Class Members and their Relatives

  directly. We understand from defense and plaintiffs’ counsel that the attorneys for whom we

  have information in this case from depositions and other discovery documents are highly

  engaged with their clients, and therefore, the attorneys are likely to disseminate the message to

  their former and current clients. Accordingly, we believe the 77.5% estimated reach percentage

  may be conservative. Under the circumstances, and thanks to the considerable data culling,



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  cleansing, and enhancing efforts undertaken, we expect to achieve a meaningful and important

  reach percentage that rises above the 70% reach target suggested by the FJC Checklist.

         19.     Need for Publication Notice. Although a reach percentage of at least 70% is

  probable in this matter, there are a few unpredictable factors that could reduce the reach of Class

  Members, such as the strength of addresses we received for this aging population of Class

  Members from various data sources and the fact that the Relatives to whom we are sending

  Notice may not be or notify the personal representatives of the Deceased. Accordingly, we plan

  to supplement the direct notice efforts with a carefully planned public notice campaign to target

  those Class Members, Relatives, and other potential personal representatives we cannot reach by

  mail because their identities are unknown, mailing addresses of those persons are unavailable, or

  mailed notices are returned to us by USPS as undeliverable. This public notice will also reach

  Presumed Living Class Members and Relatives already notified by direct mail. By reaching

  these persons again, the public notice will serve alternative goals of strengthening Class Member

  and Relative awareness of the Settlement and engaging those persons to become more likely to

  participate in the settlement program.

         20.     Developing a Publication Notice Plan. Notice by publication in the class

  settlement context refers to the practice of exposing potential members of a Settlement Class

  whom you cannot contact directly to a class settlement notice by strategically placing the

  notice in places where the Settlement Class Members will have the opportunity to see, read

  and react to the notice. A publication notice campaign is effectively an advertising campaign

  for the proposed class settlement. A publication notice strategy, therefore, must consider

  characteristics of the audience and how those audience members are most likely to see and

  respond to the notice. The publication notice strategy in the Notice Plan proposed for this case



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  obviously must target the Settlement Class. We will also aim to reach Relatives of the Deceased

  for the reasons described in Paragraph 17(b) of this Declaration. Based on our analysis of the

  available last known addresses for Class Members and known Presumed Living Relatives, we

  estimate that nearly 82% of the Presumed Living Class Members and 72.5% of the Presumed

  Living Relatives reside in Ohio, Mississippi, Georgia, and Alabama. An analysis of available

  dates of birth for the Presumed Living Relatives reveals that more than 50% are ages 45-70.

  While there is limited date of birth information available for the Presumed Living Class

  Members, we know from the high percentage of deceased Class Members and representations of

  the Parties nearly all Presumed Living Class Members are over 55. Therefore, the publication

  notice strategy will use geographic, age, and other industry standard targeting techniques to try to

  reach potential Settlement Class Members.

           (1) Print Publication. We will adapt the long-form Notice into a summary notice
               format, substantially in the form of Exhibit L to the plaintiff’s motion for preliminary
               approval that can be placed as ads in various print publications. We will implement a
               regional print publication campaign focused on the four states where the vast majority
               of Presumed Living Class Members and Presumed Living Relatives reside. We will
               supplement that campaign with three carefully selected national print ads chosen to
               reach Class Members and Relatives outside these four states. The table below shows
               the print publications where we will place summary versions of the long-form Notice.

                                             Print Publications
                                                 National
                 Publication                           Description                                   Circulation
                                   Provides timely insights and in-depth analysis important to
      1.         AARP Bulletin     Americans 50-plus on topics including health, Medicare,            23,109,129
                                   Social Security, finances, and consumer protection.
                                   Magazine that is the forum for patients with cancer initiated
                                   by the Academy of Oncology Nurse & Patient Navigators. It
                                   features articles written by and for patients with cancer,
                                   survivors, nurse navigators, and other oncology team
                                   members. The magazine addresses the issues that patients,
      2.            Conquer                                                                            90,000
                                   their family members, and caregivers face every day in an
                                   easy-to-read format. Issues include interviews with patients
                                   with cancer, information on access to care, and articles on
                                   lifestyle topics such as nutrition, stress management, personal
                                   finance, and legal and employer issues.



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                                         Magazine is edited for people whose lives have been touched
                                         by cancer. It provides the knowledge patients, survivors or
                                         professionals need to cope with the many issues confronting
     3.       Coping with Cancer         their daily lives, including assuming greater responsibility      285,000
                                         for, and participation in, the many facets of the disease. It
                                         includes information on research, treatment, survivor
                                         profiles, and latest news.
                                                        Regional
                 Publication                                  Location                                   Circulation
     1.      Akron Beacon Journal                                 Akron, OH                                56,951
     2.          Albany Herald                                    Albany, GA                               14,526
     3.    Columbus Ledger-Enquirer                             Columbus, GA                               12,359
     4.      Delta Democrat Times                               Greenville, MS                              9,722
     5.      East Liverpool Review                            East Liverpool, OH                            3,514
     6.     Montgomery Advertiser                               Montgomery, AL                             12,013
           Northeast Mississippi Daily
     7.                                                           Tulepo, MS                               18,348
                    Journal
     8.     Portsmouth Daily Times                              Portsmouth, OH                              8,574
     9.     Savannah Morning News                                Savannah, GA                              16,799
     10.          Sun Herald                                     Gulfport, MS                              12,655
     11.       The Anniston Star                                 Anniston, AL                               8,985
              The Atlanta Journal-
     12.                                                          Atlanta, GA                              238,343
                  Constitution
     13.     The Augusta Chronicle                               Augusta, GA                               16,418
     14.    The Cincinnati Enquirer                             Cincinnati, OH                             79,440
             The Clarion-Ledger &
     15.                                                Jackson, MS/Hattiesburg, MS                        106,422
             Hattiesburg American
     16.   The Commercial Dispatch                              Columbus, MS                               13,500
     17.       The Decatur Daily                                  Decatur, AL                              10,980
     18.      The Dothan Eagle                                    Dothan, AL                               12,357
               The Greenwood
     19.                                                        Greenwood, MS                               3,005
               Commonwealth
     20.      The Marietta Times                                 Marietta, OH                               5,730
     21.       The Meridian Star                                 Meridian, MS                               7,691
     22.        The Plain Dealer                                 Cleveland, OH                             138,938
     23.    The Selma Times-Journal                               Selma, AL                                10,043
     24.         The Telegraph                                    Macon, GA                                16,759
     25.     The Tuscaloosa News                                Tuscaloosa, AL                             12,169
     26.          Times Daily                                    Florence, AL                              12,271
     27.     Delta Democrat Times                               Greenville, MS                              9,722
     28.     East Liverpool Review                            East Liverpool, OH                            3,514
     29.  Montgomery Advertiser                                 Montgomery, AL                             12,013
         Northeast Mississippi Daily
     30.                                                          Tulepo, MS                               18,348
                  Journal


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     31.    Portsmouth Daily Times                     Portsmouth, OH                       8,574
     32.    Savannah Morning News                      Savannah, GA                         16,799
     33.         Sun Herald                             Gulfport, MS                        12,655
     34.      The Anniston Star                         Anniston, AL                        8,985
             The Atlanta Journal-
     35.                                                Atlanta, GA                        238,343
                 Constitution
     36.    The Augusta Chronicle                       Augusta, GA                         16,418
     37.    The Cincinnati Enquirer                    Cincinnati, OH                       79,440
             The Clarion-Ledger &
     38.                                        Jackson, MS/Hattiesburg, MS                106,422
             Hattiesburg American
     39.   The Commercial Dispatch                     Columbus, MS                         13,500
     40.      The Decatur Daily                         Decatur, AL                         10,980
     41.       The Dothan Eagle                         Dothan, AL                          12,357

           (2) Digital Advertising. In addition to the print media publications listed above, we will
               incorporate a digital notice component into the Notice Plan.
             (a) Banner Advertisements. In fashioning the components of the public notice
                 program, we have taken into account the changes in media consumption as a
                 result of the COVID-19 pandemic, during which far fewer people are traveling,
                 staying in hotels, and visiting physician and other offices where magazines are
                 often read, as well as the reality that many such locations, even though partially
                 re-opened, have removed high-touch items like newspapers and magazines from
                 their lounge and waiting areas. To accommodate such changes, we will adapt the
                 long-form Notice into a banner ad that can be placed on the online version of
                 People magazine. The banner ad will expose the notice to Class Members, and
                 importantly some of the younger Relatives, who may prefer to consume media
                 electronically or have less opportunity now to consume print media. Viewers of
                 the ad can click on the ad and be routed directly to the Settlement Website, where
                 they are able to download a copy of the long-form Notice.
             (b) Paid Internet Search Terms. The paid search component of the Notice
                 campaign involves the use of targeted keywords on top Internet search engines,
                 such as Google. We will purchase terms that are narrowly related to the subject
                 matter and Parties to this settlement for at least a period of thirty days following
                 the date the class notice commences. A link to the Settlement Website will
                 appear when there is high relevance between the search and our selected
                 keywords, and is then ranked by a computed value based on the dollar amount of
                 the bid. When Internet visitors search for these keywords or keyword
                 combinations, the Settlement Website will be displayed at the top of the list of
                 results for the search query. The internet search terms aspect of the Notice Plan
                 aims to achieve approximately 10,000 impressions and 300 click-throughs to the
                 Settlement Website each month.
           (3) Press Release. We will issue a joint press release substantially in the form of
               Exhibit 4 through Cision/PR Newswire, a leading provider of multimedia platforms

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               and distribution. The press release will explain the core aspects of the proposed
               settlement and provide the address for the Settlement Website, as well as the toll-free
               number. We expect that the press release will be picked-up by hundreds of media
               outlets with a combined potential audience of tens of millions of people.
                                       VI.     CONCLUSION

         21.     The Notice Plan is the Best Notice Practicable Under the Circumstances.

  The Notice Plan provides direct, individual notice by mail to potential Class Members and

  their known Relatives to the extent reasonably possible. The proposed Notice Plan satisfies

  due process and Rule 23’s requirement of the best notice practicable under the

  circumstances, including giving individual notice to all Class Members who can be identified

  with reasonable effort and supplementing those efforts with notice to persons associated with

  the Class Members and paid media elements. With an estimated direct notice reach

  exceeding 77% of Presumed Living Class Members or their attorneys of underlying lawsuits

  and at least one Relative of deceased Class Members, a regional public notice campaign that

  targets Presumed Living Class Members and Presumed Living Relatives, national print

  publication ads that will expose Presumed Living Class Members and Relatives outside of

  the four primary states of residence to the notice, and a digital media component targeting

  those Class Members and their Relatives who consume media electronically and actively

  search for information relevant to this matter, the Notice Plan is likely to provide the same or

  better reach than courts have approved in other similar class matters. The Notice Plan is also

  generally consistent with the aims of the FJC Checklist.




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          I, Orran L. Brown, Sr., declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

  the foregoing is true and correct to the best of my knowledge. Executed on this 2nd day of July,

  2020.




                                             ________________________________
                                                      Orran L. Brown, Sr.




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                            Exhibit 1
                        Orran Brown Sr. Biography
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  Founding Partner

  ORRAN L. BROWN, SR.
                         Orran develops and implements the best practices and strategies for the
                         negotiation and drafting of resolution plans, legal proceedings to obtain
                         court approval, the efficient design and operation of group claims
                         facilities and compliance with the agreements and court orders
                         governing the claims resolution process to provide a program a
                         successful start and timely and efficient progress to a successful
                         completion. He has served as a claims administrator, as a trustee
                         directing the implementation of a settlement program and as a Special
                         Master presiding over discovery, records collection and deposition
                         scheduling and calendaring in coordinated multidistrict proceedings.
                          Orran has served in these fields since 1990. He and Lynn Greer founded
  BrownGreer in September 2002 to devote themselves to providing these services and to assist
  parties and the courts in handling the information and issues presented in management and
  resolution of multidistrict litigation and multiple claim situations.
        Education & Honors                                   practice and an upper-level course
                                                             on mass torts, MDL class actions,
  x Harvard Law School, Cambridge,                           and complex litigation)
    Massachusetts, J. D. cum laude,
    1981                                                   x Frequent speaker at conferences
                                                             and continuing legal education
  x Hampden-Sydney College,                                  events
    Hampden Sydney, Virginia, B.A.,
    Government and Foreign Affairs,                        x Permanent Member, Fourth Circuit
    summa cum laude, 1978 (GPA 4.0                           Judicial Conference
    out of 4.0; Phi Beta Kappa;
    Omicron Delta Kappa; Eta Sigma
    Phi; Pi Sigma Alpha; Chairman of                               Service Activities
    the Student Court)                                     x Board of Trustees, Hampden-
  x Law Clerk to the Hon. Robert R.                          Sydney College
    Merhige, Jr., United States District                   x Board of Trustees, Roller-
    Court for the Eastern District of                        Bottimore Foundation
    Virginia, Richmond, Virginia,                          x Board of Visitors, St.
    1981-1982                                                Christopher’s School
  x Super Lawyers Magazine’s 2007 -                        x Vestry, St. Stephen’s Episcopal
    2019 Annual List of Top Attorneys                        Church
    in Virginia                                            x City of Richmond Charter Review
  x AV Preeminent™ Rating,                                   Commission
    Martindale-Hubbell® 2016-2017                          x Boy Scouts Troop 444, Assistant
                                                             Scout Master
       Professional Activities
  x Wheat Professor, Hampden
    Sydney College 2018-Present;                                    Bar Admissions
    Leadership and Ethics Class
                                                           x Virginia, 1986
  x Adjunct Professor, University of
    Richmond School of Law 1997-                           x Texas, 1983
    2005 (Taught trial and appellate


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                            Exhibit 2
                   BrownGreer Summary of Experience
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                                                                  FIRM EXPERIENCE


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                             PERSONAL INJURY SETTLEMENT PROGRAMS

                        PROGRAM DESCRIPTION                                 ROLE          PROGRAM     SETTLEMENT
                                                                                            SIZE         FUND
      In re National Football League Players’ Concussion Injury
1.
      Litigation, MDL Docket No. 2323 (E.D. Pa). Class action             Claims            TBD          Fund
      settlement to resolve claims by retired National Football         Administrator                  Uncapped
      League players relating to repetitive head impacts.

                                                                                                          Fund
2.    Confidential. Voluntary settlement program of claims arising        Claims           12,000      Uncapped;
      from the use of a prescription medication.                        Administrator     Claimants    $1.4 Billion
                                                                                                        Disbursed

                                                                                                         Fund
3.    Confidential. Voluntary settlement program of claims arising        Claims            2,700      Uncapped;
      from the use of a prescription medication.                        Administrator     Claimants   $279 Million
                                                                                                       Disbursed

      Catholic Diocese of Richmond Independent Reconciliation             Claims
4.    Program. Private Settlement to resolve sexual abuse claims in     Administrator
                                                                                            TBD           TBD
      the Richmond Catholic Diocese.

      In re: Just For Men® Mass Tort Litigation, Case No. 3:16 cv--
      00638-SMY (S.D. IIL.). Private Settlement to resolve cases          Claims
5.    arising out of the use of a male-oriented hair coloring product   Administrator
                                                                                            TBD           TBD
      designed to cover grey hair.

      In re Vioxx Products Liability Litigation, MDL Docket No.           Claims           60,000
6.    1657 (E.D. La.). Voluntary settlement program to resolve          Administrator                 $4.85 Billion
      claims arising from the use of prescription painkillers.                            Claimants


      In re Diet Drugs (Phentermine/Fenfluramine/                       Liaison for the
                                                                         Defendant to     600,000
7.    Dexfenfluramine) Products Liability Litigation, MDL Docket              the                     $3.55 Billion
      No. 1203 (E.D. Pa.). Class action settlement to resolve             Settlement      Claimants
      claims arising from the use of “Fen-Phen” diet drugs.                  Trust

      In re A.H. Robins Company Inc., Debtor (In re Dalkon Shield
      Claimants Trust), MDL Docket No. 211 (Bankr. E.D. Va.).           Counsel to the    400,000
8.    Settlement program created in the Chapter 11 bankruptcy            Settlement                     $3 Billion
      proceeding of the A.H. Robins Company to resolve claims               Trust         Claimants
      arising from use of the Dalkon Shield intrauterine device.

      In re DePuy Orthopaedics, Inc., ASR Hip Implant Products,
      MDL Docket No. 2197 (N.D. Ohio). Voluntary settlement               Claims            9,300
9.    program for claims relating to metal-on-metal hip implant         Administrator                  $2.8 Billion
                                                                                          Claimants
      devices.




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                              PERSONAL INJURY SETTLEMENT PROGRAMS

                         PROGRAM DESCRIPTION                               ROLE         PROGRAM     SETTLEMENT
                                                                                          SIZE         FUND

       In re Diet Drugs (Phentermine/Fenfluramine/
       Dexfenfluramine) Products Liability Litigation, MDL Docket
                                                                          Claims         66,000
10. No. 1203 (E.D. Pa.). Voluntary settlement program to resolve                                    $2.63 Billion
                                                                        Administrator   Claimants
    opt outs from the class action settlement of claims arising
    from use of “Fen-Phen” diet drugs.

    In re Actos (Pioglitazone) Products Liability Litigation, MDL         Claims         10,800
11. Docket No. 2299 (W.D. La). Voluntary settlement program to          Administrator               $2.37 Billion
    resolve claims arising from the use of a diabetes medication.                       Claimants

       In re Sulzer Orthopedics and Knee Prosthesis Products              Claims         27,000
12. Liability Litigation, MDL Docket No. 1401 (N.D. Ohio). Class        Administrator               $1.15 Billion
    action settlement of claims relating to hip and knee implants.                      Claimants

    October 1 Fund. Private Settlement to resolve cases arising           Claims
13. from the October 1, 2017 Las Vegas shooting at Mandalay              Processor       4,300      $800 Million
    Bay during an outdoor concert.

       In Re Xarelto® Litigation Settlement Program. Private              Claims
14. settlement to resolve cases arising out of the use of a             Administrator    33,000     $775 Million
    prescription blood thinner.

    In re Pradaxa (Dabigatran Etexilate) Products Liability
15. Lsettlement
      itigation, MDL Docket No. 2385 (S.D. Illinois). Voluntary           Claims          4,800     $650 Million
                 program to resolve claims arising from the use of      Administrator   Claimants
       a blood thinning medication.

       In re: Benicar (Olmesartan) Products Liability Litigation, MDL
       No. 2606 (N.J.). Voluntary settlement program to resolve           Claims          8,500
16.                                                                                                 $358 Million
       claims arising from the use of prescription hypertension         Administrator   Claimants
       medication.

       In re Wright Medical Technology, Inc., Conserve Hip Implant
       Products Liability Litigation, MDL Docket No. 2329, (N.D.
                                                                          Claims          1,233
17.    Ga.). Private settlement program established to resolve          Administrator               $249 Million
                                                                                        Claimants
       claims related to CONSERVE®, DYNASTY®, and LINEAGE®
       metal-on-metal hip replacement devices.

       In re Reglan®/Metoclopramide Mass Tort Litigation, No.
       01997 (Philadelphia County Ct. of C.P.); In re Reglan®
       Litigation, Case No. ATL-L-3865-10 (Super Ct. NJ);                Notice and       5,263
18.    Reglan®/Metoclopramide Cases, CJC-10-004631 (Cal. Super            Claims        Claimants   $240 Million
       Ct.). Private settlement program consolidating PA, NJ, and CA    Administrator
       class action settlements to resolve claims arising out of the
       use of a prescription medication.




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                                PERSONAL INJURY SETTLEMENT PROGRAMS

                          PROGRAM DESCRIPTION                                ROLE         PROGRAM     SETTLEMENT
                                                                                            SIZE         FUND
       In re Guidant Implantable Defibrillators Products Liability          Advised
       Litigation Settlement, MDL Docket No. 1708 (D. Minn.).              Defendant
                                                                                          26,000
19.    Voluntary settlement program to resolve claims related to a        and Defense      Class      $240 Million
       medical device company’s cardiac resynchronization therapy           Counsel       Members
       devices, implantable cardiac defibrillators and pacemakers.

       In re Nuvaring Products Liability Litigation, MDL Docket No.         Claims          3,800
20.    1964 (W.D. Mo.). Voluntary settlement program to resolve           Administrator               $100 Million
       claims related to the use of a contraceptive device.                               Claimants

       In re: Abilify (Aripiprazole) Products Liability Litigation, MDL
21.    No. 2734 Settlement Program. Private settlement program to           Claims          3,955      $60 Million
       resolve cases arising out of the use of a prescription              Processor      Claimants
       medication.

       In re Phenylpropanolamine (PPA) Products Liability Litigation,
       MDL Docket No. 1407 (W.D. Wash.). Class action settlement            Claims           500
22.                                                                       Administrator                $60 Million
       trust established to resolve claims related to an over-the-                        Claimants
       counter weight loss product.

       In re: Yasmin and Yaz (Drospirenone) Marketing, Sales
       Practices and Products Liability Litigation, MDL Docket No.
       2100 (S.D. Ill.). Private voluntary settlement program to
       resolve claims alleging an arterial thromboembolism (“ATE”),         Claims          1,275
23.    either alone or in combination with some other injury,             Administrator   Claimants    $57 Million
       resulting from the use of drospirenone-containing oral
       contraceptives manufactured by Bayer or marketed by Barr
       Laboratories, Inc., or Teva Pharmaceuticals USA, Inc.

       In re Yasmin and YAZ (Drospirenone) Marketing, Sales
       Practices and Products Liability Litigation, MDL Docket No.
       2100 (S.D. Ill.). Private settlement program to resolve claims       Claims          9,000
24.    alleging gallbladder disease or a gallbladder injury from the      Administrator
                                                                                                       $24 Million
                                                                                          Claimants
       use of drospirenone-containing oral contraceptives
       manufactured by Bayer or marketed by BarrTeva.

       In re OxyContin Litigation - All Cases, No. 2002--CP--18--1756      Notice and      3,600
25.    (Cir. Ct. Dorchester County, S.C.). Class action settlement by       Claims                    $4.25 Million
       a pharmaceutical company regarding a prescription pain                              Class
                                                                          Administrator   Members
       killer.

       In re Seroquel Products Liability Litigation, MDL Docket No.         Special
26.    1769 (M.D. Fla.). Multidistrict litigation proceedings involving     Master;          Not       $150,000
       the antipsychotic prescription drug Seroquel.                        Project       Disclosed
                                                                            Manager




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                             PERSONAL INJURY SETTLEMENT PROGRAMS

                        PROGRAM DESCRIPTION                              ROLE         PROGRAM    SETTLEMENT
                                                                                        SIZE        FUND
       In re Pittsburgh Corning Corporation, No. 00--22876--TPA                        2,272
       (Bankr. W.D. Pa.). Class action settlement to resolve                           Class
27.                                                                     Notice                  Not Applicable
       personal injury claims relating to exposure to asbestos made   Administrator   Members
       by refinery and chemical plant workers with individual
       asbestos cases pending in the Eastern District of Texas.




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                              ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                           PROGRAM       SETTLEMENT
                           PROGRAM DESCRIPTION                                ROLE
                                                                                             SIZE           FUND

     In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf
     of Mexico, on April 20, 2010, MDL Docket No. 2179 (E.D.                 Claims                      Uncapped
                                                                                           260,000         Fund;
1.   La). Class action settlement to resolve economic loss and            Administration   Claimants    $11.6 Billion
     property damage claims arising from the April 20, 2010 oil             Services                     Disbursed
     spill in the Gulf of Mexico.

                                                                              Claims
     Gulf Coast Claims Facility. Voluntary claims program to              Administration                 $20 Billion
                                                                                           600,000       cap; $6.5
2.   resolve economic loss and physical injury claims arising from          Services;
     the April 20, 2010 oil spill in the Gulf of Mexico.                    Transition     Claimants       Billion
                                                                           Coordinator                   Disbursed

     Ortega Melendres,, et. al., v. Paul Penzone, et. al., No. CV--07--    Notice and        200
     2513-PHX-GMS (D. Az.). Voluntary program to resolve claims             Claims
                                                                                                         Uncapped
3.   that individuals were stopped or held by the Maricopa                                  Class          Fund
                                                                          Administrator    Members
     County Sheriff’s Office in violation of a court order.

     Hanna v. Agape Senior, LLC, No. 12-C
                                        CP-4
                                           40-5
                                              5950 (S.C. St. Ct.,                                         Uncapped
     Richland Cnty., S.C.). Class action settlement resolving              Notice and                       Fund;
4.   claims of certain residents of senior and assisted living              Claims           600         ~$480,000
     facilities related to alleged improper delivery of medical           Administrator                   Disbursed
     treatment.

     Confidential. Conciliation agreement between a financial              Notice and
                                                                                           Class Size      Fund
     institution and the U.S. Department of Housing & Urban                 Claims
5.   Development related to alleged discriminatory acts in                                 Unknown       Uncapped
                                                                          Administrator
     mortgage loan application handling.

                                                                                           Estimated
     In re Syngenta AG MIR 162 Corn Litigation, MDL Docket No.             Notice and      more than
6.   2591, (D. Kansas). Class action settlement to resolve claims           Claims         600,000      $1.51 Billion
     concerning genetically modified corn and crop values.                Administrator      Class
                                                                                           Members

     Travel Insurance Refund Program in the matter of Jefferson
     Insurance Company NAIC #11630 and in the matter of BCS
     Insurance Company NAIC #38245. Regulatory settlement                   Program                        To Be
7.   program between certain travel insurance companies and               Administrator    504,927       Determined
     State regulators to issue refunds to policy holders who
     purchased travel insurance through an Opt-Out Marketing
     Plan.

     In re Black Farmer's Discrimination Litigation, No. 08--mc--
     0511 PLF (D.D.C.). Class action settlement to resolve claims
     of discrimination against African-American farmers by the            Claims Review     40,000
8.   U.S. Department of Agriculture regarding farm loans and              and Evaluation                $1.25 Billion
                                                                                           Claimants
     loan servicing for claimants who had missed deadlines in a
     prior settlement.



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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                      PROGRAM      SETTLEMENT
                         PROGRAM DESCRIPTION                            ROLE
                                                                                        SIZE          FUND

     United States Securities and Exchange Commission v.
     American International Group, Inc., No. 06-Civ. 100-LAP         Audited the      260,000
     (S.D.N.Y.). Securities enforcement action settlement              Claims                     $843 Million
9.   between the SEC and a multinational insurance corporation                         Class
     over allegations of accounting fraud and related shareholder   Administrator     Members
     litigation.

    In re Genetically Modified Rice Litigation, MDL Docket No.        Claims          12,000
10. 1811 (E.D. Mo.). Voluntary claims program to resolve claims     Administrator                 $750 Million
    concerning genetically modified rice and crop values.                            Claimants

                                                                                                     Blend of
     In re Chinese-Manufactured Drywall Products Liability             Claims                     Uncapped and
     Litigation, MDL Docket No. 2047 (E.D. La.). Class action       Administrator;    25,000         Capped
11. settlement for the remediation of homes containing               Lynn Greer,     Claimants        Funds;
    defective drywall manufactured in China.                        Special Master                 $610 Million
                                                                                                    Disbursed

     Confidential. Settlement program reached by the                                  25,000
    Department of Homeland Security, U.S. Customs and Border         Settlement                   $184.1 Million
12. Protection (CBP) and the National Treasury Employees Union      Administrator      Class
    (NTEU) to resolve certain grievances filed by NTEU.                               Members

     United States v. National Treasury Employees Union, No. 93-     Trustee of       212,000
    1170 (D.C. App.). Class action settlement between a federal      Settlement                   $173 Million
13. employees’ union and the U.S. Government for back                                  Class
                                                                        Trust         Members
    payment of wages.

     Blando v. Nextel West Corp., No. 02-0
                                         0921-F
                                              FJG (W.D. Mo.).                        5,000,000
    Class action settlement by a wireless telecommunications        Advisor to the                $165 Million
14. provider to resolve claims under Missouri law involving “cost       Court           Class
    recovery fees” charged to customers.                                              Members

    Wildfire Assistance Program. Voluntary program providing          Claims           To Be
15. financial assistance to individuals experiencing urgent needs   Administrator    Determined   $100 Million
    as a result of the 2017 and 2018 California Wildfires.

     In re Capital One Telephone Consumer Protection Act             Notice and      17,500,000
     Litigation, MDL Docket No. 2416 (N.D. Ill.). Class action        Claims            Class     $75.4 Million
16. settlement to resolve claims arising from alleged violations
                                                                    Administrator     Members
    of the Telephone Consumer Protection Act.

     In re Vioxx MDL Settlement Agreement Related to Consumer
     Class Actions, MDL Docket No. 1657 (E.D. La.). Class action      Claims           8,000
                                                                                                   $23 Million
17. settlement to resolve consumer protection claims arising        Administrator    Claimants
    from the marketing of prescription painkillers.




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                        PROGRAM      SETTLEMENT
                          PROGRAM DESCRIPTION                              ROLE
                                                                                          SIZE          FUND

    Yarger v. ING Bank, FSB, No. 11-1154-LLPS (D. Del.). Class          Notice and      115,000
18. action settlement to resolve claims related to advertising           Claims          Class       $20 Million
    fixed rate mortgages under Delaware consumer law.                  Administrator    Members

     Acosta v. Tyson Foods, Inc., No. 8:08-ccv-8
                                               86 (D. Neb.). Class
    action settlement by a poultry producer to resolve claims                            3,700
                                                                         Notice
19. under the Fair Labor Standards Act and Nebraska law for            Administrator     Class       $19 Million
    employee compensation for time spent donning/doffing                                Members
    protective equipment.

     Flores v. Zorbalas, No. 27-C
                                CV-1
                                   16-1
                                      14225 (Minn. St. Ct.,
    Hennepin Cnty., Minn.). Class certification notice program
    and subsequent class action settlement program resolving            Notice and       5,500
20. claims of tenants of certain apartments in Minneapolis, MN           Claims          Class      $18.5 Million
    whose landlords allegedly rented out the properties without        Administrator    Members
    proper licenses and failed to maintain the properties as
    required by health and safety laws.

     United States of America v. Capital One, N.A., No. 1:12--cv--
    828 (E.D. Va.). Consent decrees between a financial                 Notice and        44,000
21. services company and the Department of Justice and Office            Claims                      $15 Million
    of Comptroller of the Currency to resolve alleged violations of    Administrator   Claimants
    the Servicemembers Civil Relief Act.

     Ene v. Maxim Healthcare Services, Inc., No. 4:09-ccv-0
                                                          02453
    (S.D. Tex.). Class action settlement by a healthcare provider                        1,600
                                                                         Notice                     $12.3 Million
22. to resolve claims under the Fair Labor Standards Act               Administrator     Class
    concerning the classification of healthcare recruiters as                           Members
    exempt from overtime pay.

     Gregorio v. Premier Nutrition Corporation, Civil Action No: 17-    Notice and     9,360,000
    cv-05987 (S.D.N.Y.). Class action settlement to resolve              Claims           Class      $9 Million
23. claims concerning the misleading advertising of protein
    shake products.                                                    Administrator    Members

     Spinelli v. Capital One Bank (USA), No. 8:08-ccv-1
                                                      132 (M.D.
                                                                        Notice and     9,000,000
    Fla.). Class action settlement by a financial services               Claims           Class      $5 Million
24. company with credit card holders to resolve claims under the
    Truth in Lending Act.                                              Administrator    Members

     Hankins v. Carmax Inc., No. 03-C
                                    C-0
                                      07-0
                                         005893 CN (Baltimore
    County Md. Cir. Ct.). Class action settlement to resolve            Notice and       7,300
25. claims that a retail car company sold used vehicles without          Claims          Class       $8 Million
    disclosing that the vehicles had been used previously as           Administrator    Members
    short-term rentals.




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                              ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                        PROGRAM      SETTLEMENT
                          PROGRAM DESCRIPTION                               ROLE
                                                                                          SIZE          FUND

     Cohen v. Warner Chilcott Public Ltd. Co., No. 1:06--cv--00401--                    2,000,000
    CKK (D.D.C). Class action settlement to resolve antitrust             Notice                     $6 Million
26. claims against two pharmaceutical companies regarding the           Administrator      Class
    sale of an oral contraceptive.                                                       Members

     Peg Bouaphekeo, et. al., v. Tyson Foods, Inc., No. 5:07-ccv-
    04009-JAJ (N.D. Iowa Western Division). Class action                                 2,523
    settlement by a poultry producer to resolve claims under the          Notice                    $5.78 Million
27. Fair Labor Standards Act and Iowa law for employee                  Administrator    Class
    compensation for time spent donning/doffing protective                              Members
    equipment.

     Morgan v. Richmond School of Health and Technology, Inc.,
    No. 3:12-cv-00373-JAG (E.D. Va.). Class action settlement            Notice and      4,200
28. by a for-profit vocational college to resolve claims under the        Claims         Class       $5 Million
    Equal Credit Opportunity Act, Title VI of the Civil Rights Act of   Administrator   Members
    1964 and the Virginia Consumer Protection Act.

     Gomez v. Tyson Foods, Inc., No. 08-0
                                        021 (D. Neb.). Class
    action settlement by a poultry processing company to resolve                         5,300
                                                                          Notice
29. claims under the Fair Labor Standards Act and Nebraska law          Administrator    Class       $5 Million
    for employee compensation for time spent donning/doffing                            Members
    protective equipment.

     Rogers v. City of Richmond, Virginia, No. 3:11-ccv-0
                                                        00620
    (E.D. Va.). Class action settlement under the Fair Labor              Claims           600
30. Standards Act and Virginia law involving current and former         Administrator               $4.6 Million
                                                                                        Claimants
    city police officers alleging unpaid overtime wages.

     Gales v. Capital One, N.A., No. 8:13-ccv-0
                                              01624 (D. Md). Class
    action settlement by a financial services company to resolve          Claims         9,000
31. claims related to the sale of certain repossessed motor             Administrator    Class      $4.4 million
    vehicles.                                                                           Members

     Betts v. National Cash Advance/Advance America, Nos.
    502001CA000320OCAI-MB and 502004CA008164XXXXI-
    MB (Palm Beach County Cir. Ct.). Class action settlement to          Notice and     18,500
32. resolve claims alleging violates of the Florida Lending               Claims         Class      $4.32 Million
    Practices Act, the Florida Consumer Finance Act, the Florida        Administrator   Members
    Deceptive and Unfair Trade Practices Act, and the Civil
    Remedies for Criminal Practices Act.

     Llewellyn v. Big Lots Stores, Inc., No. 09-ccv-5
                                                    5085 (E.D. La.).                      200
    Class action settlement by a retailer to resolve claims under         Claims                     $4 Million
33. the Fair Labor Standards Act regarding the classification of        Administrator    Class
    assistant store managers.                                                           Members




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                        PROGRAM      SETTLEMENT
                          PROGRAM DESCRIPTION                              ROLE
                                                                                          SIZE          FUND

                                                                                        Estimated
     Desio v. Emerson Electric Co. d/b/a InSinkErator, No. 2:15-        Notice and     455,000 or
    cv-00346 (E.D. Wa.). Class action settlement to resolve                                         $3.8 Million
34. claims that certain filters used in water filtration systems         Claims           fewer
    could crack and leak water, causing property damage.               Administrator      Class
                                                                                        Members

     Herron v. CarMax Auto Superstores, Inc., No. 2006-C
                                                       CP-0
                                                          02-           Notice and     27,000
    1230 (Aiken County S.C. Jud. Dist.). Class action settlement         Claims                     $3.8 Million
35. to resolve claims related to document processing fees                               Class
    charged to customers by a car dealer.                              Administrator   Members

     Collins v. Sanderson Farms, Inc., No. 2:06-ccv-0
                                                    02946 (E.D.
    La.). Class action settlement by a poultry processing               Notice and     21,000
36. company to resolve claims under the Fair Labor Standards             Claims         Class       $3.1 Million
    Act regarding employee compensation for time spent                 Administrator   Members
    donning/doffing protective equipment.

     Nader v. Capital One Bank (USA), No. CV-1
                                             12-0
                                                01265-D
                                                      DSF
    (RZx) (C.D. Cal.). Class action settlement by a financial                          1,800,000
                                                                        Settlement
37. institution to resolve claims under state privacy and              Administrator      Class      $3 Million
    wiretapping laws concerning the alleged recording of                                Members
    outbound customer service calls.

     In re Children's Ibuprofen Oral Suspension Antitrust                              10,000
     Litigation, No. 1:04-mc-0535 (D.D.C.). Class action                 Notice                      $3 Million
38. settlement to resolve claims of antitrust violations by two        Administrator    Class
    manufacturers of over-the-counter children’s pain relievers.                       Members

     Rubenstein v. The Neiman Marcus Group LLC, No. 2:14-ccv-
    07155-SJO-JPR (C.D. Ca.). Proposed settlement program to            Notice and       To Be
39. resolve allegations that consumers were misled by the                Claims        Determined   $2.9 Million
    “Compared To” price tags on merchandise sold by the                Administrator
    Defendant.

     United States of America v. Chevy Chase Bank, F.S.B., No.
    1:13-cv-1214 (E.D. Va.). Consent decree between a financial         Notice and      3,500
40. services company and a federal regulatory agency involving           Claims         Class       $2.85 Million
    allegations under the Equal Credit Opportunity and Fair            Administrator   Members
    Housing Acts.

     Samuel v. EquiCredit Corp., No. 00-ccs-6
                                            6196 (E.D. Pa.). Class
    action settlement by a financial services institution to resolve    Notice and     13,000
41. claims under the Real Estate Settlement Procedures Act               Claims         Class       $2.5 Million
    regarding the application of loan proceeds to pay mortgage         Administrator   Members
    broker fees.




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                     PROGRAM     SETTLEMENT
                         PROGRAM DESCRIPTION                             ROLE
                                                                                       SIZE         FUND

     Beecroft v. Altisource Business Solutions PVT LTD., No. 0:15-    Notice and     56,104
    cv-02184 (D. Minn). Class action settlement to resolve             Claims                   $1.8 Million
42. claims arising from alleged violations of the Telephone                           Class
    Consumer Protection Act.                                         Administrator   Members

     Hall v. Capital One Auto Finance, Inc., No. 1:08-ccv-0
                                                          01181
                                                                      Notice and      3,400
    (N.D. Ohio). Class action settlement by a financial services       Claims                   $1.5 Million
43. company to resolve claims related to automobile                                   Class
                                                                     Administrator   Members
    repossession under Ohio consumer statutes.

     McCoy v. North State Aviation, LLC, Case No. 1:17-ccv-0
                                                           00346-
    CCE-LPA (M.D.N.C). Class action settlement to resolve
    claims that Defendant violated the federal Worker                 Settlement      339       $1.5 Million
44. Adjustment and Retraining Notification Act (the WARN Act),       Administrator
    which requires certain employers to give 60-day advance
    notification of plant closings and mass layoffs.

     Watts v. Capital One Auto Finance, Inc., No. CCB-0
                                                      07-0
                                                         03477
                                                                      Notice and      2,700
    (D. Md.). Class action settlement by a financial services          Claims                    $990,000
45. company to resolve claims related to automobile                                   Class
    repossession under Maryland consumer statutes.                   Administrator   Members

     Churchill v. Farmland Foods, Inc., No. 4:06--cv--4023 (C.D.
    Ill.). Class action settlement by a pork processing company       Notice and      2,300
46. to  resolve claims under the Fair Labor Standards Act and          Claims         Class      $980,000
    Illinois law regarding employee compensation for time spent      Administrator   Members
    donning/doffing protective equipment.

     Polanco v. Moyer Packing Company, No. C.P., 1852
    (Philadelphia County Pa.). Class action settlement by a beef      Notice and      4,500
    processing company to resolve claims under the Fair Labor          Claims                    $850,000
47. Standards Act and Pennsylvania law regarding employee                             Class
    compensation for time spent donning/doffing protective           Administrator   Members
    equipment.

     Cohen v. Foothill/Eastern Transportation Corridor Agency, et.
     al., No. SACV 15-01698 DDP (C.D. Ca.). Class action              Notice and     25,762
48. settlement to resolve alleged violations of the Fair and           Claims         Class      $850,000
    Accurate Credit Transactions Act (FACTA) by a toll-road          Administrator   Members
    operator.

     Bessey v. Packerland Plainwell, Inc., No. 4:06-ccv-0
                                                        0095 (W.D.
    Mich.). Class action settlement by a pork processing              Notice and      3,000
49. company   to resolve claims under the Fair Labor Standards         Claims         Class      $700,000
    Act and Michigan law regarding employee compensation for         Administrator   Members
    time spent donning/doffing protective equipment.




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                      PROGRAM     SETTLEMENT
                          PROGRAM DESCRIPTION                            ROLE
                                                                                        SIZE         FUND

     Santiago v. GMAC Mortgage Group, Inc., No. 784574 (E.D.
    Pa.). Class action settlement by a financial services             Notice and      84,000
50. company to resolve claims under the Real Estate Settlement         Claims          Class      $650,000
    Procedures Act concerning charges for mortgage settlement        Administrator    Members
    services.

     Contreras v. PM Beef Holdings, LLC, No. 07--CV--3087 (D.
    Minn.). Class action settlement by a beef processing              Notice and       3,000
51. company to resolve claims under the Fair Labor Standards           Claims          Class      $500,000
    Act and Minnesota law for employee compensation for time         Administrator    Members
    spent donning/doffing protective equipment.

     Morales v. Greater Omaha Packing Co. Inc., No. 8:08-ccv-
    0161 (D. Neb.). Class action settlement by a beef                 Notice and       4,000
    processing company to resolve claims under the Fair Labor          Claims                     $490,000
52. Standards Act and Nebraska law regarding employee                                  Class
                                                                     Administrator    Members
    compensation for time spent donning/doffing protective
    equipment.

     Graham v. Capital One Bank (USA), N.A., 8:13-ccv-0
                                                      00743
    (C.D. Cal.). Class action settlement related to claims under      Notice and      22,500
53. the California Unfair Competition Law regarding alleged            Claims          Class      $460,000
    improper disclosures and charges assessed on credit card         Administrator    Members
    accounts.

     In re Moyer Packing Co., P. & S. Docket No. D--07--0053 (U
                                                              U.S.
    Dep't Agric.). Consent decision involving a beef processing       Notice and       1,100
54. company to compensate cattle producers for goods sold              Claims                     $325,000
    based on weights derived using an allegedly malfunctioning       Administrator   Claimants
    weight calculation system.

    Confidential. Voluntary payment program by a city                                   175
                                                                       Claims
55. government to compensate current and former city police          Administrator     Class      $300,000
    officers for unpaid overtime wages.                                               Members

     Dapice v. Capital One Bank (USA), N.A. No. 14-ccv-6
                                                       6961 GW                        2,564
    (AGRx). Class action settlement by a financial institution to     Settlement                  $350,000
56. resolve claims related to interest rates charged on balance      Administrator    Class
    transfers for certain credit card accounts.                                      Members

    Confidential. Voluntary program by a financial institution to      Program
57. refund customers for payments subsequently discharged in         Administrator   457 payees   $233,000
    bankruptcy.

     Wilder v. Triad Financial Corp., No. 3:03-ccv-8
                                                   863 (E.D. Va.).    Notice and      80,000
    Class action settlement by a financial services company to         Claims                     $200,000
58. resolve claims associated with automobile loan applications                        Class
                                                                     Administrator    Members
    under the Fair Credit Reporting Act.




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                       PROGRAM      SETTLEMENT
                         PROGRAM DESCRIPTION                              ROLE
                                                                                         SIZE          FUND

     Conerly v. Marshall Durbin Food Corp., No. 2:06--cv--205 (N.D.
    Ala.). Class action settlement by a poultry processing             Notice and      1,900
59. company to resolve claims under the Fair Labor Standards            Claims         Class         $150,000
    Act regarding employee compensation for time spent                Administrator   Members
    donning/doffing protective equipment.

     Ferguson v. Food Lion, LLC, No. 12-cc-8
                                           861 (Berkeley County
    W. Va. Cir. Ct.). Class action settlement by a retail company      Notice and       185
60. to resolve claims under the West Virginia Wage Payment and          Claims         Class         $150,000
    Collection Act regarding timing of paychecks issued to            Administrator   Members
    discharged employees.

    Confidential. Voluntary settlement by a food processing             Notice
                                                                                        670
61. company to resolve claims regarding employee                      Administrator    Class         $125,000
    compensation for donning/doffing protective equipment.                            Members

    Confidential. Voluntary check remittance program by an             Settlement
62. investment fund to distribute proceeds from numerous              Administrator     1,049        $117,000
    settlements to beneficiaries of the fund.

     Confidential HUD Compensation Program. Compensation               Notice and
    fund established to pay damages to persons allegedly                Claims        <100 Class     $50,000
63. discriminated against by financial institution on basis of                         Members
    pregnancy or parental leave.                                      Administrator

     Cook v. Columbia Freightliner, LLC, No. 10--CP--02--1987
    (Aiken County S.C. Jud. Dist.). Class action settlement to         Notice and       380
64. resolve claims regarding a trucking company and the                 Claims         Class         $17,000
    collection of administrative fees in the sale of motor            Administrator   Members
    vehicles.

    Confidential. Voluntary payments by a financial institution to      Payment
                                                                                        656
65. reimburse fees charged to the credit card accounts of small       Administrator    Class         $16,000
    business owners.                                                                  Members

     Clark v. Group Hospitalization and Medical Services, Inc., No.
    3:10-CIV-00333-BEN-BLM (S.D. Cal.). Class action                   Notice and       80            $1,300
66. settlement by a health insurance provider to resolve claims         Claims         Class
    under the Employee Retirement Income Security Act and             Administrator   Members        Disbursed
    California’s Unfair Competition Law.

                                                                                                        Debt
     Quinn v. BJC Health System, No. 052-00821A (City of St.                                        Reduction/
                                                                                      26,000
    Louis Mo. Cir. Ct.). Class action settlement by a healthcare        Claims                     Forgiveness to
67. system to resolve claims associated with hospital fees            Administrator    Class         Qualifying
    charged to uninsured patients.                                                    Members          Class
                                                                                                     Members




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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                       PROGRAM      SETTLEMENT
                         PROGRAM DESCRIPTION                              ROLE
                                                                                         SIZE          FUND

                                                                      Orran Brown,
     In re Record Company Infringement Litigation, No. 6:15-cv-          Special         Not
68. 00708 (M. D. Fla.). Consolidated proceedings involving 65+           Master;      Applicable   Not Applicable
    parties and alleged violations of copyrights and contracts.          Project
                                                                        Manager

     Gray, Ritter & Graham P.C., et al. v. Goldman Phipps PLLC,
     et al., No. 4:13-cv-00206-CDP (E.D. Mo.). Three separate
    but related claims programs (Watts Group Settlement, Banks
    Group Settlement, and GP/Murray Group Settlement),                                27,000
    established to resolve a class action lawsuit involving             Notice                     Not Applicable
69. claimants who settled claims against Bayer arising out of the     Administrator    Class
    presence of Bayer’s genetically-modified rice seed in the                         Members
    United States rice supply or lawyers who were paid common-
    benefit attorneys’ fees or paid common-benefit expenses in
    that litigation.

     In re Lehman Brothers Holdings Inc., No. 08-1
                                                 13555-JJMP
                                                                          Fee
    (Bankr. S.D.N.Y.). Program to track, monitor and evaluate                            Not
70. fees being charged by bankruptcy lawyers in the Lehman             Committee                   Not Applicable
                                                                                      Applicable
                                                                        Assistant
    Brothers Chapter 11 bankruptcy proceeding.

     Jerry Parker, et al. vs. Smithfield Packing Company, Inc., No.
                                                                                       2,656
    7:07-cv-00176-H. Class action settlement to resolve claims          Notice
71. related to overtime pay for employees of a processing facility                     Class       Not Applicable
                                                                      Administrator
    in Clinton, North Carolina.                                                       Members

     Lee Lewis, et al. vs. Smithfield Packing Company, Inc., No.
                                                                                      12,136
    7:07-cv-00166-H. Class action settlement to resolve claims          Notice
72. related to overtime pay for employees of a processing facility                     Class       Not Applicable
                                                                      Administrator
    in Tarheel, North Carolina.                                                       Members

     Lycan, et. al., v. City of Cleveland, No. CV 09686044 (Court
    of Common Pleas, Cuyahoga County, OH). Class action
    lawsuit to resolve claims that the City of Cleveland, Ohio,        Notice and
                                                                                                      To Be
73. assessed traffic fines against non-vehicle owners (including        Claims         31,937
                                                                                                    Determined
    lessees and renters) whose vehicles were photographed by          Administrator
    automatic enforcement cameras operating in city limits, in
    violation of a city ordinance.

    Mercier, et al v. The United States, No. 12-9
                                                920C. Class            Notice and
                                                                                        To Be         To Be
74. action to resolve  alleged claims of unpaid wages for nurses        Claims
                                                                                      Determined    Determined
    and physician assistants.                                         Administrator

     In Re De Bernardi v. City and County of San Francisco.
    Served as Court-approved Third Party Notice Administrator           Notice
75. for a collective action lawsuit regarding Compensatory Time                        26,000      Not Applicable
                                                                      Administrator
    Off earned in lieu of paid overtime.


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                             ECONOMIC LOSS SETTLEMENT PROGRAMS
                                                                                     PROGRAM     SETTLEMENT
                          PROGRAM DESCRIPTION                            ROLE
                                                                                       SIZE         FUND

     In Re Wazwaz v. City and County of San Francisco. Served as
    Court-approved Third Party Notice Administrator for a              Notice
76. collective action lawsuit regarding Compensatory Time Off                         1,000    Not Applicable
                                                                     Administrator
    earned in lieu of paid overtime.

     In Re Donofrio v. IKEA, No. 2:2018--cv--00599. Served as
    Court-appointed Third-Party Administrator, responsible for
                                                                      Third Party     500      Not Applicable
77. tracking and maintaining Opt-in Consent Forms for a              Administrator
    collective action lawsuit involving alleged age-discrimination
    in the workplace.

     Runton et al. v. Brookdale Senior Living, Inc., No. 0:17-ccv-
    60664-CMA (S.D. Fla.). Class action settlement resolving          Notice and                   To Be
78. claims of certain residents of senior and assisted living          Claims        29,760      Determined
                                                                     Administrator
    facilities related to staffing determinations.




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                            Exhibit 3
                      Letter to Underlying Attorneys
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      Template Letter to Underlying Counsel Pursuant to Preliminary Approval Order ¶ 11(c)




  Dear Counsel,

        BrownGreer has been appointed by the United States District Court for the

  District of New Jersey to serve as the Class Action Notice Agent in the captioned

  above class action matter (the “Williams Action”) There is a class action settlement

  pending in the Williams Action and the attached long form notice explains the case,

  the settlement and relevant deadlines.

        Based on underlying litigation records provided to Verus, LLC, the Court-

  appointed Claims Administrator, we believe that you, your firm or predecessors to

  your current law practice either currently represent or previously represented

  clients who may be members of the Williams Action class. Since the settlement

  may afford these clients the opportunity to receive monetary compensation and

  otherwise affect their rights the Court has ordered that we send you this letter and

  the long-form notice and request you to notify your living clients who are class

  members or their heirs/personal representative if deceased about the settlement.

        To assist you, we have enclosed a list prepared by the Claims Administrator

  of potential Class Members associated with you or whom we believe is a

  predecessor to your current law practice. To assist Class Members, we ask that you

  (1) provide us with any known corrections to the list and provide the names and
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  addresses of other clients (or personal representatives or next of kin of clients who

  are deceased) that are not on the list who may be Class Members for purposes of

  further disseminating class notice, and (2) inform your clients who may be

  potential Class Members of the pendency of the Class and the proposed settlement

  and that they may obtain information concerning the proposed settlement from the

  Claims Administrator and how to do so, all of which is explained in the attached

  long form notice.

        If you prefer to send copies of the long form notice under your own cover

  letter, we will provide you with enough copies of the notice on request. We will

  also reimburse you for the cost of U.S. mail postage incurred if you agree to

  provide us the names and addresses of the persons you sent copies of the notice

  and the date of mailing

        If you have any questions, please feel free to contact the undersigned, or

  Verus at 800-XXX-YYY, or Class Counsel, Christopher M. Placitella, Harry M.

  Roth or Michael Coren, Cohen Placitella and Roth, P.C. at 888-375-7600.



        Thank you for your anticipated cooperation in this effort.
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                            Exhibit 4
                                Press Release
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  $72.5 Million Class Action Settlement Fund Announced Covering
  Past Emtal Industrial Talc Litigation For Up To 19,000 Potential
  Claimants
  NEWS PROVIDED BY
  Emtal Talc Settlement Notice Agent
     __, 2020

  RICHMOND, Va., __, 2020 /PRNewswire/ -- The Notice Agent of the settlement reached in
  Williams v. BASF Catalysts LLC, et al., C.A. No. 2:11-cv-01754 (D.N.J.) releases this information
  about the settlement.

  Defendants BASF Catalysts, LLC (“BASF”) and Cahill Gordon & Reindel LLP (“Cahill”) and
  Plaintiffs have announced a class action settlement to resolve claims relating to prior Emtal Talc
  litigation by creating a non-reversionary fund of $72.5 million to pay up to 19,000 potential
  claimants and agreeing to pay fees and other expenses as described in the Settlement Agreement.

  Emtal Talc was used in the manufacturing of industrial products. This settlement does not involve
  any kind of personal cosmetic product such as baby, body, or talcum powder. The settlement
  resolves a class action lawsuit in which Plaintiffs claim that from 1984 until 2009 Engelhard (BASF
  acquired Engelhard in 2006), its former national law firm Cahill, and employees of the two companies,
  made misstatements or concealed evidence about the existence of alleged asbestos in Emtal Talc and
  failed to disclose related information to plaintiffs, their lawyers, and courts in the Underlying Lawsuits.
  Plaintiffs claim that due to these misstatements and omissions, Plaintiffs in the Underlying Lawsuits
  either (1) voluntarily agreed to dismiss or settle their cases for less than they otherwise would have
  accepted or (2) had their cases involuntarily dismissed by court order upon motions filed by the
  Defendants. Defendants deny Plaintiffs’ allegations and dispute that any statements about Emtal Talc
  affected the outcome of the Underlying Lawsuits because Defendants contend that (1) the claims in
  the Underlying Lawsuits were without merit, (2) the amount of asbestos in Emtal Talc, as reported in
  historical documents, could not have caused harm to human health and (3) many of the Underlying
  Lawsuits were resolved for fixed amounts irrespective of the alleged asbestos content of the talc or the
  number of talc defendants. Defendants further contend that many of the complaints merely named
  Engelhard without any specific allegations regarding product identification, exposure, or damages.
  Plaintiffs dispute these arguments.

  BASF also claims that it was not aware of the facts alleged by the Plaintiffs in this case when it
  bought Engelhard in 2006 and that BASF did not learn of the circumstances giving rise to
  Plaintiffs’ allegations in this case until 2009.

  BASF and Cahill have nevertheless agreed to settle this lawsuit in the interest of avoiding further
  costs and the uncertainty of litigation.

  If the United States District Court for the District of New Jersey approves the settlement, then
  BASF and Cahill will pay $72.5 million into a Settlement Fund to pay Class Members as follows:
  (a) $6.25 million to those who prove they are Class Members; (b) $59.75 million to those who
  sustained an asbestos-related injury; and (c) $6.5 million to those who experienced an
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  extraordinary physical injury and/or economic loss allegedly as a result of exposure to Emtal Talc,
  as well as an incentive award of $300,000 to six plaintiffs who helped bring the case. BASF and
  Cahill have also agreed to pay court-approved attorneys’ fees up to $22.5 million, court-approved
  attorneys’ expenses up to $1.2 million, and up to $3.5 million in notice and settlement
  administration costs.

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                                Exhibit C
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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

   KIMBERLEE WILLIAMS, et al.
                                                No. 2:11-cv-01754 (ES) (JAD)
    Plaintiffs,                                 CIVIL ACTION
               vs.
   BASF CATALYSTS LLC, et al.

    Defendants.




                                   [Proposed]
                   Williams Emtal Talc Settlement Fund
                       Plan of Distribution
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                                             Williams Emtal Talc Settlement Fund
                                                      Plan of Distribution
             This document sets forth the Plan of Distribution (“Plan”) for implementing the
  provisions of the Williams Class Action Settlement Agreement (“Settlement Agreement”)
  relating to the allocation and distribution of the Williams Emtal Class Action Settlement Fund
  (“Settlement Fund”) established therein in trust for the use and benefit of eligible Class
  Members, along with the processes, procedures, presumptions, rights, rules and deadlines
  (referred to as “Plan Distribution Procedures” or "PDPs") for determining and resolving all
  claims and rights relating to the allocation and distribution of the Settlement Fund to eligible
  Class Members. The Settlement Trustee, the Administrator and the Lien Administrator appointed
  by the Court will execute this Plan consistent with its terms as well as the terms of the Settlement
  Agreement, the Preliminary Approval Order, the Final Order and Judgment, the Williams Emtal
  Settlement Fund Trust Escrow Agreement and any Court Approved Procedure (“CAP”)
  amendment the Court may enter regarding the administration of the Plan and distributions made
  pursuant to it.

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  1. Definitions.

           In addition to the terms defined above and in the body of the Plan below, the Plan

  incorporates by reference the definitions of the Settlement Agreement and capitalized terms

  appearing herein shall have the same meanings. Whenever context so requires, the masculine

  gender includes the feminine and neutral gender, and the singular includes the plural and vice

  versa.

  2. Summary of Plan.

            This Summary is intended for convenience only and is qualified in its entirety by
            the full description of the Plan of Distribution beginning on page 4. In the event
            of any discrepancy between this Summary and the Plan, the Plan’s provision
            will govern.

           The goal of the Plan is to fairly and equitably distribute the Settlement Fund to eligible

  Class Members who were alleged to have been deprived of the fair opportunity to pursue their

  claims for asbestos physical injuries in the Underlying Lawsuits.

           The Plan establishes three compensation programs to which Settlement Class Members

  meeting defined eligibility criteria may apply for compensation award payments (each program

  being referred to as a “Part”). The Settlement Fund’s Part A program provides Base

  Compensation Payments to Settlement Class Members who can establish that the claimant or

  claimant’s decedent filed an Underlying Lawsuit against Engelhard/BASF during the Class

  Period which asserted in good faith an asbestos injury caused by alleged exposure to Emtal Talc

  (“Base Payments”). The Plan’s Part B program provides compensation payments to Settlement

  Class Members who satisfy Part A and also present sufficient evidence of an asbestos bodily

  injury sustained by them (or if applicable, their decedent). The Plan’s Part C program establishes

  an Extraordinary Injury Fund or “EIF” from which the Settlement Trustee may, in exceptional



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  cases, make a discretionary supplemental compensation payment to mesothelioma injury

  Claimants subject to eligibility guidelines and limitations as set forth in this Plan.

            The Plan has requirements concerning resolution of certain health care provider liens.

  While the Lien Administrator appointed by the Court will aid a Claimant in determining and

  negotiating the amount needed to clear liens related to a payment from the Fund, the satisfaction

  or clearance of liens relating to a Claimant’s payment is the Claimant’s sole responsibility.


  3. Settlement Fund Distribution Programs.

   3.1. Part A – Base Compensation Payments.
            3.1.1. Description.

               3.1.1.1. The Settlement Fund provides base compensation payments (referred to as

  “Base Compensation Payments” or “Part A” Payments”) to Settlement Class Members who

  in accordance with the Plan’s PDPs timely submit a complete Claim Submission that satisfies the

  Plan’s Part A eligibility requirements. Eligibility for compensation under Part A is also an

  eligibility prerequisite under the Plan’s Parts B and C compensation programs.

            3.1.2. Eligibility.

               3.1.2.1. To be eligible for Part A Payments, the Claimant, or the Claimant’s decedent

  where applicable, must have during the Class Period: (a) filed and Served an Underlying Lawsuit

  against Engelhard/BASF (b) which lawsuit credibly asserted at the time, and in good faith, an

  asbestos injury caused by alleged exposure to Emtal Talc and (c) which lawsuit was dismissed as

  to Engelhard/BASF voluntarily or involuntarily (“Part A Eligibility Requirements”). For

  avoidance of doubt, all three elements, (a), (b) and (c), must have occurred during the Class

  Period.



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           3.1.3. Part A Plan Distribution Procedures (PDPs).

              3.1.3.1. All Part A claims require establishing class membership through (a)

  submitting documents and materials that establish all of the Part A Eligibility Requirements, or

  (b) providing proof the Claimant can rely upon the Settlement Fund’s administrative

  presumption lists described in this Plan. Where it is established that a Claimant is a person

  identified on the Presumed Class Member List, or the personal representative, spouse or heir of a

  person identified on the Presumed Class Member List, Class membership will be presumed to

  exist.

              3.1.3.2. Part A Documentation Requirement. A copy of a pleading, an

  interrogatory answer, or a deposition testimony excerpt describing the Injured Person’s alleged

  exposure to Emtal Talc must be supplied to the Settlement Administrator as part of every Claim

  Submission unless no supporting document exists or can be found after Claimant has conducted

  a reasonable search and inquiry. Where documentation is not available the Claimant must then

  certify under oath that no supporting document is available. Claimants may use the certification

  form available on the Settlement’s Website form page for this purpose. For avoidance of doubt,

  this documentation requirement applies to Claimants appearing on the Presumed Class Member

  List as well as to claimants who do not.

              3.1.3.3. The date on which a voluntary dismissal or termination occurred for purposes

  of determining Class membership and Part A Payment eligibility is the earlier of either (a) the

  date on which the agreement or consent by the plaintiff or his/her counsel in the Underlying

  Lawsuit to dismiss or terminate the lawsuit occurred; or (b) the date on which the dismissal or

  termination of the Underlying Lawsuit was entered by or in the court in which it was pending.




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             3.1.3.4. “Served” with respect to an Underlying Lawsuit’s complaint or similar initial

  pleading shall include, in addition to the means of process service provided by the suit’s forum’s

  applicable court rules, the acceptance of service or other notice or acknowledgement of the suit’s

  existence by Engelhard/BASF attorneys, including, but not limited to the identification of the

  suit or action in the materials obtained in discovery by Plaintiffs and provided to the Settlement

  Administrator.

             3.1.3.5. Primary Claimant Rule.

               3.1.3.5.1. A claim for compensation to the Settlement Fund may be submitted only

  by or on behalf of the Injured Person in an Underlying Lawsuit. Where the Injured Person in an

  Underlying Lawsuit is deceased, or the Underlying Lawsuit asserted a survival or wrongful death

  claim on behalf of the estate of an Injured Person, the claim may then be submitted only by the

  Injured Person’s personal representative, such as its executor or administrator, subject to the

  exception in §3.1.3.5.3, which person is referred as a “Primary Claimant”. This PDP is referred

  to as the “Primary Claimant Rule”.

               3.1.3.5.2. Except as provided in §3.1.3.5.3, any claim submitted by a spouse, child

  or parent of an Injured Person in an Underlying Lawsuit who has died, or where the Underlying

  Lawsuit asserted a wrongful death claim on behalf of the estate of an Injured Person, will be

  denied and not processed by the Settlement Fund and a Notice of Claim Determination will be

  sent to that Claimant by the Administrator. On request to the Administrator by a denied Claimant

  under this PDP, and assuming the information is readily available to the Administrator, the

  Settlement Fund will provide the denied Claimant with the contact information for the Primary

  Claimant and either the attorney representing the Primary Claimant in a pending claim to the




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  Settlement Fund or the attorney and/or law firm representing the Injured Person or their Estate in

  the Underlying Lawsuit.

               3.1.3.5.3. Exception for Part A only claims where Primary Claimant is

  deceased and no estate open. Where the Injured Person is deceased and has no estate open, the

  spouse of the deceased Injured Person, if living, or if such spouse is deceased, then a child

  (which includes a child who is adopted) of the deceased Injured Person acting with written

  unanimous consent of all other living children of the deceased Injured Person, may apply for the

  deceased Primary Claimant’s Part A share along with any Derivative Claimant’s Part A Share

  that may be due. The claim to the Settlement Fund under this exception must be limited by the

  Claimant to a request only for Part A compensation. Where the claim is otherwise determined

  eligible for Part A payments the claim may be allowed and paid by the Settlement Fund to the

  applicant upon such further terms and conditions the Settlement Trustee establishes to protect the

  Settlement Fund against any liability or claims relating to the direct payment of the

  compensation payment to the spouse or child. The Settlement Fund shall establish a special

  claim form for such applications.

             3.1.3.6. Presumed Qualified Class Members.

               3.1.3.6.1. Eligibility for Part A Payments will be presumed by the Settlement Fund

  where the Primary Claimant establishes to the Settlement Fund’s satisfaction that he or his

  decedent is the person on the Settlement Fund’s Presumed Class Members List. Where the

  presumption applies to a Claimant, no additional proof of Class Membership is required. The

  documentation requirement of §3.1.3.2 however applies and must be satisfied.

               3.1.3.6.2. A confidential "Presumed Class Member List" available only to the

  Court, the Settlement Administrator, the Settlement Trustee, Defendants, and Class Counsel, of

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  those individuals who filed lawsuits against Engelhard/BASF alleging bodily injuries resulting

  from exposure to Emtal Talc was compiled based upon discovery undertaken by Plaintiffs in the

  Williams Action. A person or Estate on that list satisfies all of the Plan’s Part A Eligibility

  Requirements as to known and identified Primary and Derivative Claimants. In addition to

  discovery the following sources were used to develop this list:

         (A) Bevan Law Firm’s client data produced by the Bevan Law Firm during discovery in
             the Class Action;

         (B) The Qualified Occupation Location Sites List;

         (C) The contents of Underlying Lawsuits’ complaints and/or other litigation documents
             identified to the Administrator for consideration by Class Counsel and Defendants;
             and.

         (D) The Class Action Complaint. All named plaintiffs in the Complaint shall be included
             on the Presumed Class Member List.

             3.1.3.7. Supporting Documentary Proof Requirement where Claimant or
                      Claimant’s decedent is Not Listed on Presumed Class Member List.

               3.1.3.7.1. Where an Injured Person (or his/her estate) whom a claim is based upon is

  not listed on the Presumed Class Member List, the following documentary proof is required in

  support of the Claim Submission:

         (A) A legible copy of pleadings, other litigation document or court records from the
             Underlying Lawsuit which satisfactorily establishes that the Claimant (or his
             decedent) filed and Served an asbestos injury lawsuit against Engelhard/BASF arising
             out of Emtal Talc exposure within the Class Period and the suit was thereafter
             terminated by a voluntary or involuntary dismissal within the Class Period. A copy of
             the subject suit's pertinent docket entries or a copy of a timestamped order or pleading
             will suffice to establish the dismissal of the lawsuit; and

         (B) Documentary proof satisfactorily establishing that the Claimant (or his decedent) is
            the Injured Person in the underlying lawsuit satisfying §3.1.4 along with, if
            applicable, claimant’s standing proof such as a death certificate, appropriate estate
            papers and/or proof of marriage or kinship relating to a decedent; and

         (C) Documentary proof satisfactorily establishing that the Underlying Lawsuit was
             asserting a good faith, credible injury claim based on an injury believed to be caused
             by exposure Emtal Talc.
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               3.1.3.7.2. For avoidance of doubt, if a Claimant submits any or all of the items listed

  above in §3.1.3.7.1 , the Administrator and Settlement Trustee may still deny the Claim

  Submission if, in the exercise of their discretion and judgment, they determine that the Claimant

  is not eligible for payment from the Settlement Fund.

             3.1.3.8. Good Faith Credible Emtal Talc Claim Requirement.

               3.1.3.8.1. Where a Claimant is not on the Presumed Class Member List, in order for

  a claim to be eligible to receive compensation under the Plan, the Injured Person’s Underlying

  Lawsuit (or that brought by an Injured Person’s estate where applicable) must have asserted a

  good faith, credible asbestos injury claim based on an injury believed to be caused by exposure

  to Emtal Talc. In making this determination the following PDPs of §3.1.3.8 will apply to

  determining that the Injured Person’s Underlying Lawsuit (or that brought by an Injured Person’s

  estate where applicable) was asserting a good faith, credible asbestos injury claim based on an

  injury believed to be caused by exposure to Emtal Talc.

               3.1.3.8.2. The basis of the claimed talc exposure involved in the Underlying

  Litigation may be to Emtal Talc in either or both its raw form—such as its use as an ingredient

  for a product, as a processing agent, or as a detackifier—or in the form of dust generated in or by

  the use, application, alteration, cutting, sanding, scraping, removal or cleanup of a product

  manufactured with Emtal Talc.

               3.1.3.8.3. The “good faith, credible asbestos injury claim” element may be satisfied

  through any of the following:

            (A) Meaningful and credible proof that, after 1966, and prior to commencing
               the Underlying Lawsuit, the Injured Party had meaningful employment or
               occupational related presence at a facility or company appearing on the
               Administration’s Qualified Occupation Location Sites List or was

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                employed at that facility or company in a role identified on the Plan’s
                Qualified Occupation List. Based on information provided in the Claims
                Submission the Administrator will determine if an identified occupation or
                occupational location of the Injured Person appears on one or both of these
                lists;
             (B) Providing a competent and meaningful affidavit or sworn statement from
                 the Underlying Lawsuit’s attorney attesting that the subject suit was based
                 on a good faith, credible claim of the Injured Person’s exposure to Emtal
                 Talc;
             (C) Providing a competent and meaningful affidavit or sworn statement of a
                 co-worker which specifically names the Injured Person and provides the
                 basis for a good faith claim or a competent and meaningful affidavit or
                 sworn statement of a family member in the case of a deceased Injured
                 Person (providing the Administrator or Settlement Trustee finds such
                 evidence reasonably reliable);
             (D) Employment or occupational related presence in a facility or company
                where credible records show EMTAL talc was sold, shipped or delivered;
                or
             (E) Providing credible evidence generated before the conclusion of the
                 Underlying Lawsuit of meaningful exposure to Emtal Talc after 1966,
                 including but not limited to invoices, employment records, construction
                 records, or interrogatory responses.
               3.1.3.8.4. The Administrator or Settlement Trustee can require submission of other

  or additional evidence of a Claimant’s qualifying good faith credible Emtal Talc Claim when it

  deems such to be necessary, including for purposes of audits or claims reviews under § 8 of this

  Plan.

               3.1.3.8.5. Evidence submitted and/or accepted to establish proof of a good faith

  credible Emtal Talc claim is for the sole benefit of the Settlement Trustee and Administrator, and

  not third parties or defendants in the tort system.

             3.1.3.9. Qualified Occupations and Qualified Occupation Location Sites Lists.

               3.1.3.9.1. Class Counsel will compile and provide to the Administrator a list of

  occupations (“Qualified Occupations List”) which the Settlement Fund may, for purposes of

  determining Part A eligibility, and solely for this purpose, presume there was exposure to Emtal

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  Talc where there is meaningful and credible evidence provided to the Administrator, including

  but not limited to pleadings and discovery in the Underlying Lawsuits, that the Injured Person

  was employed in the occupation after 1966. This shall be a confidential list, available only to the

  Court, the Settlement Administrator, the Settlement Trustee, Defendants and Class Counsel. By

  way of illustration, the list may include such occupations where EMTAL marketing documents

  show that EMTAL was marketed to and used, such as, by way of illustration and not limitation:

  workers employed in the tire and rubber industry, auto body repair, or the manufacture or

  application/finishing of drywall joint or patching compound.

                3.1.3.9.2. Class Counsel will compile and provide to the Administrator a list of

  specific companies, facilities or job sites (“Qualified Occupation Location Sites List”) which

  the Settlement Fund may, for purposes of determining Part A eligibility, and solely for this

  purpose, presume there was exposure to Emtal Talc where there is meaningful and credible

  evidence provided to the Administrator, including pleadings and discovery in the Underlying

  Lawsuits, that the Injured Person was meaningfully employed or occupationally present at the

  site, facility or location.

                3.1.3.9.3. The Qualified Occupations and Qualified Occupation Location Sites Lists

  are deemed to be confidential internal administrative and Special Master adjudicative and Class

  Counsel work product materials which will be held by the Administrator and Settlement Trustee

  in strict confidence, will not be published, and be deemed subject to Court protective order

  prohibiting their or their contents disclosure by the Administrator or Settlement Trustee as

  privileged and non-discoverable documents unless disclosure is ordered by the Court.

                3.1.3.9.4. For avoidance of doubt, other than for purposes of satisfying the

  prerequisite requirement of Part A Eligibility, the Qualified Occupations List and Qualified

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  Occupation Location Sites List, shall not be offered or used by a Claimant as evidence or support

  of any of the EIF Eligibility Requirement set forth in §3.3.2., nor shall the lists be used as

  evidence in connection with any other lawsuit or claim against the Defendants.

         3.1.4. Identity Validation: A Claimant must establish to the Settlement Fund’s

  satisfaction its identity and relationship to an Underlying Lawsuit by meaningful and credible

  evidence that (a) the Claimant (and Claimant’s decedent if applicable) is the person or is the

  personal representative or heir of the person named in the Underlying Lawsuit the claim is based

  upon; or (b) is the person, personal representative or heir of a person listed on the Presumed

  Class Member List. The identity of a Claimant will be presumed by the Settlement Fund where

  the Claimant is on the Presumed Class Member List and establishes it is the person to whom a

  class action Notice was addressed, and that it was received at the address to which it was sent or

  forwarded to the Claimant by the U.S. Post Office. Examples of possible satisfactory evidence

  when and where this mailed notice presumption does not apply include: (a) a meaningful and

  credible declaration from the law firm or a lawyer who handled the Underlying Lawsuit

  vouching for the claimant’s identity; or (b) a meaningful and credible declaration by the

  Claimant attesting to the fact that Claimant (or his decedent) is the referenced person on the

  presumption list along with some accompanying form of documentary corroborating proof.

  During the Settlement Fund’s claims review process the Settlement Fund will be applying

  identity validation techniques for which Claimants are required to cooperate and comply with.

  An inability or failure to cooperate or comply with the Settlement Fund’s identity validation

  efforts will result in the denial and termination of the Claim Submission.

         3.1.5. Class Membership Qualification Searches. Where prior to the Claim Filing

  Deadline a member of the public has a credible good faith reason to believe that he may be a


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  Class Member but is reasonably unable to secure necessary information to establish he is a Class

  Member, on request to the Administrator certifying such fact along with stating the basis for the

  good faith belief he is a class member and providing appropriate identification information,

  including pertinent social security numbers, the Administrator will make a reasonable computer

  word search of the information it possesses to see if there is match. If so, the Administrator may

  allow the person limited time access and download capability to the Restricted Collection to

  search for documents supporting the person’s claim to class membership. A request for a Class

  Membership Qualification Search does not constitute initiation of a Claim Submission with the

  Settlement Fund and does not toll any time deadlines relating to the initiation a claim. For

  avoidance of doubt, the Claim Filing Deadline is not, and will not be, extended by a qualification

  search request, by the results of the request or by any inability of the Administrator to complete a

  search or searches prior to the deadline.

         3.1.6. Claimant Standing documentation. Where a Claimant is the personal

  representative of a Class Member, it must provide to the Administrator a copy of authority to act,

  such as a copy of a probate short certificate, estate administration letters or a power of attorney,

  in the Claim Submission.

         3.1.7. Part A Distributions.

             3.1.7.1. Primary Claimant Shares. Each Primary Claimant (or other claimant

  pursuant to Plan §3.1.3.5.3) timely submitting an approved Claim is entitled to receive one (1)

  Part A Base Compensation payment of up to $500 from the Part A Allocation, referred to as a

  “Primary Claimant Part A Share”.

             3.1.7.2. Derivative Claimant Shares.




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               3.1.7.2.1. Where a Primary Claimant (or other claimant pursuant to Plan §3.1.3.5.3)

  timely submits a claim determined to be eligible for Part A Base Compensation and there exists

  one or more Settlement Class Members who are a Derivative Claimant associated with the

  Underlying Lawsuit, then in addition to the Primary Claimant Part A Share awarded in §3.1.7.1,

  the Primary Claimant is entitled to claim one (1) additional Part A share of equal amount to the

  Primary Claimant Part A Share with respect to any and all such Derivative Claimants, for a total

  Part A Base Compensation award of up to $1,000. This PDP is referred to as the “One

  Derivative Share Rule.”

               3.1.7.2.2. The Settlement Fund will pay the Part A Compensation Derivative

  Claimant Share to the Primary Claimant (or if deceased, to his or her Personal Representative or

  the other claimant pursuant to §3.1.3.5.3). The Claimant receiving the payment shall be solely

  responsible for any allocation and distribution of the Derivative Claimant Share to all associated

  Derivative Claimants. The Settlement Fund shall have no further responsibility or liability

  whatsoever to any Derivative Claimants as to the payment or distribution of this share once

  payment is distributed to the Claimant receiving it.

               3.1.7.2.3. Examples: The following illustrate the operation of the One Derivative

  Share Rule. If an Underlying Lawsuit was a bodily injury claim in which the Primary Claimant’s

  spouse was also named as a plaintiff in the Underlying Lawsuit with a claim for consortium loss

  or similar derivative damages, the spouse of the Primary Claimant would qualify for a Derivative

  Claimant Part A compensation share. The share would be paid by the Settlement Fund to the

  Primary Claimant as part of his distribution. If the Underlying Lawsuit was a wrongful death and

  survival action and the deceased Injured Person was survived by a spouse and two children who

  at the time of the litigation were all entitled to claim derivative wrongful death damages, there


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  would be a single Part A compensation share paid on account of this family group. The single

  share would be paid by the Settlement Fund to the Primary Claimant as part the claim

  distribution for the benefit of the Derivative Claimants as their interests may appear.

             3.1.7.3. Proration: The amount of compensation paid to Qualified Class Members

  under Part A may be reduced on a prorated basis if there are more than 12,500 Part A

  compensation shares, including both Primary Claimant Part A Shares and Derivative Claimant

  Part A Shares, determined to be eligible for payment.

         3.1.8. Reallocation.

             3.1.8.1. Any funds remaining in the Part A sub-fund after payments are determined

  will be reallocated by the Settlement Trustee as follows: first to the Part C sub-fund to pay

  allowed EIF claims, if any, or used otherwise in the Settlement Trustee’s reasonable discretion to

  augment Part C awards, if needed and then to the Part B sub-fund. Such reallocation being

  referred to as a “spillover”.

   3.2. Part B – Supplemental Injury Severity Based Compensation Program.
         3.2.1. Description.

             3.2.1.1. The Plan’s Part B program provides additional compensation to eligible

  Claimants who establish in accordance with the Plan’s PDPs the Plan’s Part B eligibility

  requirements which are based on, and on account of, defined physical asbestos injuries sustained

  by the Injured Person on which a claim is based. Part B payments are made out of a Settlement

  Fund sub-fund with an initial allocation of $59.75 Million. Class Members who meet the

  requirements for a Plan B Supplemental Compensation award will receive a proportionate share

  of the entire Part B sub-fund based upon a system of points awarded for the asbestos disease

  sustained and diagnosed. The amount of the Part B points and compensation payments vary

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  based upon the type and severity level of asbestos disease injury sustained and medically

  diagnosed. The Part B sub-fund’s monetary amount may change in the course of the Settlement

  Fund’s administration based on any spillovers from the Part A or Part C sub-funds, to pay Class

  Representative service awards or to pay administration costs and expenses that either are

  ineligible to be paid from the Settlement’s Cost Fund or, if eligible, cannot be fully paid from the

  Settlement Cost Fund.

           3.2.2. Eligibility.

              3.2.2.1. To be eligible for a Part B Supplemental Compensation share payment, a

  Claimant must (a) qualify for Part A Compensation; (b) timely make a claim for Part B

  compensation in his Claims Submission; and (c) establish by credible, competent proof that the

  Injured Person sustained an asbestos disease injury falling into one of four defined categories of

  asbestos disease levels described in Table 1 of §3.2.3. Proof of asbestos disease and level may be

  satisfied through a certification of prior asbestos disease adjudication by a Qualified Asbestos

  Trust.

           3.2.3. Part B Claim Levels, Qualifying Points and Qualifying Asbestos Trusts.

              3.2.3.1. Part B’s Claim Levels along with Qualifying Points are defined in the

  following Table 1 and accompanying notes.


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                                             Table 1                                                          Qualifying
                                       Part B Claim Levels                                                   Claim Points1


Level 1 Claim
Non-Malignant Asbestos disease.2                                                                                   1
(Bilateral Asbestos-Related Nonmalignant Disease Injuries other than Severe Asbestosis)


Level 2 Claim
                                                                                                                   9
Malignant Asbestos Disease Other Than Mesothelioma or Level 3 Claim Lung Cancer.3


Level 3 Claim
Either: (a) Primary lung cancer with evidence of underlying Bilateral Asbestos-Related                             20
Nonmalignant Disease; or (b) Severe Asbestosis.4

Level 4 Claim
                                                                                                                   86
Mesothelioma




  1
   The number of qualifying points for each claim Level was determined by Verus LLC based on an analysis of
  compensation payment levels paid for typical and generally accepted asbestos disease categories by eighteen
  asbestos compensation trusts.
  2
    “Non-Malignant Asbestos Disease” means what is commonly referred to as “Bilateral Asbestos-Related
  Nonmalignant Disease” and is defined as a disease evidenced by either: (a) a chest X-ray read by a qualified B
  reader of 1/0 or higher on the ILO scale, or (b) (i) a chest X-ray read by a qualified B reader or other Qualified
  Physician, (ii) a CT scan read by a Qualified Physician, or (iii) pathology, in each case showing either bilateral
  interstitial fibrosis, bilateral pleural plaques, bilateral pleural thickening, or bilateral pleural calcification. A
  “Qualified Physician” is (a) a physician who is board-certified in one or more relevant specialized fields of medicine
  such as pulmonology, radiology, internal medicine or occupational medicine; and (b) where claimant is not relying
  on a disease certification from a Qualified Asbestos Trust not on the Administrator’s Ineligible Diagnostician List
  published on the Settlement Website.
  3
      “Malignant Asbestos Diseases Other than Mesothelioma and Level 3 Claim Cancer” means the following:
        x   A diagnosis of a primary lung cancer without evidence of evidence of underlying Bilateral Asbestos-
            Related Nonmalignant Disease and supporting medical documentation; or
        x   A diagnosis of a primary colo-rectal, laryngeal, esophageal, pharyngeal, or stomach cancer, plus (a)
            evidence of underlying Bilateral Asbestos-Related Nonmalignant Disease; and (b) supporting medical
            documentation.
  4
   “Severe Asbestosis” means by a disease evidenced by (a) a diagnosis of asbestosis with ILO of 2/1 or greater, or
  asbestosis determined by pathological evidence of asbestos, plus (i) TLC less than 65%, or (ii) FVC less than 65%
  and FEV1/FVC ratio greater than 65%; and (b) supporting medical documentation.

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             3.2.3.2. “Qualified Asbestos Trusts” are the following asbestos claims trusts or

  claims resolution facilities which are categorized as either “Preferred Qualified Asbestos Trusts”

  and “Alternative Qualified Asbestos Trusts”.

             3.2.3.3. “Preferred Qualified Asbestos Trusts.” The following asbestos trusts are

  Preferred Qualified Asbestos Trusts:

            (A) AC&S Asbestos Settlement Trust.
            (B) ASARCO Asbestos Personal Injury Settlement Trust.
            (C) Combustion Engineering Trust.
            (D) G-I Holdings Inc. Asbestos Personal Injury Settlement Trust.
            (E) KACC Asbestos PI Trust.
            (F) TH Agriculture and Nutrition, L.L.C. Asbestos Personal Injury Trust.

              3.2.3.3.1. Alternative Qualified Asbestos Trusts. The following asbestos trusts are

  alternative Qualified Asbestos Trusts:

            (G) The Manville Personal Injury Settlement Trust dated as of November 28,
               1988.
            (H) The Travelers Common Law Direct Action Settlement Fund.

         3.2.4. Part B PDPs.

             3.2.4.1. Highest Provable Asbestos Disease Progression Rule. A Claimant may

  claim and be awarded compensation based upon the highest level of asbestos disease progression

  actually suffered by the Injured Person that can be established by either credible medical proof

  submitted to the Administrator or by a certification of disease award adjudication from a

  Qualified Asbestos Trust. Where such proof establishes a higher category of disease than

  claimed in the Claim Submission, the higher proven level will apply to the claim.

             3.2.4.2.   Part B required Documentation. All Claims for Part B Supplemental

  Compensation must supply a medical record or a medical report that documents the Injured

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  Person’s asbestos injury to the Settlement Administrator as part of the Claim Submission unless

  no supporting document exists or can be found after Claimant has conducted a reasonable search

  and inquiry. Where documentation is not available the Claimant must then certify under oath that

  no supporting medical record or report document is available. Claimants may use the

  certification form for this purpose available on the Settlement’s Website form page. For

  avoidance of doubt, this medical document or report submission requirement applies even where

  the Qualifying Asbestos Disease Level is being established through a certified adjudication from

  one of the Qualified Asbestos Trusts.

             3.2.4.3. Establishing Part B Asbestos Disease Level

               3.2.4.3.1. The Claimant has the burden of establishing the existence and level of a

  qualifying asbestos disease’s existence and severity level by meaningful and credible medical

  proof.

               3.2.4.3.2. A Claimant who otherwise meets the requirements of this Plan for payment

  of a Part B Claim shall be paid irrespective of the results in any litigation at any time between the

  Injured Person (or their estate where applicable) and any defendant in the judicial tort system.

             3.2.4.4. Establishing Qualifying Asbestos Disease and Claim Level through a
                      Certification of Prior Qualified Asbestos Trust Disease Adjudication.

               3.2.4.4.1. A Claimant may establish the existence and level of a qualifying asbestos

  disease through a certified prior Qualified Asbestos Trust adjudication that supports the Part B

  claim. The Settlement Fund will accept and apply the certification of highest disease level

  adjudication received from the Qualified Asbestos Trusts, even if higher than what the Claimant

  requested in his/her Claim Submission.




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                3.2.4.4.2. The Administrator will first attempt to obtain and use an adjudicated

  disease level certified by one of the Preferred Qualified Asbestos Trusts to support a claim unless

  a qualifying prior disease level adjudication is not available from one of the Preferred Qualified

  Asbestos Trusts, in which case the Administrator will then request and accept an adjudication

  certification from one of the Alternative Qualified Asbestos Trusts to support the claim.

                3.2.4.4.3. Where a Claimant elects to rely on a Qualified Asbestos Trust Adjudication

  it must in its Claims Submission: (a) identify for the Administrator, if requested, a specific

  Qualified Asbestos Trust to be contacted; (b) provide sufficient claim identification information

  to enable the Administrator to obtain certification of the disease adjudication; and (c) provide such

  written release authorization as necessary (including executing a multi-trust information release

  authorization form) to enable the Administrator to obtain certification of the disease adjudication

  from a Qualified Asbestos Trust.

                3.2.4.4.4. Where the Administrator is unable to obtain a certified adjudication from

  a designated trust, or the certified adjudication received fails to support the Part B Level claimed

  on the Claim Submission, the Administrator will notify the Claimant of such fact. The Claimant

  may then:

              (A)    accept a lower level of prior adjudicated disease certified to the
                     Administrator if there is one; or

              (B)    request an alternative trust certification, from one or more other
                     specified Qualified Asbestos Trust along with providing the
                     Administrator with any required information and release authorization
                     (including executing a multi-trust information release authorization
                     form) to enable it to request a certification, in which case the
                     Administrator will request certification from the alternative specific
                     trust;




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            (C)     amend the Claim Submission to state it will attempt to establish the
                    medical injury element by submitting medical evidence to the
                    Administrator and proceed accordingly; or

            (D)     withdraw the Part B claim, which will be deemed the default election if
                    one of the preceding alternatives is not timely taken and implemented.

               3.2.4.4.5. The Settlement Fund will not dispute or reject any adjudication of disease

  level certified and provided to it from a Qualified Asbestos Trust.

               3.2.4.4.6. Where the disease level certified from a Qualified Asbestos Trust is higher

  than what is claimed in the Claimant’s Claim Submission form, the Administrator will notify the

  Claimant and the Claim Submission will be automatically deemed amended by the Claimant to

  request the higher established disease Claim level and the claim processed on that basis.

             3.2.4.5. Qualified Asbestos Trust Polling Assistance. Prior to the Claims Filing

  Deadline, a Claimant who satisfies Part A Eligibility but lacks sufficient information and means

  to support the medical proof element of a Part B Claim may request the Administrator to poll the

  Qualified Asbestos Trusts on Claimant’s behalf to determine if any possesses information or

  documents relating to the Injured Person which can support a Part B claim. If a positive response

  is received, the Claimant may authorize the Administrator to obtain the information from the

  Trust in support of the Claim. The Claimant must provide appropriate authorizations and

  identification information, including social security numbers. For avoidance of doubt, the Claim

  Filing Deadline is not, and will not be, extended by a polling request, by the results of a polling

  request or by any inability of the Administrator to complete a polling request or requests prior to

  the deadline.




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              3.2.4.6. Establishing Qualifying Asbestos Disease and Claim Level by submitting
                       medical proof.

               3.2.4.6.1. Where a Claimant either chooses not to rely on a prior Qualified Asbestos

  Trust adjudication to support their Part B claim or is unable to, the existence and level of the

  Qualifying Asbestos Disease must be established through submission of meaningful and credible

  medical proof of the asbestos disease claimed. If a claimant wants to seek a higher level of disease

  than prior asbestos trust adjudications, it may establish the level through submission of meaningful

  and credible medical proof of the higher asbestos disease claimed.

               3.2.4.6.2. Medical proof supporting a Part B claim must be submitted along with the

  Claim Form in order for a Claim Submission to be complete and eligible for adjudication by the

  Settlement Fund. (See § 4.2 of this Plan.)

              3.2.4.7. The Settlement Fund will consider medical proof evidence submitted to it in

  support of a claim for evaluation from only Qualified Physicians and diagnosticians and will not

  accept and consider as medical proof submitted to it in support of a claim for evaluation by or from

  anyone appearing on the Administrator’s Ineligible Diagnostician List published on the Settlement

  Website. A Qualified Physician is a physician who is board-certified in one or more relevant

  specialized fields of medicine such as pulmonology, radiology, internal medicine or occupational

  medicine and is not on the Administrator’s Ineligible Diagnostician List published on the

  Settlement Website. Medical evidence (a) that is of a kind shown to have been received in evidence

  by a state or federal judge at trial, or (b) that is a diagnosis by a physician shown to have previously

  qualified as a medical expert with respect to the asbestos-related disease in question before a state

  or federal judge, is presumptively reliable, although the Settlement Fund may seek to rebut the

  presumption.



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             3.2.4.8. In reviewing and weighing medical proof submitted in support of a Part B

  claim the Settlement Fund will consider and take into account evidence that the dismissal of the

  Underlying cases and the passage of time may have hampered, impaired or diverted the Injured

  Person or the Underlying Lawsuit’s attorneys developing or preserving medical causation proof.

             3.2.4.9. Medical proof provided in support of a Part B Claim from a Qualified

  Physician or other competent diagnostician will be viewed in a light favorable to the Claimant

  when and where the Settlement Fund has reasonable confidence that it is credible and consistent

  with recognized medical standards.

             3.2.4.10. As to any Part B Level 2, Level 3 or Level 4 claim based upon submission of

  medical proof, the Settlement Fund claim may require the submission of X-rays, CT scans, detailed

  results of pulmonary function tests, laboratory tests, tissue samples, results of medical examination

  or reviews of other medical evidence and will require that medical evidence submitted comply

  with recognized medical standards regarding equipment, testing methods and procedures to assure

  that such evidence is reliable.

         3.2.5. Part B Distribution Formula.

             3.2.5.1. The Settlement Fund's Part B sub-fund will be distributed to those eligible Part

  B Claimants according to their severity level of asbestos disease. The amount of eligible Part B

  Claimants' share of the Part B sub-fund distribution will be calculated according to the formula

  X/Y x Z, where X represents the number of the individual eligible Claimant’s adjudicated

  Qualifying Claim Points awarded; Y represents the aggregate of all eligible Claimants' adjudicated

  Qualifying Claim Points, and Z represents the Part B sub-fund.

               3.2.5.1.1. Illustration: The following table of hypothetical claims distribution

  calculations illustrates the application of the formula. They hypothetical distributions assume: (a)

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  that 7,500, 8,000 or 8,500 Primary Claimants submit Part B claims and are found eligible; (b) that

  the disease rate distribution for the adjudicated Part B claimants is the same as the Johns Manville

  Asbestos Trust’s disease rate experience (i.e. – mesothelioma – 4.3%; Malignant Asbestos

  Diseases Other Than Mesothelioma or Claim Level 3 Lung Cancer and Severe Asbestosis - 2.1 %;

  Claim Level 3 Lung Cancer and Severe Asbestosis – 7.3 %, and non-malignant asbestos disease

  86.3%); and (c) that the amount of the Part B sub-fund available for distribution is $59,750,000.

  Applying the formula to these parameters yields the results stated in Table 2.



                                       Table 2
                    Hypothetical Part B Payment Share Estimates*
                                                           Qualifying                            Estimated Payments
                                                          Claim Points                       (Estimated number of claims)
                   Part B Claim Levels
                                                                                  7,500                8,000                 8,500
                                                         (Assumed disease        approved             approved              approved
                                                             rate %)             claimants            claimants             claimants


         Level 1 Claim
         Non-Malignant Asbestos disease
         other than Severe Asbestosis.                          1               $1,283               $1,203                 $1,132
         (Bilateral Asbestos-Related
                                                           (86.3 %)             (6,473)              (6,904)                (7,336)
         Nonmalignant Disease Injuries
         other than Severe Asbestosis)
         Level 2 Claim                                          9              $11,546              $10,824             $10,188
         Malignant Asbestos Disease Other
         Than Mesothelioma or Level 3
         Claim Lung Cancer.                                 (2.1 %)              (158)                (168)                 (179)
         Level 3 Claim
         Either: (a) Primary lung cancer with                  20              $25,658              $24,054             $22,639
         evidence of underlying Bilateral
         Asbestos-Related Nonmalignant                      (7.3 %)              (548)                (584)                 (621)
         Disease; or (b) Severe Asbestosis.


         Level 4 Claim                                         86             $110,327             $103,432             $97,348
         Mesothelioma
                                                            (4.3 %)              (323)                (344)                 (366)
         * Due to rounding, the numbers presented may not add up precisely to the totals indicated and payment estimates may not
         precisely reflect the absolute figures.




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              3.2.5.1.2. Caveats:

                 (A)    Table 2 is for illustration purposes only. The actual Part B payment amounts

  to Settlement Class Members will likely be different than any of the estimated hypothetical

  payments appearing in the table based upon the Settlement Fund’s actual claim experience.

                 (B)    The hypothetical payment share estimates shown on Table 2 do not reflect

  deductions for any liens or fees charged by personal attorneys hired by class members. Class

  members eligible for a settlement payment are responsible for paying from that settlement payment

  any liens or any fees charged by personal attorneys should they have hired one.



   3.3. Part C – Extraordinary Injury Fund (EIF) Compensation Program.

         3.3.1. Description.

             3.3.1.1. The Plan’s Part C compensation program provides a discretionary

  Extraordinary Injury Fund (“EIF”) from which the Settlement Trustee may award a Level 4

  (mesothelioma) Primary Claimant who proves extraordinary and exceptional circumstances, and

  who meets the EIF’s Eligibility Criteria set forth in § 3.3.2, an additional compensation payment

  of up to $175,000. For avoidance of doubt, an EIF payment is over and above any Part A and Part

  B Payments awarded a Claimant. EIF payments are made from the Settlement Fund’s Part C EIF

  sub-fund, which has an initial Settlement Fund allocation of $6.5 Million. The Part C EIF sub-

  fund’s size may change in the course of the Settlement Fund’s administration based on the

  Settlement Trustee’s application of a spillover from the Part A sub-fund to it. Any unused EIF

  allocation shall be used in accordance with to § 3.1.8 above.

             3.3.1.2. Limit on EIF individual awards. No EIF award shall exceed $175,000.




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         3.3.2. Eligibility.

             3.3.2.1. A Claimant who (a) qualifies under Part B for a Level 4 (mesothelioma) award

  (the “EIF Mesothelioma Requirement”) and (b) meets all of the following additional eligibility

  requirements (the “EIF Eligibility Criteria”) may apply for and submit evidentiary proof for

  consideration by the Settlement Fund for a discretionary Part C EIF award:

         (A) The Injured Person (or their estate where applicable) together with any Derivative
             Claimants associated with the Underlying Lawsuit received in the aggregate less than
             $250,000 from all other potentially responsible asbestos defendant settlements,
             including any asbestos trust or other outside of litigation payments; and

         (B) The Claimant has competent, meaningful and credible evidence establishing the
             Injured Person had significant exposure to Emtal Talc, either in raw form and/or in
             the form of dust emitted from a product containing Emtal Talc as an ingredient, that
             was a substantial factor in causing the asbestos injury. This may be established by an
             affidavit or sworn statement of the Claimant; by an affidavit or sworn statement of a
             co-worker or the affidavit or sworn statement of a family member in the case of a
             deceased Injured Person (providing the Settlement Fund finds such evidence
             reasonably reliable); by depositions, photographs, interrogatories, invoices, shipping
             records, employment, construction or similar records; or by other credible evidence;
             and

         (C) The Claimant has competent, meaningful and credible evidence through one or more
             Qualified Physicians establishing the Injured Person’s exposure to Emtal Talc was a
             substantial contributing factor to causing the mesothelioma; and

         (D) The Claimant has competent, meaningful and credible evidence the Injured Person’s
             lawyer in the Underlying Litigation was the recipient of discovery, correspondence,
             motion papers or affidavits served or sent to him or his law firm, by an attorney or
             agent of Engelhard/BASF that stated or represented in words or substance that Emtal
             talc ore or products did not contain asbestos and/or there was no evidence it contained
             asbestos (including any representation or statement there were no depositions of
             Engelhard/BASF personnel relating to asbestos in Emtal talc); and

         (E) The Claimant is able to credibly establish extraordinary loss or injury circumstances
             that meaningfully distinguish Claimant’s situation and circumstances from the
             general population of successful Part B claimants to the Settlement Fund warranting
             an equitable adjustment award.

             3.3.2.2. Relaxation of EIF Eligibility Criteria: The Settlement Trustee in her sole,

  absolute and unfettered discretion may equitably relax or dispense with an EIF Eligibility Criteria


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  requirement where she finds exceptional extraordinary circumstances present in the EIF claim that

  provide good cause for such relief.

         3.3.3. Reallocation.

             3.3.3.1. The Settlement Trustee is not required to make any EIF awards or awards

  sufficient to exhaust the EIF fund. Any unused funds in the Part C sub-fund shall be used in

  accordance with to § 3.1.8 above.


  4. Claim Administration Procedures and Policies.

   4.1. Claim Form and Eligibility Proof Requirements.

         4.1.1. In order to obtain a compensation award from the Settlement Fund a Class Member

  must do each of the following: (a) initiate a timely Claim Submission with the Settlement Fund

  prior to the Claims Filing Deadline by completing and submitting under penalty of perjury, either

  on-line or in paper form, a Claim Form provided by the Administrator bearing the Class Member’s

  handwritten signature either on the Claims Submission Form itself or on a separate form available

  from the Administrator (which manually signed document may be submitted by mail, fax or in the

  form of a pdf uploaded to the Claims Administration Website); (b) along with the Claim Form,

  timely and completely provide all supporting certifications, authorizations, information and

  documentation required by the Plan to adjudicate the compensation requests made in the Claim

  Form; and (c) meet the eligibility requirements of the Plan for the compensation program Part or

  Parts applied for.

         4.1.2. A Claimant must identify in their Claim Submission Form each Settlement Fund

  program Part under which compensation is sought other than a request for Part A Primary Claimant

  Shares. A Part A Primary Share request will be automatic upon making a Claim Submission. For

  clarity, if a claimant wants to apply for and receive a Part A Derivative Claimant Share, a Part B

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  Supplement Compensation Award and/or a Part C EIF Discretionary Compensation award, then

  the claim for such compensation must be specifically made in the Claim Submission form where

  indicated and supporting information and documentation relating to the application for such

  compensation provided in the Claim Submission.

         4.1.3. Where Part B Supplemental Compensation is requested, the Claimant must also

  state in the Claims Submission form the Part B Claim Level claimed to be applicable.

  Alternatively, Claimant can indicate it requires Qualified Asbestos Trust Polling Assistance to

  determine disease and disease level under §3.2.4.5.

         4.1.4. All Part A Claimants must satisfy the Part A documentation requirement of

  §3.1.3.2, and all Part B Claimants must satisfy the Part B documentation requirement of § 3.2.4.2.

         4.1.5. Claim Submissions by or on behalf of individual Class Members may be submitted

  to the Settlement Fund either electronically through the Settlement Fund’s secured claims

  administration portal located on the Settlement Fund’s official website or in paper form. Claims

  on behalf of multiple Claimants represented by a Registered Law Firm may be submitted to the

  Administrator thorough a Claims Submission spreadsheet option. For avoidance of doubt, every

  Claim Submission must include a Claim verification under penalty of perjury manually signed the

  Claimant on the form provided by the Administrator to be deemed Complete. The Claim

  Verification may be separately submitted to the Administrator.

         4.1.6. If a claim form or supporting evidence is submitted in paper form, it must be mailed

  to the Settlement Fund Administrator’s claims processing facility at Verus LLC (“Verus”), 3967

  Princeton Pike, Princeton, NJ 08540. For deadline purposes, a physically mailed item will be

  deemed received by the Settlement Fund on the date it is actually received by the Administrator

  and not on the date mailed.

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           4.1.7. Any Claim Submission Form or electronic equivalent submitted to initiate a Claim

  that is received by the Settlement Fund after the expiration of the Claims Filing Deadline will not

  be processed and a Notice of Claim Determination issued denying the claim as untimely.

           4.1.8. Information, documents and certifications supplied to cure Parts A, B or C

  deficiencies received by the Administrator after the Claims Filing Deadline has expired but prior

  to the Documents Submission Deadline will not affect the timeliness of the claim.5 For avoidance

  of doubt, submission of lien administration information and materials required by the Lien

  Administrator in connection with an individual Claimant’s distribution payment(s) is not subject

  to the Documents Submission Deadline. A separate Lien Administration Document Deadline

  applies to lien administration information and materials, which deadline occurs on the first

  business day 45 days after the Effective Date.

      4.2. Claim Initiation and Claim Support Submission Requirements and Procedures.

           4.2.1. Required Claim Information for a Claim to be Considered “Complete”.

               4.2.1.1. To be deemed complete for purposes of § 4.1.1, all of the items of information

  set forth in § 4.2.1.2 below are required to be supplied to the Settlement Fund on the Claimant’s

  Claims Submission Form (“Required Claim Information”) along with timely submission of all

  necessary supporting documents, certifications, and verification required by the Plan’s PDPs.




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    The Settlement’s Preliminary Approval Order provides a “Claims Filing Deadline” by which a Claim Form and
  all other required Claim Submission documents and items must be filed by a Claimant with the Administrator in
  order to timely initiate a claim. The proposed deadline date is 120 days from when the Notice is first published to
  the Class pursuant to the Notice Plan unless otherwise modified by the Court. The Preliminary Approval Order also
  provides a “Documents Submission Deadline” by which a Claimant must submit all documents necessary to cure
  any deficiency in its Claims Submission. This deadline is 155 days from when the Notice is first published to the
  Class pursuant to the Notice Plan unless otherwise modified by the Court.

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            4.2.1.2. Required Claim Information are all of the following items:

          (A) Name, current mailing address and Email of Claimant and the law firm (if
       any) representing claimant in connection with claim to the Settlement Fund;

          (B) Court and docket number of the Underlying Lawsuit on which the claim is
       based;

           (C) The date of birth, date of death (if applicable), residence addresses during
       the Class Period (if known), and social security number of the Injured Person in the
       Underlying Lawsuit on which the claim is based.

          (D) A certification on the form, under penalty of perjury, that the Claimant
       qualifies based upon one of the following:

             (1) Claimant is the Injured Person who was named in the Underlying
                 Lawsuit identified on the form; or

             (2) Claimant is the personal representative of the Injured Person named in
                 the Underlying Lawsuit identified on the form and that the Claimant’s
                 decedent was the Injured Person referred to or named in the
                 Underlying Lawsuit identified on the form; or

             (3) The Claimant (a) is applying for Part A Base Compensation based upon
                  being an eligible surviving spouse or the surviving child of a deceased
                  Injured Person eligible to make the claim for Part A Base
                  Compensation Benefits; (b) the claim is based upon the Injured Person
                  identified in the Underlying Lawsuit listed and that the Claimant’s
                  decedent was the Injured Person referred to or named in the
                  Underlying Lawsuit; (d) that no estate was ever created for the
                  deceased Injured Person and (c) the claim is limited to a request for
                  only Part A Base Compensation;

           (E) An election on the form where indicated on whether Part A Derivative
       Claimant Base Compensation is being requested and if so, the name(s) of the Class
       Member(s) who are Derivative Claimant(s) related to the Injured Person the claim
       is based upon;

           (F) An election on the form where indicated on whether Claimant is requesting
       Part B compensation. If Claimant requests Part B compensation it must further:

                (1) Indicate where provided on the form that Claimant will be submitting
                    medical proof supporting the Part B Claim;

                (2) Indicate where provided on the form if Claimant will be relying on a
                    certification of prior asbestos disease adjudication by one of the
                    Qualified Asbestos Trusts; or

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                  (3) Indicate where provided on the form that Claimant requires
                      Administrator assistance.

            (G) An election on the form where provided whether Claimant is requesting
        Part C EIF compensation. If a Claimant is requesting Part C EIF compensation, a
        statement of the basis for the EIF claim, certification that eligibility requirements
        are or will be met, and if requesting waiver of an EIF Eligibility Requirement,
        identification of the requirement and the reasons why the Settlement Trustee should
        waive the requirement.

           (H) Completion of a Written Release Authorization Form enabling the
        Administrator to obtain certification of the disease adjudication from one of the
        specified Preferred Qualified Asbestos Trusts or if necessary, one of the Alternative
        Qualified Asbestos Trusts.

          (I) , Certification that Claimant has not opted out and is not opting out of Class
        Membership.

            (J) Where applicable certification that after a diligent search was made for
        documents satisfying the required Part A documentation requirement of § 3.1.3.2.
        and the Part B documentation requirement of § 3.2.4.2 no documents could be
        located; and

            (K) Written certification electronically or manually signed by the Claimant
        under penalty of perjury that all information provided in and in support of the
        Claim Submissions is true, accurate, and complete to best of their knowledge and
        belief.

   4.3. Claim Submission Supporting Documentation Deadline.

         4.3.1. Claim Submission supporting documentation, certifications and authorizations

  should be submitted along with the Claim Submission Form and must be submitted to the

  Settlement Fund no later than the earlier of: (a) 20 days from the date the Claimant is given Notice

  of Deficiency or Notice of Administrator’s Claim Adjudication which identifies curable missing

  or deficient supporting documentation; or (b) the Documents Submission Deadline.

         4.3.2.   A Claim Submission will not be deemed Complete and eligible for processing,

  review and adjudication by the Settlement Fund Administrator until all Required Claim

  Information is provided, including all required or applicable supporting certifications,

  verifications, elections, required Part A documentation/certification, required Part B

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  documentation/certification, medical records (if applicable to supporting claim), employment

  records (if applicable to supporting a claim), and Qualified Asbestos Trust authorizations.

  Incomplete claims will not be processed.

         4.3.3. Lien Information. For avoidance of doubt, completion of the Lien Administration

  questionnaire or providing lien information to resolve lien obligations is not part of a claim’s

  Required Claim Information and non-completion of or missing lien information/documents will

  not render a Claim Submission incomplete for claim adjudication purposes. It will however, delay

  payment and distribution of a Claimant’s individual claim until required Lien Resolution

  Requirements are satisfied. A separate Lien Administration deadline will be set by the Settlement

  Trustee, which generally will be 45 days following the Effective Date of the Settlement.

   4.4. Claim Submission Reviews.

         4.4.1. Generally, Claim Submission reviews will occur in the order they are received, and

  the review will determine if the Required Claim Information and supporting documentation and

  certifications have been supplied. Where the Claim Submission is determined to be incomplete the

  Administrator will identify each deficiency in a Notice of Deficiency sent to Claimant or

  Claimant’s Registered Law Firm. A Claimant or Claimant’s Registered Law Firm will have 20

  days from the date of notice to cure deficiencies identified in the Notice of Deficiency. Failure to

  cure the deficiencies identified in the Notice of Deficiency shall result in no further processing of

  claim and an administrative denial of claim.

   4.5. Claim Substantive Review Processes and Procedures.

         4.5.1. The Administrator will perform all substantive claim reviews. During the

  substantive claim review the Administrator will determine eligibility of Claimant under each Plan

  Part for which compensation is requested in the Claimant’s Claim Submission form.

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         4.5.2. The Administrator will generally process complete Claims Submissions on a first

  in, first out (FIFO) basis as they are determined to be complete for review. Claim Submissions

  requesting Part C EIF compensation may be placed into a separate processing queue by the

  Settlement Fund for administrative convenience.

         4.5.3. The Settlement Fund implements both automated and manual quality control steps

  that are implemented prior to any claim being processed for review and payment. The quality

  control program assures that no duplicate claims are processed and that claims meet all applicable

  criteria before payment.

         4.5.4. Claim Submissions which do not request Part C EIF compensation (referred to as

  a “Standard Claim”) will be processed as follows:

             4.5.4.1. When a Standard Claim’s Claim Submission is determined to be eligible for

  compensation with respect to each of the program Parts requested in the Claims Submission form,

  including, if applicable, eligible for Part B compensation at the Part B Claim Level disease claimed

  in the form, the claim will then be deemed a “Qualified Standard Claim” and a Notice of

  Administrator’s Claim Adjudication sent to the Claimant or Claimant’s Registered Law Firm

  informing it of the Administrator’s claim determinations. The claim will thereafter be processed

  and paid in accordance with applicable Plan provisions to the qualified claims.

             4.5.4.2. When a Standard Claim’s Claim Submission is determined to be eligible for

  compensation for some of the Plan Parts requested but not eligible as to others requested in the

  Claim Submission form, including if applicable, determined to be eligible for Part B compensation

  but at a lower Part B Claim Level claim than requested in the form, the claim will be deemed a

  “Partially Qualified Standard Claim” and the Settlement Fund will then follow the applicable

  Claim Determination Notice, Cure and Contest Processes and Procedures in § 4.6.

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         4.5.5. When a Standard Claim’s Claim Submission is determined to be not eligible for

  compensation under any Plan Part requested in the Claim Submission form, the claim will be

  deemed a “Non-Qualified Standard Claim” and the Settlement Fund will then follow the

  applicable Claim Determination Notice, Cure and Contest Processes and Procedures in § 4.6. A

  Claim Submission that contains a request for Part C EIF compensation (referred to as an “EIF

  Claimant Claim”), will not be reviewed for EIF eligibility until it has been determined that the

  Claimant is eligible under Parts A and under Part B as a Claim Level 4 (mesothelioma) claim

  pursuant to 4.5.4 above. Once the EIF Claimants’ Claim Submission is determined to meet the

  eligibility requirements of Part A and a Part B, Claim Level 4 claim, the Administrator will then

  proceed to determine the EIF claims eligibility, and if determined eligible, the Administrator will

  make an EIF award amount recommendation to the Settlement Trustee based upon the

  circumstances presented in the Claim Submission, which recommendation will be conveyed to the

  Claimant or Claimant’s Registered Law Firm as provided in § 4.6.2. Where the EIF Claimant

  requests an EIF Eligibility Criteria waiver or relaxation, the Settlement Trustee will be notified

  and asked by the Administrator to rule upon the waiver/relaxation request and the Administrator

  will apply the Settlement Trustee’s ruling on the waiver or relaxation request in determining

  eligibility. Once the EIF and Claim Submission adjudication is complete the Settlement Fund will

  follow the Claim Determination Notice, Cure and Contest Processes and Procedures in § 4.6

  applicable to the circumstances.

   4.6. Claim Determination Notice, Cure and Contest Processes and Procedures.

         4.6.1. Where the Administrator determines a Standard Claim is either a Partially

  Qualified Standard Claim or Non-Qualified Standard Claim, or determines that an EIF

  Claimant claim should be processed as a Qualified Standard Claim or Non-Qualified Standard


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  Claim, or modifies an approved claim pursuant to any of the provisions of § 8 relating to claim

  audits and claim reviews, the Administrator will send Claimant or Claimant’s Registered Law firm

  a Notice of Administrator’s Claim Adjudication informing it or them of the determination and the

  reason(s) for such determination and of applicable cure or contest rights the Claimant has. Within

  20 days of the date of the notice, a Claimant or Claimant’s Registered Law Firm may either (a)

  attempt to cure any deficiencies in the Claim Submission identified in the notice or provide

  additional information, documentation or certifications to be reviewed by the Settlement Fund for

  a reconsideration; or (b) inform the Settlement Fund that the Claimant is requesting review and

  determination of any contested issue(s) before the Settlement Trustee and submit a Settlement

  Trustee Adjudication request which request shall specify the reasons for the appeal or challenge.

  To the extent that any Claimant or law firm fails to make one of the two available elections in

  clauses (a) or (b) in this paragraph within 20 days of the date of the Settlement Fund’s Notice of

  Administrator’s Claim Adjudication, the Claimant’s Claim Submission shall be deemed to be

  finally adjudicated as stated in the notice and the claim further processed for payment or terminated

  accordingly.

         4.6.2. Where the Administrator determines an EIF Claim Submission is eligible it will

  send Claimant or Claimant’s Registered Law Firm a Notice of Administrator’s Claim Adjudication

  informing it or them of the Settlement Fund’s determinations as to the Parts A, B and C claims and

  the reason(s) for such determination along with the Administrator’s recommended EIF award

  amount. Within 20 days of the date of the notice, a Claimant or Claimant’s Registered Law Firm

  may either (a) attempt to cure any deficiencies in the Claim Submission identified in the notice or

  provide additional information, documentation or certifications to be reviewed by the Settlement

  Fund for a reconsideration; or (b) inform the Settlement Fund that the Claimant is requesting


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  review and determination of any contested issue(s) before the Settlement Trustee and submit a

  Settlement Trustee Adjudication Request which specifies the reasons for the appeal or challenge.

  To the extent that any Claimant or law firm fails to make one of the two available elections in

  clauses (a) or (b) in this section within 20 days of the date of the Settlement Fund’s Notice of

  Administrator’s Claim Adjudication, the Claimant's Claim Submission shall be deemed to be

  provisionally adjudicated as stated in the notice and the claim further processed for payment

  accordingly.

         4.6.3. Where a Claimant elects under §§ 4.6.1(a) or 4.6.2(a) to provide additional reasons,

  information or documents in response the Notice of Administrator’s Claim Adjudication the

  Administrator will review the material and determine whether it changes the Administrator’s prior

  determination(s). The Administrator will inform the Claimant or the Claimant’s Registered Law

  Firm of the outcome of this review and its reasons for such determination(s). The Claimant shall,

  within 10 days of such notice, inform the Settlement Fund that the Claimant is requesting an

  adjudication of the issue or claim and submit a Settlement Trustee Adjudication Request,

  specifying the issue(s) and the reasons for the appeal to her for an adjudication. The adjudication

  by the Settlement Trustee in response to the request shall be final, binding and non-appealable. To

  the extent that no Settlement Trustee Adjudication Request is timely served on the Settlement

  Fund, the Claimant's Claim Submission shall then be deemed by the Settlement Fund to be fully

  and finally adjudicated as stated in the reconsideration notice (which may incorporate the prior

  notice by reference) and the Claim Submission further processed for payment or terminated

  accordingly.

         4.6.4. Settlement Trustee’s power and discretion to modify or reject award

  determinations. Prior to the submission of the Settlement Fund’s proposed distribution schedules


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  to the Court for approval under § 9.4.2 of this Plan, the Settlement Trustee upon notice to the

  Claimant or Claimant’s Registered Law Firm, and affording Claimant a reasonable opportunity to

  be heard, may for good cause modify, rescind or decline to ratify any Part A or Part B award

  determination that is mistaken or fraudulent or in her sole discretion modify, rescind or decline to

  ratify any EIF award determination.


  5. Rules, Processes and Procedures Relating to Attorney Representation of Claimants.

          5.1.1. Each Class Member has the right to representation by their own retained attorney

  to represent their claim to the Settlement Fund for compensation. The Claimant is solely

  responsible for the fees and expenses of their attorney. Any attorney licensed in a United States

  jurisdiction may represent a Class Member in connection with their claim submission to the

  Settlement Fund.

          5.1.2.   To be eligible and recognized as a Claimant’s attorney and representative, the

  attorney’s law firm must register with the Settlement Fund by submission of a registration form

  (in which it will consent in writing to the Court’s jurisdiction over it), an electronic filer

  agreement (EFA) if submitting electronically, a W-9 form and an Automated Clearing House

  (ACH) form if receiving funds electronically. Once these are submitted and accepted by the

  Settlement Fund, the firm and all of its attorneys associated with it will be deemed (and referred

  to as) a “Registered Law Firm.” The Settlement Fund will provide a spreadsheet form or other

  means for a Registered Law Firm to submit multiple claimants’ claims.

          5.1.3. Registered Law Firms must fully assist and comply with the Settlement Fund’s

  claim and financial audits procedures. A Registered Law Firm must provide the Settlement Fund

  with an email address and in so doing consents to service of notices from the Settlement Fund by

  email sent to such address.

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         5.1.4. Law Firm Electronic Access.

             5.1.4.1. A law firm may request the Administrator to register and allow it to access its

  online filing system by executing an EFA. Once a Registered Law Firm has been granted access

  to the electronic filing system, the Registered Law Firm may simultaneously file claims. The

  Settlement Fund strongly recommends that law firms use the online filing system.

             5.1.4.2. For all claims filed with the Settlement Trust, each Registered Law Firm is

  obligated to maintain copies of any document relied upon in connection with the claims.

         5.1.5. Recognition of Attorney Fee Agreements and resolution of any disputes over
                attorney’s fees and cost reimbursement.

             5.1.5.1. The Settlement Funds policy is to recognize individual attorney fee

  agreements that apply to a claim payment being awarded from the Settlement Fund and therefore

  allow a Claimant’s Registered Attorney to receive and distribute the claimants’ compensation

  payments in order to expedite distributions.

             5.1.5.2. In the event there is a dispute concerning attorney fees or cost reimbursement

  relating to a Settlement Fund payment in which the Settlement Fund is on notice, no distribution

  will be made by the Settlement Fund to the parties connected with the dispute until they agree to

  resolve the dispute and provide the Settlement Fund with written confirmation of the resolution

  of the dispute. The Settlement Trustee may also enter a Special Master’s Fed. Rule Civ. P. 53

  Recommendation providing for the deposit of any Settlement Funds in dispute into an escrow

  account or into Court in order to facilitate the Settlement Fund’s administration or winding up

  and closure, any costs or expenses of which shall be borne solely by the parties involved in the

  dispute.




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  6. Filing Fees and Settlement Trustee’s Costs and Sanction Assessment Authority.

         6.1. The Settlement Fund does not require a filing fee in order to submit a claim.

         6.2. The Settlement Trustee may assess charges for any administration costs incurred by

  the Settlement Fund, including the Settlement Trustee’s hourly fees, against any portion of a

  Claimant’s award where the Trustee finds a claim or appeal demand to be in whole or in part

  fraudulent or frivolous.

         6.3. The Settlement Trustee may assess (through a Special Masters’ Fed. Rule Civ. P. 53

  Recommendation) sanctions against a Claimant or Claimant’s attorney, including but not limited

  to any administration costs incurred by the Settlement Fund and/or the Settlement Trustee’s

  hourly fees, where the Trustee finds a claim or an appeal demand to be fraudulent or frivolous.


  7. Lien Resolution Requirements and Procedures.

         7.1. The Settlement Fund will not make any payment awards to a Claimant until all

  Liens related to the Claimant’s Settlement Fund award are resolved and/or provided for to the

  satisfaction of the Settlement Trustee where there exists a legal obligation on the Defendants, the

  Settlement Trustees, Class Counsel, or the Settlement Fund to withhold payment of a monetary

  award or settlement payment, or some portion thereof to a Settlement Class Member under

  applicable federal or state law. By way of illustration and not limitation, it will not pay any

  monetary award to a Claimant who is or was entitled to benefits under a Governmental Payer

  program, Other Governmental Payer program, or Medicare Part C or D Program prior to either

  (i) the Lien Administrator’s determination of the final amount needed to satisfy the

  reimbursement obligation that any Government Payer or Medicare Part C or Part D Program

  sponsor states is due and owing (as reflected in a final demand letter or other formal written

  communication), and satisfaction and discharge of that reimbursement obligation as evidenced

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  by the Lien Administrator’s receipt of a written satisfaction and discharge from the applicable

  Governmental Payer, Other Governmental Payer, or Medicare Part C and Part D program

  sponsor or other written proof of satisfaction reasonably acceptable to the Defendants (such as

  correspondence from each lienholder with the Settlement Class Member’s final lien amount and

  proof of payment); or (ii) the Lien Administrator’s determination of the “holdback” amount to be

  deducted from the monetary award under which such reimbursement obligation will be resolved.

      7.2. Court Appointed Lien Administrator

            7.2.1. The Court has appointed ____________6 as the Plan’s Lien Administrator to

  perform certain functions in connection with Liens that may be asserted by certain healthcare

  payers in order to protect the Plan and the Parties to the Settlement Agreement establishing the

  Plan.

      7.3. Duties of the Lien Administrator

            7.3.1. The Lien Administrator will perform certain functions in connection with Liens

  that may be asserted to assure these Liens, if any, are properly addressed prior to the Settlement

  Fund making a payment to a Claimant.

            7.3.2. The Lien Administrator’s general duties include acting on behalf of Claimants,

  the Settlement Fund, the Settlement Trustees, the Defendants, and/or their respective counsel for

  purposes of: (1) establishing processes to identify Liens that may be held or asserted by

  Governmental Payers and Other Governmental Payers (collectively “Government Payer Liens);

  (2) satisfying certain Government Payer Lien obligations, including any relevant reporting


  6
   The Court is being asked to appoint Edgar C. Gentle, III, Esq. and his law firm, Gentle, Turner,
  Sexton & Harbison, LLC, to serve as Lien Administrator.


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  obligations (whether Medicare Secondary Payer Act (“MSP”) or otherwise) under an alternative

  aggregate (global/mass management) lien resolution approach or assisting the Defendants with

  reporting obligations under a traditional (claim-by-claim) lien resolution approach by providing

  them with all necessary reporting information required to comply with reporting obligations; and

  (3) resolving Government Payer Liens related to medical items and/or services whether through

  a traditional (claim-by-claim) and/or alternative aggregate (global/mass management) process in

  each case associated with the Class Action Settlement and/or this Plan.

   7.4. Claimant Lien Identification Obligation.

         7.4.1. Each Claimant, on his or her own behalf, and on behalf of his or her estate,

  predecessors, successors, assigns, representatives, heirs, beneficiaries, executors, and

  administrators, in return for the benefits and consideration provided in the Settlement Agreement

  and this Plan of Distribution, will indemnify and forever hold harmless, and pay all final

  judgments, damages, costs, expenses, fines, penalties, interest, multipliers, or liabilities,

  including the costs of defense and attorneys’ fees of, the Released Parties against any and all

  claims by Other Parties arising from, relating to, or resulting from (A) compensation or benefits

  received by a Settlement Class Member pursuant to this Settlement Agreement or the Plan of

  Distribution; (B) any undisclosed Lien relating to, or resulting from, compensation or benefits

  received by a Claimant pursuant to the Settlement Agreement or this Plan of Distribution and/or

  (C) the failure of a Claimant timely and accurately to report or provide information that is

  necessary for compliance with MSP, or for the Lien Administrator to identify and/or satisfy all

  Governmental Payers or Medicare Part C or Part D Program sponsors who may hold or assert a

  reimbursement right. The amount of indemnification will not exceed the total compensation

  awarded to the Claimant under this Plan of Distribution for the Claimant’s claim. CLAIMANTS


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  ACKNOWLEDGE THAT THIS SECTION COMPLIES WITH ANY REQUIREMENT TO

  EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND

  THAT THIS SECTION IS CONSPICUOUS AND AFFORDS FAIR AND ADEQUATE

  NOTICE.

   7.5. Governmental Payer Procedures

         7.5.1. Identification of Governmental Payers

             7.5.1.1. The Lien Administrator will affirmatively verify whether each Claimant (or

  his decedent if applicable) who will be paid a benefit under Part B and/or Part C of the Plan is or

  was entitled to benefits pursuant to the Medicare Program and/or the Medicaid Program.

  Claimants will cooperate with the Lien Administrator by providing information necessary to

  make these determinations by the Lien Administration Document Deadline, which is on the first

  Business Day 45 days after the Effective Date.

         7.5.2. Satisfaction of Governmental Payer Obligations

             7.5.2.1. The Lien Administrator shall verify and resolve all liens, claims, and or

  reimbursement interests of all Governmental Payers identified pursuant to § 7.5.1.1 for medical

  items and/or services which are related to or arise from each Claimant’s compensable injury.

             7.5.2.2. Medicare Program Specific Rules: With respect to liens and/or

  reimbursement claims of the Medicare Program, each Claimant and such Claimant’s counsel

  agree to comply with the Lien Administrator’s protocols for resolution of the Medicare

  Program’s MSP claims, which specify that every Claimant is bound to the terms of those

  resolution agreements with the agency.

   7.6. Other Governmental Payer Procedures

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         7.6.1. Identification of Other Governmental Payers

             7.6.1.1. Claimants and Claimants’ counsel will be solely responsible for self-

  identifying to the Lien Administrator through the use of a Lien Administrator Questionnaire or

  otherwise all known Other Governmental Payers from which they are entitled to benefits that

  may have made any payments on behalf of such Claimant in relation to Claimant’s compensable

  injury. Claimants are required to complete and provide the Lien Administrator Questionnaire as

  part of their Claims Submission.

         7.6.2. Satisfaction of Other Governmental Payers

             7.6.2.1. For all Other Governmental Payers Identified pursuant to § 7.6.1.1, the Lien

  Administrator shall work with the applicable Claimant of Claimant’s Counsel to verify the

  resolution of all liens or reimbursement claims related to a Claimant’s compensable injury. Any

  Other Governmental Payers which are not identified as required pursuant to § 7.6.1.1

  (Undisclosed Healthcare Payers Liens) are the sole responsibility of Claimant and such

  Claimant’s counsel to resolve and the Claimant shall defend indemnity and hold harmless

  (including attorneys’ fees) the Plan, the Settlement Trustees, the Parties to the Settlement

  Agreement, the Administrator and Lien Administrator against any claims or liability relating to

  Undisclosed Healthcare Payers Liens.

         7.7. Cooperation

         7.7.1.   Claimants and Claimant’s counsel agree to cooperate with procedures and

  protocols established by the Lien Administrator, including, but not limited to, providing the

  requested information and authorizations to the Lien Administrator in the timeframe specified for

  doing so, as a prerequisite to receiving compensation and/or settlement benefits.


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   7.8. Distribution Holdbacks for Liens

         7.8.1. If requested by the Settlement Trustee, the Lien Administrator will provide

  instructions to the Administrator regarding the amounts of Claimant’s Settlement Fund Awards

  the Settlement Fund should hold back from distributions until such time as the Lien

  Administrator determines: (A) the amount to resolve any and all reimbursement interests of

  Governmental Payers, or (B) the “holdback” amount under which such Governmental Payers and

  Other Healthcare Payers claims shall be resolved (“Holdback Amount”) to allow for the partial

  release of Settlement Fund award payments to Claimants.

   7.9. Scope of Lien Administrator Engagement

         7.9.1. The Lien Administrator shall be responsible for identifying and resolving only the

  Government Payer Liens described in §7.3.2. Any other Liens not described in §7.3.2, including

  Private Third Party Payer/Provider liens, shall be the sole responsibility of the Claimant and/or

  Claimant’s counsel to resolve and provide sufficient proof to the Settlement Trustee thereof.

   7.10. Language Does Not Expand/Create Rights

         7.10.1. Nothing in this Plan or in the Settlement Agreement or Final Order in the

  Williams Action shall be construed as expanding the legal rights of any claim or lien holder for

  reimbursement of any lien, assignment, or claim or any portion of same thereof asserted against a

  Claimant and a Claimant’s counsel beyond those rights currently provided under applicable law.


  8. Settlement Fund Claim Audits and Anti-Fraud Plan; Settlement Agreement § 3.10.3
  Claim Reviews.

         8.1. The Settlement Fund shall adopt and maintain policies, procedures and protocols for

  auditing the integrity of the claims process. The Settlement Fund’s initial Anti-Fraud Plan is



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  annexed to this Plan and will be published on the Settlement Fund’s website. The Anti-Fraud

  Plan will be implemented fairly, fully and without deviation.

         8.2. The Settlement Trustee and/or the Administrator, after consultation with Class

  Counsel, may in their respective discretion request that the Court permit modification of, or

  additions to the Anti-Fraud Plan in order to protect the integrity of the Settlement Fund and the

  Claims Process. Class Counsel shall have a right to be heard by the Court regarding any

  modifications. Court approved modifications to the Anti-Fraud Plan will be published on the

  Settlement Fund’s website.

         8.3. The Settlement Trustee and/or the Administrator may suspend the processing of one

  or more individual or categories of Claims Submissions during audits or during its consideration

  of whether to implement or take action pursuant to the Settlement Fund’s audit rights. If either

  the Settlement Trustee or Administrator determines that a claim submission is fraudulent, the

  Settlement Trustee and/or Administrator, as the case may be, shall report the finding to the

  District Judge and/or Magistrate Judge presiding over the Williams Action. Further, in the event

  the Settlement Trustee and/or Administrator determines that fraudulent claims, information or

  evidence has been provided to the Settlement Fund, the Settlement Trustee may, in addition to

  other sanctions or remedies available under law, and after giving the subject Claimant and

  claimant’s attorney notice and opportunity to be heard, penalize the subject Claimant or the

  claimant attorney by any or all of the following actions: (A) disallow the Claim Submission or

  Claim Submissions submitted by subject Claimant or the claimant attorney; (B) impose the costs

  associated with the audit and any future audit or audits of such Claimant or claimant attorney’s

  Claim submissions; (C) refuse to accept additional claims, information or evidence from the

  subject Claimant or claimant attorney; (D) recommend or seek the prosecution of the Claimant or


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  claimant’s attorney for presenting a fraudulent declaration in violation of 18 U.S.C. §§ 1621,

  1746; and/or (E) seek sanctions from the Court.

         8.4. Defendants will have no role in nor any responsibility for the administration of the

  Plan’s Fraud Prevention Provisions. However, pursuant to § 3.10.3 of the Settlement Agreement

  Defendants may during the claims review process ask the Administrator to review a specific

  approved claim or claims other than EIF claims based upon assertions of fraud in the claim

  submission or mistake in the adjudication of the claim. Such requests to the Administrator by

  Defendants must be in writing, with a copy to Class Counsel, and provide a good faith basis

  stating with particularity the circumstances constituting fraud or mistake. The number of review

  requests is limited to no more than ten percent (10%) of the total number approved claims by the

  Settlement Administrator during the Plan’s entire administration, with any fraudulent claims

  found in audits conducted pursuant to a request or requests not counting towards the ten percent

  (10%) limit. A disagreement by Defendant or any insurer of a Defendant with an approved

  claim’s qualifying injury level diagnosis that is correctly based upon a source allowed by the

  Plan shall not be grounds for requesting that a specific claim be reviewed. All requests by

  Defendants for a review under this Section shall be submitted to the Settlement Administrator no

  later than 60 days after the Claims Determination Deadline. Valid, substantiated review requests

  will be processed according to its type as follows:

         8.4.1. Alleged Mistake Reviews: The Administrator shall review the claim of mistake

  in the subject adjudication including, if in its discretion such is necessary, requesting additional

  information about or auditing the claim to make a determination of claim eligibility. The

  Settlement Administrator will report its finding to the Settlement Trustee, Defendants, and Class

  Counsel. Where the Claimant or Claimant’s Registered Law Firm was requested to provide


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  information in connection with the review and/or the claim adjudication is modified as a result of

  the review, the Claimant or Claimant’s Registered Law firm will also be informed of the finding.

  The review determination of the Administrator under this section of the Plan is final and non-

  appealable as to Defendants. Any modification of adjudication of an approved claim will proceed

  in accordance with § 4.6.1 of this Plan.

         8.4.2. Alleged Fraud Reviews: The Administrator shall review claims of fraud in the

  claims submission, including, if in its discretion such is necessary, requesting additional

  information about, or auditing the claim, and report its finding to the Settlement Trustee. The

  Settlement Trustee upon review of the claim material and report of the Administrator, will make

  a determination of eligibility of the claim. The Settlement Trustee will report her finding to the

  Defendants and Class Counsel. Where the Claimant or Claimant’s Registered Law Firm was

  requested to provide information in connection with the review and/or the claim adjudication is

  modified as a result of the review, the Claimant or Claimant’s Registered Law firm will also be

  informed of the finding. This determination by the Settlement Trustee is final and non-appealable

  as to the Defendants.

             8.4.2.1. The results of all audits under this section shall be reported to all Parties.


  9. Settlement Fund Allocations, Adjudication Schedules, Payments and Distributions.

   9.1. Allocation of the Settlement Funds.

         9.1.1. The Settlement Fund will be held and used for the benefit of Settlement Class

  Members and distributed to them under the provisions of this Plan. The Settlement Fund will

  make the allocations in the order they are listed below. The Settlement Trustee will make

  payments to eligible Claimants from the Settlement Fund and Sub-Funds in accordance with the

  provisions of this Plan.


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         9.1.2. In executing the provisions of the Plan, references to “Settlement Fund” shall

  refer to the Settlement Fund net of the reserves for expense payments, the reserves for payment

  of Class Representative service awards, and the respective payments thereof, and shall include

  any net income earned on investment of the Settlement Fund.

   9.2. Payment of Unfunded Administration Costs and Expenses and Class Representative
   Service Awards.

         9.2.1. Prior to making any compensation payments to Settlement Class Members as

  provided in this Plan, the Settlement Trustee shall create a reserve allocation from the Settlement

  Fund sufficient to pay Class Representative service awards as approved by the Court and all

  known or forecasted unfunded liabilities and expenses of the Settlement Fund and its

  administration which were not paid or reserved for from the Settlement Cost Fund (“Unfunded

  expense/liability”).

         9.2.2. The Settlement Trustee shall pay all unfunded liabilities and expenses of the

  Settlement Fund and Administration out of the Settlement Fund.

         9.2.3. Prior to the submission of the Settlement Fund’s proposed distribution schedules

  to the Court for approval under § 9.4.2 of this Plan, the Settlement Trustee will make provision

  for payment of the Class Representative service awards granted by the Court in accordance with

  § 9.2.1. above.

   9.3. Compensation Parts Sub-Funds and Sub-Fund Allocations.

         9.3.1. Part A Base Compensation Payments Allocation: The sum of $6.25 million is

  allocated from the Settlement Fund for payment of Part A Payments Base Compensation

  Payments. This allocation shall be the “Part A Sub-Fund”.




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         9.3.2. Part B Supplemental Compensation Payments Allocation: The sum of $59.75

  million is allocated from the Settlement Fund for payment of Part B Payments Supplemental

  Compensation Payments. This allocation shall be the “Part B Sub-Fund initial allocation”. In

  determining the amount of the Part B Sub-Fund available for Part B awards, the Settlement Fund

  will deduct from the Part B Sub-Fund initial allocation the aggregate amount of payments or

  reserves for Class Representative service awards as approved by the Court and unfunded

  administration expenses required in § 9.2.1 above.

         9.3.3. Part C Supplemental Compensation Payments Allocation: The sum of $6.5

  million is allocated from the Settlement Fund for the Plan’s Extraordinary Injury Fund (“EIF”).

  This allocation shall be the “Part C EIF Sub-Fund initial allocation”. In determining the

  amount of the Part C Sub-fund available for Part C awards, the Settlement Fund will add any

  spillover reallocations of the Part A Sub-fund under § 3.1.8 to the Part C Sub-fund.

   9.4. Schedules of Approved and Disapproved Claimants.

         9.4.1. Master Claims Adjudication Report.

             9.4.1.1. Following the Effective Date and completion of claims processing and prior

  to the submission of any application to the Court under the Plan for approval of proposed claim

  distributions, the Settlement Administrator will prepare and submit to the Settlement Trustee a

  confidential report of payments to be made from the Settlement Fund and claims for payment

  from the Settlement Fund that were denied (the “Master Claims Adjudication Report”). The

  report will include, for each claim to be paid or denied upon Court Approval of the schedules of

  distributions: (a) the date the Claim Submission was received; (b) the name and address of the

  Claimant; (c) the name and address of counsel for the Claimant on the Claim, if any; (d) the

  name and date of birth of the Injured Person associated with the Claim Submission; (e) the

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  disease or diagnosis of the Injured Person on which the Claim Submission is based; (f) the name

  and address of all physicians or medical professionals whose reports or documentation were

  included in the Claim Submission; (g) the dates of the Injured Person’s alleged exposure to

  Emtal Talc; and (h) the amount of the payment to be made to the Claimant or, if payment was

  denied, the reason for the denial.

             9.4.1.2. The Master Claims Adjudication Report is an internal administrative report

  for the Settlement Trustee’s administrative use, shall be deemed and maintained a Confidential

  document under the Court’s Discovery Confidentiality Order, and shall not be publicly available

  or disclosed. The Settlement Trustee, however, will provide a copy of the report to Class Counsel

  and Defendants pursuant to Settlement Agreement § 3.10.4, which copies or contents Defendants

  may use or disclose only as provided in Settlement Agreement § 3.10.5.

         9.4.2. Distribution Schedules.

             9.4.2.1. Following the Effective Date and completion of claims processing and

  adjudication of all claims, the Administrator shall compile and provide to Settlement Trustee,

  with a copy to Class Counsel:

                 (A)   A schedule of approved Part A Claimants including the number of
                       Part A shares awarded each;

                 (B)   A schedule of disallowed Part A Claimants;

                 (C)   A statistical summary of the number of Part A claims approved and
                       disallowed and the amount of a Part A shares;

                 (D)   A schedule of approved Part B Claimants and claims including the
                       Part B Claim Level awarded their claim;

                 (E)   A schedule of disallowed Part B claims;

                 (F)   A statistical summary of the number of Part B claims approved and
                       disallowed and the dollar amount applicable to each Part B Level;

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                 (G) A schedule of approved Part C EIF Claimants including the amount
                     of EIF compensation awarded each;

                 (H) A schedule of disallowed Part C claims; and

                 (I)   A statistical summary of the number of Part C EIF claims approved
                       and disallowed and the range and average of the EIF payments.

   9.5. Court Distribution Authorization and Payment of Approved Claims.
         9.5.1. Court Distribution Authorization Process

             9.5.1.1. Following the Settlement Trustee’s review and approval of the

  Administrator’s claim schedules and statistical summaries she will publicly file copies of the

  statistical summaries identified in § 9.4.2.1 with the Court along with entering on the Williams

  Action’s record one or more Settlement Trustee’s Recommendations under Fed. R. Civ Pro. 53

  relating to Court approval of each Plan Parts’ respective distribution and disallowed claims

  schedules (“Distribution Recommendations”). The Distribution Recommendation(s) shall be

  filed under seal to the extent necessary to protect Class Members’ and Claimants’ personally

  identifiable information from disclosure. The Settlement Trustee in her discretion may make

  separate Distribution Recommendations and/or disbursements as to each Part in order to expedite

  payments as to Parts that are administratively ready to make distribution.

         9.5.2. Payment of Approved Claims.

             9.5.2.1. Payment of Approved Part A Claims: Upon the Court’s approval and

  adoption of the Settlement Trustee’s Part A Distribution Recommendation, the Settlement Fund

  shall pay each approved Part A Claimant his or her Base Compensation Award(s) in accordance

  with the approved distribution schedule as soon as practicable. The payment may be aggregated

  and paid along with a Claimants’ other Plan Part claim awards. No payments will be made prior




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  to the Settlement’s Effective Date. Individual claims will not be paid until cleared for payment

  by the Lien Administrator.

              9.5.2.2. Payment of Approved Part B Claims: Upon the Court’s approval and

  adoption of the Settlement Trustee’s Part B Distribution Recommendation, the Settlement Fund

  shall pay each approved Part B Claimant his or her Part B Part Supplemental Compensation

  share award in accordance with the approved distribution schedule as soon as practicable. In the

  Settlement Trustee’s discretion, the Part B payments may be in multiple or partial disbursements

  and/or aggregated and paid along with a Claimants’ other Plan Part claim awards. No payments

  will be made prior to the Settlement’s Effective Date. Individual claims will not be paid until

  cleared for payment by the Lien Administrator.

              9.5.2.3. Payment of Approved Part C Claims. Upon the Court’s acceptance and

  adoption of the Settlement Trustee’s Part C EIF awards Recommendation, the Settlement Fund

  shall pay each approved Part C Claimant his or her EIF award as soon as practicable. In the

  Settlement Trustee’s discretion, the Part C payments may be in multiple or partial disbursements

  and/or aggregated and paid along with a Claimants’ other Plan Part claim awards. No payments

  will be made prior to the Settlement’s Effective Date. Individual claims will not be paid until

  cleared for payment by the Lien Administrator.

              9.5.2.4. Where a Claimant is represented by a Registered Law Firm, the claims

  payment will remitted to Claimant’s Registered Law Firm through either electronic funds

  transfer into the law firm’s trust or escrow account or a check drawn to both Claimant and

  Claimant’s Registered Law Firm as the Administrator is instructed by Claimant’s Registered

  Law Firm.



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   9.6. Residual Settlement Funds.

          9.6.1. Should there be residual money left in the Settlement Fund following distributions

  or attempted distribution according to the Court approved Claimant lists, including any

  investment income or uncashed distribution remittances, which in the Trustee’s sole, unfettered

  and complete discretion believes would be uneconomical or impracticable to further distribute to

  Class Members under Part B, the funds shall be donated to an educational, research or medical

  institution or organization dedicated to the advancement of treating, reducing or eradicating

  asbestos or talc disease selected jointly by the Settlement Trustee and Class Counsel.


  10. Governance and operation of the Settlement Fund.

          10.1. The Settlement Fund together with the income earned thereon shall be held in trust

  by the Settlement Trustee for the use and benefit of the Settlement Class Members as provided in

  this Plan.

          10.2. The Settlement Trustee is authorized and directed to distribute the Settlement Fund’s

  assets in accordance with the provisions of the Settlement Agreement, this Plan and any CAP entered

  by the Court. In addition to the powers expressly stated in this Plan, the Settlement Agreement, the

  Preliminary Approval Order and The Final Approval Order, the Settlement Trustee shall have all

  powers, authorities and rights reasonably necessary or appropriate to carry out the provisions of this

  Plan.

          10.3. The Settlement Trustee, Administrator and Lien Administrator shall administer the

  provisions of the Plan, as well as perform their respective duties, in favor of Settlement Class

  Members with the goal of achieving the fair, timely, equitable and efficient determination of

  claims submitted to the Settlement Fund. In adjudicating claims, all reasonable inferences of




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  evidence and/or any reasonable doubt will be resolved in favor of allowing a claim or increasing

  an injury category.

         10.4. The Settlement Trustee may delegate to the Administrator and the Lien

  Administrator such powers and authorities permitted to the Settlement Trustee which the

  Settlement Trustee, in the Settlement Trustee’s discretion, deems advisable or necessary in order

  to carry out the terms and purposes of the Plan.

         10.5. Subject to the limitations set forth in this Plan, the Administrator is authorized,

  empowered and directed to perform all administrative and ministerial activities and functions of

  the Settlement Fund necessary to carry out the Plan, including the authority to make in the first

  instance all adjudications on a claimant’s eligibility for and/or the amount of compensation to be

  awarded for an injury where determinations of eligibility and/or a claim level or monetary

  amount is required to determine a claim (referred to as “Administrator Adjudications”).

         10.6. Unless and until the Trustee directs otherwise, or the Plan assigns the function to

  another entity, all ministerial and administrative functions, including accounting, information

  technology and implementation of internal controls necessary to carry out the Plan, are delegated

  to the Administrator and shall be its responsibility to perform, implement or maintain.

         10.7. The Settlement Trustee, the Administrator, or Class Counsel may not offer or

  provide Claimants, Claimants’ attorneys or Class Members with any advice or guidance on tax,

  probate or benefit matters, including eligibility for future Medicare, Medicaid or state welfare

  programs, or workers compensation other than to advise Claimants that they should discuss and

  consider tax, probate and benefits matters in connection with the Claim and seek appropriate

  expert advice.



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         10.8.   The Settlement Trustee or Administrator may not extend the Claim Filing

  Deadline, the Documents Submission Deadline, Opt-out Deadline or any other deadlines set by

  the Court relating to the Settlement or POD, time being of the essence for these deadlines. The

  Settlement Trustee may for good cause modify the deadline for Lien Administration matters by

  Recommendation entered of Record and published on the Settlement Website.

         10.9.   All Claim submission, documents, authorizations, communications, notices or

  evidence submitted to the Administrator are submitted in confidence and pursuant to settlement

  negotiations and are deemed confidential and privileged. They shall not be released to any party

  or entity without approval of the Court, except as provided in the Settlement Agreement. Nothing

  herein shall be construed to entitle any party or entity to discovery of any Claim Submission or

  group of claim submissions; nor shall any provision herein be cited in support of any request for

  discovery in any proceeding. Absent consent or authorization of a Claimant or its Registered

  Attorney or Law Firm, or direction from the Court, the Settlement Trustee and the Administrator

  will reasonably contest and resist any effort to subpoena records, documents or information in

  the Settlement Fund’s possession, custody or control.

         10.10. Class Counsel has the exclusive right to nominate to the Court for approval the

  Settlement Trustee, the Administrator, the Lien Administrator and any successor of these should

  one be necessary.

         10.11. Class Counsel may offer or provide advice to the Settlement Trustee and

  Administrator on general administration matters and processes and may take positions they deem

  proper before the Court on any administration matters where Court action is requested or

  involved.



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           10.12. Where necessary to address Plan distribution issues that arise and are not provided

  for in the Plan’s terms, the Settlement Trustee, with the advice and consent of Class Counsel,

  may enter a recommendation to the Court for a Court Approved Procedure (CAP) addressing the

  issue.

           10.13. Consent and Consultation Procedures: Where advice, consultation or consent of

  Class Counsel is required under the Plan or Settlement Agreement, the Settlement Trustee shall

  provide notice to Class Counsel of the specific action, policy or amendment that is proposed. The

  Trustee shall not take any action on the proposal unless and until the Settlement Trustee and

  Class Counsel have engaged in the advice, consultation or consent process. Any disagreements

  shall be brought to the Court’s attention by either requesting a CAP, and the Court shall

  summarily determine the issue or refer the issue to a Magistrate Judge for determination.

           10.14. All Settlement Class Members, Claimants Law Firms and their attorneys or any

  person making a claim against any part of the Settlement Fund or Cost Fund, shall be deemed to

  have submitted to the exclusive jurisdiction of the Court for any suit, action, proceeding, or

  dispute arising out of, or relating to this Settlement Agreement or the Plan of Distribution.


  11. Settlement Trustee’s Adjudicative Powers.

           11.1. Claim and claim dispute and challenge adjudications: The Settlement Trustee

  shall have the full and complete, and non-reviewable authority and power to determine any and

  all issues, disputes, contests, disagreements or challenges of Claimants relating to the

  Administrator determination, adjudication or any action relating to one or more claims, including

  but not limited to the determining any dispute or disagreement on the eligibility of Claimant to

  participate in the Plan, a Claimant’s compensation entitlement (including an Administrator’s EIF

  claim recommendation) or the Administrator’s valuation or categorization of claim. The Parties

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  to the dispute proceeding shall be only the aggrieved Claimant and the Administrator. The

  Settlement Trustee determinations shall be final, conclusive and not appealable.

         11.2. Individual Claimant’s Attorneys’ Representation, Fees and Cost Issues: The

   Settlement Trustee shall also have the power and authority as a Special Master to hear,

   determine and resolve any and all controversies or disputes concerning individual claimants’

   attorney’s representation of claimants or claims that are connected to or arising out of claim

   payments from the Settlement Fund, including but not limited to the power to determine any

   dispute, disagreement or controversy as to entitlement to an attorneys fee, which attorney

   represents an individual claim or claimant where multiple attorneys claim to represent an

   particular claimant or claim; the amount of fee or the allocation of the among competing

   counsel representing a Claimant. The Parties to the proceeding shall be only the subject

   Claimant if aggrieved, and the attorney or attorneys involved in the controversy or dispute. The

   Special Master and the Court will have jurisdiction over such parties and the claim. The

   Settlement Trustee will enter a Recommendation award on matters submitted to it which unless

   the parties appeal to the District Court in accordance with the Rules of Court shall be final and

   conclusive.

         11.3. The Settlement Trustee shall determine, set and inform the parties before it on the

  process and record for any dispute or contest proceedings. Hearings, if any, may be conducted in

  person, telephonically or through videoconferencing. The Trustee shall decide each dispute with

  a written award served upon the parties to the proceeding and, if not a party, the Administrator.

         11.4. The Settlement Trustee in addition to its authority under § 6 of this Plan, may in its

  discretion establish and require payment of a reasonable filing fee should the number or nature of



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  disputes, challenges or controversies brought to it warrant imposition of such fees to protect the

  Settlement Fund.

         11.5. Notwithstanding anything to the contrary in this Plan, the Settlement Trustee shall

  not have the authority nor any responsibility to hear, determine or adjudicate in any way the

  allocation among family members, heirs, personal representatives, or any other persons relating

  to Derivative Claim Shares paid in accordance with the Plan. That obligation and responsibility

  is solely the Primary Claimant’s and Claimant’s attorneys.


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                               Appendix A
                                      to

            Williams Emtal Talc Settlement Fund Trust
                      Plan of Distribution


           ANTI-FRAUD CLAIMS AUDIT PROGRAM




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                              Settlement Fund Claims Audit Program

  Pursuant to Section 8.1 of the Williams Emtal Talc Settlement Fund Trust Plan of Distribution (the
  “Plan”), the Settlement Trustee of the Williams Emtal Class Action Settlement Fund Trust (the
  “Settlement Fund”) authorizes and adopts the following “Settlement Fund Claim Audit Program”
  setting forth the procedures and protocols for auditing the integrity of the claims and/or claims
  procedures application process ”) in order to ensure that claims to the Settlement Fund are
  legitimate and in compliance with all terms and conditions of the Plan, Plan PDPs and the
  Electronic Filer Agreement (“EFA”).

  Purpose, General Description and timing of the Audit Program

  The purpose of the Audit Program is to ensure (1) that the Settlement Fund accepts and pays only
  legitimate claims presented by or on behalf of legitimate claimants that are eligible to share in the
  Settlement Fund under the Plan; and (2) that each claimant or law firm representing a claimant
  maintains during and through the claims administration process any documentation they possess
  that supports the claim submitted electronically or via hard copy claim form. The audit of claims
  will be performed prior to distribution to claimants.

  Audit Sample Selection
  The Settlement Administrator, Verus LLC (“Verus”), will randomly select from the population of
  reviewed and qualified claims filed with the Settlement Fund a sample of claims for audit. The
  sample size will be based achieving a confidence level of 95% and a maximum margin of error
  (ME) of 5%.

  Each Claimant and Claimant’s Law Fi rm, if any, of eac h claim selected for
  i ncl usion i n the audit sample will be informed that their claim has been selected for audit under
  this PDP as part of the Settlement’s Fund’s claim integrity program. Law Firms will be afforded
  a twenty (20) day opportunity from the date of notice to satisfactorily provide any requested
  claim documentation for each claimant selected. If a c l a i m a n t o r Law Firm fails to comply
  with the audit request, the S et t l em en t Trustee may at her discretion direct Verus to reject
  the claim, or if a Law Firm is involved and represents more than one claimant
  before the Settlement Fund, suspend payment of all claims filed by such non-responsive
  Law Firm, or take such other action as the Settlement Trustee deems appropriate, including, but
  not limited to, recommending imposition of any sanctions available under Rule 11 of the Federal
  Rules of Civil Procedure. Verus will complete the audit of a selected claim within thirty (30)
  days following submission by the c l a i m a n t o r Law Firm of all requested claim information
  to Verus.

  Documentation Requirements
  For each claim sampled, the claimant or Law Firm as the case may be will be required to provide
  any or all non-privileged documents of the types listed below, as may be specified by the
  Settlement Administrator, that the claimant or law firm possesses and relied upon in submitting
  the subject claim to the Settlement Fund:


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     1. Complaint or Amended Complaint showing Underlying Lawsuit filed and served against
        Engelhard/BASF (b) which lawsuit credibly asserted in good faith an asbestos injury
        caused by alleged exposure to Emtal Talc and (c) which lawsuit was dismissed as to
        Engelhard/BASF voluntarily or involuntarily
     2. Answers to interrogatories
     3. Transcripts of depositions of the claimant and/or co-workers
     4. Verified work histories
     5. Social Security records
     6. All exposure affidavits executed by the claimant, co-workers, or family members related
        to the claim.
     7. All B-reading interpretations and ILO forms (except for mesothelioma claims).
     8. All chest x-ray/chest CT scan reports (except for mesothelioma claims).
     9. All pulmonary function tests (including tracings and flow volume loops) for Severe
        Asbestosis and Asbestosis/Pleural Disease with reduced pulmonary function claims only.
     10. All pathology or autopsy reports documenting asbestosis, asbestos-related pleural disease,
         malignant mesothelioma or a primary carcinoma of the lung, colon, esophagus, larynx,
         pharynx or stomach.
     11. Admission, history and physical and discharge summaries of any hospitalizations for
         asbestos-related disease and/or any malignant disease which is recognized as compensable
         under the Plan.
     12. All physical examination or pulmonary consultation reports.
     13. All non-privileged interpretive reports provided by experts retained by counsel or the
         claimant to review tests, x-rays, or diagnostic reports in order to render an opinion.
  The Settlement Fund will not require the production of original x-ray films and will not be re-
  reading such films or retesting claimants in the normal course of the claims audit. However, the
  Settlement Fund will reserve the right to request such original evidence and to expand the scope
  of the audit for targeted populations of claims in the event a pattern of submitting misleading or
  potentially fraudulent information is found. The standard of analysis for such a pattern shall not
  be based on the existence of questions of fact among the various testimonial sources, but rather on
  evidence of an actual intent to deceive or defraud the Settlement Fund. Both the Settlement Fund
  and the claimant/attorney shall be afforded all due process by the Settlement Trustee in resolving
  any merits issues on existence of such evidence.

  Review
  Verus will review all documentation provided by the claimant or law firms in a timely manner in
  order to answer the following questions relative to each claim:

     1. Is there documentation in the Claimant’s, Claimant’s Law Firm’s or Settlement Fund’s
        database, including the archive documents referred to in the Williams Action Settlement
        Agreement, to support the legitimacy of the claim submitted to the Settlement Fund,

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         including proof that the Claimant is either the Injured Person in the Underlying Lawsuit on
         which class membership is based or the personal representative or heir of such Injured
         Person?

     2. Where applicable, is the medical documentation submitted consistent with established
        medical guidelines for establishing a diagnosis of an asbestos-related disease and
        supportive of the disease level submitted to the Settlement Fund?

  Issue Resolution
  In the event of any findings of concern, Verus will communicate the details of the findings to the
  Claimant and Claimant’s Law Firm and request additional information, explanation or response.
  If the Claimant or Claimant’s Law Firm fails to provide additional information, or successfully
  dispute the findings within a twenty (20) day period, Verus will inform the Settlement Trustee and
  obtain instruction on the appropriate course of action to be followed to resolve the issue.

  Audit processing and status and any issues observed or encountered will be discussed with the
  Settlement Trustee on a regular basis throughout the course of the audit. If any patterns of
  particular concern are discovered, the scope of the audit may be expanded and/or focused through
  additional targeted sampling to determine the extent of the issue.

  The Trustee reserves the right to adopt any other reasonable, or generally accepted audit
  procedures that the Trustee deems appropriate and warranted as circumstances may dictate.

  Management Representation Requirement
  Upon conclusion of the audit, each Law Firm will be required to sign a law firm management
  representation letter in the form attached hereto as Exhibit A.

  Reporting of Results
  Upon the conclusion of the audit, Verus will produce a confidential report to the Settlement Trustee
  summarizing the findings and recommending specific actions to be taken as a result of any
  systemic issues identified or adverse findings that require corrective and/or disciplinary action.
  Depending on the nature of the issue to be addressed, such action may involve revisions to claims
  materials, filing requirements or the electronic filing system, or possible sanctions in the event of
  findings of fraud or abuse. Verus will communicate any potentially adverse findings to the Law
  Firm and the Settlement Trustee, and the firm will be given an opportunity to resolve any concerns
  before any follow-up actions or imposition of sanctions are taken by the Settlement Trustee. The
  particular nature of any sanctions to be imposed will be discussed as the need arises.




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  Date

  Via Regular Mail or EǦmail (_______@verusllc.com)

  Verus Claims Services, LLC
  3967 Princeton Pike
  Princeton, NJ 08540

  Attention: _________

           Re:      Verus Claims Audit, Claimant (Insert Claimant Name, Claim ID)

  To Verus Claims Services, LLC:

  On behalf of the law firm of ______________________________ the we are providing this management
  representation letter in connection with the claims audit performed by Verus Claims Services, LLC (“Verus”) covering
  Claim ID # (INSERT CLAIM ID NUMBER) for (INSERT CLAIMANT NAME).

  The undersigned is competent and authorized to make the representations set forth herein.

  We understand that the claims audit was to be conducted pursuant to the claims audit program adopted by the
  Settlement Fund pursuant to the Williams Emtal Talc Settlement Fund Trust Plan of Distribution. We further
  understand that the Williams Emtal Talc Settlement Fund (Settlement Fund) has conducted this audit through Verus
  to ensure (1) that the Settlement Fund accepts and pays only legitimate claims presented by or on behalf of legitimate
  claimants that are eligible to share in the Settlement Fund under the Plan; and (2) that each claimant or law firm
  representing a claimant maintains during and through the claims administration process any documentation they
  possess that grounds or supports the claim submitted electronically or via hard copy claim form.

  We acknowledge our responsibility, as the filing law firm, to comply with the requirements of Rule 11(b) of the
  Federal Rules of Civil Procedure in presenting information to the Settlement Fund and to provide all nonǦprivileged
  documentation required by the Settlement Fund’s claims audit programs.

  We confirm that all of the claimants to the Settlement Fund we are representing, including the Claimants selected for
  audit that we represent, are either the Injured person in the Underlying Lawsuit on which class membership is based
  or the personal representative or heir of such Injured Person. In making this representation we have either first-hand
  knowledge of the Claimant’s identity and relationship to the Injured Person in the Underlying Lawsuit or have taken
  sufficient and appropriate investigatory measures to verify their identity and relationship of the Claimant to the Injured
  Person in the Underlying Lawsuit.

  We confirm, to the best of our knowledge and belief, as of the date of this letter, that we have provided the Settlement
  Fund with complete and accurate copies of all of the nonǦprivileged documents requested and required by the audit of
  the above-named claimant(s) pursuant to the terms of the claims audit program.

  We acknowledge that Verus on behalf of and at the direction of the Settlement Fund may, to the extent permitted by
  the Settlement Fund’s claims audit program, request additional nonǦprivileged information or explanations.

  Yours truly,

  _________________________________________
  (Signature)

  ___________________________________________
  (Title)




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                                Exhibit D
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       WILLIAMS EMTAL TALC SETTLEMENT COST FUND
                             ESCROW AGREEMENT


           This Cost Fund Escrow Agreement (the “Escrow Agreement”) is
     entered pursuant to the Class Action Settlement Agreement by and between
     the Class Representatives in Williams, et al. v. BASF Catalysts LLC, et al.,
     Civil Action No: 2:11-cv-01754 (ES)(JAD) (“Williams Action”), on behalf
     of themselves and as proposed class representatives, by and through Cohen,
     Placitella & Roth, P.C. (“Class Counsel”), and defendants in the Williams
     Action, BASF Catalysts LLC and Cahill Gordon & Reindel LLP
     (“Defendants”), dated as of March 13, 2020 (“Settlement Agreement”).
     This Escrow Agreement is entered by and among Class Counsel,
     Defendants, Hon. Marina Corodemus, J.S.C. (retired), who the United States
     District Court for the District of New Jersey (“Court”) has appointed as the
     Settlement Trustee (“Settlement Trustee”) pursuant to the terms of the
     Settlement Agreement, Verus LLC, which the Court has appointed as
     Settlement Administrator pursuant to the terms of the Settlement Agreement
     (“Settlement Administrator”), and PNC Bank, National Association,
     which the Court has appointed as Settlement Fund Financial Institution
     (“Escrow Agent”) (all of the forgoing collectively referred to as the
     “Escrow Agreement Parties”).

                                     DEFINITIONS

           In addition to the terms defined above and in the body of the Escrow
     Agreement below, the Settlement Agreement definitions are incorporated by
     reference and capitalized terms appearing herein shall have the same
     meanings. Whenever context so requires, the masculine gender includes the
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     feminine and neutral gender, and the singular includes the plural and vice
     versa.

                                       RECITALS

              WHEREAS, the plaintiffs in the Williams Action commenced a class
     action against Defendants, Arthur A. Dornbusch II, Thomas D. Halket,
     Howard G. Sloane, and Ira J. Dembrow; and

              WHEREAS, the Settlement Agreement requires the creation of a
     Cost Fund following the Court’s entry of the Preliminary Approval Order,
     which is to be funded by Defendants, as specified in the Settlement
     Agreement and held in an interest-bearing escrow account (“Cost Fund
     Account”); and

              WHEREAS, the Settlement Agreement further authorizes and allows
     the Settlement Trustee to order withdrawals and transfers from the Cost
     Fund Account to the Administrator’s disbursement bank account to pay
     reasonable and necessary costs, expenses and fees identified in § 5.1.2.1; and

              WHEREAS, the Settlement Agreement requires that the Cost Fund
     and the Cost Fund Escrow Account shall be, and be operated as, a “qualified
     settlement fund” within the meaning of Section 1.468B-1, et seq., of the
     Treasury Regulations promulgated under Section 468B of the Internal
     Revenue Code (“Qualified Settlement Fund”); and

              WHEREAS, after or contemporaneous with the Settlement Trustee’s
     filing of a final accounting relating to the Cost Fund with the Court, the
     Defendants may file a motion with the Court for the return of any unused
     balance in the Cost Fund Account to be shared between them in proportion
     to the percentage each funded the Cost Fund.



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           NOW, THEREFORE, in consideration of the mutual promises
     contained herein and for other good and valuable consideration, the receipt
     and sufficiency of which are hereby acknowledged, and intending to be
     legally bound, the Escrow Agreement Parties agree as follows:

                                     AGREEMENT

           1.     Purpose of the Escrow Agreement. This Escrow Agreement is
     established pursuant to the Court’s Preliminary Approval Order to: (A) carry
     out the terms of the Settlement Agreement under which the Defendants will
     be depositing the Cost Fund Amount into the Cost Fund Escrow Account in
     accordance with the Settlement Agreement, including the schedule in § 5.1,
     to pay the reasonable and necessary costs, expenses and fees identified in §
     5.1.2.1; (B) provide the authority, terms and conditions under which the
     Escrow Agent shall hold, invest and manage the funds in the Cost Fund
     Account; and (C) to provide for the periodic release and transfer of the
     escrowed Cost Fund to the Administrator for payment of the costs, fees and
     expenses as specified in the Settlement Agreement on the order and
     instructions of the Settlement Trustee and her accompanying certification
     that the transfer is authorized by and in accordance with the Settlement
     Agreement and approved Settlement Cost Fund budgets.

           2.     Creation of the Cost Fund Account and Appointment of the
     Escrow Agent. The Escrow Agreement Parties hereby establish an escrow
     account for the Cost Fund under the name “Williams Emtal Talc Settlement
     Cost Fund”, with the Escrow Agent. The Settlement Trustee, the Settlement
     Administrator, Class Counsel and Defendants designate the Escrow Agent
     for the purposes set forth herein. The Escrow Agent accepts the agency




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     created under this Escrow Agreement and agrees to perform the obligations
     imposed hereby.

           3.     Appointment of the Settlement Administrator. The
     Settlement Administrator is also hereby appointed and shall serve as the
     “administrator” of the Cost Fund Account within the meaning of Treasury
     Regulation §1.468B-2(k)(3). Consistent with the terms of the Settlement
     Agreement and this Escrow Agreement, the Settlement Administrator shall
     take any action or cause the Cost Fund to take any action necessary to create
     and maintain its status as a Qualified Settlement Fund, and the Settlement
     Administrator agrees not to take any action that will adversely affect the
     qualification of the Cost Fund as a Qualified Settlement Fund.

           4.     No Authority to Conduct Business. The purposes of the Cost
     Fund and Cost Fund Account are limited to the matters set forth in ¶1
     hereof, and this Escrow Agreement shall not be construed to confer upon the
     Settlement Administrator or the Escrow Agent any authority to carry on any
     business or activity for profit other than the holding, investment, and
     distribution of the Cost Fund Account in accordance with the terms of the
     Settlement Agreement, the Preliminary Approval Order, the Final Approval
     Order, the Notice Plan, and the Plan of Distribution.

           5.     Defendants’ Deposit of the Cost Fund Amount into the Cost
     Fund Account. Defendants will be making deposits into the Cost Fund
     Account pursuant to the terms of the Settlement Agreement as implemented
     and required by the Court’s Preliminary Approval Order and, if and when
     entered, the Court’s Final Approval Order, none of which shall be modified
     or changed in any way by this Escrow Agreement.




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           6.      Cost Fund as a Qualified Settlement Fund. The Cost Fund
     shall be operated in a manner so that it qualifies as a Qualified Settlement
     Fund. Specifically, (1) the establishment of the Cost Fund under the terms
     and conditions of this Escrow Agreement is subject to Court approval, and
     no deposits shall be made until requisite preliminary Court approval of the
     Settlement Agreement has been obtained and no distributions from the Cost
     Fund Account shall be made until distribution of funds is so instructed and
     ordered by the Settlement Trustee as authorized by the Settlement
     Agreement; (2) the Cost Fund and Cost Fund Account are subject to the
     continuing jurisdiction and supervision of the Court; (3) among the costs,
     expenses and fees to be paid from the Cost Fund are the reasonable and
     necessary costs, expenses and fees identified in Settlement Agreement §
     5.1.2.; and (4) the Cost Fund Account is in an escrow account, and its assets
     are, and will be, segregated from the general assets of the Escrow Agent.

           7.      Tax Preparation, Payment, Reporting, Election, and
     Withholding Requirements and Provisions.

           A.      The Settlement Administrator shall be responsible for the
        timely and proper performance of the undertakings specified in the
        regulations promulgated under § 468B of the Internal Revenue Code,
        including, but not limited to:

           i) Obtaining an employer identification number for the Cost Fund
                Escrow Account;

           ii) Handling all tax return and payment matters relating to the Cost
                Fund and Cost Fund Account, including the preparation and filing
                of all required federal, state and local tax and information returns
                in accordance with the provisions of Treasury Regulation

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                § 1.468B-2(k) and Treasury Regulation § 1.468B-2(1);
                determining and making any required withholding of tax; making
                the payment of any federal, state and local taxes (including
                estimated taxes) and associated tax-related penalties and interest
                for which the Cost Fund Account may be liable.

           iii) Responding to any questions from or audits regarding such taxes
                by the Internal Revenue Service or any state or local tax authority.

           B.      The Settlement Administrator is authorized to and shall, with
        the joint consent of the Settlement Trustee, Class Counsel and
        Defendants, retain and compensate one or more independent, certified
        public accountant(s) or tax attorney(s), as is necessary and reasonable, to
        consult with and advise the Settlement Administrator with respect to the
        preparation of any and all appropriate income tax returns, information
        returns and compliance withholding requirements. The Settlement
        Administrator is authorized to retain and compensate an independent,
        certified public accountant firm to prepare the Cost Fund Account’s tax
        returns.

           C.      All taxes on the income of the Cost Fund Account and expenses
        and costs incurred in connection with the taxation of the Cost Fund
        Account including, without limitation, the expenses of tax attorneys and
        accountants, shall be paid out of the Cost Fund Account, shall be
        considered to be a cost of administration of the Cost Fund and the Cost
        Fund Account, and funds necessary to pay such expenses and tax shall be
        disbursed from the Cost Fund Account by the Escrow Agent and paid to
        or as instructed by the Settlement Administrator on written request by the




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        Settlement Administrator, which shall be countersigned by the Settlement
        Trustee, Class Counsel and Defendants.

           D.      On any Defendants’ request, the Settlement Administrator shall
        file a “relation back election” as described in Treasury Regulation

        § 1.468B-1(j) and take all appropriate actions as may be necessary to this
        end, including executing a “relation back election” statement that such
        Defendant may choose to file with respect to the Cost Fund and
        compliance with any other tax-related requirements.

           E.      Savings Provision. The Settlement Administrator shall be
        empowered to take all actions as the Settlement Administrator deems
        necessary to ensure that the Cost Fund continues to qualify as a Qualified
        Settlement Fund. Notwithstanding anything to the contrary herein, in the
        event that any provision of this Escrow Agreement shall at any time be
        considered cause for the Cost Fund to fail to qualify as a Qualified
        Settlement Fund, such offending provision shall be considered null, void,
        and of no effect, without any action by any court or by the Settlement
        Administrator, so that the Cost Fund continues to qualify as a Qualified
        Settlement Fund. In the event that this section applies to render an
        offending provision null, void, or of no effect, the remainder of this
        Escrow Agreement shall not be affected thereby, and each remaining
        provision of this Escrow Agreement shall be valid and enforced to the
        fullest extent permitted by law.

           8.      Investment of the Cost Fund Account

                A. The Escrow Agent shall have no investment direction over the
        Cost Fund Account and shall follow the joint instructions of the



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        Settlement Trustee, Class Counsel and Defendants and accepted by the
        Escrow Agent, such that the following investment policy is implemented:
        (i) safety of principal; (ii) zero bank balance exposure; and/or (iii) the use
        of zero sweep distribution accounts to ensure funds remain in custodial or
        fully insured accounts to avoid an impermissible risk of loss should the
        financial institution holding the funds fail.

           B.      All monies received by the Cost Fund Escrow Account, which
        include all principal and interest earned thereon, shall be held by the
        Escrow Agent, titled in the name of the Cost Fund and invested in
        appropriate safe, secured and liquid instruments/securities recommended
        by the Escrow Agent or its affiliate and thereafter approved, authorized
        and directed by the Settlement Trustee, Class Counsel and Defendants.
        The investments shall be consistent with the Settlement Fund’s
        investment policy stated in subparagraph 8A, and may be comprised of:
        (i) United States Agency, Government Sponsored Enterprises or Treasury
        securities or obligations (or a mutual fund invested solely in such
        instruments); (ii) cash equivalent securities including SEC registered
        money market funds and collateralized money market accounts; and/or
        (iii) deposit and similar interest-bearing, or non-interest bearing accounts
        subject to full protection by the Federal Depository Insurance
        Corporation, including a PNC Money Market Deposit Account
        (MMDA”).

                C. Any changes to the investments once they are initially
        determined and implemented in accordance with sub-paragraphs A and B
        above must be approved by the Settlement Trustee, Class Counsel and
        Defendants.


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                 D. Any investment earnings and income on the funds held in the
        Cost Fund Account shall become part of the Cost Fund and shall be
        disbursed in accordance with this Escrow Agreement.

                 E. The Escrow Agent shall not be liable or responsible for any loss
        resulting from any deposits or investments made pursuant to this
        paragraph 8 other than as a result of the gross negligence, bad faith or
        willful misconduct of the Escrow Agent.

           9.       Settlement Class Members’ Interests in the Cost Fund
     Account. This Escrow Agreement shall not operate to make any portion of
     the funds in the Cost Fund Account available to Settlement Class Members
     in any fashion. To the extent possible, the terms of this Escrow Agreement
     shall be construed so as to prevent Settlement Class Members from being in
     constructive receipt, as determined under federal income tax principles, of
     any amounts held by or in the Cost Fund.

           10.      Distribution of the Cost Fund. The Escrow Agent shall hold
     and only distribute from the Cost Fund Account as follows:

                 A. The Escrow Agent shall distribute funds from the Cost Fund
        Account necessary to pay the Cost Fund’s tax obligations and tax
        preparation fees incurred by the Settlement Administrator as provided in
        ¶ 7C of this Escrow Agreement. The Escrow Agent is authorized to
        liquidate Cost Fund Account investments to the extent necessary to make
        such payments.

                 B. The Escrow Agreement Parties acknowledge and agree that the
        Settlement Agreement, the Notice Plan and the Plan of Distribution
        approved by the Court and incorporated in the Settlement’s Preliminary



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        Approval Order and, if and when entered, the Final Approval Order,
        together with Cost Fund budgets approved by Class Counsel and
        Defendants, shall govern and determine the distributions that are allowed.

                 C. The Settlement Trustee shall have the authority to draw funds
        on demand from the Cost Fund to pay permitted payments under
        Settlement Agreement § 5.1.2.1 in accordance with the budgets.

                 D. After or contemporaneous with the Settlement Trustee’s filing
        with the Court a final accounting relating to the Cost Fund, the
        Defendants may file a motion with the Court for the return of any unused
        balance to be shared between them in proportion to the percentage each
        funded the Cost Fund.

           11.      Escrow Account Statements.

                 A. During the term of this Escrow Agreement, the Escrow Agent
        shall provide Settlement Trustee, the Settlement Administrator, Class
        Counsel and Defendants with monthly statements containing the
        beginning balance in the Cost Fund Account as well as all principal and
        income transactions for the statement period (“Periodic Account
        Statements”). The Settlement Administrator shall be responsible for
        reconciling the Periodic Account Statements. In the absence of the
        Escrow Agent’s gross negligence or willful misconduct, the Escrow
        Agent shall be forever released and discharged from all liability with
        respect to the accuracy of the Periodic Account Statements and the
        transactions listed therein, except with respect to any such act or
        transaction as to which any of the Settlement Trustee, the Settlement
        Administrator, Class Counsel or Defendants shall, within ninety (90)



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        days after the Escrow Agent makes the Periodic Account Statement
        available, file written objections with the Escrow Agent.

                 B. The Periodic Account Statements shall include a listing of all
        receipts and distributions during the statement period, together with a
        current listing of the assets held in the Cost Fund Account. The
        Settlement Trustee, the Settlement Administrator, Class Counsel and
        Defendants agree to accept the Periodic Account Statements in
        satisfaction of the Escrow Agent’s obligation to provide written
        notification required by federal regulations; provided that, upon any
        request by the Settlement Trustee, the Settlement Administrator, Class
        Counsel or Defendants, the Escrow Agent will provide to such parties
        within a reasonable time and at no additional cost any information
        required by federal regulations or state taxing authorities.

           12.      Rights, Responsibilities and Liabilities of the Escrow Agent.

                 A. The Escrow Agent shall act hereunder as an escrow agent only,
        and it shall not be responsible or liable in any manner whatever for the
        sufficiency, correctness, genuineness or validity of any document
        furnished to the Escrow Agent or any asset deposited with it.

                 B. The Escrow Agent may rely and shall be protected in acting or
        refraining from acting upon (and shall incur no liability for following the
        instructions contained therein) any written notice, instruction or request
        furnished to it hereunder and believed by it to be genuine and to have
        been signed or presented by the proper party or parties. The Escrow
        Agent shall be under no duty to inquire into or investigate the validity,
        accuracy or content of any such document.



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                  C. The Escrow Agent shall have no duty to solicit any payments
        which may be due to be paid into the Cost Fund Account by any party or
        entity.

                  D. The Escrow Agent shall not be liable for any action taken or
        omitted by it unless the Court determines that the Escrow Agent’s gross
        negligence or willful misconduct was the primary cause of any loss. In
        the administration of the Cost Fund Account, the Escrow Agent may
        execute any of its powers and perform its duties hereunder directly or
        through agents or attorneys and may consult with counsel, including in-
        house counsel, accountants and other skilled persons to be selected and
        retained by it. The Escrow Agent shall not be liable for anything done,
        suffered or omitted in good faith by it in accordance with the advice or
        opinion of any such counsel, accountants or other skilled persons,
        including in-house counsel.

                  E. The Escrow Agent shall not make, be required to make, or be
        liable in any manner for its failure to make, any determination under any
        agreement or document any of the Escrow Agreement Parties may be
        parties to or responsible for, even if same is referenced herein, including
        any determination whether any party thereto has complied with its terms
        or is entitled to payment or to any other right or remedy thereunder. To
        avoid any doubt, the Escrow Agent shall have no responsibility for
        determining the validity or conformity of any costs, expenses and fees
        and may accept the certification of the Settlement Trustee that ordered
        distributions are for valid and conforming Settlement costs, expenses and
        fees.




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           13.     Fund in Court Status. Both the Cost Fund and the Cost Fund
     Account holding it shall be deemed and considered to be in custodia legis of
     the Court and shall remain subject to the Court’s exclusive jurisdiction until
     such time as the funds therein have been fully distributed pursuant to the
     terms of the Settlement Agreement, Notice Plan and the Plan of Distribution.
     The Escrow Agent is authorized, in its sole discretion, to comply with any
     order issued or process entered by the Court with respect to the Cost Fund or
     Cost Fund Account (“Order”), without determination by the Escrow Agent
     of such court’s jurisdiction in the matter. If any portion of the Cost Fund is
     at any time attached, garnished or levied upon under any order of a court
     other than the Court, or in case the payment, assignment, transfer,
     conveyance or delivery of all or any portion of the Cost Fund or Cost Fund
     Account shall be stayed or enjoined by any such order, then and in any such
     event, the Escrow Agent is authorized, in its sole discretion, to rely upon and
     comply with only any Order of the Court which it is advised by legal
     counsel selected by it is binding upon it without the need for appeal or other
     action; and if the Escrow Agent complies with any such Order, it shall not be
     liable to any of the Escrow Parties or to any other person or entity by reason
     of such compliance even though such Order may be subsequently reversed,
     modified, annulled, set aside or vacated. The Escrow Agent shall
     immediately inform the Settlement Trustee, the Settlement Administrator,
     Class Counsel and Defendants of any action by another court against or
     regarding the Cost Fund or Cost Fund Account, and either one or more of
     these parties or the Escrow Agent shall then obtain instructions from the
     Court as to the action to be taken with respect to such an order, if any.




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           14.    Anything in this Escrow Agreement to the contrary
     notwithstanding, in no event shall the Escrow Agent be liable for special,
     indirect, incidental, punitive or consequential loss or damage of any kind
     whatsoever (including but not limited to lost profits), even if the Escrow
     Agent has been advised of the likelihood of such loss or damage and
     regardless of the form of action.

           15.    If, at any time, the Escrow Agent is unable to determine, to the
     Escrow Agent’s sole satisfaction, the proper disposition of all or any portion
     of the Cost Fund Account or the Escrow Agent's proper actions with respect
     to its obligations hereunder, or should any dispute arise between or
     involving the Escrow Agreement Parties, it is understood and agreed that the
     Escrow Agent may petition (by means of an interpleader or any other
     appropriate measure) the Court for instructions with respect to such
     uncertainty or dispute and the Cost Fund will hold the Escrow Agent
     harmless and indemnify it against all consequences and expenses that may
     be incurred by the Escrow Agent in connection therewith, which indemnity
     shall survive the termination of this Escrow Agreement or the resignation or
     removal of the Escrow Agent for any reason.

           16.    Indemnification of the Escrow Agent. The Escrow Agent and
     its affiliates and each of their respective directors, officers, agents and
     employees (collectively, the “Indemnitees”) shall have the right to be
     defended and held harmless by the Cost Fund, and solely by the Cost Fund
     and not by the Settlement Trustee, the Settlement Administrator, Class
     Counsel, Defendants from and against any and all claims, liabilities, losses,
     damages, fines, penalties, and expenses, including out-of-pocket and
     incidental expenses and legal fees and expenses that may be imposed on,


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     incurred by, or asserted against, the Indemnitees or any of them: (A) for
     following any instructions or other directions upon which the Escrow Agent
     is authorized to rely pursuant to the terms of this Escrow Agreement; or (B)
     in connection with or arising out of the Escrow Agent’s performance under
     this Escrow Agreement provided, with respect to this clause (B) only, the
     Indemnitees have not acted with gross negligence or engaged in willful
     misconduct. The provisions of this section shall survive the termination of
     this Escrow Agreement and the resignation or removal of the Escrow Agent
     for any reason.

           17.      Resignation/Removal of the Escrow Agent.

                 A. The Escrow Agent may resign at any time by giving thirty (30)
        days written notice of such resignation to the Court, the Settlement
        Trustee, the Settlement Administrator, Class Counsel and Defendants. If
        no successor Escrow Agent has been named approved by the Court at the
        expiration of the thirty (30) day period, the Escrow Agent shall have no
        further obligation hereunder except to hold the Cost Fund as a depository.
        Upon notification by the Escrow Agreement Parties of the appointment
        of a successor by the Court, the Escrow Agent shall, upon payment of
        any and all fees and expenses then due to Escrow Agent, promptly
        deliver the Cost Fund and all materials in its possession relating to the
        Cost Fund Account to such successor, and the duties of the resigning
        Escrow Agent shall thereupon in all respects terminate, and the Escrow
        Agent shall be released and discharged from all further obligations
        hereunder.




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                 B. The Escrow Agent may be discharged from its duties as Escrow
        Agent under this Escrow Agreement only upon Order by the Court,
        which may discharge the Escrow Agent at any time in its discretion.

                 C. In the event of the termination of this Escrow Agreement or the
        resignation or removal of the Escrow Agent, the Escrow Agent, subject
        to Court approval, shall have the right to retain for itself from the Cost
        Fund Account any reasonable costs and expenses the Escrow Agent shall
        reasonably believe may be incurred by the Escrow Agent in connection
        with the termination of the Escrow Agreement or the transfer of the Cost
        Fund.

           18.      Compensation of the Escrow Agent. The Escrow Agent has
     agreed to waive its customary fees for its services under this Agreement.

           19.      Information to be Provided to the Escrow Agent. The
     Settlement Trustee, the Settlement Administrator, Class Counsel and
     Defendants shall provide the Escrow Agent with such information in their
     possession or control as the Escrow Agent shall reasonably require in order
     to permit the Escrow Agent to comply with its obligations under the USA
     Patriot Act (the “Patriot Act”).

           20.      Termination of this Escrow Agreement. Except for terms
     which expressly survive the termination of this Escrow Agreement as set
     forth herein, this Escrow Agreement shall terminate upon the distribution of
     all funds within the Cost Fund Account by the Escrow Agent in accordance
     with the Class Counsel’s and Defendants’ instructions pursuant to ¶10.B 10
     above and the Settlement Trustee’s Certification and the Court Order
     described in ¶10.D.



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           21.      Notices and Phone Calls.

                 A. All notices and communications hereunder shall be (i) given to
        the Escrow Agreement Parties at the addresses below, (ii) in writing, and
        (iii) delivered to the Escrow Agreement Parties by registered mail (return
        receipt requested), certified mail (postage prepaid), personal delivery,
        delivery by overnight delivery service (with receipt thereof), facsimile
        transmission (with evidence of receipt) or electronic mail (with
        confirmation from the recipient). All notices shall be effective upon
        receipt; provided, however any instruction, direction, approval, consent,
        or similar communication from an Escrow Agreement Party with respect
        to the Cost Fund Account (“Instruction”) given to Escrow Agent by
        facsimile transmission or electronic mail shall not be effective, and the
        Escrow Agent shall not be obligated to act upon such Instruction, until
        the Escrow Agent’s employee assigned responsibility for the Escrow
        Account and identified below has confirmed to the sending Escrow
        Agreement Party that the Instruction has been received and accepted by
        the Escrow Agent. Instructions sent by electronic mail shall be deemed
        signed by the sending Escrow Party (or a person authorized to act on
        behalf of such Escrow Agreement Party if authorized under this Escrow
        Agreement) if sent from an e-mail address previously provided to Escrow
        Agent by such Escrow Agreement Party or authorized person. Telephone,
        telephone voice messaging, and other forms of telephonic or oral
        communication shall not constitute written Instructions. Notwithstanding
        the foregoing, the Escrow Agent may, in its sole discretion, rely and act
        upon any form of written Instruction which it believes to be genuine.




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              B. For the purposes of this Escrow Agreement, the Escrow
        Agreement Parties’ addresses and other contact information shall be as
        set forth below, or at such other address or contact information of which
        each Escrow Agreement Party shall notify the other Escrow Agreement
        Parties in accordance with this Section:


                 Settlement Trustee:
                 Hon. Marina Corodemus, J.S.C. (retired):
                 120 Wood Avenue South
                 Suite 500
                 Iselin, New Jersey 08830
                 Facsimile: (732) 603-8933
                 Email: mc@ccesqs.com
                 Phone No.: (732) 603-0005


                 Class Counsel:
                 Stewart L. Cohen, Esq.
                 Christopher M. Placitella, Esq.
                 Harry Roth, Esq.
                 Cohen, Placitella & Roth PC
                 Two Commerce Square
                 Suite 2900
                 2001 Market Street
                 Philadelphia, PA 19103
                 (215) 567-6019 (f)
                 scohen@cplaw.com cplacitella@cprlaw.com,
                 hroth@cprlaw.com
                 (215) 567-3500 (p)

                 and:




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                Michael Coren, Esq.
                Cohen, Placitella & Roth PC
                Two Commerce Square
                Suite 2900
                2001 Market Street
                Philadelphia, PA 19103
                (215) 567-6019
                mcoren@cplaw.com
                (215) 567-3500


                Administrator:
                Verus LLC
                3967 Princeton Pike
                Princeton, NJ 08540
                Attention: Mark Eveland
                (609) 466-1449
                meveland@verusllc.com
                (609) 979-8004



                PNC Bank, National Association:
                80 South Eighth St, Ste 1450
                IDS Building
                Minneapolis MN 55402
                Attention: James Baughman
                Email: james.baughman@pnc.com
                Phone No.: 412-768-7010

                and:

                PNC Bank, National Association
                PNC Bank Legal Department
                Attn: Treasury Management
                1600 Market Street, 8th Floor
                Philadelphia, PA 19103



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                 BASF Catalysts LLC:

                 Eugene F. Assaf, P.C.
                 Kirkland & Ellis LLP
                 601 Lexington Avenue
                 New York, New York 10022
                 Email: eassaf@kirkland.com

                 And:

                 Peter A. Farrell, P.C.
                 Kirkland & Ellis LLP
                 1301 Pennsylvania Avenue, N.W.
                 Washington, D.C. 20004
                 pfarrell@kirkland.com


                 Cahill Gordon & Reindel LLP

                 Nina M. Gussack
                 {  ! "#
                 |  LLP
                 3000 Two Logan Square
                 18th & Arch Streets Philadelphia,
                 Pennsylvania 19103
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              C. The Settlement Trustee, the Settlement Administrator, Class
        Counsel and Defendants each agrees that by providing telephone
        number(s) to Escrow Agent, now or at any later time, such party
        authorizes Escrow Agent and its affiliates and designees to contact such
        party regarding the Cost Fund Account at such number(s) using any
        means, including, but not limited to placing calls using an automated
        dialing system to cell, VoIP or other wireless phone number, or leaving
        prerecorded messages or sending text messages, even if charges may be
        incurred for the calls or text messages. Each Escrow Agreement Party


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        consents that any phone call with the Escrow Agent may be monitored or
        recorded by Escrow Agent.

           22.    Authorized Signatories. The following persons are authorized
     signatories for purposes of providing instructions and distributions to the
     Escrow Agent under this agreement regarding the Cost Fund Account,
     provided that this section may be revised or rescinded only by writing from
     the applicable party and be accompanied by additional documentation
     satisfactory to the Escrow Agent. Such revisions or rescissions shall be
     effective only after actual receipt and following such period of time as may
     be necessary to afford the Escrow Agent reasonable opportunity to act on it:

           A.     On behalf of the Settlement Trustee: Hon. Marina
        Corodemus, J.S.C. (retired)

           B.     On behalf of the Settlement Administrator: Mark Eveland or
        Daniel Myer.

           C.     On behalf of Class Counsel: Stewart L. Cohen, Esq.,
        Christopher M. Placitella, Esq. or Harry M. Roth Esq.

           D.     On behalf of BASF Catalysts LLC:

           E.     On behalf of Cahill Gordon & Reindel LLC:

           23.    Miscellaneous.

           A.     The recitals are incorporated in and made a part of this Escrow
        Agreement.

           B.     All signatories to this Escrow Agreement warrant that they have
        full and complete authority to enter into and sign this Escrow Agreement




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        on behalf of themselves and/or the entity on whose behalf they are
        signing.

           C.      This agreement shall be enforced only in the Court before
        the Judge assigned to the Williams Action or before the Magistrate
        Judge assigned the case if referred to him or her by the Court. The
        parties all consent to the jurisdiction of the Court over them.

           D.      The rights or interests of any of the Escrow Agreement Parties
        in the Cost Fund Account or any portion thereof, shall not be assignable
        or transferrable (other than by operation of law) except with the prior
        written consent of all the Escrow Agreement Parties. Notwithstanding the
        foregoing, any entity into which the Escrow Agent may be merged or
        converted or with which it may be consolidated, or any entity resulting
        from any merger, conversion or consolidation to which the Escrow Agent
        shall be a party, or any entity succeeding to all or a substantial portion of
        the escrow business of the Escrow Agent shall be the successor of the
        Escrow Agent hereunder without the execution by or filing of any
        document with any Escrow Agreement Party or any further act on the
        part of any of the Escrow Agreement Parties, except where an instrument
        of transfer or assignment is required by applicable law to effect such
        succession.

           E.      This Escrow Agreement shall be binding upon and inure to the
        benefit of and be enforceable by, the respective heirs, legal
        representatives, and permitted successors and assigns of the Escrow
        Agreement Parties, and nothing herein, express or implied, is intended to
        or shall confer upon any other person or entity (other than the




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        Indemnitees) any legal or equitable right, benefit or remedy of any nature
        whatsoever under or by reason of this Escrow Agreement.

           F.     This Escrow Agreement shall be governed by and construed in
        accordance with the State of New Jersey without regard to its conflict of
        laws principles.

           G.     “Business Day” shall mean every day other than Saturday,
        Sunday and any other day on which the Escrow Agent is not open for
        business for carrying on substantially all of the Escrow Agent’s business
        functions. If the date on which any distribution or notice is to be made
        under the terms of this Escrow Agreement is not a Business Day, then the
        distribution or notice shall be made on the following Business Day.

           H.     This Escrow Agreement may be executed in one or more
        counterparts, each of which will be deemed an original, but all of which
        together will constitute one and the same instrument.

           I.     This Escrow Agreement constitutes the entire agreement among
        the Escrow Agreement Parties relating to the holding, investment and
        distribution of the Cost Fund and sets forth in its entirety the obligations
        and duties of the Escrow Agent with respect to the Cost Fund Account.
        This Escrow Agreement may be amended, modified, superseded or
        canceled, and any of the terms or conditions hereof may be waived, only
        by a written instrument executed by each Escrow Agreement Party
        hereto, or in the case of a waiver, by an Escrow Agreement Party (for
        whose benefit compliance is intended) waiving compliance, and any such
        waiver will be effective only in the specific instance and for the purpose
        for which given.



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              J.   The headings in this Escrow Agreement are for convenience of
        reference only and shall neither be considered as part of this Escrow
        Agreement, nor limit or otherwise affect the meaning hereof.


              IN WITNESS WHEREOF, this Escrow Agreement has been executed

     as of the day and year set forth above.

     SETTLEMENT TRUSTEE                        VERUS LLC


     By:                                       By:

     Name: Hon. Marina Corodemus,              Name:_________________________
           J.S.C. (retired)
                                               Title:__________________________

     COHEN, PLACITELLA &                       PNC BANK, NATIONAL
     ROTH, PC                                  ASSOCIATION

     By:                                       By:

     Name:________________________ Name: ________________________

     Title: Shareholder                        Title:

     Class Counsel for the Class in the
     Williams Action

     BASF CATALYSTS LLC                        CAHILL GORDON & REINDEL
                                               LLP

     By:                                       By:

     Name:_______________________              Name:_________________________

     Title:                                    Title:



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                                Exhibit E
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           WILLIAMS EMTAL TALC SETTLEMENT FUND
                             ESCROW AGREEMENT




           This Escrow Agreement (the “Escrow Agreement”) is entered
     pursuant to the Class Action Settlement Agreement by and between the
     Class Representatives in Williams, et al. v. BASF Catalysts LLC, et al., Civil
     Action No: 2:11-cv-01754 (ES)(JAD) (“Williams Action”), on behalf of
     themselves and as proposed class representatives, by and through Cohen,
     Placitella & Roth, P.C. (“Class Counsel”), and defendants in the Williams
     Action, BASF Catalysts LLC and Cahill Gordon & Reindel LLP
     (“Defendants”), dated as of March 13, 2020 (“Settlement Agreement”).
     This Escrow Agreement is entered by and among Class Counsel,
     Defendants, Hon. Marina Corodemus, J.S.C. (retired), who the United States
     District Court for the District of New Jersey (“Court”) has appointed as the
     Settlement Trustee (“Settlement Trustee”) pursuant to the terms of the
     Settlement Agreement, Verus LLC, which the Court has appointed as
     Settlement Administrator pursuant to the terms of the Settlement Agreement
     (“Settlement Administrator”), and PNC Bank, National Association,
     which the Court has appointed as Settlement Fund Financial Institution
     (“Escrow Agent”) (all of the forgoing collectively referred to as the
     “Escrow Agreement Parties”).

                                   DEFINITIONS

           In addition to the terms defined above and in the body of the Escrow
     Agreement below, the Settlement Agreement definitions are incorporated by
     reference and capitalized terms appearing herein shall have the same
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     meanings. Whenever context so requires, the masculine gender includes the
     feminine and neutral gender, and the singular includes the plural and vice
     versa.

                                     RECITALS

              WHEREAS, the plaintiffs in the Williams Action commenced a class
     action against Defendants, Arthur A. Dornbusch II, Thomas D. Halket,
     Howard G. Sloane, and Ira J. Dembrow; and

              WHEREAS, the Settlement Agreement requires the Settlement
     Trustee, Class Counsel and Defendants to execute an escrow agreement for
     the Settlement Fund upon entry of the Court’s Preliminary Approval Order
     (“Settlement Fund Escrow Account”), for the purpose of establishing an
     escrow account to hold the Settlement Fund until the Settlement Fund is
     distributed to Claimants pursuant to the terms of the Settlement Agreement
     and Plan of Distribution; and

              WHEREAS, the Settlement Agreement requires that the Settlement
     Fund Escrow Account shall be, and be operated as, a qualified settlement
     fund within the meaning of Section 1.468B-1, et seq., of the Treasury
     Regulations promulgated under Section 468B of the Internal Revenue Code
     (“Qualified Settlement Fund”);

              NOW, THEREFORE, in consideration of the mutual promises
     contained herein and for other good and valuable consideration, the receipt
     and sufficiency of which are hereby acknowledged, and intending to be
     legally bound, the Escrow Agreement Parties agree as follows:




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                                   AGREEMENT

           1.    Purpose of the Escrow Agreement. This Escrow Agreement is
     established pursuant to the Preliminary Approval Order to: (A) carry out the
     terms of the Settlement Agreement under which, upon entry of the Final
     Approval Order, the Defendants will be depositing the Settlement Amount
     into the Settlement Fund Escrow Account for the use and benefit of the
     Settlement Class Members, as more fully described in the Settlement
     Agreement and the Plan of Distribution; (B) provide the authority, terms and
     conditions under which the Escrow Agent shall hold, invest and manage the
     funds in the Settlement Fund Escrow Account; and (C) to provide for the
     release and transfer of the escrowed Settlement Fund to the Settlement
     Administrator following the conclusion of the Plan of Distribution’s claim
     processing and adjudications and the receipt of the Court approval of the
     Settlement Trustee’s recommended claims distribution schedules in
     accordance with the Plan of Distribution.

           2.    Creation of the Settlement Fund Escrow Account and
     Appointment of the Escrow Agent. The Escrow Agreement Parties hereby
     are establishing an escrow account for the Settlement Fund under the name
     “Williams Emtal Talc Settlement Fund”, with PNC as the Escrow Agent.
     The Settlement Trustee, Class Counsel and Defendants designate the Escrow
     Agent for the purposes set forth herein. The Escrow Agent accepts the
     agency created under this Escrow Agreement and agrees to perform the
     obligations imposed hereby.

           3.     APPOINTMENT OF SETTLEMENT
     ADMINISTRATOR. The Settlement Administrator is also hereby
     appointed and shall serve as the “administrator” of the Settlement Fund


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     Escrow Account within the meaning of Treasury Regulation §1.468B-
     2(k)(3). Consistent with the terms of the Settlement Agreement and this
     Escrow Agreement, the Settlement Administrator shall take any action or
     cause the Settlement Fund Escrow Account to take any action necessary to
     create and maintain its status as a Qualified Settlement Fund, and the
     Settlement Administrator agrees not to take any action that will adversely
     affect the qualification of the Settlement Fund as a Qualified Settlement
     Fund.

             4.   No Authority to Conduct Business. The purpose of the
     Settlement Fund Escrow Account is limited to the matters set forth in ¶1
     hereof, and this Escrow Agreement shall not be construed to confer upon the
     Settlement Administrator or the Escrow Agent any authority to carry on any
     business or activity for profit other than the holding, investment, and
     distributing the Settlement Fund Escrow Account in accordance with the
     terms of the Settlement Agreement, the Final Approval Order and the Plan
     of Distribution.

             5.   Defendants’ Deposit of the Settlement Amount into the
     Settlement Fund Escrow Account. Defendants will be depositing the
     Settlement Amount pursuant to the terms of the Settlement Agreement and
     Final Approval Order, none of which are modified or changed in any way by
     this Escrow Agreement.

             6.   Settlement Fund as a Qualified Settlement Fund. The
     Settlement Fund shall be operated in a manner so that it qualifies as a
     Qualified Settlement Fund. Specifically, (1) the establishment of the
     Settlement Fund Escrow Account under the terms and conditions of this
     Escrow Agreement is subject to Court approval, and no deposits shall be

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     made until the requisite Final Approval Order has been obtained and no
     distributions from the Settlement Fund Escrow Account shall be made to the
     Settlement Administrator for payment of claims under the Plan of
     Distribution until distribution of funds is so instructed and ordered by both
     the Settlement Trustee and Class Counsel in writing; (2) the Settlement Fund
     is subject to the continuing jurisdiction and supervision of the Court; (3) the
     Settlement Fund is being established to resolve or satisfy claims against the
     Defendants of alleged tort or violation of law as set forth in the Settlement
     Agreement; and (4) the Settlement Fund is in an escrow account, and its
     assets are, and will be, segregated from the general assets of PNC and
     deposited herein.

           7.      Tax Preparation, Payment, Reporting, Election, and
     Withholding Requirements and Provisions.

           C.      The Settlement Administrator shall be responsible for the
        timely and proper performance of the undertakings specified in the
        regulations promulgated under § 468B of the Internal Revenue Code,
        including, but not limited to:

           i) Obtaining an employer identification number for the Settlement
                Fund Escrow Account;

           ii) Handling all tax return and payment matters relating to the
                Settlement Fund and Settlement Fund Escrow Account, including
                the preparation and filing of all required federal, state and local tax
                and information returns in accordance with the provisions of
                Treasury Regulation § 1.468B-2(k) and Treasury Regulation
                § 1.468B-2(1); determining and making any required withholding
                of tax; making the payment of any federal, state and local taxes

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                (including estimated taxes) and associated tax-related penalties and
                interest for which the Settlement Fund escrow account may be
                liable.

           iii) Responding to any questions from or audits regarding such taxes
                by the Internal Revenue Service or any state or local tax authority.

           D.      The Settlement Administrator is authorized to and shall, with
        the joint consent of the Settlement Trustee and Class Counsel, retain and
        compensate one or more independent, certified public accountant(s) or
        tax attorney(s), as is necessary and reasonable, to consult with and advise
        the Settlement Administrator with respect to the preparation of any and
        all appropriate income tax returns, information returns and compliance
        withholding requirements. The Settlement Administrator is authorized to
        retain and compensate an independent, certified public accountant firm to
        prepare the Settlement Fund Escrow Account’s tax returns.

           E.      All taxes on the income of the Settlement Fund Escrow
        Account and expenses and costs incurred in connection with the taxation
        of the Settlement Fund Escrow Account including, without limitation, the
        expenses of tax attorneys and accountants, shall be paid out of the
        Settlement Fund Escrow Account, shall be considered to be a cost of
        administration of the Settlement Fund and the Settlement Fund Escrow
        Account, and funds necessary to pay such expenses and tax, shall be
        disbursed from the Settlement Fund Escrow Account by the Escrow
        Agent and paid to or as instructed by the Settlement Administrator on
        written request by the Settlement Administrator, which shall be
        countersigned by the Settlement Trustee and Class Counsel.



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           F.      On any Defendant’s request, the Settlement Administrator shall
        file a “relation back election” as described in Treasury Regulation
        § 1.468B-1(j) and take all appropriate actions as may be necessary to this
        end, including executing a “relation back election” statement that such
        Defendant may chooses to file with respect to the Settlement Fund and
        compliance with any other tax-related requirements.

           G.      Savings Provision. The Settlement Administrator shall be
        empowered to take all actions as the Settlement Administrator deems
        necessary to ensure that the Settlement Fund continues to qualify as a
        Qualified Settlement Fund. Notwithstanding anything to the contrary
        herein, in the event that any provision of this Agreement shall at any time
        be considered cause for the Settlement Fund to fail to qualify as a
        Qualified Settlement Fund, such offending provision shall be considered
        null, void, and of no effect, without any action by any court or by the
        Settlement Administrator, so that the Settlement Fund continues to
        qualify as a Qualified Settlement Fund. In the event that this section
        applies to render an offending provision null, void, or of no effect, the
        remainder of this Agreement shall not be affected thereby, and each
        remaining provision of this Agreement shall be valid and enforced to the
        fullest extent permitted by law.

           8.      Investment of the Settlement Fund Escrow Account

                A. The Escrow Agent shall have no investment direction over the
        Escrow account and shall follow the joint instructions of the Settlement
        Trustee and Class Counsel and accepted by the Escrow Agent, such that
        the following investment policy is implemented: (i) safety of principal;
        (ii) zero bank balance exposure; and/or (iii) the use of zero sweep

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        distribution accounts to ensure funds remain in custodial or fully insured
        accounts to avoid an impermissible risk of loss should the financial
        institution holding the funds fail.

           B.      All monies received by the Settlement Fund Escrow Account,
        which include all principal and interest earned thereon, shall be held by
        the Escrow Agent for the use and benefit of the Settlement Class
        Members, titled in the name of the Settlement Fund and invested in
        appropriate safe, secured and liquid instruments/securities recommended
        by the Escrow Agent or its affiliate and thereafter approved, authorized
        and directed by the Settlement Trustee and Class Counsel. The
        investments shall be consistent with the Settlement Fund’s investment
        policy stated in subparagraph 8A, and may be comprised of: (i) United
        States Agency, Government Sponsored Enterprises or Treasury securities
        or obligations (or a mutual fund invested solely in such instruments); (ii)
        cash equivalent securities including SEC registered money market funds
        and collateralized money market accounts; and/or (iii) deposit and similar
        interest-bearing, or non-interest bearing accounts subject to full
        protection by the Federal Depository Insurance Corporation, including a
        PNC Money Market Deposit Account (“MMDA”).

                C. Any changes to the investments once they are initially
        determined and implemented in accordance with sub-paragraphs A and B
        above must be approved by both the Settlement Trustee and Class
        Counsel.

                D. Any investment earnings and income on the funds held in the
        Settlement Fund Escrow Account shall become part of the Settlement
        Fund and shall be disbursed in accordance with this Escrow Agreement.

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                 E. The Escrow Agent shall not be liable or responsible for any loss
        resulting from any deposits or investments made pursuant to this
        paragraph 8 other than as a result of the gross negligence, bad faith or
        willful misconduct of the Escrow Agent.

           9.       Settlement Class Members’ Interests in the Settlement Fund
     Escrow Account. This Escrow Agreement shall not operate to make any
     portion of the funds in the Settlement Fund Escrow Account available to
     Settlement Class Members in any fashion, except as specifically set forth in
     the Plan of Distribution. To the extent possible, the terms of this Escrow
     Agreement shall be construed so as to prevent Settlement Class Members
     from being in constructive receipt, as determined under federal income tax
     principles, of any amounts held by or in the Settlement Fund Escrow
     Account prior to the time when funds have been released from the
     Settlement Fund Escrow Account and thereafter paid by the Settlement
     Administrator to eligible Settlement Claimants in accordance with the terms
     of the Plan of Distribution.

           10.      Distribution of the Settlement Fund. The Escrow Agent shall
     hold and only disburse from the Settlement Fund Escrow Account as
     follows:

                 A. The Escrow Agent shall disburse funds from the account
        necessary to pay the Settlement’s Fund’s tax obligations and tax
        preparation fees incurred by the Settlement Administrator as provided in
        ¶ 7.E of this Escrow Agreement. The Escrow Agent is authorized to
        liquidate Settlement Fund Escrow Account investments to the extent
        necessary to make such payments;



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              B. The Escrow Agreement Parties acknowledge and agree that the
        Settlement Agreement and Plan of Distribution as approved and
        incorporated in the Final Approval Order define the process by which the
        Settlement Trustee and the Settlement Administrator shall determine the
        Settlement Class Members’ entitlements to and the amounts of
        compensation they will receive as distributions of the Settlement Fund.
        The Escrow Agent therefore shall not be responsible for nor participate in
        the execution of the Plan of Distribution relating to allocation and
        distribution of the Settlement Fund, but shall be responsible for
        distribution of the funds in the Settlement Fund Escrow Account to the
        Settlement Administrator in accordance with the Plan of Distribution,
        which requires both: (1) the Court’s approval of the Settlement Trustee’s
        claim adjudication recommendations prior to the Settlement
        Administrator making payments of claims; and (2) written instructions
        delivered to the Escrow Agent signed by both the Settlement Trustee and
        one of Class Counsel’s authorized signatories ordering and instructing
        the release of the funds in the Settlement Fund Escrow Account to the
        Settlement Administrator for distribution to approved Settlement Class
        Members in accordance with the Plan of Distribution and the Court’s
        approved claim schedules. The Escrow Agent shall, upon receipt of such
        signed order and instructions by the Settlement Trustee and one of Class
        Counsel's authorized signatories, wire transfer the funds to the Settlement
        Administrator’s account identified in the order and instructions within
        five (5) business days.




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           11.      Escrow Account Statements.

                 A. During the term of this Escrow Agreement, the Escrow Agent
        shall provide Settlement Trustee, the Settlement Administrator, Class
        Counsel and the Defendants with monthly statements containing the
        beginning balance in the Settlement Fund Escrow Account as well as all
        principal and income transactions for the statement period (“Periodic
        Account Statements”). The Settlement Administrator shall be
        responsible for reconciling the Periodic Account Statements. In the
        absence of the Escrow Agent’s gross negligence or willful misconduct,
        the Escrow Agent shall be forever released and discharged from all
        liability with respect to the accuracy of the Periodic Account Statements
        and the transactions listed therein, except with respect to any such act or
        transaction as to which any of Class Counsel, the Settlement Trustee or
        the Settlement Administrator shall, within ninety (90) days after the
        Escrow Agent makes the Periodic Account Statement available, file
        written objections with the Escrow Agent.

                 B. The Periodic Account Statements shall include a listing of all
        receipts and distributions during the statement period, together with a
        current listing of the assets held in the Settlement Fund Escrow Account.
        The Settlement Trustee, the Settlement Administrator, Class Counsel and
        Defendants agree to accept the Periodic Account Statements in
        satisfaction of the Escrow Agent’s obligation to provide written
        notification required by federal regulations; provided that, upon any
        request by the Settlement Trustee, the Settlement Administrator, Class
        Counsel, or Defendants, the Escrow Agent will provide to such parties




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        within a reasonable time and at no additional cost any information
        required by federal regulations or state taxing authorities.

           12.      Rights, Responsibilities and Liabilities of the Escrow Agent.

                 A. The Escrow Agent shall act hereunder as an escrow agent only,
        and it shall not be responsible or liable in any manner whatever for the
        sufficiency, correctness, genuineness or validity of any document
        furnished to the Escrow Agent or any asset deposited with it.

                 B. The Escrow Agent may rely and shall be protected in acting or
        refraining from acting upon (and shall incur no liability for following the
        instructions contained therein) any written notice, instruction or request
        furnished to it hereunder and believed by it to be genuine and to have
        been signed or presented by the proper party or parties. The Escrow
        Agent shall be under no duty to inquire into or investigate the validity,
        accuracy or content of any such document.

                 C. The Escrow Agent shall have no duty to solicit any payments
        which may be due to be paid into the Settlement Fund Escrow Account
        by any party or entity.

                 D. The Escrow Agent shall not be liable for any action taken or
        omitted by it unless the Court determines that the Escrow Agent’s gross
        negligence or willful misconduct was the primary cause of any loss. In
        the administration of the Settlement Fund Escrow Account, the Escrow
        Agent may execute any of its powers and perform its duties hereunder
        directly or through agents or attorneys and may consult with counsel,
        including in-house counsel, accountants and other skilled persons to be
        selected and retained by it. The Escrow Agent shall not be liable for


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        anything done, suffered or omitted in good faith by it in accordance with
        the advice or opinion of any such counsel, accountants or other skilled
        persons, including in-house counsel.

                 E. The Escrow Agent shall not make, be required to make, or be
        liable in any manner for its failure to make, any determination under any
        agreement or document any of the Escrow Agreement Parties may be
        parties to or responsible for, even if same is referenced herein, including
        any determination whether any party thereto has complied with its terms
        or is entitled to payment or to any other right or remedy thereunder.

           13.      Fund in Court Status. Both the Settlement Fund and the
     Settlement Fund Escrow Account holding it shall be deemed and considered
     to be in custodia legis of the Court and shall remain subject to the Court’s
     exclusive jurisdiction until such time as the funds therein have been fully
     disbursed or distributed pursuant to the terms of the Settlement Agreement
     and Plan of Distribution. The Escrow Agent is authorized, in its sole
     discretion, to comply with any order issued or process entered by the Court
     with respect to the Settlement Fund or Settlement Fund Escrow Account
     (“Order”), without determination by the Escrow Agent of such court’s
     jurisdiction in the matter. If any portion of the Settlement Fund is at any time
     attached, garnished or levied upon under any order of a court other than the
     Court, or in case the payment, assignment, transfer, conveyance or delivery
     of all or any portion of the Settlement Fund or Settlement Fund Escrow
     Account shall be stayed or enjoined by any such order, then and in any such
     event, the Escrow Agent is authorized, in its sole discretion, to rely upon and
     comply with only any Order of the Court which it is advised by legal
     counsel selected by it is binding upon it without the need for appeal or other


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     action; and if the Escrow Agent complies with any such Order, it shall not be
     liable to any of the Escrow Agreement Parties or to any other person or
     entity by reason of such compliance even though such Order may be
     subsequently reversed, modified, annulled, set aside or vacated. The Escrow
     Agent shall immediately inform the Settlement Trustee, the Settlement
     Administrator, Class Counsel and Defendants of any action by another court
     against or regarding the Settlement Fund or Settlement Fund Escrow
     Account, and either one or more of these parties or the Escrow Agent shall
     then obtain instructions from the Court as to the action to be taken with
     respect to such an order, if any.

           14.    Anything in this Escrow Agreement to the contrary
     notwithstanding, in no event shall the Escrow Agent be liable for special,
     indirect, incidental, punitive or consequential loss or damage of any kind
     whatsoever (including but not limited to lost profits), even if the Escrow
     Agent has been advised of the likelihood of such loss or damage and
     regardless of the form of action.

           15.    If, at any time, the Escrow Agent is unable to determine, to the
     Escrow Agent’s sole satisfaction, the proper disposition of all or any portion
     of the Settlement Fund Escrow Account or the Escrow Agent's proper
     actions with respect to its obligations hereunder, or should any dispute arise
     between or involving the Escrow Agreement Parties, it is understood and
     agreed that the Escrow Agent may petition (by means of an interpleader or
     any other appropriate measure) the Court for instructions with respect to
     such uncertainty or dispute and the Settlement Fund will hold the Escrow
     Agent harmless and indemnify it against all consequences and expenses that
     may be incurred by the Escrow Agent in connection therewith, which


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     indemnity shall survive the termination of this Escrow Agreement or the
     resignation or removal of the Escrow Agent for any reason.

           16.      Indemnification of the Escrow Agent. The Escrow Agent and
     its affiliates and each of their respective directors, officers, agents and
     employees (collectively, the “Indemnitees”) shall have the right to be
     defended and held harmless by the Settlement Fund, and solely by the
     Settlement Fund and not by the Settlement Trustee, the Settlement
     Administrator, Class Counsel and/or Defendants, from and against any and
     all claims, liabilities, losses, damages, fines, penalties, and expenses,
     including out-of-pocket and incidental expenses and legal fees and expenses
     that may be imposed on, incurred by, or asserted against, the Indemnitees or
     any of them: (A) for following any instructions or other directions upon
     which the Escrow Agent is authorized to rely pursuant to the terms of this
     Escrow Agreement; or (B) in connection with or arising out of the Escrow
     Agent’s performance under this Escrow Agreement; provided, with respect
     to this clause (B) only, the Indemnitees have not acted with gross negligence
     or engaged in willful misconduct. The provisions of this section shall
     survive the termination of this Escrow Agreement and the resignation or
     removal of the Escrow Agent for any reason.

           17.      Resignation/Removal of the Escrow Agent.

                 A. The Escrow Agent may resign at any time by giving thirty (30)
        days written notice of such resignation to the Court, the Settlement
        Trustee, the Settlement Administrator, Class Counsel and Defendants. If
        no successor Escrow Agent has been approved by the Court at the
        expiration of the thirty (30) day period, the Escrow Agent shall have no
        further obligation hereunder except to hold the Settlement Fund as a

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        depository. Upon notification by the Escrow Agreement Parties of the
        appointment of a successor by the Court, the Escrow Agent shall, upon
        payment of any and all fees and expenses then due to Escrow Agent,
        promptly deliver the Settlement Fund and all materials in its possession
        relating to the Settlement Fund Escrow Account to such successor, and
        the duties of the resigning Escrow Agent shall thereupon in all respects
        terminate, and the Escrow Agent shall be released and discharged from
        all further obligations hereunder.

                 B. The Escrow Agent may be discharged from its duties as Escrow
        Agent under this Escrow Agreement only upon Order by the Court,
        which may discharge the Escrow Agent at any time in its discretion.

                 C. In the event of the termination of this Escrow Agreement or the
        resignation or removal of the Escrow Agent, the Escrow Agent, subject
        to Court approval, shall have the right to retain for itself from the
        Settlement Fund Escrow Account any reasonable costs and expenses the
        Escrow Agent shall reasonably believe may be incurred by the Escrow
        Agent in connection with the termination of the Escrow Agreement or the
        transfer of the Settlement Fund.

           18.      Compensation of the Escrow Agent. The Escrow Agent has
     agreed to waive its customary fees for its services under this Agreement.

           19.      Information to be Provided to the Escrow Agent. The
     Settlement Trustee, the Settlement Administrator and Class Counsel shall
     provide the Escrow Agent with such information in their possession or
     control as the Escrow Agent shall reasonably require in order to permit the
     Escrow Agent to comply with its obligations under the USA Patriot Act (the
     “Patriot Act”).

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           20.      Termination of this Escrow Agreement. Except for terms
     which expressly survive the termination of this Escrow Agreement as set
     forth herein, this Escrow Agreement shall terminate upon the distribution of
     all funds within the Settlement Amount Fund Account by the Escrow Agent
     in accordance with the Settlement Trustee’s and Class Counsel’s instructions
     pursuant to ¶ 10.B 10 above.

           21.      Notices and Phone Calls.

                 A. All notices and communications hereunder shall be (i) given to
        the Escrow Agreement Party at the address below, (ii) in writing, and (iii)
        delivered to the Escrow Agreement Party by registered mail (return
        receipt requested), certified mail (postage prepaid), personal delivery,
        delivery by overnight delivery service (with receipt thereof), facsimile
        transmission (with evidence of receipt) or electronic mail (with
        confirmation from the recipient). All notices shall be effective upon
        receipt; provided, however any instruction, direction, approval, consent,
        or similar communication from an Escrow Agreement Party with respect
        to the Settlement Fund Escrow Account (“Instruction”) given to Escrow
        Agent by facsimile transmission or electronic mail shall not be effective,
        and the Escrow Agent shall not be obligated to act upon such Instruction,
        until the Escrow Agent’s employee assigned responsibility for the
        Escrow Account and identified below has confirmed to the sending
        Escrow Party that the Instruction has been received and accepted by the
        Escrow Agent. Instructions sent by electronic mail shall be deemed
        signed by the sending Escrow Agreement Party (or a person authorized to
        act on behalf of such Escrow Agreement Party if authorized under this
        Escrow Agreement) if sent from an e-mail address previously provided to


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        Escrow Agent by such Escrow Agreement Party or authorized person.
        Telephone, telephone voice messaging, and other forms of telephonic or
        oral communication shall not constitute written Instructions.
        Notwithstanding the foregoing, the Escrow Agent may, in its sole
        discretion, rely and act upon any form of written Instruction which it
        believes to be genuine.

              B. For the purposes of this Escrow Agreement, the Escrow
        Agreement Parties’ addresses and other contact information shall be as
        set forth below, or at such other address or contact information of which
        each Escrow Agreement Party shall notify the other Escrow Agreement
        Parties in accordance with this section:


                 Settlement Trustee:

                 Hon. Marina Corodemus, J.S.C. (retired):
                 120 Wood Avenue South
                 Suite 500
                 Iselin, New Jersey 08830
                 Facsimile: (732) 603-8933
                 Email: mc@ccesqs.com
                 Phone No.: (732) 603-0005

                 Settlement Administrator:

                 Verus LLC
                 3967 Princeton Pike
                 Princeton, NJ 08540
                 Attention: Mark Eveland
                 Facsimile: (609) 466-1449
                 Email: meveland@verusllc.com
                 Phone No.: (609) 979-8004




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                Class Counsel:

                Stewart L. Cohen, Esq.
                Christopher M. Placitella, Esq.
                Harry Roth, Esq.
                Cohen, Placitella & Roth PC
                Two Commerce Square
                Suite 2900
                2001 Market Street
                Philadelphia, PA 19103
                Facsimile: (215) 567-6019
                Email: scohen@cplaw.com cplacitella@cprlaw.com,
                hroth@cprlaw.com
                Phone No.: (215) 567-3500

                and:

                Michael Coren, Esq.
                Cohen, Placitella & Roth PC
                Two Commerce Square
                Suite 2900
                2001 Market Street
                Philadelphia, PA 19103
                Facsimile: (215) 567-6019
                Email: mcoren@cplaw.com
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                BASF Catalysts LLC:

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                1301 Pennsylvania Avenue, N.W.
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                New York, New York 10022
                eassaf@kirkland.com

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                One Newark Center, 19th Floor
                Newark, New Jersey 07102
                jquinn@rwmlegal.com



                Cahill Gordon & Reindel LLP:

                Nina M. Gussack
                Barry H. Boise
                Anthony Vale
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                |  LLP
                3000 Two Logan Square
                18th & Arch Streets
                Philadelphia, Pennsylvania 19103
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                Angelo A. Stio, III
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                |  LLP
                301 Carnegie Center, Suite 400
                Princeton, New Jersey 08543
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                PNC Bank, National Association:
                80 South Eighth St, Ste 1450
                IDS Building
                Minneapolis MN 55402
                Attention: James Baughman
                Email: james.baughman@pnc.com
                      pncpaidsupport@pnc.com
                Phone No.: 412-768-7010

                and:                   20
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                    PNC Bank, National Association
                    PNC Bank Legal Department
                    Attn: Treasury Management Legal
                    1600 Market Street, 8th Floor
                    Philadelphia, PA 19103

                 C. The Settlement Trustee, the Settlement Administrator and Class
        Counsel each agrees that by providing telephone number(s) to Escrow
        Agent, now or at any later time, such party authorizes Escrow Agent and
        its affiliates and designees to contact such party regarding the Settlement
        Fund Escrow Account at such number(s) using any means, including, but
        not limited to placing calls using an automated dialing system to cell,
        VoIP or other wireless phone number, or leaving prerecorded messages
        or sending text messages, even if charges may be incurred for the calls or
        text messages. Each Escrow Party consents that any phone call with the
        Escrow Agent may be monitored or recorded by Escrow Agent.

           22.      Authorized Signatories. The following persons are authorized
     signatories for purposes of providing instructions and distributions to the
     Escrow Agent under this agreement regarding the Settlement Fund Escrow
     Account, provided that this section may be revised or rescinded only by
     writing from the applicable party and be accompanied by additional
     documentation satisfactory to the Escrow Agent. Such revisions or
     rescissions shall be effective only after actual receipt and following such
     period of time as may be necessary to afford the Escrow Agent reasonable
     opportunity to act on it:

           A.       On behalf of the Settlement Trustee: Hon. Marina
        Corodemus, J.S.C. (retired)


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           B.      On behalf of the Settlement Administrator: Mark Eveland or
        Daniel Myer.

           C.      On behalf of Class Counsel: Stewart L. Cohen, Esq.,
        Christopher M. Placitella, Esq. or Harry M. Roth Esq.

           23.     Miscellaneous.

           A.      The recitals are incorporated in and made a part of this Escrow
        Agreement.

           B.      All signatories to this Escrow Agreement warrant that they have
        full and complete authority to enter into and sign this Escrow Agreement
        on behalf of themselves and/or the entity on whose behalf they are
        signing.

           C.      This agreement shall be enforced only in the Court before
        the Judge assigned to the Williams Action or before the Magistrate
        Judge assigned the case if referred to him or her by the Court. The
        parties all consent to the Jurisdiction of the Court over them.

           D.      The rights or interests or in the Settlement Fund Escrow
        Account or any portion thereof, shall not be assignable or transferrable
        (other than by operation of law) except with the prior written consent of
        all the Escrow Agreement Parties. Notwithstanding the foregoing, any
        entity into which the Escrow Agent may be merged or converted or with
        which it may be consolidated, or any entity resulting from any merger,
        conversion or consolidation to which the Escrow Agent shall be a party,
        or any entity succeeding to all or a substantial portion of the escrow
        business of the Escrow Agent shall be the successor of the Escrow Agent
        hereunder without the execution by or filing of any document with any


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        Escrow Agreement Party or any further act on the part of any of the
        Escrow Agreement Parties, except where an instrument of transfer or
        assignment is required by applicable law to effect such succession.

           E.     This Escrow Agreement shall be binding upon and inure to the
        benefit of and be enforceable by, the respective heirs, legal
        representatives, and permitted successors and assigns of the Escrow
        Agreement Parties, and nothing herein, express or implied, is intended to
        or shall confer upon any other person or entity (other than the
        Indemnitees) any legal or equitable right, benefit or remedy of any nature
        whatsoever under or by reason of this Escrow Agreement.

           F.     This Escrow Agreement shall be governed by and construed in
        accordance with the State of New Jersey without regard to its conflict of
        laws principles.

           G.     “Business Day” shall mean every day other than Saturday,
        Sunday and any other day on which the Escrow Agent is not open for
        business for carrying on substantially all of the Escrow Agent’s business
        functions. If the date on which any distribution or notice is to be made
        under the terms of this Escrow Agreement is not a Business Day, then the
        distribution or notice shall be made on the following Business Day.

           H.     This Escrow Agreement may be executed in one or more
        counterparts, each of which will be deemed an original, but all of which
        together will constitute one and the same instrument.

           I.     This Escrow Agreement constitutes the entire agreement among
        the Escrow Agreement Parties relating to the holding, investment and
        distribution of the Settlement Fund and sets forth in its entirety the


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        obligations and duties of the Escrow Agent with respect to the Settlement
        Fund Escrow Account. This Escrow Agreement may be amended,
        modified, superseded or canceled, and any of the terms or conditions
        hereof may be waived, only by a written instrument executed by each
        Escrow Agreement Party hereto, or in the case of a waiver, by an Escrow
        Agreement Party (for whose benefit compliance is intended) waiving
        compliance, and any such waiver will be effective only in the specific
        instance and for the purpose for which given.

           J.     The headings in this Escrow Agreement are for convenience of
        reference only and shall neither be considered as part of this Escrow
        Agreement, nor limit or otherwise affect the meaning hereof.


           IN WITNESS WHEREOF, this Escrow Agreement has been executed

     as of the day and year set forth above.




     SETTLEMENT TRUSTEE                         VERUS LLC


     By:                                        By:

     Name: Hon. Marina Corodemus,               Name:_________________________
           J.S.C. (retired)
                                                Title:__________________________




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     COHEN, PLACITELLA &                       PNC BANK, NATIONAL
     ROTH, PC                                  ASSOCIATION

     By:                                       By:

     Name:________________________ Name: ________________________

     Title: Shareholder                        Title:

     Class Counsel for the Class in the
     Williams Action

     BASF CATALYSTS LLC                        CAHILL GORDON & REINDEL
                                               LLP

     By:                                       By:

     Name:_______________________              Name:_________________________

     Title:                                    Title:




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                                Exhibit F
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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


   KIMBERLEE WILLIAMS, et al.
                                             No. 2:11-cv-01754 (ES) (JAD)
   Plaintiffs,
                     vs.
                                                    CIVIL ACTION
   BASF CATALYSTS LLC, et al.

   Defendants.


                                 [Proposed]

                 PRELIMINARY APPROVAL ORDER


        This matter having been opened to the Court on the unopposed

  motion for Preliminary Approval of a proposed Class Action Settlement

  dated July 16, 2020 (the “Settlement Agreement”) (ECF No. ____), by

  Plaintiffs Kimberlee Williams, Gayle Williams, Marilyn L. Holley, Sheila

  Ware, Donnette Wengerd, and Rosanne Chernick, each a named plaintiff

  in the Williams Action (together “Plaintiffs” or “Class Representatives”),

  acting through their counsel, Cohen, Placitella & Roth, P.C. (“Class

  Counsel”) to completely settle the above-captioned lawsuit (the

  “Williams Action”) according to its proposed terms (the “Settlement”)

  as to all parties named therein and a settlement class to be certified by
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  the Court for settlement purposes only. The Settlement Agreement sets

  forth the terms and conditions for the Settlement and dismissal with

  prejudice of the Williams Action upon approval of the Settlement

  Agreement. All capitalized terms and phrases used in this Preliminary

  Approval Order that are otherwise not defined shall have the same

  meaning as in the Settlement Agreement.

        The Court finds that it has jurisdiction over this action and each of

  the Parties under 28 U.S.C. § 1332, as amended by the Class Action

  Fairness Act, and that venue is proper in this district.

        The Parties, together with the other co-defendants named in the

  Williams Action (“Co-defendants”), have all consented to United States

  Magistrate Judge Joseph A. Dickson conducting, in accordance with 28

  U.S.C. § 636(c) and Fed. R. Civ. P. 73, all proceedings relating to the

  approval of the Settlement, including entering this Preliminary Approval

  Order and a Final Approval Order entering judgment, as well as to

  presiding over any and all other matters or proceedings related to or

  associated with the Settlement, including but not limited to construing,

  implementing and enforcing the Settlement’s terms and releases and the

  Settlement’s Plan of Distribution. The Court has duly referred all such


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  matters and proceedings to the undersigned United States Magistrate

  Judge.

        The Court has carefully considered Plaintiffs’ unopposed Motion for

  Preliminary Approval and supporting Memorandum of Law; the Parties’

  Settlement Agreement (including all exhibits); the Parties’ Notice Plan;

  the Parties’ proposed forms of Long-Form and Short-Form (summary)

  notices which are annexed to this Order; and the declarations and other

  memoranda submitted in support of the proposed Settlement. The Court

  further has considered Class Counsel’s unopposed nominations for

  persons or companies requiring appointment by the Court to execute and

  administer the Settlement Agreement and Plan of Distribution, namely:

  (a) the Hon. Marina Corodemus, J.S.C. (Retired) as the Settlement’s

  “Settlement Trustee and Special Master” (which appointment is

  consented to by the Parties and Co-defendants); (b) Verus LLC as the

  “Settlement Administrator” of the Settlement and its Qualified

  Settlement Fund (the “Administrator”); (c) BrownGreer PLC as the

  Settlement’s “Notice Agent”; (c) Edgar C. Gentle, III, Esq., and the firm

  of Gentle, Turner, Sexton & Harbison, LLC, as the Settlement’s “Lien

  Administrator”; and (d) PNC Bank National Association, as the


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  Settlement Cost Fund’s and Settlement Fund’s “Financial Institution”,

  all as defined in the Settlement Agreement.

        The Court is familiar with and has reviewed in detail the record in

  this vigorously litigated case, and, for good cause shown, finds in

  accordance with Fed. R. Civ. P. 23(e) that the Settlement Agreement

  could, following due notice to the Class, be finally approved after a future

  fairness hearing. It further determines and finds that the Settlement

  Agreement and Plan of Distribution on preliminary review appear to be

  sufficiently fair, reasonable, rational and adequate to warrant and allow

  dissemination of notice of the proposed class settlement to Class

  Members concerning the Settlement and to schedule and hold a Final

  Approval Hearing. The Court further finds that the Settlement

  Agreement was entered into at arm’s length by experienced counsel after

  extensive discovery and mediation negotiations over a period of several

  years. It additionally finds that Class Counsel’s nominees to implement

  and execute the Settlement and its Plan of Distribution possess the

  qualifications and abilities required to perform their assigned duties and

  functions and should be approved and appointed as requested.




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        Accordingly, the Court is directing that notice be published and

  disseminated to Class Members in accordance with the Parties’ Notice

  Plan and the deadlines being established in this Order. It further is

  scheduling a Final Approval Hearing to make a final determination as to

  whether the Settlement Agreement is fair, reasonable and adequate, to

  make a final determination as to whether distribution of the Settlement

  Fund in accordance with the proposed Plan of Distribution is fair and

  reasonable, and to make determinations on forthcoming applications by

  Class Counsel for awards of attorney’s fees and litigation cost

  reimbursements and for class representative service awards as are

  provided for in the Settlement Agreement.

        THEREFORE, IT IS on this __________ day of _________, 2020

  HEREBY ORDERED as follows:

  1)    Preliminary Approval of the Settlement Agreement. The

  Settlement Agreement is hereby preliminarily approved. The Parties

  shall forthwith begin execution of the Settlement Agreement’s terms

  necessary to obtain its final approval, including by entering into

  necessary contracts relating to administration and class notice and the

  Defendants making their required Cost Fund payments. The Parties’


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  requests that the Court set a date for the Final Approval Hearing and

  approve issuance of Notice to the Class in the manner, means and forms

  set forth in the Notice Plan are also hereby granted.

  2)    Conditional Class Certification: The Court finds on a

  preliminary basis and for settlement purposes only, that all requirements

  of Fed. R. Civ. P 23(a) and (b)(3) have been satisfied for the reasons stated

  in Plaintiffs’ Motion for Preliminary Approval. The Court conditionally

  certifies a settlement class (hereinafter, the “Class”) as follows:

        All Persons within the United States and its territories who
        after March 7, 1984 and before March 30, 2011 filed and
        Served a lawsuit against Engelhard/BASF seeking asbestos-
        related bodily injury compensation or other relief arising from
        exposure to Emtal Talc products, and who before March 30,
        2011 either: (A) had voluntarily dismissed or terminated the
        lawsuit as to Engelhard/BASF after the suit was filed,
        including any voluntary dismissal or release of claims due to
        settlement; or (B) had their lawsuit as to Engelhard/BASF
        involuntarily dismissed (the “Class”).
        “Engelhard/BASF” means and includes: BASF Catalysts
        LLC, Engelhard Corporation, Engelhard Industries,
        Engelhard Minerals & Chemicals Corporation, Minerals &
        Chemicals Philipp Corporation, Eastern Magnesia Talc
        Company, Porocel Corporation, and Pita Realty Limited,
        along with each of their successors, affiliates, direct and
        indirect parent(s) (including BASF Corporation and BASF
        SE), and any predecessor(s) who owned and/or operated the
        Emtal Talc mine in Johnson, Vermont at any point on or after
        October 1, 1967.



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        The date on which a voluntary dismissal or termination
        occurred for purposes of determining class membership is
        deemed to be the earlier of either (i) the date on which the
        agreement or consent by the plaintiff or his/her counsel to
        dismiss or terminate the lawsuit occurred; or (ii) the date on
        which the dismissal or termination of the lawsuit was entered
        by or in the court in which it was pending.

  3)    Appointment of Class Representatives and Class Counsel.

  The Court preliminarily appoints Plaintiffs Kimberlee Williams, Gayle

  Williams, Marilyn L. Holley, Sheila Ware, Donnette Wengerd, and

  Rosanne Chernick as representatives for the Class. The Court finds that

  Christopher M. Placitella (who is designated as “Lead Class Counsel”),

  together with Stewart L. Cohen, Harry M. Roth, Michael Coren, Robert

  L. Pratter, Eric S. Pasternack, Jared M. Placitella and the law firm of

  Cohen Placitella & Roth, P.C., can and will fairly and adequately

  represent the interests of Plaintiffs and the Class and therefore hereby

  appoints them as Class Counsel to represent the Class pursuant to Fed.

  R. Civ. P. 23(g).

  4)    Preliminary Approval of Proposed Plan of Distribution. The

  Court preliminarily approves the proposed Plan of Distribution,

  submitted by Class Counsel and attached as Exhibit C to the Settlement

  Agreement. Unless and until ordered otherwise, the proposed Plan shall



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  be deemed in effect and shall be applied by the Settlement Trustee,

  Administrator and Lien Administrator in determining and administering

  claims relating to the Settlement Fund and the allocation of distributions

  to be made from the Settlement Fund; provided however, that no

  Settlement Funds shall be distributed until the Settlement’s Effective

  Date.

  5)      Deadlines. All deadlines set out in the Settlement Agreement and

  Plan of Distribution (which are summarized in Section 7 of the

  Settlement Agreement) relating to establishing the Cost Fund,

  publishing notice, opting out from the Class and Settlement, objecting to

  the Settlement or to the fee/cost award applications, the Parties’

  termination rights and for submitting claims for compensation from the

  Settlement Fund are hereby approved and shall be deemed ordered by

  the Court if not otherwise specified in this Order. The dates in this Order

  are controlling in the event of a conflict.

  6)      Appointment of Settlement Trustee and Special Master;
          Settlement Trustee/Special Master’s powers and
          responsibilities.

          A.   With the consent of all parties appearing in the Williams

  Action, the Court hereby appoints the Hon. Marina Corodemus, J.S.C.


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  (Retired) to the position of Settlement Trustee and Special Master

  (“Settlement Trustee/Special Master”) under Fed. Rule 53. The Court

  finds that Judge Corodemus possesses the requisite experience and

  qualifications to fulfill the tasks specified in the Settlement Agreement

  and Plan of Distribution as well as to perform those responsibilities

  contemplated by the Court as being necessary for a court master under

  Fed. R. Civ. P. 53 in order to expeditiously execute the Settlement. Judge

  Corodemus has filed of record a declaration stating that no grounds exist

  for disqualification and the Court accepts her representations.

        B.   The Settlement Trustee/Special Master is hereby charged

  with the responsibility and duty to oversee and carry out the

  administration of the Settlement Agreement and Plan of Distribution as

  approved by the Court, including the authority to make all adjudications

  necessary under the Plan of Distribution assigned to her in the Plan or

  that may arise out of and relate to the administration of the Settlement.

  In   executing   her    duties   and       responsibilities   the   Settlement

  Trustee/Special Master will have to the fullest extent allowed by law all

  powers and authority of a court appointed master under Fed. R. Civ. P

  Rule 53. With respect to the Settlement Fund she further will have all



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  fiduciary powers, rights, duties and responsibilities of a trustee under the

  laws of the State of New Jersey.

        C.   The Settlement Trustee/Special Master shall receive, have

  and hold the Settlement Fund being established under the Settlement

  Agreement in trust for the use and benefit of the Settlement Class

  Members, and shall distribute the Settlement Fund only in accordance

  with the Plan of Distribution as approved by the Court in its Final

  Approval Order.

        D.   The    Settlement    Fund     entrusted   to   the   Settlement

  Trustee/Special Master is a fund in court and until distributed to

  Settlement Class Members shall be deposited into an income-generating

  escrow account with PNC National Association according to the terms of

  the proposed Settlement Fund Escrow Agreement attached to the

  Settlement Agreement as Exhibit E. The Settlement Trustee/Special

  Master is authorized to enter and execute the Settlement Fund Escrow

  Agreement on behalf of the Settlement Fund. In addition, the Settlement

  Trustee/Special Master is authorized to be a party to and execute the

  Cost Fund Escrow Account being established under the Settlement

  Agreement at PNC National Association in accordance with the proposed


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  Cost Fund Escrow Agreement attached to the Settlement Agreement as

  Exhibit D.

        E.     The Settlement Trustee/Special Master is further authorized

  to enter into agreements with the Administrator, Notice Agent and Lien

  Administrator relating to services and goods necessary to carry out the

  Settlement and Plan of Distribution as provided in the Settlement

  Agreement. Class Counsel shall be responsible for negotiating the terms

  of the agreements on behalf of the Settlement Trustee/Special Master.

  The resulting agreements shall be subject to this Order.

        F.     The Settlement Trustee/Special Master shall serve as an

  officer and agent of the Court, and at the Court’s will and pleasure. She

  will be further subject to the following general terms and conditions:

        (1)    The Settlement Trustee/Special Master must proceed with

               all reasonable diligence and dispatch;

        (2)    The Settlement Trustee/Special Master must be guided by the

               appropriate law in this Circuit;

        (3)    The Settlement Trustee/Special Master will have authority to

               take all appropriate measures to perform the assigned duties

               fairly, efficiently, and justly;



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        (4)   The Settlement Trustee/Special Master may communicate ex

              parte with Class Counsel on administrative matters she is

              allowed or required under the Plan of Distribution to review

              with them, be assisted by them or obtain their advice and

              consent;

        (5)   The Settlement Trustee/Special Master may communicate ex

              parte with the Court;

        (6)   In addition to the reports required under the Settlement

              Agreement and Plan of Distribution, the Settlement

              Trustee/Special Master may submit reports or information to

              the Court as warranted in her discretion. However, at least

              once every six months until the Plan of Distribution is

              concluded, the Settlement Trustee/Special Master will

              provide a brief written progress report to the Court on the

              implementation and administration of the Settlement. The

              Settlement Trustee/Special Master will also provide any other

              information requested by the Court on a timely basis.

        (7)   The Court retains the authority to alter the Settlement

              Trustee/Special Master’s duties and responsibilities, as



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                    necessary, after providing the Parties notice and an

                    opportunity to be heard.

        (8)         The Settlement Trustee/Special Master shall obtain and

                    provide insurance coverage with respect to the duties to be

                    performed by her under the Settlement Agreement and the

                    Plan of Distribution in the amount of $5 million in a form and

                    from a surety or insurance company that is satisfactory to

                    Class Counsel.

        (9)         Settlement Trustee/Special Master’s Compensation.

              (i)     The Settlement Trustee/Special Master’s compensation

                      shall be $125,000 per year. That compensation shall be

                      paid via equal monthly installments on the last day of each

                      calendar month, with the fee prorated as to any period in

                      which she ceases or no longer is required to serve. The

                      Settlement Trustee/Special Master will also receive

                      reimbursement for any insurance or surety bond premiums

                      associated with her roles, reasonable and necessary travel

                      expenses, necessary out-of-pocket, secretarial or clerical

                      costs and expenses incurred in performing her work, which



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                  will be invoiced without any mark-up and shall be paid on

                  a monthly basis as incurred.

           (ii)   For services rendered under the Plan or by order or referral

                  of Court which are not to be paid from the Cost Fund, but

                  rather, are to be paid or taxed against a Defendant, a

                  claimant, or other person under Section 3.10.3.6. of the

                  Settlement Agreement, or Sections 6 and 11 of the Plan of

                  Distribution, the Settlement Trustee/Special Master’s

                  hourly fee is set at $600 per hour.

  7)    Appointment of Settlement Administrator. The Court hereby

  appoints Verus LLC, Princeton, New Jersey, as the Settlement

  Administrator. Verus is charged with the duty and responsibility to

  implement and carry out the duties, tasks and responsibilities assigned

  to the Settlement Administrator in the Settlement Agreement and Plan

  of Distribution approved by the Court. The Administrator is further

  authorized to enter and execute the Cost Fund and Settlement Fund

  Escrow Agreements with PNC National Association in the forms

  attached as Exhibits D and E to the Settlement Agreement as the Funds’

  designated “Administrator” required to qualify the funds as Qualified



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  Settlement Funds under Internal Revenue Service regulations. The

  Administrator shall be reasonably compensated for its services from the

  Cost Fund and, if necessary, from the Settlement Fund to the extent

  permitted by the Settlement Agreement. The Settlement Administrator

  shall serve as an officer and agent of the Court, at the Court’s will and

  pleasure. The Settlement Administrator’s contract for services shall be

  subject to this Order.

  8)    Appointment of Lien Administrator. The Court hereby

  appoints Edgar C. Gentle, III, Esq., Hoover, Alabama, as the Settlement

  Lien Administrator. Mr. Gentle is charged with the duty and

  responsibility to implement and carry out the ministerial duties, tasks

  and responsibilities assigned to the Lien Administrator in the Lien

  Agreement and Plan of Distribution approved by the Court. The Lien

  Administrator shall be reasonably compensated for its services in the

  total amount of $500,000, to be paid from the Cost Fund and, if necessary,

  from the Settlement Fund to the extent permitted by the Settlement

  Agreement. The Lien Administrator shall serve as an officer and agent

  of the Court, and at the Court’s will and pleasure. His and his law firm’s




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  (Gentle, Turner, Sexton & Harbison, LLC) contract for services shall be

  subject to this Order.

  9)    Appointment of Notice Agent. The Court hereby appoints

  BrownGreer PLC, Richmond, VA, as the Settlement Notice Agent.

  BrownGreer is charged with the duty and responsibility to design,

  implement and carry out the duties, tasks and responsibilities assigned

  to the Notice Agent concerning Notice to the Class relating to the

  Settlement, but may delegate certain aspects of the Notice Plan to sub-

  contractors with the prior consent of the Settlement Trustee and the

  Parties. The Notice Administrator shall be reasonably compensated for

  its services and expenses, including the costs of mailings and media

  placements and buys, solely from the Cost Fund as provided in the

  Settlement Agreement. The Notice Agent shall serve as an officer and

  agent of the Court, and at the Court’s will and pleasure. The Notice

  Agent’s contract for services shall be subject to this Order.

  10)   Approval and authorization of the Notice Plan and Long-

  Form Notice. The Court finds that the form, content, and methods of

  dissemination as described in the proposed Notice Plan: (A) are the best

  practicable   notice;    (B)   are   reasonably   calculated,   under   the



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  circumstances, to apprise Class Members of the pendency of the Action

  and of their right to object or to exclude themselves from the Settlement;

  (C) are reasonably calculated, under the circumstances, to apprise Class

  Members of the necessity, manner and deadlines to make a Claim

  Submission application to the Settlement Fund in order to receive

  compensation benefits from the Settlement Fund if the Settlement

  Agreement is approved following the Fairness Hearing and becomes

  Final; (D) are reasonable and constitutes due, adequate, and sufficient

  notice to all persons entitled to receive notice; and (E) meets all applicable

  requirements of Fed. R. Civ. P. 23, and due process. The Court therefore

  approves the Notice Plan and the Long-Form and Short-Form notice

  templates annexed to this order,1 and orders that Notice to the class be

  given and proceed in the manner called for in the Notice Plan. The Notice

  Agent, with the assistance of the Settlement Administrator, shall

  prepare a declaration attesting to compliance with the mailing, address-


  1 The attached Long-Form and Short-Form (summary) notices are only
  templates because additional information must be inserted by the
  Administrator and Notice Agent to conform it to this Order before its
  dissemination. The size, format, and/or layout of the Notice may be
  modified by mutual agreement of the Parties without the need for Court
  approval, provided that any such modifications are consistent with the
  general intent of the Settlement Agreement and Notice Plan.

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  updating, and publication requirements set forth above. Such declaration

  shall be provided to Class Counsel and Defendants’ Counsel and filed

  with the Court no later than 14 days prior to the Fairness Hearing.

  11)   Notice Publication Commencement Date. Notice to the Class

  shall commence on______________, 20202, with the execution of the

  following initial elements of the Notice Plan: (A) posting on the

  Settlement Website copies of the Long-Form Notice (conformed to the

  dates set forth herein), the Settlement Agreement, the Plan of

  Distribution, the Motion for Preliminary Approval, the Claims

  Submission Form and this Order; (B) mailing a copy of the Notice and

  claim form to all potential Class Members known to the Administrator

  and Notice Agent at the best last known address available to them; and

  (C) mailing copies of the Long-Form Notice to the attorneys and law firms

  (or their successors) who previously represented Class Members in the

  Underlying Lawsuits who are known by the Administrator and Notice

  Agent to still exist, along with: (i) a list prepared by the Administrator of

  potential Class Members associated with the attorney or law firm; and



  2 Settlement Agreement § 7 provides Class Notice efforts shall commence
  fourteen days after issuance of the Preliminary Approval Order.

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  (ii) requesting that the attorney or law firm provide the Notice

  Administrator with any corrections to the list and names and addresses

  of other clients (or personal representatives or next of kin of clients who

  are deceased) not on the list who may be Class Members for purposes of

  further disseminating class notice; and (iii) requesting that they inform

  their clients who may be potential Class Members of the pendency of the

  Class and the proposed Settlement and that they may obtain information

  concerning the proposed Settlement from the Administrator and how to

  do so. For purposes of clarity and avoidance of doubt, in calculating time

  periods and deadlines under the Settlement Agreement, the above date

  is the date “Notice is first published” as such phrase is used in the

  Settlement Agreement.

  12)   Requests for Exclusion process and deadlines.

        A.   A Class Member who wants to be excluded from the Class

  Action and proposed Settlement must in a signed writing request to be

  excluded (or “Opt-Out”) by the Opt-Out deadline of _________, 2020 being

  established herein.3 Unless a Class Member individually, timely and



  3Settlement Agreement § 7 provides the Opt-Out Deadline should be 90
  days after the Notice is first published.

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  properly exercises his or her opt-out right, he or she will be deemed a

  Class Member and bound to the Settlement Agreement’s terms if

  approved by the Court. The Opt-Out procedure, writing and content

  requirements and restrictions on who may submit a request for exclusion

  are set forth in Section 10.1 of the Settlement Agreement, which

  provisions the Court approves and incorporates by reference into this

  Order. All requests to Opt-Out that fail to satisfy these requirements

  shall be void. The attached Long-Form Notice explains the Opt-Out

  procedures and requirements.

        B.   Opt-Out Revocation right. A Class Member may revoke his

  or her opt-out from the Class and thereby receive the benefits of this

  Settlement Agreement by submitting a written request to the Settlement

  Administrator on or before the Opt-Out Revocation Deadline of

  _________, 2020 being established herein.4 The procedure and

  requirements to revoke an Opt-Out are set forth in Section 10.1.8 of the

  Settlement Agreement.




  4 Settlement Agreement § 7 provides the Opt-Out revocation deadline
  should be 14 days after the Opt-Out Deadline.

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        C.   Opt-Out and Opt-Out Revocation Deadlines: Written

  requests to Opt-Out must be postmarked on or before________, 2020.

  Written requests to revoke an Opt-Out must be postmarked on or before

  _________, 2020.5

        D.   Opt-Out list. The Administrator shall compile and serve the

  Parties with a list of valid opt-outs in accordance with §10.1.9 of the

  Settlement Agreement no later than by_________, 2020.6 Class Counsel

  is responsible for promptly thereafter filing a copy of the list with the

  Court.

  13)   Fee and Cost Applications Deadline. Class Counsel shall file

  applications and supporting materials for awards of Class Counsel’s

  attorney’s fees and costs reimbursement and Class Representative




  5See notes 3 and 4, supra. Settlement Agreement § 10.1.2 requires
  Opt-Outs to be postmarked by the Opt-Out Deadline. Settlement
  Agreement § 10.1.8 requires Opt-Out revocations to be submitted by the
  Opt-Out Revocation Deadline.
  6 Settlement Agreement § 7 provides the deadline for the Administrator
  to generate the Final Opt-Out List is six days after the Opt-Out
  Revocation Deadline. Settlement Agreement § 10.1.9 requires the
  Settlement Administrator to deliver the list no later than seven days
  after the Opt-Out Revocation Deadline.

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  service awards on or before ___________, 2020.7

  14)   Plan of Distribution Deadlines.

        A.      Claims Filing Deadline. All Claim Submission forms and

  documents necessary to initiate and support a claim to the Settlement

  Fund by or on behalf of a Claimant must be must be submitted and

  actually received by the Administrator on or before _____________, 20208

  by one of the following time deadlines depending upon the means of

  submission used:

        (1) If submitted by mail, express mail or hand delivery, the Claims

             Submission must actually be received by the Administrator in

             its offices by no later than 5 P.M., prevailing Eastern time in

             effect; or

        (2) If submitted electronically submitted through the Settlement

             Fund’s website or other electronic portal established by the

             Administrator, the Claims Submission must actually be received



  7  Settlement Agreement §7 provides the deadline for filing Class
  Counsel’s Fee, Expense Reimbursement Petition and Class
  representative Service Award petition should be 30 days after Notice is
  first published.
  8Settlement Agreement § 7 provides the Claims Filing Deadline should
  be 120 days after Notice is first published.

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             by the Administrator’s system by no later than 11:59 P.M.,

             prevailing Eastern time in effect.

        B.      Documents Submission Deadline. Any and all documents

  necessary to cure Claims Submission deficiencies identified by the

  Administrator must be submitted by or on behalf of the Claimant and

  actually received by the Administrator on or before _____________, 20209

  by one of the following time deadlines depending upon the means of

  submission used:

        (1) If submitted by mail, express mail or hand delivery, the Claims

             Submission must actually be received by the Administrator in

             its offices by no later than 5 P.M., prevailing Eastern time in

             effect; or

        (2) If submitted electronically submitted through the Settlement

             Fund’s website or other electronic portal established by the

             Administrator, the Claims Submission must actually be received

             by the Administrator’s system by no later than 11:59 P.M.,

             prevailing Eastern time in effect.



  9 Settlement Agreement § 7 provides the Documents Submission
  Deadline should be 155 days after Notice is first published.

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  15)   Objections by Class Members.

        A.   A Settlement Class Member (that is, a Class Member who has

  not opted-out) may present written objections, if any, explaining why he

  or she believes (a) the Settlement Agreement should not be approved by

  the Court as fair, reasonable, and adequate; or (b) that the proposed Plan

  of Distribution should not be approved and adopted; or (c) that Class

  Counsel’s applications for fees and cost reimbursement awards should

  not be granted; or (d) that the Class Representatives’ application for

  service fees awards should not be granted. The objection procedure,

  writing and content requirements and restrictions on who may submit

  them are set forth in Section 10.2 of the Settlement Agreement, which

  the Court approves and incorporates by reference into this Order. The

  attached Long-Form Notice explains the objection procedures and

  requirements.

        B.   Objection     Submission       Deadline:    Settlement    Class

  Members’ written objections must be postmarked on or before




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  __________, 2020.10 Responses to objections should be filed no later than

  ________, 2020.11

  16)   Motion for Final Approval and Supporting Materials. A

  motion for Final Approval of the Settlement and Plan of Distribution

  shall be filed on or before _________, 2021,12 together with any

  memoranda or submissions of the Parties in support of final approval of

  the Settlement and the Plan of Distribution. A copy of the motion and

  supporting materials shall be posted on the Settlement’s Website.

  17)   Final Approval. A Final Approval Fairness Hearing is hereby

  scheduled before this Court on ___________,2021, at __________ for the

  following purposes: (A) to consider whether to finally certify the Class;


  10 Settlement Agreement § 7 provides the deadline for Class Members to
  file any objections to the proposed settlement or to any ancillary petitions
  should be 90 days after Notice is first published.
  11Settlement Agreement § 7 provides the deadline for any responses to
  Class Member objections should be 60 days from the Plan of
  Distribution’s Claims Determination Deadline. Settlement Agreement §7
  provides the Claims Determination Deadline should be 10 days after the
  Document Submission Deadline. See note 9 supra.
  12Settlement Agreement § 7 provides the deadline for the Motion for
  Final Approval and Supporting Materials should be 90 days from the
  Plan of Distribution’s Claims Determination Deadline, which §7 in turn
  provides should be 10 days after the Document Submission Deadline.
  Settlement Agreement § 7 provides the Document Submission Deadline
  should be 155 days after Notice is first published.

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  (B) to determine finally whether the Settlement Agreement is fair,

  reasonable, and adequate; (C) to consider whether to finally approve the

  proposed Plan of Distribution; (E) to consider any objections to the

  Settlement Agreement or Plan of Distribution; (F) to determine whether

  the Final Approval Order as provided for under the terms of the

  Settlement Agreement should be entered; (G) to consider any

  application(s) which Class Counsel may file for an award of Class

  Counsel’s attorneys’ fees and costs and for an award of Class

  Representative service fees; and (H) to rule upon such other matters as

  the Court may deem appropriate. The Court may continue or adjourn the

  Final Approval Hearing from time to time, by oral announcement prior

  to or at the hearing or at any adjournment thereof, without further notice

  to Class Members. At the Final Approval Hearing, Settlement Class

  Members may be heard orally in support of, or, if they have timely

  submitted written objections, in opposition to the Settlement. If a Class

  Member hires an attorney to represent him or her at the Final Approval

  Hearing, he or she must do so at his or her own expense. This hearing

  will be held at the Martin Luther King Building & U.S. Courthouse 50

  Walnut Street Newark, NJ 07102, Court Room 2D.



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  18)   Termination or Disapproval. The Court finds that preliminary

  class certification and preliminary approvals of the Settlement

  Agreement and Plan of Distribution, and all actions associated with

  them, are undertaken on the condition that they shall be vacated if the

  Settlement Agreement is terminated or disapproved in whole or in

  material part by the Court, or any appellate court and/or other court of

  review, or if any of the parties invokes a right to terminate the Settlement

  Agreement as provided by its terms, in which case the Settlement

  Agreement and the fact that it was entered into shall not be offered,

  received, or construed as evidence for any purpose, including but not

  limited to, an admission by any party of liability or non-liability or of any

  misrepresentation or omission in any statement or written document

  approved or made by Defendants, or the certifiability or non-certifiability

  of any class. Moreover, if the Settlement Agreement is terminated or

  disapproved in whole or in material part by the Court, or any appellate

  court and/or other court of review, or if any of the Parties invokes the

  right to terminate the Settlement as provided in the Settlement

  Agreement, all proceedings that have taken place with regard to the

  Settlement Agreement shall be without prejudice to the rights and



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  contentions of the Parties; all orders entered in connection with the

  Settlement, including the certification of a settlement Class and

  discovery orders entered after June 26, 2018 in the Action shall be

  vacated and without prejudice to any party's position on the issue of class

  certification or any other issue, in this Action or any other action; and the

  Parties and the Action shall be restored to their status existing on June

  26, 2018. In such event, the Court shall reestablish a schedule for further

  proceedings with the Parties.

  19)   Stay and Injunction Order. All proceedings in the Williams

  Action shall continue to be stayed until further order of the Court except

  as may be necessary to implement the Settlement and Plan of

  Distribution; or to comply with this Preliminary Approval Order; or to

  comply with the terms of the Settlement Agreement. Further, all Class

  Members, and anyone who acts or purports to act on their behalf, are

  hereby enjoined until further order of the Court from instituting,

  continuing, commencing, intervening in or prosecuting any action

  against any of the Defendants and/or Co-Defendants which asserts

  claims that are to be settled in the Settlement Agreement, or any other

  Related Lawsuits as defined in the Settlement Agreement. The stay and



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  injunction will remain in effect unless and until a Class Member's Opt-

  Out becomes effective on the date this Court grants Final Approval,

  approval of the Settlement Agreement is denied, or the Settlement

  Agreement is otherwise terminated.

  20)   No Admission. Neither this Order nor the Settlement Agreement

  nor any other settlement-related document nor anything contained

  herein or therein or contemplated hereby or thereby nor any proceedings

  undertaken in accordance with the terms set forth in the Settlement

  Agreement or herein or in any other settlement-related document shall

  constitute, be construed as or deemed to be evidence of an admission or

  concession of (A) the validity or lack of validity of any claim made by the

  Class Representatives, the Class, any Class or Settlement Class Member,

  or any Opted-Out Class Member, in this or any other action or

  proceeding; (B) any liability or wrongdoing or the truth of any allegations

  in the Complaint against the Released Parties, or (C) the infirmity of, or

  strength of any alleged defense against, the allegations in the Complaint.

  The Settlement Agreement, any other settlement-related document,

  and/or any statement, transaction, or proceeding in connection with the

  negotiation, execution, or implementation of the Settlement Agreement



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  and its Plan of Distribution shall not be admissible in evidence for any

  purpose in any proceeding for or against anyone other than as necessary

  and relevant to execute or enforce the terms of this Settlement and Plan

  of Distribution.

  21)   Qualified Settlement Fund Status of the Cost Fund and

  Settlement Fund. To the extent permitted by law, both the Cost Fund

  and Settlement Fund being established under the Settlement Agreement

  and authorized by this Order may be treated as a qualified settlement

  fund pursuant to applicable United States Treasury Regulations.

  22)   The Court may, for good cause, extend, but not reduce in time, any

  of the deadlines set forth in this Preliminary Approval Order without

  further notice to Class Members.

  23)   Qualified Immunity Protection of Settlement Entities. The

  Settlement Trustee/Special Master, Settlement Administrator, Notice

  Agent, and Lien Administrator appointed herein (each referred to as

  “Settlement Entity”) shall be deemed to have immunity in the

  performance of its respective tasks and duties in the Settlement and Plan

  of Distribution, except with respect to a Settlement Entity's willful

  misconduct. No person or entity shall have the right to institute any



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  action against any Settlement Entity for any matter covered by this

  immunity, except with respect to the Settlement Entity's willful

  misconduct. However, this provision shall not affect the right of a party

  in privity of contract with a Settlement Entity to institute and maintain

  actions against the Settlement Entity for breach of the Settlement

  Agreement     or   breach   of   the    Settlement    Entity's   contractual

  responsibilities in connection with the Settlement.

                                              BY THE COURT


                                     ___________________________
                                      Hon. Joseph A. Dickson
                                     United States Magistrate Judge




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